         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 1 of 173




                   Evidence Report/Technology Assessment
                   Number212




                    Oral Contraceptive
                    Use for the Primary
                    Prevention of Ovarian
                    Cancer




                   (/L
                    :,,.::::?~
                    J
                        1
                               ~-                               amJ(},a6',
                              Advancing Excellence in Health Care • www.ahrq.gov
                                                                                   E,;aeace-Based
                                                                                   Practice _____.




                                                                                                       00803219
Exhibit 163                                                                                          JA-0002761
         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 2 of 173




     Evidence Report/Technology Assessment
     Number 212


     Oral Contraceptive Use for the Primary Prevention of
     Ovarian Cancer


     Prepared for:
     Agency for Healthcare Research and Quality
     U.S. Department of Health and Human Services
     540 Gaither Road
     Rockville, MD 20850
     www.ahrq.gov

     Contract No. 290-2007-10066-I

     Prepared by:
     Duke Evidence-based Practice Center
     Durham, NC

     Investigators:
     Laura J. Havrilesky, M.D.
     Jennifer M. Gierisch, Ph.D.
     Patricia G. Moorman, Ph.D.
     Remy R. Coeytaux, M.D., Ph.D.
     Rachel Peragallo Urrutia, M.D.
     William J. Lowery, M.D.
     Michaela Dinan, Ph.D.
     Amanda J. McBroom, Ph.D.
     Liz Wing, M.A.
     Michael D. Musty, B.A.
     Kathryn R. Lallinger, M.S.L.S.
     Vic Hasselblad, Ph.D.
     Gillian D. Sanders, Ph.D.
     Evan R. Myers, M.D., M.P.H.




     AHRQ Publication No. 13-E002-EF
     June 2013




                                                                          00803220
Exhibit 163                                                             JA-0002762
         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 3 of 173




     This report is based on research conducted by the Duke Evidence-based Practice Center (EPC)
     under contract to the Agency for Healthcare Research and Quality (AHRQ), Rockville, MD
     (Contract No. 290-2007-10066-1). The findings and conclusions in this document are those of the
     authors, who are responsible for its contents; the findings and conclusions do not necessarily
     represent the views of AHRQ. Therefore, no statement in this report should be construed as an
     official position of AHRQ or of the U.S. Department of Health and Human Services.

     The information in this report is intended to help health care decisionmakers-patients and
     clinicians, health system leaders, and policymakers, among others-make well-informed
     decisions and thereby improve the quality of health care services. This report is not intended to
     be a substitute for the application of clinical judgment. Anyone who makes decisions concerning
     the provision of clinical care should consider this report in the same way as any medical
     reference and in conjunction with all other pertinent information, i.e., in the context of available
     resources and circumstances presented by individual patients.

     This report may be used, in whole or in part, as the basis for development of clinical practice
     guidelines and other quality enhancement tools, or as a basis for reimbursement and coverage
     policies. AHRQ or U.S. Department of Health and Human Services endorsement of such
     derivative products may not be stated or implied.

     Persons using assistive technology may not be able to fully access information in this report. For
     assistance contact EffectiveHealthCare@ahrq.hhs.gov.

     None of the investigators have any affiliations or financial involvement that conflicts with the
     material presented in this report.

     Suggested citation: Havrilesky LJ, Gierisch JM, Moorman PG, Coeytaux RR, Peragallo Urrutia
     R, Lowery WJ, Dinan M, McBroom AJ, Wing L, Musty MD, Lallinger KR, Hasselblad V,
     Sanders GD, Myers ER Oral Contraceptive Use for the Primary Prevention of Ovarian Cancer.
     Evidence Report/Technology Assessment No. 212. (Prepared by the Duke Evidence-based
     Practice Center under Contract No. 290-2007-10066-I.) AHRQ Publication No. 13-E002-EF.
     Rockville, MD: Agency for Healthcare Research and Quality. June 2013.
     www.effectivehealthcare.ahrq.gov/reports/final.cfm.




                                                      11




                                                                                                        00803221
Exhibit 163                                                                                         JA-0002763
         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 4 of 173




     Preface
         The Agency for Healthcare Research and Quality (AHRQ), through its Evidence-based
     Practice Centers (EPCs ), sponsors the development of evidence reports and technology
     assessments to assist public- and private-sector organizations in their efforts to improve the
     quality of health care in the United States. The Centers for Disease Control and Prevention
     (CDC) requested and provided funding for this report.
         The reports and assessments provide organizations with comprehensive, science-based
     information on common, costly medical conditions and new health care technologies and
     strategies. The EPCs systematically review the relevant scientific literature on topics assigned to
     them by AHRQ and conduct additional analyses when appropriate prior to developing their
     reports and assessments.
         To bring the broadest range of experts into the development of evidence reports and health
     technology assessments, AHRQ encourages the EPCs to form partnerships and enter into
     collaborations with other medical and research organizations. The EPCs work with these partner
     organizations to ensure that the evidence reports and technology assessments they produce will
     become building blocks for health care quality improvement projects throughout the Nation. The
     reports undergo peer review and public comment prior to their release as a final report.
         AHRQ expects that the EPC evidence reports and technology assessments will inform
     individual health plans, providers, and purchasers as well as the health care system as a whole by
     providing important information to help improve health care quality.
         We welcome comments on this evidence report. They may be sent by mail to the Task Order
     Officer named below at: Agency for Healthcare Research and Quality, 540 Gaither Road,
     Rockville, MD 20850, or by email to epc@ahrq.hhs.gov.

     Carolyn M. Clancy, M.D.                               Jean Slutsky, P.A., M.S.P.H.
     Director                                              Director, Center for Outcomes and Evidence
     Agency for Healthcare Research and Quality            Agency for Healthcare Research and Quality

     Stephanie Chang M.D., M.P.H.                          Christine Chang, M.D., M.P.H.
     Director, Evidence-based Practice Program             Task Order Officer
     Center for Outcomes and Evidence                      Center for Outcomes and Evidence
     Agency for Healthcare Research and Quality            Agency for Healthcare Research and Quality

     William Lawrence, M.D.                                Katrina F. Trivers, Ph.D., M.S.P.H.
     Task Order Officer                                    Epidemiologist, Division of Cancer
     Center for Outcomes and Evidence                      Prevention and Control
     Agency for Healthcare Research and Quality            Centers for Disease Control and Prevention
                                                           Atlanta, GA
     Sherri L. Stewart, Ph.D.
     Lead Health Scientist, Division of Cancer
     Prevention and Control
     Centers for Disease Control and Prevention
     Atlanta, GA




                                                     111




                                                                                                     00803222
Exhibit 163                                                                                        JA-0002764
         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 5 of 173




     Acknowledgments
         The authors thank Robert Kane, M.D., for his critical reading of the report, and Megan von
     Isenburg, M.S.L.S., for her help with the literature search and retrieval.

     Technical Expert Panel
         In designing the study questions and methodology at the outset of this report, the Evidence-
     based Practice Center (EPC) consulted several technical and content experts. Broad expertise and
     perspectives were sought. Divergent and conflicted opinions are common and perceived as
     healthy scientific discourse that results in a thoughtful, relevant systematic review. Therefore, in
     the end, study questions, design, methodologic approaches, and/or conclusions do not necessarily
     represent the views of individual technical and content experts.
         Technical Experts must disclose any financial conflicts of interest greater than $10,000 and
     any other relevant business or professional conflicts of interest. Because of their unique clinical
     or content expertise, individuals with potential conflicts may be retained. The Task Order Officer
     and the EPC work to balance, manage, or mitigate any potential conflicts of interest identified.
         The list of Technical Experts who participated in developing this report follows:

     Andrew Berchuck, M.D.                                 Joan D. Nagel M.D., M.P.H
     Director, Division of Gynecologic Oncology            Program Director, Interdisciplinary Research
     Duke University Medical Center                          Programs
     Durham, NC                                            National Institutes of Health
                                                           Bethesda, MD
     Wendy R. Brewster, M.D., Ph.D.
     Research Director                                     Doug K. Owens, M.D., M.S.
     UNC Center for Women's Health                         Director, Program on Clinical Decision
     Chapel Hill, NC                                         Making and Guideline Development
                                                           Center for Primary Care and Outcomes
     Louise A Brinton, Ph.D., M.P.H.                         Research
     Chief, Hormonal and Reproductive                      Stanford University School of Medicine
      Epidemiology Branch                                  Stanford, CA
     National Cancer Institute
     Rockville, MD                                         Debbie Saslow, Ph.D.
                                                           Director, Breast and Gynecologic Cancer
     Karen Orloff Kaplan, M.S.W., M.P.H., Sc.D.            American Cancer Society, Inc.
     Former CEO, Ovarian Cancer National                   Atlanta, GA
      Alliance
     Washington, DC                                        Rachel Walden, M.L.I.S.
                                                           Consultant, Our Bodies Ourselves
     Cara J. Krulewitch, C.N.M., Ph.D.                     Nashville, TN
     Chief, Epidemiology Evaluation and
       Research Branch II                                  Maura K. Whiteman, Ph.D.
     Division of Epidemiology                              Epidemiologist, Women's Health & Fertility
     U.S. Food and Drug Administration                      Branch, Division of Reproductive Health
     Silver Spring, MD                                     Centers for Disease Control and Prevention
                                                           Atlanta, GA


                                                      IV




                                                                                                      00803223
Exhibit 163                                                                                         JA-0002765
         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 6 of 173




     Peer Reviewers
         Prior to publication of the final evidence report, the Evidence-based Practice Center (EPC)
     sought input from independent Peer Reviewers without financial conflicts of interest. However,
     the conclusions and synthesis of the scientific literature presented in this report does not
     necessarily represent the views of individual reviewers.
         Peer Reviewers must disclose any financial conflicts of interest greater than $10,000 and any
     other relevant business or professional conflicts of interest. Because of their unique clinical or
     content expertise, individuals with potential non-financial conflicts may be retained. The Task
     Order Officer and the EPC work to balance, manage, or mitigate any potential non-financial
     conflicts of interest identified.
         The list of Peer Reviewers follows:

     Jeffrey C. Andrews, M.D.                             Shalini L. Kulasingam, Ph.D.
     Associate Professor of Medicine, Obstetrics          Assistant Professor, School of Public Health
       and Gynecology                                     University of Minnesota
     Vanderbilt University of School of Medicine          Minneapolis, MN
     Nashville, TN
                                                          Malcolm C. Pike, Ph.D.
     Jeremy Goldhaber-Fiebert, Ph.D.                      Professor of Medicine, Keck School of
     Assistant Professor of Medicine, Centers for           Medicine
       Health Policy/Center for Primary Care and          University of Southern California
       Outcomes Research                                  Los Angeles, CA
     Stanford University School of Medicine
     Stanford, CA




                                                     V




                                                                                                    00803224
Exhibit 163                                                                                       JA-0002766
         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 7 of 173




     Oral Contraceptive Use for the Primary Prevention of
     Ovarian Cancer
     Structured Abstract
     Objective. To estimate the overall balance of harms and benefits from the potential use of oral
     contraceptives (OCs) for the primary prevention of ovarian cancer

     Data sources. We searched PubMed®, Embase®, the Cochrane Database of Systematic Reviews,
     and ClinicalTrials.gov for English-language studies published from January 1990 to June 2012
     that evaluated the potential benefits (reduction in ovarian, colorectal, and endometrial cancers)
     and harms (increase in breast and cervical cancer, and vascular complications) of OC use.

     Review methods. Two investigators screened each abstract and full-text article for inclusion; the
     investigators abstracted data, and they performed quality ratings, applicability ratings, and
     evidence grading. Random-effects models were used to compute summary estimates of effects.
     A simulation model was used to estimate the effects of OC use on the overall balance of benefits
     and harms.

     Results. We reviewed 55 studies relevant to ovarian cancer outcomes, 66 relevant to other
     cancers, and 50 relevant to vascular events. Ovarian cancer incidence was significantly reduced
     in OC users (OR [odds ratio], 0.73; 95% CI [confidence interval], 0.66 to 0.81), with greater
     reductions seen with longer duration of use. Breast cancer incidence was slightly but
     significantly increased in OC users (OR, 1.08; 95% CI, 1.00 to 1.17), with a significant reduction
     in risk as time since last use increased. The risk of cervical cancer was significantly increased in
     women with persistent human papillomavirus infection who used OCs, but heterogeneity
     prevented a formal meta-analysis. Incidences of both colorectal cancer (OR, 0.86; 95% CI, 0.79
     to 0.95) and endometrial cancer (OR, 0.57; 95% CI, 0.43 to 0.76) were significantly reduced by
     OC use. The risk of vascular events was increased in current OC users compared with nonusers,
     although the increase in myocardial infarction was not statistically significant. The overall
     strength of evidence for ovarian cancer prevention was moderate to low, primarily because of the
     lack of randomized trials and inconsistent reporting of important characteristics of use, such as
     duration. The simulation model predicted that the combined increase in risk of breast and
     cervical cancers and vascular events was likely to be equivalent to or greater than the decreased
     risk in ovarian cancer, although the harm/benefit ratio was much more favorable when protection
     against endometrial and colorectal cancers was added, resulting in net gains in life expectancy of
     approximately 1 month.

     Conclusions. There is insufficient evidence to recommend for or against the use of OCs solely
     for the primary prevention of ovarian cancer. Although the net effects of the current patterns of
     OC use likely result in increased life expectancy when other noncontraceptive benefits are
     included, the harm/benefit ratio for ovarian cancer prevention alone is uncertain, particularly
     when the potential quality-of-life impact of breast cancer and vascular events are considered.




                                                      Vl




                                                                                                     00803225
Exhibit 163                                                                                        JA-0002767
         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 8 of 173




                                                                  Contents
     Executive Summary ................................................................................................................ .ES-I
     Section 1. Introduction and Methods .......................................................................................... .1
        Background ................................................................................................................................ 1
            Ovarian Cancer Incidence and Mortality ............................................................................. 1
            Lack of Effectiveness of Screening ..................................................................................... 3
            Primary Prevention .............................................................................................................. 4
            Rationale for Review ........................................................................................................... 7
        Scope and Key Questions .......................................................................................................... 7
            Scope of Review .................................................................................................................. 7
            Key Questions ...................................................................................................................... 7
        Organization of Report .............................................................................................................. 9
        Methods .................................................................................................................................... 11
            Review Protocol ................................................................................................................. 11
            Literature Search Strategy .................................................................................................. 11
            Quality Assessment of Individual Studies ......................................................................... 14
            Data Synthesis .................................................................................................................... 15
            Strength of Evidence .......................................................................................................... 19
            Applicability ...................................................................................................................... 19
            Peer Review and Public Commentary .............................................................................. .20
            Literature Search Results .................................................................................................. .20
     Section 2. Oral Contraceptives and Ovarian Cancer .............................................................. .23
        Background ............................................................................................................................. .23
            Primary Prevention Strategies ........................................................................................... .23
        Relevant Key Questions .......................................................................................................... .24
            Analytic Framework ......................................................................................................... .25
        Methods ................................................................................................................................... .26
            Inclusion and Exclusion by PICOTS ................................................................................ .26
            Meta-Analytic Methods .................................................................................................... .27
        Results ...................................................................................................................................... 30
            OC Use and Ovarian Cancer Incidence ............................................................................. 30
            OC Use and Ovarian Cancer Mortality .............................................................................. 93
            Strength of Evidence for OC Use and Risk of Ovarian Cancer.. ....................................... 94
        Discussion ................................................................................................................................ 96
            Temporal Relationships in OC Use ................................................................................... 97
            Women at Elevated Genetic Risk for Ovarian Cancer ...................................................... 97
            Limitations ......................................................................................................................... 98
            Future Research ................................................................................................................. 99
     Section 3. Oral Contraceptives and Other Cancers ............................................................... .10 I
        Background ............................................................................................................................ 10 I
        Relevant Key Questions ......................................................................................................... 10 I
            Analytic Framework ........................................................................................................ 102
        Methods .................................................................................................................................. 103
            Inclusion and Exclusion by PICOTS ............................................................................... 103
            Meta-Analytic Methods ................................................................................................... 104


                                                                            Vll




                                                                                                                                                   00803226
Exhibit 163                                                                                                                                     JA-0002768
         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 9 of 173




        Results .................................................................................................................................... 106
            OC Use and Breast Cancer Incidence .............................................................................. 106
            OC Use and Breast Cancer Mortality .............................................................................. 138
            Strength of Evidence for OC Use and Risk of Breast Cancer ......................................... 141
            OC Use and Cervical Cancer Incidence ........................................................................... 143
            OC Use and Cervical Cancer Mortality ........................................................................... 150
            Strength of Evidence for OC Use and Risk of Cervical Cancer ...................................... 152
            OC Use and Colorectal Cancer Incidence ....................................................................... 152
            OC Use and Colorectal Cancer Mortality ........................................................................ 159
            Strength of Evidence for OC Use and Risk of Colorectal Cancer ................................... 161
            OC Use and Endometrial Cancer Incidence .................................................................... 161
            OC Use and Endometrial Cancer Mortality ..................................................................... 166
            Strength of Evidence for OC Use and Risk of Endometrial Cancer ................................ 169
        Discussion .............................................................................................................................. 170
            Breast Cancer ................................................................................................................... 170
            Cervical Cancer. ............................................................................................................... 171
            Colorectal Cancer............................................................................................................. 172
            Endometrial Cancer ......................................................................................................... 173
            Limitations ....................................................................................................................... 174
            Future Research ............................................................................................................... 175
     Section 4. Oral Contraceptives and Vascular Events ............................................................. 178
        Background ............................................................................................................................ 178
        Relevant Key Questions ......................................................................................................... 178
            Analytic Framework ........................................................................................................ 179
        Methods .................................................................................................................................. 179
            Inclusion and Exclusion by PICOTS ............................................................................... 179
            Meta-Analytic Methods ................................................................................................... 180
        Results .................................................................................................................................... 182
            OC Use and Venous Thromboembolism Incidence ......................................................... 182
            OC Use and Venous Thromboembolism Mortality ........................................................ .202
            Strength of Evidence for OC Use and Risk of Venous Thromboembolism ................... .202
            OC Use and Stroke Incidence ......................................................................................... .203
            OC Use and Stroke Mortality ......................................................................................... .216
            Strength of Evidence for OC Use and Risk of Stroke .................................................... .218
            OC Use and Myocardial Infarction Incidence ................................................................ .219
            OC Use and Myocardial Infarction Mortality ................................................................. .229
            Strength of Evidence for OC Use and Risk of Myocardial Infarction ............................ .231
        Discussion ............................................................................................................................. .232
            OC Use and Venous Thromboembolism ........................................................................ .232
            OC Use and Stroke .......................................................................................................... .234
            OC Use and Myocardial Infarction ................................................................................. .234
            Limitations ....................................................................................................................... 235
            Future Research ............................................................................................................... 236
            Applicability ................................................................................................................... .236
     Section 5. Overall Benefits and Harms of Oral Contraceptives for Prevention
        of Ovarian Cancer ............................................................................................................... .237



                                                                           vm




                                                                                                                                                   00803227
Exhibit 163                                                                                                                                     JA-0002769
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 10 of 173




        Background ........................................................................................................................... .23 7
        Relevant Key Questions ........................................................................................................ .237
           Analytic Framework ....................................................................................................... .238
        Methods ................................................................................................................................. .23 8
           Age-Specific Incidence of Relevant Outcomes With and Without OC Use .................. .239
           Impact of Current Use Patters of OCs on Overall Life Expectancy and
                Disease-Specific Incidence and Mortality ................................................................ .241
           OC Use Scenarios ........................................................................................................... .243
           Model Assumptions ........................................................................................................ .244
           Three Types of Simulations ............................................................................................ .248
        Results ................................................................................................................................... .249
           Age Specific Incidence of Relevant Outcomes With and Without OC Use ................... .249
           Effect of OC Use on Lifetime Incidence and Mortality ................................................. .260
           Effect of OC Use on Lifetime Incidence and Mortality in Ever Versus Never Users .... .262
           Effect of Age at First Use and Duration of OC Use ....................................................... .266
           Harm/Benefit Acceptability ............................................................................................ .279
        Discussion ............................................................................................................................. .285
           Summary of the Evidence Synthesis ............................................................................... .285
           Comparison With Previous Modeling Studies ................................................................ .288
           Limitations and Uncertainties ......................................................................................... .289
           Potential Next Steps ........................................................................................................ .296
           Clinical and Public Health Implications of the Findings ................................................ .297
     References .................................................................................................................................. .299
     Abbreviations ............................................................................................................................. 321

     Tables
     Table A Summary of inclusion and exclusion criteria .............................................................. ES-5
     Table B. Strength of evidence domains for the effect of OC use on ovarian cancer ............... ES-I 0
     Table C. Strength of evidence domains for the effect of OC use on colorectal cancer ........... ES-13
     Table D. Strength of evidence domains for the effect of OC use on endometrial
        cancer ................................................................................................................................. ES-14
     Table E. Strength of evidence domains for the effect of OC use on breast cancer ................. ES-15
     Table F. Strength of evidence domains for the effect of OC use on cervical cancer.. ............. ES-16
     Table G. Strength of evidence domains for the effect of OC use on venous
        thromboembolism .............................................................................................................. ES-17
     Table H. Strength of evidence domains for the effect of OC use on stroke ............................ ES-18
     Table I. Strength of evidence domains for the effect of OC use on myocardial
        infarction ............................................................................................................................ ES-19
     Table 1. Summary of inclusion and exclusion criteria for the systematic review ......................... 12
     Table 2. Definitions of overall quality ratings ............................................................................... 15
     Table 3. Strength of evidence required domains ........................................................................... 19
     Table 4. Summary of inclusion and exclusion criteria for OCs and ovarian cancer .................... .26
     Table 5. Study characteristics and association between OC use and ovarian
        cancer incidence ....................................................................................................................... 31
     Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) ........................... .46
     Table 7. Estimated odds ratios by duration of OC use (ovarian cancer incidence) ....................... 64



                                                                             IX




                                                                                                                                                   00803228
Exhibit 163                                                                                                                                     JA-0002770
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 11 of 173




     Table 8. Data for outcomes on age at first QC use (ovarian cancer incidence) ............................. 66
     Table 9. Estimated odds ratios by age at first QC use (ovarian cancer incidence) ........................ 70
     Table 10. Data for outcomes on time since last QC use (ovarian cancer incidence) ..................... 71
     Table 11. Estimated odds ratios by time since last QC use (ovarian cancer incidence) ................ 75
     Table 12. Data for outcomes on QC formulation (ovarian cancer incidence) ............................... 77
     Table 13. Data for outcomes on family history (ovarian cancer incidence) .................................. 87
     Table 14. Data for outcomes on parity/gravidity (ovarian cancer incidence) ................................ 90
     Table 15. Data for ovarian cancer mortality .................................................................................. 94
     Table 16. Strength of evidence domains for the effect of QC use on ovarian cancer ................... 95
     Table 17. Summary of inclusion and exclusion criteria for QCs and other cancers .................... 103
     Table 18. Study characteristics and association between QC use and breast
        cancer incidence ..................................................................................................................... 107
     Table 19. Data for outcomes on duration of use (breast cancer incidence) ................................. 126
     Table 20. Estimated odds ratios by duration of QC use (breast cancer incidence) ..................... 132
     Table 21. Estimated odds ratios by time since last QC use (breast cancer incidence) ................ 133
     Table 22. Family history and association between QC use and breast cancer incidence ............ 136
     Table 23. Breast cancer subtype and association between QC use and breast
        cancer incidence ..................................................................................................................... 137
     Table 24. Study characteristics and association between QC use and breast
        cancer mortality ..................................................................................................................... 139
     Table 25. Strength of evidence domains for the effect of QC use on breast cancer .................... 142
     Table 26. Study characteristics and association between QC use and cervical
        cancer incidence ..................................................................................................................... 144
     Table 27. Data for outcomes on duration of QC use (cervical cancer incidence) ....................... 149
     Table 28. Estimated odds ratios by duration of QC use (cervical cancer incidence) .................. 150
     Table 29. Study characteristics and association between QC use and cervical
        cancer mortality ..................................................................................................................... 151
     Table 30. Strength of evidence domains for the effect of QC use on cervical cancer.. ............... 152
     Table 31. Study characteristics and association between QC use and colorectal
        cancer incidence ..................................................................................................................... 153
     Table 32. Data for outcomes on duration of QC use (colorectal cancer incidence) .................... 158
     Table 33. Estimated odds ratios by duration of QC use (colorectal cancer incidence) ............... 158
     Table 34. Study characteristics and association between QC use and colorectal
        cancer mortality ..................................................................................................................... 160
     Table 3 5. Strength of evidence domains for the effect of QC use on colorectal cancer.. ............ 161
     Table 36. Study characteristics and association between QC use and endometrial
        cancer incidence ..................................................................................................................... 162
     Table 37. Data for outcomes on duration of QC use (endometrial cancer incidence) ................. 166
     Table 38. Estimated odds ratios by duration of QC use (endometrial cancer incidence) ............ 166
     Table 39. Study characteristics and association between QC use and endometrial
        cancer mortality ..................................................................................................................... 168
     Table 40. Strength of evidence domains for the effect of QC use on endometrial cancer .......... 169
     Table 41. Variation in screening behaviors by cancer type and potential confounding
        on incidence and mortality estimates ..................................................................................... 174
     Table 42. Summary of inclusion and exclusion criteria for QCs and vascular events ................ 179




                                                                          X




                                                                                                                                             00803229
Exhibit 163                                                                                                                               JA-0002771
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 12 of 173




     Table 43. Study characteristics and association between QC use and venous
        thromboembolism incidence .................................................................................................. 183
     Table 44. Data for risk of VTE on low-dose versus high-dose estrogen ..................................... 194
     Table 45. Estimated odds ratio by estrogen-dose level (VTE incidence) .................................... 195
     Table 46. Data for outcomes on progestin generation (VTE incidence) ..................................... 196
     Table 47. Estimated odds ratio by progestin generation of combined QCs relative
        to noncurrent use (VTE incidence) ........................................................................................ 197
     Table 48. Comparative risk of VTE among different progestin formulations
        and generations (VTE incidence) ........................................................................................... 199
     Table 49. Strength of evidence domains for the effect of QC use on venous
        thromboembolic events ......................................................................................................... .203
     Table 50. Study characteristics and association between QC use and stroke incidence ............. .205
     Table 51. Stroke incidence odds by estrogen dose compared with nonuse of QCs .................... .214
     Table 52. Estimated odds ratios by estrogen dose compared with nonuse of QCs
        (stroke incidence) ................................................................................................................... 215
     Table 53. Study characteristics and association between QC use and stroke mortality ............. .217
     Table 54. Strength of evidence domains for the effect of QC use on stroke .............................. .219
     Table 55. Study characteristics and association between QC use and myocardial
        infarction incidence ............................................................................................................... .221
     Table 56. Data for outcomes on progestin generation (myocardial infarction incidence) .......... .227
     Table 57. QC progestin generation and myocardial infarction risk in current QC users
        compared with nonusers ....................................................................................................... .228
     Table 58. Study characteristics and association between QC use and myocardial
        infarction mortality ............................................................................................................... .230
     Table 59. Strength of evidence domains for the effect of QC use on myocardial
        infarction ............................................................................................................................... .232
     Table 60. Relative risk estimates for association between QC use and incidence
        of outcomes of interest .......................................................................................................... .240
     Table 61. Key parameter values, ranges, and distributions ........................................................ .242
     Table 62. Five QC use scenarios used in model ......................................................................... .244
     Table 63. Estimated life expectancy and lifetime number of cases and deaths from
        cancers and vascular events .................................................................................................. .260
     Table 64. Estimated lifetime excess cases and deaths (harms) and prevented cases
        (benefits) per 100,000 women .............................................................................................. .264

     Figures
     Figure A Analytic framework for systematic review ............................................................... ES-3
     Figure B. Increase or decrease in age-specific incidence of cancers in ever QC users
        versus never users .............................................................................................................. ES-20
     Figure C. Increase in age-specific incidence of vascular events in current QC users
        versus noncurrent users ...................................................................................................... ES-21
     Figure 1. Projected ovarian cancer incidence and mortality for 2010 to 2050 ................................ 1
     Figure 2. Age-specific incidence and mortality for ovarian cancer.. .............................................. .2
     Figure 3. Age-adjusted ovarian cancer incidence and mortality rates ............................................. 3
     Figure 4. Age-specific incidence by age-period cohort ................................................................... 5
     Figure 5. Age-specific mortality by age-period cohort .................................................................... 5



                                                                            Xl




                                                                                                                                                  00803230
Exhibit 163                                                                                                                                    JA-0002772
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 13 of 173




     Figure 6. Analytic framework for systematic review ...................................................................... 9
     Figure 7. Report roadmap .............................................................................................................. 10
     Figure 8. Literature flow diagram ................................................................................................. .22
     Figure 9. Analytic framework for QCs and ovarian cancer.. ........................................................ .25
     Figure 10. Forest plot for ever versus never QC use (case-control studies, ovarian
        cancer incidence) ..................................................................................................................... 43
     Figure 11. Forest plot for ever versus never QC use (cohort studies, ovarian
        cancer incidence) ..................................................................................................................... 44
     Figure 12. Impact of duration of QC use on ovarian cancer incidence ......................................... 64
     Figure 13. Forest plot for high-dose estrogen (ovarian cancer incidence) .................................... 80
     Figure 14. Forest plot for low-dose estrogen (ovarian cancer incidence) ...................................... 81
     Figure 15. Forest plot for high-dose versus low-dose estrogen (ovarian cancer incidence) .......... 81
     Figure 16. Forest plot for high-dose progestin (ovarian cancer incidence) ................................... 83
     Figure 17. Forest plot for low-dose progestin (ovarian cancer incidence) .................................... 83
     Figure 18. Forest plot for high- versus low-dose progestin (ovarian cancer incidence) ................ 84
     Figure 19. Forest plot for BRCAl carriers (ovarian cancer incidence) ......................................... 85
     Figure 20. Forest plot for BRCA2 carriers (ovarian cancer incidence) ......................................... 85
     Figure 21. Forest plot for BRCAl or BRCA2 carriers (ovarian cancer incidence) ....................... 86
     Figure 22. Analytic framework for QCs and other cancers ......................................................... 102
     Figure 23. Forest plot for ever versus never QC use (case-control studies, breast
        cancer incidence) ................................................................................................................... 124
     Figure 24. Forest plot for ever versus never QC use (cohort studies, breast
        cancer incidence) ................................................................................................................... 125
     Figure 25. Estimated and model-fitted odds ratios for time since last QC use
        (breast cancer incidence) ........................................................................................................ 13 4
     Figure 26. Forest plot for BRCA carriers compared with each other (breast
        cancer incidence) ................................................................................................................... 135
     Figure 27. Forest plot for ever versus never QC use (case-control studies, cervical
         cancer incidence) .................................................................................................................. 148
     Figure 28. Forest plot for ever versus never QC use (cohort studies, cervical
        cancer incidence) ................................................................................................................... 148
     Figure 29. Forest plot for ever versus never QC use (case-control and pooled studies,
        col orectal cancer incidence) ................................................................................................... 15 6
     Figure 30. Forest plot for ever versus never QC use (cohort studies, colorectal
        cancer incidence) ................................................................................................................... 157
     Figure 31. Forest plot for ever versus never QC use (case-control and cohort studies,
        endometrial cancer incidence) ............................................................................................... 165
     Figure 32. Analytic framework for QCs and vascular events ...................................................... 179
     Figure 33. Forest plot for current versus noncurrent QC use and the risk of VTE ...................... 192
     Figure 34. Forest plot for ischemic/undifferentiated stroke ........................................................ .21 l
     Figure 35. Forest plot for ischemic stroke .................................................................................. .212
     Figure 36. Forest plot for hemorrhagic stroke ............................................................................ .213
     Figure 37. Effect of QC use on stroke mortality ......................................................................... .218
     Figure 38. Forest plot for current versus noncurrent QC use (myocardial
        infarction incidence) ............................................................................................................. .225
     Figure 39. Effect of QC use on myocardial infarction mortality ................................................ .23 l



                                                                         Xll




                                                                                                                                             00803231
Exhibit 163                                                                                                                               JA-0002773
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 14 of 173




     Figure 40. Analytic framework for overall benefits and harms of QCs ..................................... .238
     Figure 41. Estimated age-specific incidence of ovarian cancer among ever versus
        never QC users ...................................................................................................................... .250
     Figure 42. Estimated age-specific incidence of breast cancer among ever versus
        never QC users ...................................................................................................................... .251
     Figure 43. Estimated age-specific incidence of cervical cancer among ever versus
        never QC users ...................................................................................................................... .252
     Figure 44. Estimated age-specific incidence of colorectal cancer among ever versus
        never QC users ...................................................................................................................... .253
     Figure 45. Estimated age-specific incidence of endometrial cancer among ever
        versus never QC users ........................................................................................................... .254
     Figure 46. Estimated age-specific incidence of hospitalizations for deep vein
        thrombosis among current versus noncurrent QC users aged 15 to 44 ................................. .255
     Figure 47. Estimated age-specific incidence of hospitalizations for pulmonary
        embolism among current versus noncurrent QC users aged 15 to 44 ................................... .256
     Figure 48. Estimated age-specific incidence of hospitalizations for stroke among
        current versus noncurrent QC users aged 15 to 44 ............................................................... .257
     Figure 49. Estimated age-specific incidence of hospitalizations for acute myocardial
        infarction among current versus noncurrent QC users aged 15 to 44 ................................... .258
     Figure 50. Increase or decrease in age-specific incidence of cancers in ever QC users
        versus never users ................................................................................................................. .259
     Figure 51. Increase in age-specific incidence of vascular events in current QC users
        versus noncurrent users ......................................................................................................... .259
     Figure 52. Age at first use and duration of use: ovarian cancer incidence ................................. .267
     Figure 53. Age at first use and duration of use: ovarian cancer mortality .................................. .268
     Figure 54. Age at first use and duration of use: breast cancer incidence .................................... .268
     Figure 55. Age at first use and duration of use: breast cancer mortality .................................... .269
     Figure 56. Age at first use and duration of use: cervical cancer incidence ................................ .269
     Figure 57. Age at first use and duration of use: cervical cancer mortality ................................. .270
     Figure 58. Age at first use and duration of use: colorectal cancer incidence ............................. .270
     Figure 59. Age at first use and duration of use: colorectal cancer mortality .............................. .271
     Figure 60. Age at first use and duration of use: endometrial cancer incidence .......................... .271
     Figure 61. Age at first use and duration of use: endometrial cancer mortality ........................... .272
     Figure 62. Age at first use and duration of use: deep vein thrombosis incidence ...................... .272
     Figure 63. Age at first use and duration of use: deep vein thrombosis mortality ....................... .273
     Figure 64. Age at first use and duration of use: pulmonary embolism incidence ...................... .273
     Figure 65. Age at first use and duration of use: pulmonary embolism mortality ....................... .274
     Figure 66. Age at first use and duration of use: stroke incidence ............................................... .274
     Figure 67. Age at first use and duration of use: stroke mortality ............................................... .275
     Figure 68. Age at first use and duration of use: myocardial infarction incidence ...................... .275
     Figure 69. Age at first use and duration of use: myocardial infarction mortality ....................... .276
     Figure 70. Age at first use and duration of use: life expectancy ................................................. .276
     Figure 71. Age at first use and duration of use: total harms incidence ....................................... .277
     Figure 72. Age at first use and duration of use: total harms mortality ....................................... .277
     Figure 73. Age at first use and duration of use: total benefits incidence .................................... .278
     Figure 74. Age at first use and duration of use: total benefits mortality .................................... .278



                                                                         xm




                                                                                                                                             00803232
Exhibit 163                                                                                                                               JA-0002774
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 15 of 173




     Figure 75. Age at first use and duration of use: harm/benefit ratio of QC use
         on incidence ......................................................................................................................... .279
     Figure 76. Age at first use and duration of use: harm/benefit ratio of QC use
         on mortality .......................................................................................................................... .279
     Figure 77. Distribution of net life expectancy difference due to QC effects .............................. .280
     Figure 78. Harm/benefit acceptability for incidence, modeled as ever/never use
        or duration of use .................................................................................................................. .281
     Figure 79. Harm/benefit acceptability for mortality, modeled as ever/never use
         or duration of use ................................................................................................................. .281
     Figure 80. Effect of specific harms on harm/benefit acceptability for incidence
        (duration model only) ........................................................................................................... .283
     Figure 81. Effect of specific benefits on harm/benefit acceptability for incidence
        (duration model only) ........................................................................................................... .283
     Figure 82. Effect of specific harms on harm/benefit acceptability for mortality
        (duration model only) ........................................................................................................... .284
     Figure 83. Effect of specific benefits on harm/benefit acceptability for mortality
        (duration model only) ........................................................................................................... .284


     Appendixes
     Appendix A Exact Search Strings
     Appendix B. Data Abstraction Elements
     Appendix C. Included Studies
     Appendix D. Excluded Studies
     Appendix E. Analyses of Potential Publication Bias
     Appendix F. Model Description and Parameters




                                                                          XIV




                                                                                                                                                00803233
Exhibit 163                                                                                                                                  JA-0002775
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 16 of 173




                                     Executive Summary
     Background
         Ovarian cancer is the eighth most common cancer in women and is the fifth leading cause of
     cancer death, with an age-adjusted rate of 8.2 deaths per I 00,000 women. 1 Given current age-
     specific incidence and demographic projections, the number of cases of ovarian cancer will
     almost double over the next 35 years as women born between 1946 and 1964 (the "baby boom"
     generation) reach the age of highest incidence (60 years and older). 2
         While advances in surgery, chemotherapy, and radiation therapy over the past 20 years have
     led to improved outcomes, overall 5-year survival is only 42 percent for ovarian cancer
     compared with 88 percent for breast cancer and 63 percent for colorectal cancer. The high
     mortality rate in women with ovarian cancer is largely attributed to the later stage at presentation
     compared with other common cancers. This has led to intense research efforts to identify
     effective screening strategies for ovarian cancer, but results have been disappointing, particularly
     with regard to decreases in mortality.
         The lack of a detectible preinvasive lesion, as well as the lack of physical barriers to
     metastasis because of the ovary's location in the abdominal cavity, raise the possibility that
     effective screening strategies may not be possible outside of high-risk populations because the
     time from initial cancer development to metastasis may be too short to allow for feasible
     screening intervals. This possibility has been supported by mathematical modeling studies. The
     required high frequency of screening, combined with the relatively low incidence of ovarian
     cancer, would lead to high numbers of false positive results, even with a highly specific test.
     Given this, one reasonable alternative approach to reducing morbidity and mortality from
     ovarian cancer would be to identify effective primary prevention strategies.
          Surgical prophylaxis through removal of the tubes and ovaries (bilateral salpingo-
     oophorectomy) has been used in women who are at a high risk of developing ovarian cancer due
     to the presence of a BRCAI or BRCA2 mutation, and there are ongoing trials of its effectiveness
     compared with intense screening. However, given the morbidity associated with surgery, and the
     potential effects of early menopause, this is not considered a reasonable option for the general
     population. Similarly, although observational studies suggest that both hysterectomy with
     ovarian preservation and tubal sterilization reduce the risk of ovarian cancer, this potential
     benefit is not typically part of the decisionmaking process that leads a patient to undergo one of
     the procedures.
         There is consistent evidence from a variety of sources that oral contraceptive (OC) use
     reduces ovarian cancer risk. This evidence includes declining age-specific ovarian cancer
     incidence and mortality in cohorts of women who had access to OCs throughout their
     reproductive life, and there are several biologically plausible mechanisms for a protective effect.
         The potential benefit of using OCs solely to reduce the risk of ovarian cancer must be
     weighed with knowledge of other potential noncontraceptive health benefits of OCs and potential
     harms. No comparative effectiveness analyses have been conducted to inform decisions about
     the use of OCs as a primary preventive strategy for ovarian cancer. Also, because the majority of
     evidence on noncontraceptive benefits and harms of OC use is derived from observational
     studies (case control and cohort), careful consideration must be given to the potential biases
     inherent in those study designs when developing a research agenda and clinical
     recommendations, as evidenced by the experience with hormone replacement therapy for
     prevention of cardiovascular morbidity and mortality. The combination of systematic review and


                                                    ES-I




                                                                                                     00803234
Exhibit 163                                                                                        JA-0002776
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 17 of 173




     decision-analytic modeling presented in this report allows us to estimate the tradeoffbetween the
     harms and benefits of OC use for the overall population and for individual women , accounting
     for the potential influence of other factors, such as timing of OC use or presence of risk factors
     such as family history.

     Scope and Key Questions
         This evidence report was funded by the Centers for Disease Control and Prevention (CDC) in
     conjunction with the Agency for Healthcare Research and Quality (AHRQ), and was designed to
     evaluate the benefits and harms of the use of oral contraceptives as a primary preventive measure
     against ovarian cancer. We focused on synthesizing the available evidence for the effectiveness
     of this strategy in a general population and in groups at elevated risk. We also evaluated benefits
     and harms of OC use that are not related to the development of ovarian cancer. Finally, we
     designed a comparative effectiveness model to inform the questions generated by this review.
         The scope of the review specifically excluded the unquestioned effectiveness of OCs in
     preventing unintended pregnancies; the potential effectiveness of OCs as primary or adjunctive
     treatments for conditions such as menstrual disorders (e.g., dysmenorrhea or menorrhagia),
     endometriosis, or premenstrual dysphoric disorder; and the potential role of OCs in preventing
     the onset of these conditions.

     Key Questions
         With input from AHRQ, the CDC, and a Technical Expert Panel of external stakeholders, we
     defined Key Questions using the general approach of specifying the population of interest,
     interventions, comparators, outcomes, timing of outcomes, and settings (PICOTS). The Key
     Questions (KQs) considered in this systematic review are:

        KQ 1: What is the effectiveness of combined (estrogen and progestin containing) and
     progestin-only OCs for reducing the risk of ovarian cancer?

         KQ 2: Do specifics of OC use (e.g., dose/formulation, age at initiation, duration of use)
     affect the relative risk of developing ovarian cancer?

         KQ 3: Does the use of OCs by specific populations of women (e.g., those defined by age,
     family history of breast and ovarian cancer, BRCA1/BRCA2 mutation status, parity) affect the
     relative risk of developing ovarian cancer?

          KQ 4: Aside from pregnancy prevention, are there other benefits of OC use in reducing the
     risks of endometrial cancer or colorectal cancer?

         KQ 5: What are the harms of OC use, including breast cancer incidence, cervical cancer
     incidence, venous thromboembolic disease, stroke, or myocardial infarction? How do these
     harms vary by dose or formulation, duration of use, or specific population?

          KQ 6: Based on the comprehensive literature review, what are the benefits and harms from
     the use of OCs to reduce the incidence of ovarian cancer for specific populations? Based on the
     decision model, what is the estimated effect of these benefits and harms on life expectancy and
     quality-adjusted life expectancy?


                                                    ES-2




                                                                                                       00803235
Exhibit 163                                                                                          JA-0002777
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 18 of 173




          KQ 7: Based on the systematic review and decision model, what research gaps need to be
     filled to better understand whether QCs are effective for the primary prevention of ovarian
     cancer?

     Analytic Framework
          Figure A shows the analytic framework for this systematic review.


     Figure A. Analytic framework for systematic review



                   ,   ,;
                            ,.   . -- - - - - --.... ....
               I
                                                              ' '\                                                                       Other Benefits
              I                    Age, family history,
                                                                                                                                   Reductions in incidence or
              \                    BRCA status, parity
                                                                                                                                   mortality of:
               ''           .                                                                                                        Endometrial cancer
                       '
                                   ....   ---.---                                                                                  • Colorectal cancer



                                             1
                                     KQ3




                                      Women at risk                                                                                    Primary Outcomes
                                       for ovarian                                                                                     Ovarian cancer
                                         cancer                                                                                        incidence and mortality




                                                                                       1    KQ2                                           Other Harms
                                                                                                                                   Incidence and mortality of:


                                                                 ,;
                                                                      ,,,.,---
                                                                                 ___ 1. __
                                                                                                --   ........
                                                                                                                '
                                                                                                                       ',
                                                                                                                                      Venous
                                                                                                                                      thromboembolism
                                                          , ,;                    Age at initiation,                                  Breast cancer
                                                          I                 dose/formulation, duration                                Cervical cancer
                                                          \                           of use                           ,'             Stroke
                                                              '            _________ __
                                                                  .......... ....                     __   .,,,,. ,;
                                                                                                                                      Myocardial infarction




     BRCA = breast cancer genetic mutation; KQ = Key Question; OC                                           = oral contraceptive
     Note: KQ 7 is not shown in the analytic framework.


     Organization of Report and Executive Summary
         This report departs from the standard AHRQ evidence-report organization. The evidence is
     instead presented in four topic-focused sections. Three of the sections address the relationship
     between QC use and specific groups of benefits and/or harms: ovarian cancer (KQ 1, KQ 2, and
     KQ 3); breast, cervical, colorectal, and endometrial cancers (KQ 4 and KQ 5); and venous
     thromboembolism, stroke, and myocardial infarction (KQ 5). Within each section, the benefits
     and/or harms of QC use are considered for both the general population and specific populations
     of women for whom the risk levels of ovarian cancer are elevated. Each section also assesses


                                                                                                  ES-3




                                                                                                                                                                   00803236
Exhibit 163                                                                                                                                                      JA-0002778
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 19 of 173




     potential modifying factors such as dose, formulation, and duration of QC use, and considers
     specific evidence gaps and needs for future research regarding the association between QC use
     and the specific outcomes (KQ 7). The final section of the report uses a decision analytic
     framework to explore the overall benefits and harms from all outcomes considered in the report
     for both the general population and specific populations (KQ 6), as well as identifies additional
     evidence gaps and needs for future research related to the potential overall benefits and harms of
     QCs for the prevention of ovarian cancer (KQ 7). For the purposes of this Executive Summary,
     we present the results organized by Key Question.

     Methods
         The methods for this evidence report follow those suggested in the AHRQ "Methods Guide
     for Effectiveness and Comparative Effectiveness Reviews," hereafter referred to as "Methods
     Guide" (www.effectivehealthcare.ahrq.gov/methodsguide.cfm). 3

     Literature Search Strategy
         We searched PubMed®, Embase®, and the Cochrane Database of Systematic Reviews to
     identify relevant literature published from January 1990 to June 2012, using the National Library
     of Medicine's medical subject headings (MeSH) keyword nomenclature developed for
     MEDLINE® and adapted for use in other databases. We restricted the search to articles published
     subsequent to January 1990 to increase the likelihood that the types of QCs used by the women
     in the studies we retrieved were similar to those currently available, maximizing the
     generalizability and clinical relevance of the results. We also searched the ClinicalTrials.gov
     registry to identify additional relevant articles from completed studies.
         We supplemented the electronic searches with a manual search of citations from a set of key
     review articles. The reference lists from these articles were hand-searched and cross-referenced
     against our library of database search results. Additional relevant articles not already under
     consideration were retrieved for screening. All citations were imported into an electronic
     database (EndNote® Version X4; Thomson Reuters, Philadelphia, PA). We did not
     systematically search gray literature databases beyond ClinicalTrials.gov, since the high volume
     of literature identified through our searches of peer-reviewed articles made it unlikely that
     further searching of gray literature would substantially increase the chances of identifying
     relevant data that would meet inclusion criteria. We invited drug manufacturers to submit
     additional information through a scientific information packets request, which was sent by
     AHRQ on our behalf Submissions received through this mechanism were reviewed, and relevant
     citations were screened against the review inclusion/exclusion criteria.

     Inclusion and Exclusion Criteria
          Table A presents the inclusion/exclusion criteria for this systematic review.




                                                     ES-4




                                                                                                    00803237
Exhibit 163                                                                                       JA-0002779
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 20 of 173




     Table A. Summary of inclusion and exclusion criteria
           Study
                                            Inclusion Criteria                              Exclusion Criteria
        Characteristic
                         •   All KQs:
                             0   Women taking OCs for contraception or women
                                 taking OCs for primary prevention of ovarian
                                 cancera
                             0   Women who do not have a history of ovarian
                                 cancer and have not undergone bilateral
       Population                oophorectomy                                       Nonhuman studies
                         •   KQs 3 and 6:
                             0   Women with a family history of ovarian or
                                 premenopausal breast cancer, suggesting
                                 increased risk according to current
                                 recommendations
                             0   Women with a known BRCA1/BRCA2 mutation
                                                                                    Studies that do not provide a
                                                                                    description of at least one of the
                                                                                    following:
                                                                                    (1) OC formulation(s) used
                                                                                    (2) Length of OC use
                         OC use (includes OC use for varying time periods and
       Interventions
                         OC use with different formulations)
                                                                                    (Not required for studies reporting
                                                                                    ovarian cancer outcomes or
                                                                                    conducted in a population taking
                                                                                    OCs for primary prevention of
                                                                                    ovarian cancer)
                                                                                    Studies that do not include
                                                                                    controls; i.e., an estimate of
                                                                                    outcomes in women not using
                         No use of combination or progestin-only OCs, including
                                                                                    OCs (population estimates are
                         either no contraceptive method at all or contraceptive
                                                                                    acceptable)
                         methods other than combination or progestin-only OCs
       Comparators                                                                  Studies comparing OC
                         (e.g., natural family planning, barrier methods,
                                                                                    formulations (without including a
                         sterilization, intrauterine devices, injectable or
                                                                                    non-OC control) are acceptable
                         implantable hormonal contraception)
                                                                                    for studies reporting venous
                                                                                    thromboembolism, stroke, or Ml
                                                                                    outcomes
                         Study reports quantitative association between exposure
                         to OCs and one of the outcomes listed below:
                         • KQs 1, 2, 3, 6:
                             0  Diagnosis of ovarian cancer, ovarian cancer
                                mortality
                             0 Adverse effects (see KQ 5)
                         • KQ4:
                             0  Diagnosis of endometrial cancer, endometrial        Study only reports outcomes
       Outcomes                 cancer mortality, diagnosis of colorectal cancer,   related to assisted reproductive
                                colorectal cancer mortality                         technologies or abortion
                             0 Adverse effects (see KQ 5)
                         • KQ5:
                             0  Diagnosis of breast cancer, cervical cancer,
                               venous thromboembolic event, stroke, or
                                myocardial infarction; disease-specific mortality
                                associated with these outcomes
                         • KQ 7: Not aoolicable




                                                           ES-5




                                                                                                                         00803238
Exhibit 163                                                                                                        JA-0002780
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 21 of 173




       Table A. Summary of inclusion and exclusion criteria (continued)
             Study
                                                  Inclusion Criteria                                    Exclusion Criteria
        Characteristic
       Timina               Studies of anv duration                                            None
       Setting              All settings                                                       None
                            • Controlled studies (randomized trials, cohort studies,           •   Not a clinical study (e.g.,
                                case-control studies), pooled patient-level meta-
                                                                                                   editorial, nonsystematic review,
                                analyses, or systematic reviews and study-level
       Study design                                                                                letter to the editor)
                                meta-analysesb
                            • Study sample     size ~ 100 subjects for non randomized          •   Exploratory study with
                                        0                                                          inadequate sample size
                                studies
                            • English-language only
                            • Peer-reviewed articles
                            • Outcome reporting falls within the following
                                publication ranges:
                                0   Study reports an ovarian cancer outcome of
                                    interest and was published on or after Jan.
                                    1, 1990d
       Publications                                                                            Non-English articles 9
                                0   Study reports a breast, endometrial, cervical, or
                                    colorectal cancer outcome of interest and was
                                    published on or after Jan. 1, 2000e
                                0   Study reports a venous thromboembolic event,
                                    stroke, or myocardial infarction outcome of
                                    interest and was published on or after Jan. 1,
                                         1
                                     1995
     BRCA = breast cancer (genetic mutat10n); KQ = Key Question; OC = oral contraceptive
     alf the purpose of OC use was unclear, it was assumed to be for contraception.
     bSystematic reviews and study-level meta-analyses were excluded from direct abstraction, while those representing key sources
     were hand-searched as potential sources of additional material.
     csmall nomandomized studies less than 100 subjects were excluded because confidence intervals for outcomes of interest are
     generally quite wide if appropriate adjushnent for confounding is performed, and variability in reporting of potential confounders
     makes meta-analysis problematic.
     dWe considered studies published from January 2000 to June 2012 for the primary, ovarian cancer, outcome analyses. Older data
     (with publication dates begimling January 1990) were used to conduct sensitivity analyses, allowing us to compare the results
     from the January 2000 to June 2012 analyses with those from a longer date range (January 1990 to June 2012).
     eDate ranges for these cancer outcomes were selected to balance generalizability (OC formulations used in earlier studies not
     currently on market) and power (peak incidence of cancers 10 to 30 years after typical use of oral contraceptives).
     fDate ranges for acute vascular events associated with OC use were restricted to more recent years to reflect currently available
     formulations.
     gNon-English articles were excluded (1) due to the high volume ofliterature available in English-language publications
     (including the majority of known important studies), and (2) due to concerns about the applicability of non-English publication
     studies to populations in the United States. The variability in OC formulations approved for use across countries increases the
     likelihood that non-English language studies would include OCs not available or not in use in the United States.


     Study Selection
         Using the inclusion and exclusion criteria described in Table A, two investigators
     independently reviewed the titles and abstracts of articles retrieved through the search strategies
     for potential relevance to the KQs. Articles included by either reviewer were promoted to full-
     text screening. At the full-text screening stage, two investigators independently reviewed the full
     text of each article and indicated a decision to include or exclude the article for data abstraction.
     When paired reviewers arrived at different decisions about whether to include or exclude an
     article, or about the reason for exclusion, we reconciled the difference through review and
     discussion among investigators. Articles meeting eligibility criteria were included for data
     abstraction. All screening decisions were made and tracked in a DistillerSR database (Evidence
     Partners, Manotick, ON, Canada).



                                                                  ES-6




                                                                                                                                   00803239
Exhibit 163                                                                                                                     JA-0002781
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 22 of 173




     Data Extraction
         The investigative team created forms for abstracting the data elements for the KQs, which
     were pilot tested with a sample of included articles to ensure that all relevant data elements were
     captured and that there was consistency and reproducibility between abstractors for accuracy. A
     pair of researchers with complementary clinical and methodological expertise was assigned to
     abstract data from the eligible articles. One researcher abstracted the data, and the second
     reviewed the completed abstraction form alongside the original article to check for accuracy and
     completeness. Disagreements were resolved by consensus or by obtaining a third researcher's
     opinion if consensus could not be reached by the first two researchers.
         To aid in both reproducibility and standardization of data collection, guidance documents
     were drafted and given to the researchers as reference material. The forms for the researchers,
     created via the DistillerSR data synthesis software, contained further data abstraction
     instructions. We designed the data abstraction forms to collect information required to conduct
     the review, which included the following: data needed to evaluate the specified eligibility criteria
     for inclusion; demographic and other relevant patient characteristics (e.g., family history of
     ovarian cancer); details of the interventions and comparators (e.g., OC dose, formulation,
     patterns of use); outcome measures and adjustment factors applied in study analyses; and data
     needed to assess quality and applicability.

     Risk-of-Bias Assessment of Individual Studies
         The included studies were assessed using the approach described in AHRQ's "Methods
     Guide." 3 To assess quality, we used the approach to (1) classify the study design, (2) apply
     predefined criteria for quality and critical appraisal, and (3) arrive at a summary judgment of the
     study's quality. To evaluate methodological quality, we applied criteria for each study type
     derived from core elements described in the "Methods Guide." Criteria of interest for all studies
     included similarity of groups at baseline, the extent to which outcomes were described, blinding
     of subjects and providers, blinded assessment of the outcome(s), intention-to-treat analysis,
     differential loss to followup between the compared groups or overall high loss to followup, and
     conflicts of interest. No randomized controlled trials were identified for inclusion in this review;
     thus, criteria specific to randomized studies (e.g., methods of randomization and allocation
     concealment) were not considered.
         Additional elements considered for observational studies included methods for selection of
     participants and management of selection bias, measurement of interventions/exposures,
     addressing any design-specific issues, and controlling confounding. To indicate the summary
     judgment of the quality for the individual studies, we used the summary ratings of good, fair, and
     poor. For each study, one investigator assigned a summary-quality rating, which was then
     reviewed by a second investigator; disagreements were resolved by consensus or by a third
     investigator if agreement could not be reached. In some cases, data from a study composed of
     more than one article could not be combined into one abstraction. In those instances, the quality
     ratings for individual abstractions within a study grouping could vary based on the specific
     component articles' quality ofreporting, the evaluated outcomes, and the statistical and
     analytical methods used.




                                                    ES-7




                                                                                                     00803240
Exhibit 163                                                                                        JA-0002782
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 23 of 173




     Data Synthesis
         After data extraction, we determined the feasibility of completing a quantitative synthesis by
     assessing the volume of relevant literature, the conceptual homogeneity of studies, and the
     completeness of results reporting. Outcomes assessed by meta-analysis, if feasible, included
     disease-specific incidence, disease-specific mortality, and disease-specific survival. Our general
     approach for each outcome was to analyze, if possible, the following associations: (1) temporal
     relationships (current vs. noncurrent OC use, ever vs. never OC use, and duration of current OC
     use), (2) OC formulation (estrogen dose [high vs. low], progestin generation [first, second, third,
     and fourth generations]), and (3) special populations (such as women with known family history
     or genetic predisposition).
         When study designs and outcomes reported were similar and the population in the study was
     broad (e.g., not factor V Leiden carriers), we estimated pooled odds ratios with 95% confidence
     intervals (95% confidence intervals [Cls]) using a random-effects model. We evaluated
     heterogeneity visually and with the Cochran Q statistic using a threshold p-value of less than
     0.10. We stratified analyses by study type (i.e., case-control, cohort, pooled analyses). All meta-
     analyses were performed using Comprehensive Meta-Analysis Version 2.0. 4
         Results were discussed qualitatively when study numbers were insufficient for meta-analysis
     (less than three), when confidence intervals around measures of association were not reported or
     could not be calculated, or when a study included a special population that was not likely to be
     representative of the general population of women aged 15 to 44.
         We included data from pooled analysis articles in our meta-analysis if (1) none of the
     individual studies included in the pooled analysis had already been included for meta-analysis,
     (2) at least half the studies in the pooled analysis were published on or after the date threshold
     applied for the outcome under consideration in the analysis, and (3) data in the pooled analysis
     were presented such that inclusion in the current meta-analysis was feasible.
         For the outcomes of cumulative lifetime incidence and mortality, life expectancy, numbers
     needed to harm and prevent, and harm-to-benefit ratios, we constructed a semi-Markov state-
     transition model of a cohort of women aged 10 to 100, using TreeAge Pro 2012 (TreeAge
     Software, Inc., Williamstown, MA). Relative risk estimates were derived from the meta-analyses
     and other age-specific and race-specific probabilities that were obtained from the literature or
     publicly-available data sources. The model was run as a microsimulation, which allowed for
     conditioning of probabilities based on past history. Depending on the analysis, each model run
     included 5,000 to 1,000,000 simulated individuals; estimates of the outcomes of interest were
     based on the mean value of each model run ( or, in some cases, the weighted average of multiple
     model runs).
         Estimates were derived for both the overall population, given current OC use patterns (i.e.,
     the cumulative effect of current patterns of age of starting OCs, as well as duration of use, on the
     outcomes of interest [based on the risk estimates] compared with a scenario where OCs had no
     effect on risk), as well as on an individual level (the cumulative effect of OC use in all users,
     based on current patterns of use, vs. nonusers). The impact of varying age of starting OC use and
     duration of use was assessed in a separate analysis.
         Finally, we assessed the impact of uncertainty in the estimates of OC effects by using a
     method analogous to cost-effectiveness analysis. Instead of estimating a cost-effectiveness ratio,
     we estimated harm-to-benefit ratios, where total harms were considered "costs," and total
     benefits "effectiveness." We assessed the impact of uncertainty in the effects of OC use on both
     harms and benefits (based on the confidence intervals of the relative risk estimate) and on


                                                    ES-8




                                                                                                      00803241
Exhibit 163                                                                                         JA-0002783
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 24 of 173




     whether OC use would be recommended based on different "willingness-to-pay" thresholds
     according to the harm-to-benefit ratio.

     Strength of the Body of Evidence
         The strength of evidence for each Key Question and outcome was assessed using the
     approach described in the "Methods Guide." 3•5 The evidence was evaluated using the four
     required domains of (1) risk of bias, (2) consistency, (3) directness, and (4) precision.
     Additionally, when appropriate, the studies were evaluated for dose-response association, the
     presence of confounders that diminished an observed effect, strength of association (magnitude
     of effect), and publication bias. These domains were considered qualitatively, and a summary
     rating of "high," "moderate," or "low" for strength of evidence was assigned by two reviewers.
     In some cases, high, moderate, or low ratings were impossible or imprudent to make (for
     example, when no evidence was available or when evidence on the outcome was too weak,
     sparse, or inconsistent to permit a conclusion to be drawn). In these situations, a grade of
     "insufficient" was assigned.

     Applicability
         To assess applicability, we used the PICOTS format to identify specific issues that could
     limit the applicability of individual studies or a body of evidence, as recommended in the
     "Methods Guide." 3•6 We used data abstracted on the populations studied, the interventions and
     comparators, the outcomes measured, study settings, and timing of assessments to identify
     specific issues that could limit the applicability of individual studies or a body of evidence.
         Specific factors affecting applicability included (but were not limited to):
     (1) population, including indication for use (we anticipated that most of the literature would be
     based on women using OCs for contraception, not for primary prevention of ovarian cancer), and
     the distribution of risk factors, such as genetic predisposition, age, reproductive history, and
     smoking, that might affect the relative likelihood of different harms and benefits; (2) intervention
     and comparator, particularly the OC formulation since the lag time between exposure and onset
     of cancer means that the OCs used by women in observational studies may differ from currently
     available OCs; and (3) outcomes, since data on all relevant outcomes, particularly cancers, may
     not be available for newer OCs.
         We used these data to evaluate the applicability to clinical practice, paying special attention
     to study eligibility criteria, demographic features of the enrolled population in comparison with
     the target population, version or characteristics of the intervention used in comparison with
     therapies currently in use, and clinical relevance and timing of the outcome measures.

     Results
        The main results of the review are presented in this Executive Summary organized by KQ;
     more detailed descriptions are provided in the full report.

     Literature Search Results
         Searches of PubMed, Embase, and the Cochrane Database of Systematic Reviews yielded
     7,196 citations, 767 of which were duplicates. Manual searching and contacts with drug
     manufacturers via the scientific information packet requests identified 47 additional citations, for
     a total of 6,476. No additional relevant citations beyond those already identified were found


                                                    ES-9




                                                                                                      00803242
Exhibit 163                                                                                         JA-0002784
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 25 of 173




     during a search of relevant studies listed on ClinicalTrials.gov. After applying inclusion and
     exclusion criteria at the title-and-abstract level, 1,919 full-text articles were retrieved and
     screened. Of those, 1,671 were excluded at the full-text screening stage, leaving 248 articles
     (representing 157 unique studies) for data abstraction. As indicated in Figure 8 in the full report,
     several articles and studies were relevant to more than one outcome of interest-55 relevant to
     ovarian cancer outcomes (KQ 1, KQ 2, KQ 3), 66 to other cancers of interest (KQ 4, KQ 5), and
     50 to vascular events (KQ 5).

     Key Question 1. Effectiveness of QC Use for Reducing Incidence of
     Ovarian Cancer
         Table B shows the strength of evidence for the effect of OC use on ovarian cancer. We
     identified 55 studies that evaluated the association between OC use and the incidence of ovarian
     cancer. Of these, 39 were case-control studies, 10 were cohort studies, and 6 were pooled
     analyses. None of the pooled analyses met criteria for inclusion in the meta-analyses examining
     OC use and ovarian cancer incidence. (Criteria for inclusion of studies in the meta-analyses, and
     reasons for excluding any studies that were not incorporated, are described in the full report.)
     Ever use of OCs was consistently associated with a decreased risk of developing invasive
     ovarian cancer (odds ratio [OR], 0.73; 95% CI, 0.66 to 0.81). Ever use ofOCs was significantly
     associated with a decreased risk of dying from invasive ovarian cancer in two large cohort
     studies, although formal meta-analysis was not performed. Although results were consistent,
     direct, and precise for ever use versus never use and for duration of use, strength of evidence was
     moderate because of the persistent risk of bias due to the observational nature of the studies.


     Table B. Strength of evidence domains for the effect of OC use on ovarian cancer
                      Number of                   Domains Pertaining to SOE
                        Studies                                                                SOE and
      Comparison        (Women          Risk of                                            Magnitude of Effect
                                                  Consistency    Directness    Precision
                         and/or          Bias                                                  (95% Cl)
                     Person-Years)
                                   Incidence of Ovarian Cancer in Overall Population
                           24
                        (657,055                                                                Moderate
      Ever vs.
                      women and        Medium      Consistent       Direct      Precise            0.73
      never use
                       3,981,072                                                              (0.66 to 0.81)
                     person-years)
                                                                                                Moderate
                                                                                             1-12 mo: 0.91
                           15                                                                 (0. 78 to 1.07)
                       (547,363                                                              13-60 mo: 0. 77
      Duration of
                      women and       Medium      Consistent       Direct       Precise       (0.66 to 0.89)
      use
                       3,493,072                                                            61-120 mo: 0.65
                     person-years)                                                            (0.55 to 0.77)
                                                                                             >120 mo: 0.43
                                                                                              (0.37 to 0.51)
                                                                                                    Low
                                                                                               <20 yr: 0.63
                                                                                              (0.45 to 0.89)
                          6                                                                  20-24 yr: 0.71
      Age at first
                       (111,817         High      Consistent       Direct      Imprecise      (0.51 to 0.99)
      use
                        women)                                                               25-30 yr: 0.67
                                                                                              (0.46 to 0.99)
                                                                                               > 30 yr: 0.89
                                                                                              (0.60 to 1.32)



                                                       ES-10




                                                                                                                00803243
Exhibit 163                                                                                                JA-0002785
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 26 of 173




      Table B. Strength of evidence domains for the effect of OC use on ovarian cancer (continued)
                        Number of                  Domains Pertaining to SOE
                          Studies                                                                            SOE and
      Comparison          (Women        Risk of                                                          Magnitude of Effect
                           and/or                  Consistency    Directness     Precision                   (95% Cl)
                                         Bias
                       Person-Years)
                              Incidence of Ovarian Cancer in Overall Population (continued)
                                                                                                                 Low
                                                                                                            0-10 yr: 0.41
                             8                                                                              (0.34 to 0.50)
                         (210,069                                                                           10-20 yr: 0.65
      Time since
                        women and            High       Inconsistent        Direct        Imprecise         (0.56 to 0.74)
      last use
                         1,083,000                                                                          20-30 yr: 0.92
                       person-years)                                                                        (0.76to 1.12)
                                                                                                             >30 yr: 0.79
                                                                                                            (0.58to 1.12)
      High-dose                                                                                                  Low
                              6
      vs. low-dose                           High        Consistent         Indirect      Imprecise              1.25
                       (9,007 women)
      estroQen                                                                                              (0.95to 1.64)
      High-dose                                                                                                  Low
                              4
      vs. low-dose                           High       Inconsistent        Indirect      Imprecise              0.86
                       (7,528 women)
      proQestin                                                                                             (0.60 to 1.21)
                                       Incidence in BRCA1- or BRCA2-Positive Women
                                                                                                               Moderate
      Ever vs.                3
                                           Medium        Consistent         Direct         Precise                0.58
      never use        (6,855 women)
                                                                                                             (0.46 to 0. 73)
                                              Incidence in BRCA1-Positive Women
                                                                                                               Moderate
      Ever vs.                4
                                           Medium        Consistent         Direct         Precise                0.55
      never use        (5,519 women)
                                                                                                             (0.47 to 0.66)
                                              Incidence in BRCA2-Positive Women
                                                                                                                 Low
      Ever vs.                3
                                           Medium       Inconsistent        Direct        Imprecise              0.65
      never use        (1,592 women)
                                                                                                             (0.34to 1.24)
                                               Incidence in Women With Familv Historv
      Ever vs.                 3                                                                                    Low
                                                High       Inconsistent           Direct          Imprecise
      never use         (9,193 women)                                                                       Decreased incidence
                                Incidence in Gravid/Parous and Nul!igravidNul!iparous Women
      Ever vs.                 2
                                              Medium       Inconsistent           Direct          Imprecise     Insufficient
      never use         (4,732 women)
                                                     Mortality From Ovarian Cancer
                               2
                            (46,112                                                                              Moderate
      Ever vs.
                          women and           Medium        Consistent            Direct          Imprecise  Decreased cause-
      never use
                            602,700                                                                           specific mortality
                         person-years)
                                           Survival Among Women With Ovarian Cancer
      Ever vs.                 1                                                                                Insufficient
                                                High            NA                Direct          Imprecise                    3
      never use          (676 women)                                                                          (not performed)
     BRCA = breast cancer genetic mutation; CI = confidence mterval; mo = month/months; NA = not applicable; SOE = strength of
     evidence; yr= year/years
     aThe available data were not sufficient to perform a meta-analysis; refer to full report for details.


     Key Question 2. Effect of Specifics of QC Use on Ovarian Cancer
     Incidence
        Longer duration of OC use is significantly associated with greater reductions in ovarian
     cancer incidence (Table B). This conclusion is based on a meta-analysis of 15 studies. Of these,



                                                               ES-11




                                                                                                                               00803244
Exhibit 163                                                                                                                JA-0002786
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 27 of 173




     10 were case-control studies representing 6,901 cases and 15,999 controls, and 5 were cohort
     studies representing 524,463 participants in 3 of the studies and 3,493,072 person-years in the
     other two studies. Seven studies were rated good quality, seven fair quality, and one poor quality.
     We excluded study datasets that reported fewer than three duration categories; reported odds
     ratios only for specific subpopulations of women; lacked a "never use" reference group; reported
     duration data from the same trial as another included study; or reported duration odds ratios for
     only the year of OC use.
         Earlier age at first OC use was associated with a nonsignificant trend toward a greater
     reduction in ovarian cancer incidence, but most studies did not adjust for potential confounding
     due to duration of use. This conclusion is based on a meta-analysis of six studies. Of these, 5
     were case-control studies representing 3,552 cases and 4,713 controls, and I was a cohort study
     representing 103,552 participants. Four studies were rated good quality and two were rated fair
     quality. We excluded studies that reported on fewer than three age categories and studies that
     provided odds ratios for subpopulations only.
         Time since last use was significantly associated with ovarian cancer incidence, based on a
     meta-analysis of eight studies. Of these, 5 were case-control studies representing 3,606 cases and
     7,759 controls, and 3 were cohort studies representing 198,704 participants and 1,083,000 person
     years. Four studies were rated good quality and four were rated fair quality. We excluded studies
     that used fewer than three comparisons and studies that presented categories that were not
     amenable to a combined analysis. There was substantial heterogeneity among studies.
         Separate meta-analyses of 6 studies of estrogen formulation (all case-control studies
     representing 2,607 cases and 6,400 controls, with 5 studies rated good quality and I rated fair
     quality, and with I exclusion because of insufficient dose information) and 4 studies of progestin
     formulation (all case-control studies, representing 2,049 cases and 5,479 controls, and all of good
     quality, with 3 exclusions because of incompatible progestin-dosing categorization) did not show
     any significant effect of steroid potency on the association between OC use and ovarian cancer;
     risk reductions were similar for high potency estrogen, low potency estrogen, high potency
     progestin, and low potency progestin.

     Key Question 3. Relative Risk of Ovarian Cancer in QC Users in
     Subpopulations
         Separate meta-analyses were performed for the following (Table B):
         • BRCAI and BRCA2 carriers (4 studies [I good quality and I fair quality]: 3 were case-
              control studies with 1,096 cases and 2,878 controls, and I was a cohort study with 3,181
              participants)
         • Women of different gravidity and parity (2 case-control studies [both good quality] with
              1,595 cases and 3,137 controls; I study was excluded because of data included in another
              paper)
         Both analyses showed similar reductions in ovarian cancer risk with OC use independent of
     BRCA carrier status or gravidity/parity. Three case-control studies, one of good quality and two
     of fair quality, were identified that examined the effect of family history on the association
     between OC use and ovarian cancer. These studies were too heterogeneous in their description of
     subgroups for meaningful meta-analysis but, qualitatively, all showed similar reduction in
     ovarian cancer risk with OC use.




                                                   ES-12




                                                                                                    00803245
Exhibit 163                                                                                       JA-0002787
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 28 of 173




     Key Question 4. Other Benefits of QC Use

     Colorectal Cancer
         Table C shows the strength of evidence for the effect of OC use on colorectal cancer. A
     pooled meta-analysis of 11 studies (3 case-control, 1 pooled analysis, and 7 cohort, of which 4
     were good quality, 6 fair, and 1 poor) showed a significant reduction in the risk of colorectal
     cancer among ever users compared with never users (OR, 0.86; 95% CI, 0.79 to 0.95). There was
     no significant effect of duration of use. The two large United Kingdom (U.K.) cohort studies had
     conflicting results for colorectal cancer mortality in women with a history of OC use. As with
     ovarian cancer, the overall strength of evidence is reduced because of the risk of bias in
     observational studies.


     Table C. Strength of evidence domains for the effect of OC use on colorectal cancer
                         Number of                        Domains Pertaining to SOE                     SOE and
                          Studies                                                                      Magnitude of
    Comparison                              Risk of
                      (Women and/or                      Consistency     Directness       Precision       Effect
                                             Bias
                       Person-Years)                                                                     (95% Cl)
                                     Incidence of Co!orectal Cancer in Overall Population
                             11
                      (503,816 women
                                                                                                         Moderate
   Ever vs.           across 8 studies                    Consistent
                                            Medium                          Direct         Precise           0.86
   never use           and 2,969,189
                                                                                                       (0. 79 to 0.95)
                        person-years
                      across 3 studies)
                             10
                                                                                                            Low
                      (167,555 women
                                                                                                       No increase in
   Duration of        across 7 studies                    Consistent
                                            Medium                          Direct        Imprecise   protective effect
   use                 and 2,969,189
                                                                                                      with prolonged
                        person-years
                                                                                                            use
                      across 3 studies)
                                              Mortality From Co!orectal Cancer
                                                                                                        Insufficient
                                                                                                      Mixed results for
                              2                                                                         risk of death
                     (46,112 women in                                                                  with ever use,
   Ever vs.             1 study and                                                                    and no trend
                                              Medium        Inconsistent   Direct        Imprecise
   never use          602,700 person-                                                                       toward
                     years in a second                                                                    increased
                           study)                                                                     protective effect
                                                                                                         with longer
                                                                                                      duration of use
     CI = confidence interval; SOE = strength of evidence


     Endometrial Cancer
         Table D shows the strength of evidence for the effect of OC use on endometrial cancer.
     Seven studies (three case-control studies and four cohort studies: four good quality, two fair
     quality, and one poor quality) met inclusion/exclusion criteria for a meta-analysis of the
     association between OC use and endometrial cancer incidence; two studies were excluded for not
     reporting point estimates for ever versus never use. OC use significantly reduced the incidence of
     endometrial cancer (OR, 0.57; 95% CI, 0.43 to 0.76).
         In a separate meta-analysis including eight studies (three case-control studies and five cohort
     studies: five good quality, two fair quality, and one poor quality), there was a significant trend
     toward a greater reduction in risk with increased duration of use. Two large U.K. cohort studies


                                                              ES-13




                                                                                                                 00803246
Exhibit 163                                                                                                   JA-0002788
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 29 of 173




     showed a significant reduction in endometrial cancer mortality in women with a history of OC
     use. As with ovarian cancer, the overall strength of evidence is reduced because of the risk of
     bias in the observational studies.

     Table D. Strength of evidence domains for the effect of OC use on endometrial cancer
                          Number of                   Domains Pertaining to SOE
                                                                                                     SOE and
                           Studies
      Comparison                            Risk of                                                Magnitude of
                       (Women and/or                  Consistency      Directness     Precision
                                             Bias                                                 Effect (95% Cl)
                        Person-Years)
                                   Incidence of Endometrial Cancer in Overall Population
                               7
                       (308, 198 women
                       across 4 studies                                                               Moderate
      Ever vs.                                          Consistent
                        and 3,981,072       Medium                        Direct       Precise           0.57
      never use
                         person-years                                                               (0.43 to 0. 76)
                           across 3
                           studies)
                               8
                                                                                                         Low
                       (352,915 women
                                                                                                  <60 months:0.78
                       across 5 studies
      Duration of                                       Consistent                                  (0.54to 1.15)
                        and 3,981,072       Medium                        Direct      Imprecise
      use                                                                                         >60 months: 0.44
                         person-years
                                                                                                    (0.29 to 0.65)
                           across 3
                           studies)
                                                        Mortality
                                                                                                      Moderate
                               2
                                                                                                  Overall protective
                       (46,112 women
      Ever vs.                                             Consistent                               effect for ever
                        in 1 study and        Medium                     Direct       Precise
      never use                                                                                     use, which is
                       602,700 person-
                                                                                                  greater for longer
                       years in 1 study)
                                                                                                   durations of use
     CI = confidence mterval; SOE = strength of evidence


     Key Question 5. Harms of QC Use

     Breast Cancer
         Table E shows the strength of evidence for the effect of OC use on breast cancer. Ever use of
     OCs is associated with a small but significant increase in breast cancer risk, based on a combined
     meta-analysis of 15 case-control studies (9 good quality, 5 fair quality, and 1 poor quality) and 8
     cohort studies (3 good quality, 4 fair, and 1 poor), with an odds ratio of 1.08 (95% CI, 1.00 to
     1.17). Despite the increased incidence, there was no evidence of increased mortality from breast
     cancer (OR, 0.94; 95% CI, 0.87 to 1.02). We did not identify a relationship between duration of
     use and breast cancer risk, but risk significantly decreased with time since last use. The
     magnitude of the association between OC use and breast cancer was similar in BRCAl and
     BRCA2 carriers, although confidence intervals included 1. The overall strength of evidence is
     reduced because of the risk of bias in observational studies.




                                                           ES-14




                                                                                                                 00803247
Exhibit 163                                                                                                    JA-0002789
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 30 of 173




     Table E. Strength of evidence domains for the effect of OC use on breast cancer
                            Number of                     Domains Pertaining to SOE                                 SOE and
                             Studies                                                                               Magnitude of
       Comparison                             Risk of
                         (Women and/or                    Consistency    Directness    Precision                       Effect
                                               Bias
                          Person-Years)                                                                              (95% Cl)
                                      Incidence of Breast Cancer in Overall Population
                                23
                         (356,023 women
                                                                                                                      Moderate
       Ever vs.          across 20 studies
                                              Medium       Consistent       Direct      Precise                          1.08
       never use          and 3,981,072
                                                                                                                    (1.00 to 1.17)
                           person-years
                         across 3 studies)
                                14
                                                                                                                         Low
                         (291,407 women
                                                                                                                   No increase in
       Duration of       across 12 studies
                                              Medium      Inconsistent      Direct     Imprecise                   risk for longer
       use                and 2,898,072
                                                                                                                    durations of
                           person-years
                                                                                                                         use
                         across 2 studies)
                                                                                                                          Low
                                                                                                                    Reduced risk
                                                                                                                   over time since
                                                                                                                        last use
                                                                                                                     0-5 yr: 1.21
       Time since               11                                                                                  ( 1.04 to 1.41 )
                                                   High        Inconsistent        Direct        Imprecise
       last use          (200,258 women)                                                                            5-10 yr: 1.17
                                                                                                                    (0.98 to 1.38)
                                                                                                                   10-20 yr: 1.13
                                                                                                                    (0.97 to 1.31)
                                                                                                                     >20 yr: 1.02
                                                                                                                    (0.88to 1.18)
                                       Incidence in BRCA1- or BRCA2-Positive Women
                                  5                                                                                      Low
                           (4,555 women                                                                            Trend toward
       Ever vs.          across 4 studies                                                                          slight increase
                                               Medium       Inconsistent     Direct              Imprecise
       never use             and 65,180                                                                                 in risk
                         person-years in 1                                                                               1.21
                               study)                                                                              (0.93 to 1.58)
                                           Incidence in Women With Family History
       Ever vs.                   3                                                                                 Insufficient
                                                 High       Inconsistent     Direct              Imprecise
       never use          (9,280 women)                                                                            Not performed
                                                  Incidence in Younq Women
       Ever vs.                   3                                                                                 Insufficient
                                               Medium       Inconsistent     Direct              Imprecise
       never use          (5,716 women)                                                                            Not performed
                                                 Mortality From Breast Cancer
                                  3
                                                                                                                         Low
                          (54,606 women
                                                                                                                    No significant
       Ever vs.          across 2 studies
                                               Medium        Consistent      Direct              Imprecise         increase in risk
       never use            and 602,700
                                                                                                                         0.94
                         person-years in 1
                                                                                                                    (0.87 to 1.02)
                               study)
                                          Survival After Diaqnosis of Breast Cancer
                                                                                                                        Low
       Ever vs.                  3
                                                 Medium         Consistent         Direct        Imprecise          No significant
       never use          (9,606 women)
                                                                                                                   increase in risk
     BRCA = breast cancer genetic mutation; CI = confidence mterval; SOE = strength of evidence; yr = year/years


     Cervical Cancer
        Table F shows the strength of evidence for the effect of OC use on cervical cancer. One fair-
     quality pooled analysis of eight separate case-control studies and two, poor quality, individual


                                                               ES-15




                                                                                                                                 00803248
Exhibit 163                                                                                                                    JA-0002790
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 31 of 173




     case-control studies showed significant associations between OC use and an increased risk of
     invasive cervical cancer among women who were positive for human papillomavirus (HPV); risk
     was significantly associated with duration of use. Differences between studies precluded meta-
     analysis.
         Because persistent HPV infection is a cause of cervical cancer, and because OC users may
     have other factors that put them at a higher risk of acquiring HPV, restricting analysis of the
     association between OCs and cervical cancer to HPV-positive women may be most informative.
     However, as a complement, we also performed a meta-analysis of nine studies that found a
     nonsignificant increase in cervical cancer risk among ever users (OR, 1.21; 95% CI, 0.91 to
     1.61). Six studies (five case-control studies and one cohort study: three good quality and three
     fair quality) showed a nonsignificant increase in cervical cancer incidence with increasing
     duration of use (OR, 1.47; 95% CI, 0.91 to 2.38 for more than 60 months compared with never
     users).
          Two large, fair-quality cohort studies conducted in the U.K. found an increased risk of
     cervical cancer mortality among OC users, with a trend toward increased mortality with a longer
     duration of use. The overall strength of evidence for the cervical cancer outcomes is reduced
     because of the risk of bias in observational studies.

     Table F. Strength of evidence domains for the effect of OC use on cervical cancer
                         Number of                    Domains Pertaining to SOE
                                                                                                     SOE and
                           Studies
                                                                                                    Magnitude of
        Comparison        (Women         Risk of
                                                    Consistency     Directness     Precision            Effect
                           and/or         Bias
                                                                                                      (95% Cl)
                        Person-Years)
                                Incidence of Cervical Cancer in HPV-Positive Population
                                                                                                     Insufficient
        Ever vs.               3                                                                    Unable to draw
                                              High        Inconsistent        Direct    Imprecise
        never use       (2,592 women)                                                                  summary
                                                                                                      conclusion
                                                Mortality from Cervical Cancer
                                  2
                                                                                                          Low
                         (46,112 women
                                                                                                    Increased risk
       Ever vs.           in 1 study and
                                             High         Consistent           Direct   Imprecise    with ever use
       never use             602,700
                                                                                                      and longer
                         person-years in
                                                                                                    duration of use
                              1 study)
     CI = confidence mterval; HPV = human pap1llomavrrus; SOE = strength of evidence


     Venous Thromboembolism
         Table G shows the strength of evidence for the effect of OC use on venous thromboembolic
     events. Based on a meta-analysis of 14 studies (6 good quality, 6 fair quality, 2 poor quality),
     current users of OCs have a three-fold increased risk of venous thromboembolism (OR, 2.97;
     95% CI, 2.46 to 3.59). This elevated risk appears to be associated only with current use; we were
     unable to perform a meta-analysis because of the high degree of heterogeneity between studies.
     There was some evidence that risk of thromboembolism decreased with an increased duration of
     use, but there were not enough studies for a meta-analysis.
         Although most studies included pulmonary embolism as one of several potential venous
     thromboembolic events, several studies that examined pulmonary embolism alone also found
     consistent increases in risk; however, the risk was somewhat smaller than for combined
     thromboembolism.



                                                             ES-16




                                                                                                                  00803249
Exhibit 163                                                                                                    JA-0002791
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 32 of 173




         Results of a meta-analysis of three studies yielded inconclusive evidence regarding risk of
     venous thromboembolism (VTE) by estrogen dose. Another meta-analysis of six studies
     suggested a not statistically significant trend toward increased risk of VTE associated with third-
     and fourth-generation progestins. Results of a qualitative analysis of additional studies that
     directly compared progestin generations suggested that the risk of VTE is highest for third-
     generation progestins compared with levonorgestrel, a second-generation progestin. Although
     there were too few studies of progestin-only pills to perform meta-analysis, the studies that were
     identified showed no increase in risk in users of progestin-only pills compared with nonusers.
     The overall strength of evidence is reduced because of the risk of bias in observational studies.

     Table G. Strength of evidence domains for the effect of OC use on venous thromboembolism
                      Number of                       Domains Pertaining to SOE
                        Studies                                                                      SOE and Magnitude of
    Comparison         (Women             Risk of                                                            Effect
                                                       Consistency       Directness     Precision
                        and/or             Bias                                                            (95% Cl)
                     Person-Years)
                                           Incidence of All VTE and Mixed DVTIPE
                            14
   Current vs.                                                                                                 High
                     (15,466 women
   noncurrent                             Medium         Consistent        Direct        Precise                2.97
                      plus 9,906,890
   use/never                                                                                               (2.46 to 3.59)
                      person-years)
                                                     Incidence of PE Only
                            3
   Current vs.                                                                                                  Low
                      (863 women
   noncurrent                             Medium         Consistent        Direct        Precise       Elevated risk appears
                     plus 2,124,474
   use/never                                                                                           similar to that of VTE
                     person-years)
                                           Incidence of all VTE And Mixed DVTIPE
                            5                                                                                  Low
   Duration of       (6,955 women                                                                      Elevated risk may be
                                          Medium         Consistent        Direct        Precise
   use               plus 7,782,416                                                                   present during first year
                     person-years)                                                                            of use
                                                                                                               High
                            3                                                                         Low dose: 3.39 (2.32 to
                     (6,102 women                                                                              4.96)
   Estrogen                               Medium         Consistent        Direct        Precise
                     plus 7,782,416
                     person-years)                                                                    High dose: 3.06 (1.32 to
                                                                                                               7.10)

                                                                                                                High
                                                                                                       First generation: 4.06
                                                                                                           (2.66 to 6.19)

                                                                                                        Second generation:
                           6                                                                                   3.28
   Progestin            (16,048           Medium         Consistent        Direct        Precise          (2.49 to 4.31)
                        women)
                                                                                                       Third generation: 4.06
                                                                                                            (3.09 to 5.32)

                                                                                                      Fourth generation: 5.36
                                                                                                          (2. 78 to 10.32)

                                                       Mortality From VTE
   Current vs.
                                                                                                            Insufficient
   noncurrent                  0              NA              NA               NA            NA                 NA
   use/never
     CI = confidence interval; DVT = deep venous thrombosis; NA= not available; PE = pulmonary embolism; SOE= strength of
     evidence; VTE = venous thromboembolism



                                                            ES-17




                                                                                                                         00803250
Exhibit 163                                                                                                           JA-0002792
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 33 of 173




     Stroke
         Table H shows the strength of evidence for the effect of OC use on stroke. In a meta-analysis
     of nine studies of ischemic or undifferentiated stroke, current OC users had a significant increase
     in risk compared with nonusers (OR, 2.15; 95% CI, 1.49 to 3 .11 ). Results were similar when
     restricted to five case-control studies and two cohort studies of ischemic stroke (OR, 1.90; CI,
     1.24 to 2.91), but not for four case-control studies of hemorrhagic stroke (OR, 1.03; CI, 0.71 to
     1.49).
         Past use or duration of use did not appear to be related to stroke risk, although we were
     unable to perform a meta-analysis. We were able to perform a meta-analysis of three case-
     control studies of estrogen level, which found a significant increase in risk with increased
     estrogen dose (although stroke risk with low-dose formulations was still significantly elevated
     compared with nonusers).
         Evidence from three cohort studies did not show a significant increase in stroke-related
     mortality. The overall strength of evidence is reduced because of the risk of bias in observational
     studies.

     Table H. Strength of evidence domains for the effect of OC use on stroke
                     Number of                      Domains PertaininQ to SOE
                                                                                                  SOE and
                      Studies
                                                                                                 Magnitude of
     Comparison       (Women
                                     Risk of Bias   Consistency    Directness       Precision       Effect
                   and/or Person-
                                                                                                  (95% Cl)
                       Years)
                                    Incidence of /schemic/Undifferentiated Stroke
                           9
     Current vs.                                                                                       High
                   (54,767 women
     noncurrent                        Medium        Consistent       Direct         Precise           2.15
                     plus 310,564
     use/never                                                                                    ( 1.49 to 3.11)
                    person-vears)
                                                                                                   Insufficient
                                                                                                 NR (Insufficient
                           4
                                                                                                   evidence to
                   (51,038 women
     Duration                          Medium        Consistent       Direct        Imprecise         support
                     plus 310,626
                                                                                                   quantitative
                    person-years)
                                                                                                   synthesis of
                                                                                                     findinqs)
                                                                                                        High
                                                                                                 Low dose: 1. 73
                      3 (9,977                                                                    (1.29 to 2.32)
     Estrogen                          Medium        Consistent       Direct         Precise
                      women)
                                                                                                 High dose: 4.10
                                                                                                  (1.91 to 8.80)
                                                                                                   Insufficient
                                                                                                        NR
                          3                                                                     (heterogeneity in
     Progestin                         Medium       Inconsistent      Direct        Imprecise
                   (6,994 women)                                                                 evidence about
                                                                                                specific progestin
                                                                                                   qeneration)
                                            Incidence of /schemic Stroke
                           7
     Current vs.                                                                                      High
                   (49,803 women
     noncurrent                        Medium        Consistent       Direct         Precise           1.90
                     plus 310,564
     use/never                                                                                    (1.24 to 2.91)
                    person-years)




                                                       ES-18




                                                                                                              00803251
Exhibit 163                                                                                                 JA-0002793
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 34 of 173




     Table H. Strength of evidence domains for the effect of OC use on stroke (continued)
                       Number of                         Domains Pertaining to SOE
                                                                                                               SOE and
                        Studies
                                                                                                              Magnitude of
     Comparison         (Women
                                        Risk of Bias     Consistency       Directness       Precision            Effect
                     and/or Person-
                                                                                                               (95% Cl)
                         Years)
                                             Incidence of Hemorrhagic Stroke
                                                                                                                   Low
     Current vs.            4
                                                                                                              No difference,
     noncurrent          (48,382          Medium          Inconsistent       Direct         Imprecise
                                                                                                               1.03 (0.71 to
     use/never           women)
                                                                                                                   1.49)
                                                      Mortality From Stroke
                              3
     Current vs.                                                                                                Moderate
                      (46,112 women
     noncurrent                              Medium          Consistent     Direct          Imprecise              0.80
                      plus 3,091,673
     use/never                                                                                                (0.59 to 1.08)
                       person-vears)
     CI = confidence mterval; NR = not reported; SOE = strength of evidence


     Myocardial Infarction
         Table I shows the strength of evidence for the effect of OC use on myocardial infarction
     (MI). A meta-analysis of eight studies (five case-control, two cohort, and one pooled case-
     control) found a nonsignificant increase in risk of MI among current users (OR, 1.34; 95% CI,
     0.87 to 2.08). There were too few studies to perform a meta-analysis of duration of use or of
     estrogen dose. Risks were significantly higher with first-generation progestins compared with
     second- and third-generation formulations. The overall strength of evidence is reduced because
     of the risk of bias in observational studies.

     Table I. Strength of evidence domains for the effect of OC use on myocardial infarction
                         Number of                     Domains PertaininQ to SOE
                          Studies
                                                                                                        SOE and
                          (Women
        Comparison                        Risk of                                                   Magnitude of Effect
                           and/or                      Consistency       Directness     Precision
                                           Bias                                                         (95% Cl)
                          Person-
                           Years)
                                             Incidence of Mvocardial Infarction
                              8
                           (24,901
      Current vs.                                                                                               Low
                         women plus
      noncurrent                         Medium         Inconsistent       Direct       Imprecise               1.34
                          310,626
      use/never                                                                                            (0.87 to 2.08)
                           person-
                            years)
                              2
                                                                                                           Insufficient
      Estrogen             (15,903       Medium         Consistent         Direct       Imprecise
                                                                                                               NR
                          women)
                                                                                                             High
                                                                                                    First generation: 3.37
                                                                                                        (2.04 to 5.54)
                               5
      Progestin             (8,875       Medium         Consistent         Direct        Precise        Second generation:
                           women)                                                                       1.79 (1.16 to 2.75)

                                                                                                    Third generation: 1.34
                                                                                                         (0.91 to 1.98)




                                                            ES-19




                                                                                                                            00803252
Exhibit 163                                                                                                               JA-0002794
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 35 of 173




      Table I. Strength of evidence domains for the effect of OC use on myocardial infarction
      (continued)
                         Number of                                      Domains Pertaining to SOE
                          Studies
                                                                                                                                                             SOE and
                          (Women
        Comparison                                Risk of                                                                                                Magnitude of Effect
                           and/or                                        Consistency              Directness                         Precision
                                                   Bias                                                                                                      (95% Cl)
                          Person-
                           Years)
                                                Mortality From Myocardial Infarction
                                 3
                              (46,112
        Current vs.                                                                                                                                                 Low
                           women plus
         noncurrent                          Medium        Inconsistent      Direct                                                  Imprecise                      0.85
                            3,091,673
         use/never                                                                                                                                            (0 .67 to 1.07)
                              person-
                               years)
     CI = confidence interval; NR = not reported; SOE = strength of evidence


     Key Question 6. Decision Analysis: Benefits and Harms of QC Use
     and Ovarian Cancer Risk
         Using the point estimates from the QRs derived by the meta-analyses for each outcome
     (including those for MI and cervical cancer, which were not statistically significant), we
     estimated differences in age-specific incidence of cancers in QC ever users compared with never
     users (Figure B), and vascular events in current QC users versus noncurrent users (Figure C).
     Note that estimates are not adjusted for competing risks, such as hysterectomy or other-cause
     mortality, or for time-dependent factors, such as duration of use or time since last use.


     Figure B. Increase or decrease in age-specific incidence of cancers in ever OC users versus never
     users

                              Estimated Difference in Age~Specific Incidence in
                                   Ever Users of OCs compared to Nev,e r Useirs
                       40 ~ - - - - - - - - - - - - - - - - - - -

                       30
                                                                                           .. •   ,1, • •   _, ,i II ii ,a   I!•••
                                                                                                                                     ··~
                       20 + - - - - - - - - - - -~ --·~·- - - - - - -·
                                                                      .. ......
                                                                               ...
                                                ..
                                             .,,...,-~------
                                                        •



                                                                - --
                                                             -- -
                                                            ,lj . .




                                         --                                                                                                     -       (olorect.;1
                                                                                                                                                • • • • • Breast
                                                                                                                                                -     - Cervkal
                                                                                                                                                - -     Endonielrial
                                                                                                                                                -       ova rian


                       -so                                                          ' ,_... - ,,,. ,,,.
                       -60                                                   I                    I                                        I
                             !15   20   2S   30    3S       40         45    50    SS   60    6S            70         7S       80         8S
                                                                            A.ge




                                                                                  ES-20




                                                                                                                                                                                00803253
Exhibit 163                                                                                                                                                                 JA-0002795
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 36 of 173




     Figure C. Increase in age-specific incidence of vascular events in current OC users versus
     noncurrent users


                                     Estimated Increase in Age-Sp,edfic Incidence
                                                          among Cur.rent OC users
                         160

                 Q ,     140   +----------------------

                 0
                 0
                 0       120 -+--------------
                 0
                 ..-11
                   ~     100 -+---------------,~- - ---'1-- -
                  Q)
                  a.
                  <I)
                  C
                  0
                 ·.p

                 -m                                                                                                                      -      - ·Stroke
                  NI
                                                                                                                                         · ·· · ·•• M Ii
                  m
                 .-::
                  a.
                  U'I
                  0
                 ::c
                          20
                           0    .
                                                                 ·-·--       - --------~
                                                                           ~ ~         ~ ~
                                    .-. .::::.=~:..=..:=:..-::::. . ::7:'~-····· ·•1•~-·· ····•··'·~·--~·
                                                     -·- ·    ---                                       11• • • !1 i
                                                                                                                          '
                                                                                                                         --
                                                                                                                       ... _i,··· ·~ -
                                                                                                                              '

                                                                                                                                     J




                               15              20              25            30              35              40                    45

                                                                           Age
     DVT = deep vein thrombosis; MI= myocardial infarction; PE= pulmonary embolism

         We also developed a computer simulation model that integrated the findings of the meta-
     analyses with available data on population patterns of QC use, along with incidence and
     mortality data for cancers and vascular events, to estimate overall life expectancy and lifetime
     incidence and mortality for the general population given current patterns of QC use. We used
     two main types of comparisons. First, we performed a "counterfactual analysis," based on
     current population use, to estimate the population difference in outcomes if QCs were not
     associated with any of the harms or benefits considered in the review. The second analysis was a
     direct comparison to estimate the difference in outcomes between the average population of
     women who never used QCs and those who did.
         At the population level, the model predicted decreases in incidence and mortality from
     ovarian, colorectal, and endometrial cancers, and increases in breast cancer incidence and
     mortality. Vascular events were increased in incidence. Mortality was increased to a lesser
     degree than incidence. For stroke, projected mortality incidence was decreased, likely due to a
     younger age distribution in QC users and subsequent higher post-event survival.
         Using a model based on ever versus never use of QCs, mean life expectancy increased by
     approximately I month in users, a gain similar to that seen with other cancer prevention
     strategies in average-risk populations. An alternate version of the model that incorporated the
     effects of duration of QC use on ovarian cancer risk (increased duration associated with
     decreased risk), and time since last use on breast cancer risk (longer time associated with
     decreased risk) resulted in an estimated mean life expectancy gains of 2 months among users.
     When restricted to BRCAI or BRCA2 carriers, the model predicted gains in women who used



                                                                              ES-21




                                                                                                                                                              00803254
Exhibit 163                                                                                                                                                 JA-0002796
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 37 of 173




     QCs of almost 10 months in BRCAl carriers (because of the much higher ovarian cancer risk)
     and 1 month in BRCA2 carriers.
         For the second analysis (estimating the difference in outcomes between users and nonusers),
     the qualitative effects of QC use were similar to the population level analysis, but the magnitude
     was larger-estimated life expectancy gains of 10 months in the general population, 5 months in
     BRCA2 carriers, and over a year in BRCAl carriers, for users compared with never users.
     Cause-specific mortality for some harms (particularly stroke) was reduced in QC users in this
     version of the model, which may be due to relatively small numbers of simulated subjects, the
     effect of different competing risks within the model structure, and/or the shift in age distribution.
         Systematically varying age at first QC use and duration of use suggested that the harm-to-
     benefit ratio and life expectancy were optimized by 5 years' duration of use across all ages, with
     a relatively high harm-to-benefit ratio and decreased life expectancy with 10 years' duration of
     use for all but those who start QCs prior to age 20. Larger numbers of simulations are required to
     generate stable numbers given the low probability of many of these events, particularly in young
     women.
         Using a net-benefits approach, we assessed the impact of different "willingness-to-pay"
     thresholds in terms of harms incurred versus benefits gained for both incidence and mortality,
     along with the relative contribution of specific clinical harms and benefits. The increase in breast
     cancer incidence was the greatest contributor to uncertainty regarding harms. For incident harms
     and benefits, the likelihood that benefits outweighed harms was less than 40 percent when only
     prevention of incident ovarian cancer was considered. Results were more favorable for mortality
     prevention, emphasizing the need for methods to incorporate quality of life, as well as mortality,
     into these analyses.

     Key Question 7. Research Gaps
         There were consistent evidence gaps across all of the literature we reviewed, and the
     modeling results suggested a few areas that should be prioritized. The greatest limitation to the
     existing literature is the potential for unmeasured confounding, which biases the estimates of the
     effects of QC use on these outcomes. Unfortunately, the size and duration of a randomized trial
     to definitively address the potential role of QCs as primary prevention for ovarian cancer would
     be unprecedented. Further work-using quantitative methods to estimate the potential benefit of
     primary prevention strategies for ovarian cancer, incorporating QCs-is needed to help clarify
     whether investing in such a large trial is worthwhile. There are few available data on patient
     preferences relevant to the use of QCs as primary prevention. Better data on the relative quality-
     of-life effects of regular QC use, and the outcomes we reviewed here, would allow for better
     assessment of the overall tradeoffs between harms and benefits at both the individual and
     population level.
         There was inconsistent reporting of how variables, such as time since last use, duration of
     use, or QC formulation, were categorized. This was a major barrier to evidence synthesis,
     particularly since the model results showed that differences in assumptions about how these
     factors affect the association between QC use and outcomes can alter the overall balance of
     harms and benefits. Efforts to standardize reporting across studies should be strongly
     encouraged; study designs and analytic plans should be optimized to address these factors.
     Alternatively, pooled analyses of individual data collected across multiple studies offers an
     opportunity to address some of these shortcomings of reporting, but this approach is still




                                                    ES-22




                                                                                                       00803255
Exhibit 163                                                                                          JA-0002797
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 38 of 173




     dependent on consistency in how data is collected. Given the feasibility issues of a randomized
     trial, this may be one of the only ways to better address confounding.
          The overall impact on net harms and benefits of progestin-only pills, particularly for vascular
     events, is potentially better than for combination pills. Although this suggests progestin-only
     pills might be particularly well suited for primary prevention, there are fewer data available on
     cancer outcomes.
          The effects of QC use on colorectal and breast cancer incidence were a major contributor to
     the overall balance of harms and benefits, and efforts to resolve remaining uncertainties
     regarding these two cancers should be prioritized.

     Discussion
     Key Findings and Strength of Evidence
          The direction and size of the effect of QC use on the individual outcomes we assessed was
     consistent with previous systematic reviews. Previous modeling studies have suggested no net
     effect of QC use on life expectancy, while we estimated a gain of approximately I month. This
     difference likely reflects differences in the literature reviewed based on inclusion/exclusion
     criteria and the availability of more recent data, the inclusion of additional outcomes (particularly
     colorectal cancer), and the use of a stochastic microsimulation model to generate lifetime
     estimates in the face of competing risks.
          The overall strength of evidence was moderate to low. There was general consistency across
     studies in both the direction and magnitude of the effect of QCs on disease incidence, but all of
     the empiric evidence was derived from observational studies, raising the possibility of
     unmeasured confounding. The results of the decision model do not contribute to the strength of
     evidence.
          The noncontraceptive harms (increased risk of breast and cervical cancer and vascular
     events) and benefits (decreased risk of ovarian, colorectal, and endometrial cancers) associated
     with QC use can affect both quality of life and mortality. Based on the available evidence, the
     current patterns of combination QC use in the general population, likely result in a net increase
     in life expectancy of at least I to 2 months, which is comparable to many other preventive
     interventions. This is in addition to the beneficial effects of prevention of unwanted pregnancy.
     The likelihood that QC use decreases life expectancy is low, but there is insufficient evidence to
     estimate the overall effects on quality of life. It is important to note that there is substantially
     more evidence on the effects of QCs on the incidence of relevant outcomes than there is on
     mortality related to those outcomes, and estimates of their effect on mortality derived from a
     model are even more uncertain than estimates for incident events.
          These results may be reassuring to women considering QCs for contraception and to women
     who are prescribed QCs for treatment of other conditions. There is substantial remaining
     uncertainty about the joint effects of age at first QC use and duration of use on optimizing the net
     noncontraceptive benefits of QCs. There is insufficient evidence to recommend QCs solely for
     the prevention of ovarian cancer for women who would not be considering QC use for another
     indication. For these women, the available evidence suggests that the increase in risk of
     developing breast cancer or having a vascular event is likely to be approximately the same as, or
     slightly greater than, the decrease in risk of developing ovarian cancer. Because deaths from
     those harms, even in the aggregate, are lower than for ovarian cancer, there may be benefits in
     terms of mortality. However, the quality-of-life impact of those harms, particularly stroke and


                                                    ES-23




                                                                                                      00803256
Exhibit 163                                                                                         JA-0002798
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 39 of 173




     MI, may be substantial. The benefit-to-harm ratio for both incident benefits and harms, and
     mortality from those outcomes, from using QCs as a primary preventive agent is substantially
     improved when potential reductions in colorectal and endometrial cancers are included.

     Applicability
         Applicability of the evidence to current U.S. practice is limited by several factors. Most
     importantly, the long duration between exposure to QCs and development of cancers means that
     the available evidence is based on a different distribution of QC formulations than are currently
     on the market. This long lag time may also contribute to unmeasured cohort effects in factors
     such as smoking, parity, or hysterectomy rates, which alter the risk of the outcomes we
     considered in both QC users and nonusers.
         Many of the largest and most complete studies were performed outside of the United States.
     Differences in formulations, in prevalence of genetic and acquired factors affecting outcome risk,
     and in health-system characteristics, such as population coverage for cancer screening, may
     affect study results.
         Finally, QCs have been available only since the 1960s, meaning that birth cohorts of women
     with a high prevalence of QC use are only now entering the age of peak incidence for many
     cancers. Predictions of the long-term effects of QC use are necessarily based on population-
     based, age-specific incidence and mortality data. Because these data are cross-sectional,
     estimates for older women reflect cohorts that were relatively unexposed to QCs. If QC use does
     significantly affect the incidence of certain cancers, then predictions of the long-term impact of
     prescribing QCs today will be in error.

     Conclusions
         The available evidence suggests that incident harms associated with QC use are likely to
     exceed prevented cases of ovarian cancer. The overall net effect of current patterns of QC use on
     deaths from noncontraceptive outcomes is positive, with reductions in mortality from ovarian,
     colorectal, and endometrial cancers exceeding increased deaths from breast cancer and vascular
     events. There is uncertainty about the magnitude of this effect, but the probability of a negative
     impact on life expectancy is small and may be reassuring to women considering QCs as a
     contraceptive method. There is insufficient evidence to recommend for or against the use of QCs
     solely for the primary prevention of ovarian cancer.




                                                   ES-24




                                                                                                    00803257
Exhibit 163                                                                                       JA-0002799
          Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 40 of 173




     Abbreviations
       AHRQ                   Agency for Healthcare Research and Quality
       BRCA                   breast cancer genetic mutation
       CDC                    Centers for Disease Control and Prevention
       CI                     confidence interval
       HPV                    human papilloma virus
       KQ                     Key Question
       MI                     myocardial infarction
       OC                     oral contraceptive
       OR                     odds ratio
       PICOTS                 population, interventions, comparators, outcomes, timing, settings
       VTE                    venous thromboembolism


     References
     1.       Altekruse SF, Kosary CL, Krapcho M, et al.            5.   Owens DK, Lohr KN, Atkins D, et al.
              SEER Cancer Statistics Review, 1975-2007.                  Grading the strength of a body of evidence
              Bethesda, MD: National Cancer Institute.                   when comparing medical interventions. In:
              http://seer.cancer.gov/csr/1975 _ 2007 /.                  Agency for Healthcare Research and
                                                                         Quality. Methods Guide for Comparative
     2.       Wallace AH, Havrilesky LJ, Valea FA, et al.
                                                                         Effectiveness Reviews [posted July 2009].
              Projecting the need for gynecologic
                                                                         Rockville, MD.
              oncologists for the next 40 years. Obstet
                                                                         www.effectivehealthcare.ahrq.gov.
              Gynecol. 2010;116(6):1366-72. PMID:
              21099604.                                             6.   Atkins D, Chang S, Gartlehner G, et al.
                                                                         Assessing the Applicability of Studies When
     3.       Methods Guide for Effectiveness and
                                                                         Comparing Medical Interventions. Agency
              Comparative Effectiveness Reviews. AHRQ
                                                                         for Healthcare Research and Quality;
              Publication No. 10(12)-EHC063-EF.
                                                                         January 2011. Methods Guide for
              Rockville, MD: Agency for Healthcare
                                                                         Comparative Effectiveness Reviews. AHRQ
              Research and Quality. April 2012.
                                                                         Publication No. ll-EHC019-EF.
              www.effectivehealthcare.ahrq.gov.
                                                                         www.effectivehealthcare.ahrq.gov.
     4.       Borenstein M, Hedges L, Higgins J, et al.
              Comprehensive Meta-Analysis Version 2.0.
              Biostat: Englewood, NJ; 2005.




                                                            ES-25




                                                                                                                 00803258
Exhibit 163                                                                                                    JA-0002800
             Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 41 of 173




                                  Section 1. Introduction and Methods
        This evidence report was funded by the Centers for Disease Control and Prevention (CDC) in
     conjunction with the Agency for Healthcare Research and Quality (AHRQ) and was designed to
     evaluate the benefits and harms of the use of oral contraceptives as a primary preventive measure
     against ovarian cancer.

     Background
     Ovarian Cancer Incidence and Mortality
         Although ovarian cancer is only the eighth most common cancer in women (annual age-
     adjusted incidence 12.3 per 100,000), it is the fifth leading cause of women's cancer deaths (8.2
                   1
     per 100,000). Given current age-specific incidence data and U.S. Census demographic
     projections, the estimated annual number of new ovarian cancer cases will almost double (to
     40,000) over the next 35 years as women born between 1946 and 1964 (the "baby boom"
     generation) reach the ages of highest risk (Figure 1). 2

     Figure 1. Projected ovarian cancer incidence and mortality for 2010 to 2050
                  45000 ~ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~


                  40000


                  35 000




                                                                                       _.... --- ~------~----~
       .,, 30000                                                                                                      ~~--~



                                                                               --
      .c
       'la
        Q,I



                                                                   -- -- -- --
                                                       -- -- -- --
      ~ 25 000
       "'Q,I
      0
       "'...Ill
                  20000
                                      -- -- -- -- --
                            -·---- --
       ...
       Q,I
      .c
       E
       :::,
            15000
       z                                                                    -     o var ian Can cer In ci den ce
                  10000

                                                                            - - • Ov ar ian Can cer M orta lity
                   5000




                           2010     2015      2020        2025       2030       2035          20 40           20 45      2050
                                                                     Year



     Trends

     Age-Specific Incidence and Mortality
        Age-specific ovarian cancer incidence and mortality follow a similar pattern that is consistent
     with the high case-to-fatality ratio of ovarian cancer (Figure 2).


                                                                 1




                                                                                                                                00803259
Exhibit 163                                                                                                                   JA-0002801
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 42 of 173




     Figure 2. Age-specific incidence and mortality for ovarian cancera
                        70

                        60
                                            - I ncidence
              0         50
              0
              0
              0                             - - - Mortality
                        40
              .......
              0

               a,

              ..
               Q.
               a,
               nJ
              c::
                        30

                        20

                        10

                         0
                             5   10   15   20   25   30   35   40      45   50   55   60   65   70   75   80 85+
                                                                     Age



     asurveillance, Epidemiology, and End Results (SEER), 2000-2008.

         After a slight decline from 1975 through 1985, age-adjusted ovarian cancer mortality was
     mostly stable until 2002, when mortality had dropped by an annual rate of 1.7 percent (Figure 3).
     At the same time, age-adjusted incidence was also declining.3 There are three potential
     explanations for this decreased mortality: improved survival after diagnosis because of improved
     treatments, improved survival through effective screening, or decreased incidence. Some of this
     decrease in mortality may be attributed to the cumulative effects of recent advancements in the
     treatment of ovarian cancer, which include recognition of the importance of aggressive primary
     cytoreductive surgery, introduction of platinum- and taxane-based chemotherapy, and
     introduction of the intraperitoneal route of chemotherapy administration.




                                                                 2




                                                                                                                     00803260
Exhibit 163                                                                                                        JA-0002802
           Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 43 of 173




     Figure 3. Age-adjusted ovarian cancer incidence and mortality rates

                              Age-Adjusted SEER Incidence Rates                                                                                Age-Adj usted U.S. Mortality Rates
                                        By Cancer Site                                                                                                  By Cancer Site
                                  All Ages , All Races, Female                                                                                   All Ages, All Races, Female
                                      1975-2008 (SE ER 9)                                                                                                  1975-2008
            25 - - - - - - - - - - - - - - - ~                                                                          15 - - - - - - - - - - - - - - - - ~




                                                                                                                       13       -----------------------------------------------------
            20       -----------------------------------------------------




       0
       0
       C
            15 - ~
                                     ••       •


                                                                        •
                                                                            - - . - • ----------
                                                                                                                 0
                                                                                                                 0
                                                                                                                 C
                                                                                                                        10
                                                                                                                                        ......_____          ..
                                                                                                                                                              ~~                     ...........,
                                                                                                                                • -----------------------------------------------------




       ~~                                                                                                        0
                                                                                                                 ~       8      -----------------------------------------------------
                                                                                                                 ~




       I    10
                                                                                                                  "
                                                                                                                 C.
                                                                                                                 .!!
                                                                                                                 .,
       °'                                                                                                        °'      5 -----------------------------------------------------


              s -----------------------------------------------------
                                                                                                                         3 -----------------------------------------------------



              Q+--,---~~~~~~~~~~~~~~---.--rl
                                                                                                                         a f---,----~~~~~~~~~~~~~~~r--1
            ,9,1'>       ,q,'o<:i   ,q,'o'>       ,9,9,<:i   ,q,'!,'>        7-<:iefl   7-<:i"'"' 7-<:ir§,
                                              Year 0f Di agnosis
                                                                                                                       ,9,1'>       ,q,'o<:i       ,q,'o.,        ,<tf'   ,q,'!,'>      7-<:ir:,<:J   7-r:i<:i'> 7-<:ir:,'o
                                                                                                                                                              Year of Death


                                     • Ovary
                                                                                                                                                   • Ovary


       Cancer s ites include in .... aisive cases only unless otherwise noted
       Incidence source : SEER 9 areas (San Francisco. Connecticut, Detroit. Hawaii, Iowa , New Mexico,          Cancer sites include im1asive cases only unless otherwise noted .
       Seattle. Utah. and Atlanta) .                                                                             Mortality source : lJS Mortality Files, National Cente r for Health Statistics, CDC.
       Rates are per 100,000 arid are age-adjusted to the 2000 US Std Population (19 age groups •                Rales are per 100,000 and .are age-adjusted to the 2000 US Std Population (19 age groups -
       Census ?25-1 130). Regressirm lines are ca lrnlated using the Joinpoint Regression Program                Census P25- 1130). Regression lines are ca1cul.ated using the Jolnpoint Regression Program
       Vernion 3.5, April 2011, National Cancer Institute.                                                       Version 3.5, April 201 1. National Cancer Institute.
       Ovary ex.dudes borderline cases or histologies 8442 . 8451 . 8462, 8472, and 8473.




     Lack of Effectiveness of Screening
         Despite the advances in primary treatment, the mortality rate for ovarian cancer remains the
     highest among the gynecologic malignancies. Because ovarian cancer typically presents at a
     much later stage (with concomitant higher mortality) than other common cancers, 1 there has been
     intense interest in developing effective screening strategies.
         Unfortunately, these efforts have had disappointing results to date, especially in the ability of
     screening to result in reduced mortality. 4- 10 Several factors limit the success of screening for
     ovarian cancer. First, the cause and pathogenesis of the disease remain unknown. While certain
     histologic subtypes have been associated with precursor lesions, there is still no preinvasive
     "Stage O" lesion that is universal, definitive, and detectible. Second, there is no physical barrier
     to impede rapid spread of malignant cells from the surface of the ovary (FIGO Stage I) (or, as a
     growing body of evidence suggests, from the epithelium of the fallopian tube) to the upper
     abdomen (FIGO Stage 111). 11 The possibility of rapid spread from the ovary means that many of
     the cancers identified at Stage I may represent a subgroup of less aggressive tumors rather than a
     necessary first step in the development of all tumors. Recent pathogenetic studies support the
     heterogeneity of ovarian cancer, with some subtypes acting as more indolent lesions that are
     more likely to be detected in an early stage and to be more curable. 12 If this is the case,
     screening, which is more likely to identify slower growing tumors, may have only a limited
     impact on overall ovarian cancer mortality. 13 Recently, the Prostate, Lung, Colorectal, and


                                                                                                             3




                                                                                                                                                                                                                              00803261
Exhibit 163                                                                                                                                                                                                              JA-0002803
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 44 of 173




     Ovarian Phase III ovarian cancer screening trial reported no clinical benefit-and noted possible
     harm due to false-positive results-when postmenopausal women were screened annually for up
     to 6 years with CA-125 and pelvic ultrasound. 10
         A second large Phase III trial, the United Kingdom Collaborative Trial of Ovarian Cancer
     Screening (UKCTOCS), 7 randomized women to usual care, ultrasound-based screening, or a
     multimodality screening algorithm consisting of a CA-125 followed by ultrasound for those with
     abnormal or rising CA-125 results. The UKCTOCS trial has released the results of prevalence
     screening, with an encouraging shift toward detection at earlier disease stages noted. However,
     the mortality outcomes of this trial are not yet known and, as such, the benefit of screening for
          .              .
     ovanan cancer remams unproven.

     Primary Prevention
         Given that the potential effectiveness of screening to reduce morbidity and mortality from
     ovarian cancer appears to be limited by the underlying biology of the disease, alternative
     strategies-including the use of more efficacious and less toxic therapies after diagnosis as well
     as primary prevention-need to be considered and evaluated.

     Surgery
          Surgical prophylaxis, in the form of bilateral salpingo-oophorectomy (BSO), is a primary
     preventive approach to ovarian cancer that has been widely used only for women at high genetic
     risk. In a BRCAI/2 mutation-carrying population, BSO has been demonstrated to reduce the risk
     of ovarian, tubal, or peritoneal cancers by 80 percent and the risk of breast cancers by 50
     percent. 14 The Gynecologic Oncology Group is currently completing a nonrandomized
     prospective trial comparing risk-reducing salpingo-oophorectomy to longitudinal screening with
     CA-125 and ultrasound. Several groups have performed health-economic models suggestin~ that
     prophylactic surgery is both effective and cost-effective in the BRCA carrier population. 15 •1
     Given the potential harms of prophylactic surgery and premature loss of ovarian function,
     surgical prophylaxis in the absence of other indications for pelvic surgery has not been
     recommended in the general premenopausal population. There is also evidence from
     observational studies that two gynecological surgical procedures performed for other indications,
     tubal sterilization and hysterectomy, 17- 19 also reduce ovarian cancer risk, even without removal
     of the ovaries. In light of accumulating evidence that many, if not most, ovarian cancers originate
     in the fallopian tube, some groups, notably the British Columbia Cancer Association, are
     advocating removal of the tubes at the time of surgical sterilization or hysterectomy for other
     indications, but there is no evidence on potential effectiveness. 20

     Oral Contraceptives
          Oral contraceptives (OCs) represent a potentially promising primary prevention strategy for
     ovarian cancer. Several studies suggest a protective effect of OCs on ovarian cancer risk, with a
            . m
     re duct10n    . k of up to 50 percent wit
                . ns                        . h 1ong-term use. 21 '22

     Age-Period Cohort
         Data from the National Cancer Institute's Surveillance, Epidemiology, and End Results
     (SEER) registry suggest a reduction in both age-specific incidence and mortality in cohorts born
     in 1940 or later (i.e., those who had access to OCs during their entire reproductive life span).
     Figure 4 shows age-specific incidence, and Figure 5 shows age-specific mortality by age-period


                                                     4




                                                                                                    00803262
Exhibit 163                                                                                       JA-0002804
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 45 of 173




     cohort, derived from SEER age-specific incidence and mortality data from 1974 to 2008. Lines
     refer to women born in the indicated year.

     Figure 4. Age-specific incidence by age-period cohort




                               70
                                            ~       1920
                               60
               0                            -       1930
               0
               0               50
               0                            _._ 1940
               .......
               0
                               40
                Cl)
                                            ~1950
                Q.
                               30
                ti)
                Cl)                         -       1960
                ti)
                (U             20
               0
                               10
                                0
                                        0           10      20   30    40         50   60   70    80    90

                                                                      Age


     Figure 5. Age-specific mortality by age-period cohort



                                70
                                                ~    1920
                                60
                    0                           -    1930
                    0
                    0           50
                    0                           -&-1940
                    .......
                    0
                                40
                         Cl)
                         Q.                     ~    1950

                    -
                         ti)    30
                     .c
                         (U                          1960
                         Cl)    20
                     Cl

                                10

                                    0
                                            0        10     20   30   40          50   60   70   80    90
                                                                            Age




                                                                       5




                                                                                                               00803263
Exhibit 163                                                                                                  JA-0002805
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 46 of 173




     Clinical Data
         A large number of observational studies provide evidence that OC use has a protective effect
     on ovarian cancer incidence and mortality. The largest pooled analysis combined data from 45
     epidemiological studies in 21 countries representing 23,257 women with ovarian cancer and
     87,303 controls. This analysis described an odds ratio for ever OC use of 0.73 (95% CI, 0.70 to
     0.76). There was a strong relationship between degree of risk and duration of OC use, with the
     overall risk decreased by 20 percent (95% CI, 18% to 23%) for every 5 years of OC use. Based
     on these findings the authors estimated that use of OCs has already prevented 200,000 ovarian
     cancers and 100,000 deaths from ovarian cancer. 21 Two other pooled analyses of epithelial
     ovarian cancer had consistent findings, with odds ratios for ever OC use of 0.66 (95% CI, 0.56 to
     0.79) and 0.6 (95% CI, 0.4 to 0.8). 23 •24

     Modeling Results
        There have been no prior modeling studies to inform the possible preventive effects of OCs
     on ovarian cancer incidence and mortality.

     Biological Plausibility
         The mechanisms underlying a potential protective effect of OCs on ovarian cancer risk are
     not entirely clear. One longstanding hypothesis ("the incessant ovulation theory") is that
     repetitive ovulations throughout reproductive life result in epithelial damage and repair cycles
     that subsequently increase the risk of developing ovarian cancer. Factors that decrease the
     number of ovulations such as fsregnancies, breastfeeding, and use of OCs, therefore, are expected
     to reduce ovarian cancer risk. 5
         A protective effect of OCs may also be due to direct effects of the hormones on the ovarian
     epithelium, a theory that is supported by some biological evidence. First, the incidence of
     ovarian cancer is significantly elevated in poultry hens, which ovulate daily. 26 Second, in a 3-
     year study, macaque monkeys treated either with combination OCs or their individual estrogen
     or progestin components or with controls, a significant increase in apoptosis of the ovarian
     epithelium was demonstrated in the groups receiving progestins. 27 The apoptosis pathway
     preferentially eliminates cells that have sustained genetic damage. 28 The finding that progestins
     activate this critical pathway in the ovarian epithelium raises the possibility that progestin-
     mediated apoptotic effects, and not solely inhibition of ovulation, may be responsible for the
     reduction in ovarian cancer risk that is associated with QC use. 29 Finally, Schildkraudt et al.
     reported an increase in the protective effect of OCs when a high potency progestin was used. 29
         Although there are some biologically plausible mechanisms for a protective effect of OCs on
     ovarian cancer risk, recent pathogenetic data now suggest that many high-grade serous e~ithelial
     ovarian cancers arise not from the ovarian epithelium but from the distal fallopian tube.3
     Consistent with the epidemiologic data regarding OC use, prior work suggests that the fallopian
     tube epithelium is influenced by ovulatory cycles, with ovulation exerting an inhibitory effect. 31




                                                      6




                                                                                                     00803264
Exhibit 163                                                                                       JA-0002806
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 47 of 173




     Rationale for Review
         Although the evidence suggests that most women can take OCs safely, 32 the potential benefit
     of using OCs to reduce the risk of ovarian cancer must be weighed with knowledge of both the
     potential noncontraceptive health benefits of 0Cs 33 ' 34 and their potential harms. 35 -38 No
     comparative effectiveness analyses have been conducted to inform decisions about the use of
     OCs as a primary preventive strategy for ovarian cancer. Also, because the majority of evidence
     on noncontraceptive benefits and harms of OC use is derived from observational studies, careful
     consideration must be given to the potential biases inherent in those study designs when
     developing a research agenda and clinical recommendations. The combination of systematic
     review and decision-analytic modeling presented in this report allows us to estimate the tradeoffs
     between the harms and benefits of OC use for the overall population and for individual women,
     accounting for the potential influence of other factors.

     Scope and Key Questions
     Scope of Review
         To evaluate the benefits and harms of the use of OCs as a primary preventive measure
     against ovarian cancer, we focused on synthesizing the available evidence for the effectiveness
     of this strategy in a general population and in groups at elevated risk. We also evaluated benefits
     and harms of OC use that are not related to the development of ovarian cancer. Finally, we
     designed a comparative effectiveness model to inform the questions generated by this review.
         The scope of the review specifically excluded the unquestioned effectiveness of OCs in
     preventing unintended pregnancies; the potential effectiveness of OCs as primary or adjunctive
     treatments for conditions such as menstrual disorders (e.g., dysmenorrhea or menorrhagia),
     endometriosis, or premenstrual dysphoric disorder; and the potential role of OCs in preventing
     the onset of these conditions. For women considering the use of OCs for contraception or as
     treatment for symptomatic conditions, these effects are clearly the most important consideration.
     However, our overall focus was on the potential role of OCs as primary prevention for ovarian
     cancer. The overall clinical question we addressed was not, "What are the overall benefits and
     harms of OCs as a method of contraception or as treatment for certain conditions?"-a question
     that would require explicit comparisons of different contraceptive methods on all the relevant
     outcomes. Rather, the implicit question was, "Do the benefits and harms of OCs potentially
     justify their use solely as a primary preventive intervention (analogous to aspirin for the
     prevention of myocardial infarction) even in women who do not need contraception?"

     Key Questions
         With input from AHRQ, the CDC, and a Technical Expert Panel (TEP) of external
     stakeholders, we defined Key Questions using the general approach of specifying the population
     of interest, the interventions, comparators, outcomes, timing of outcomes, and settings (PICOTS;
     see the section on "Inclusion and Exclusion Criteria" in the Methods section for details). The
     Key Questions (KQs) considered in this systematic review were:

        KQ 1: What is the effectiveness of combined (estrogen and progestin containing) and
     progestin-only oral contraceptives (OCs) for reducing the risk of ovarian cancer?


                                                      7




                                                                                                     00803265
Exhibit 163                                                                                        JA-0002807
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 48 of 173




         KQ 2: Do specifics of QC use (e.g., dose/formulation, age at initiation, duration of use)
     affect the relative risk of developing ovarian cancer?

         KQ 3: Does the use of QCs by specific populations of women (e.g., those defined by age,
     family history of breast and ovarian cancer, BRCA1/BRCA2 mutation status, parity) affect the
     relative risk of developing ovarian cancer?

         KQ 4: Aside from pregnancy prevention, are there other benefits of QC use in reducing the
     risks of endometrial cancer or colorectal cancer?

         KQ 5: What are the harms of QC use, including breast cancer incidence, cervical cancer
     incidence, venous thromboembolic disease, stroke, or myocardial infarction? How do these
     harms vary by dose or formulation, duration of use, or specific population?

         KQ 6: Based on the comprehensive literature review, what are the benefits and harms from
     the use of QCs to reduce the incidence of ovarian cancer for specific populations? Based on the
     decision model, what is the estimated effect of these benefits and harms on life expectancy and
     quality-adjusted life expectancy?

          KQ 7: Based on the systematic review and decision model, what research gaps need to be
     filled to better understand whether QCs are effective for the primary prevention of ovarian
     cancer?

     Analytic Framework
          Figure 6 shows the analytic framework for this systematic review.




                                                      8




                                                                                                       00803266
Exhibit 163                                                                                          JA-0002808
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 49 of 173




     Figure 6. Analytic framework for systematic review




                 ,, ,,
                         ,,     -------              .... ....
         I
             /
                                                                    ' \I                                                                                     Other Benefits
                              Age, family history,
        I                     BRCA status, parity                            I                                                                         Reductions in incidence or
         \                                                               I                                                                             mortality of:
             \

                 ' ... .... ....... __ r _____ ... ,, .,
                                                                    /
                                                                                                                                                         Endometrial cancer
                                                                                                                                                       • Colorectal cancer



                                      I
                               KQ3

                                      I

                                     v
                               Women at risk                                                                                                               Primary Outcomes
                                for ovarian                                                                                                                Ovarian cancer
                                  cancer                                                                                                                   incidence and mortality




                                                                                                      1   KQ2                                                 Other Harms
                                                                                                                                                       Incidence and mortality of:
                                                                                                                                                          Venous
                                                                        ,,
                                                                             ,   -- . , ,. -   - - - L - - - ....
                                                                                                                    .........
                                                                                                                                '                         thromboembolism
                                                                /                                                                       \
                                                          ,                          Age at initiation,                                                   Breast cancer
                                                        ~                        dose/formulation, duration                                 ~             Cervical cancer
                                                            ,                             of use                                            1             Stroke
                                                                ' ... ...
                                                                                 ........   ________ ..,,,.-- ,. ,,                 /                     Myocardial infarction




     BRCA = breast cancer (genetic mutation); K = Key Question; OC                                                              = oral contraceptive
     Note: KQ 7 is not shown in the analytic framework.


     Organization of Report
          This report departs from the standard AHRQ evidence report organization. The evidence is
     instead presented in four topic-focused sections. Figure 7 shows the relationship between the
     Key Questions and the report sections. Three of these sections address the relationship between
     OC use and specific groups of benefits and/or harms. The first such section, "Oral
     Contraceptives and Ovarian Cancer," focuses on ovarian cancer outcomes (KQ 1, KQ 2, and KQ
     3); the second section, "Oral Contraceptives and Other Cancers," on breast, cervical, colorectal,
     and endometrial cancers (KQ 4 and KQ 5); and the third, "Oral Contraceptives and Vascular
     Events," on venous thromboembolism, stroke, and myocardial infarction (KQ 5). Within each
     section, the benefits and/or harms of OC use are considered for both the general population and
     specific populations of women for whom the risk levels of ovarian cancer are elevated. Where
     possible, our analyses also consider potential modifying factors such as dose, formulation, and




                                                                                                                       9




                                                                                                                                                                                       00803267
Exhibit 163                                                                                                                                                                          JA-0002809
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 50 of 173




     duration of OC use. Each section also considers specific evidence gaps and needs for future
     research regarding the association between OC use and the specific outcomes (KQ 7).
         The final section of the report, "Overall Benefits and Harms of Oral Contraceptives for
     Prevention of Ovarian Cancer," uses a decision analytic framework to explore the overall
     benefits and harms of all outcomes considered in the report. In this section, we present the results
     of our comparative effectiveness decision model, considering the overall effect of OC use on
     benefits and harms for both the general population and specific populations of women at varying
     levels of risk (KQ 6). In this final section, we also use the modeling framework to identify
     additional evidence gaps and needs for future research related to the potential overall benefits
     and harms of OCs for prevention of ovarian cancer (KQ 7).

     Figure 7. Report roadmap
                      Key Questions                                                           Report Structure


                                                                         Section 1: Introduction and Methods
                                                                                 Background for report
   KQ 1: Effectiveness of OC Use for Reducing Incidence of
                                                                                 General methods for review and model
   Ovarian Cancer

                                                                         Section 2: OCs and Ovarian Cancer
   KQ 2: Effect of Specifics of OC Use on Ovarian Cancer                         Brief specific background
   Incidence                                                                     Brief specific methods
                                                                                 Results
                                                                                 Discussion of specific results
                                                                                 Specific future research needs
   KQ 3. Relative Risk of Ovarian Cancer With OC Use in
   Subpopulations
                                                                         Section 3: OCs and Other Cancers
                                                                                 Breast, cervical, colorectal, and endometrial
                                                                                 Brief specific background
   KQ 4: other Benefits of OC Use                                                Brief specific methods
                                                                                 Results
                                                                                 Discussion of specific results
                                                                                 Specific future research needs


   KQ 5: Harms of OC Use                                                 Section 4: OCs and Vascular Events
                                                                                 Venous thromboembolism, stroke, and myocardial
                                                                                 infarction
                                                                                 Brief specific background
                                                                                 Brief specific methods
                                                                                 Results
                                                                                 Discussion of specific results
                                                                                 Specific future research needs
   KQ 6: Decision Analysis: Benefits and Harms of OC Use and
   Ovarian Cancer Risk
                                                                         Section 5*: Overall Benefits and Harms of OCs for
                                                                         Prevention of Ovarian Cancer
                                                                                 Brief specific methods
                                                                                 Results
   KQ 7: Research Gaps                                               )
                                                                                 Discussion of model results
                                                                                 Discussion of overall results
                                                                                 Discussion of overall evidence gaps/research needs
                                                                                 Public health implications



     KQ = Key Question; OC = oral contraceptive
     *Note that Section 5 also sununarizes the Key Questions.




                                                                10




                                                                                                                         00803268
Exhibit 163                                                                                                           JA-0002810
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 51 of 173




     Methods
         The methods for this evidence report follow those suggested in the AHRQ "Methods Guide
     for Effectiveness and Comparative Effectiveness Reviews"
     (www.effectivehealthcare.ahrq.gov/methodsguide.cfm; hereafter referred to as the "Methods
     Guide"). 39 The main sections in this chapter reflect the elements of the protocol established for
     the systematic review; certain methods map to the PRISMA checklist. 40 All methods and
     analyses were guided by a review protocol, which was developed as described below.

     Review Protocol
          At the outset of this review, the Key Questions were defined collaboratively with input from
     AHRQ, the CDC, and the TEP. The TEP comprised individuals representing medical
     professional societies/clinicians in the areas of obstetrics, gynecology, reproductive health, and
     gynecologic oncology; Federal health agencies with an interest in cancer care/prevention, oral
     contraceptive benefits/harms, and women's health research; scientific and methodological
     experts; a nonprofit cancer advocacy organization; and representatives of ovarian cancer patient
     and women's reproductive health groups. The TEP was convened to provide input in defining
     populations, interventions, comparisons, and outcomes; considering potential analysis and
     modeling approaches; and aiding in identifying particular studies or databases to search.
     Members of the TEP were required to disclose any relevant business or professional conflicts of
     interest and any financial conflicts of interest greater than $10,000. Potential conflicts of interest
     were balanced or mitigated. Members of the TEP did not perform analyses of any kind and did
     not contribute to the writing of the report. Members of the TEP were invited to provide feedback
     on an initial draft of the review protocol, which was then refined based on their input, reviewed
     by AHRQ and the CDC, and posted for public access at the AHRQ Effective Health Care Web
     site. 41

     Literature Search Strategy
     Search Strategy
          We searched PubMed®, Embase®, and the Cochrane Database of Systematic Reviews to
     identify relevant literature published from January 1990 to June 2012. Our search strategies used
     the National Library of Medicine's medical subject headings (MeSH) keyword nomenclature
     developed for MED LINE® and adapted for use in other databases. We date-limited our searches
     to articles published since January 1990 because, given the lag time between OC exposure and
     subsequent ovarian cancer development, much of the older literature concerning OC use and
     ovarian cancer is based on OC formulations that are no longer on the market. In addition, many
     of the other benefits and harms of OC use are observed within several years of initial use.
     Restricting the search to 1990 forward increases the likelihood that the types of OCs used by the
     women in the studies we retrieved were similar to those currently available, and thus aids in
     maximizing the generalizability and clinical relevance of the results. In addition to the databases
     listed above, we also searched ClinicalTrials.gov to identify additional relevant articles from
     completed studies. Search dates and exact search strings for all searches are provided in
     Appendix A All searches were designed and conducted in collaboration with an experienced
     search librarian.



                                                       11




                                                                                                        00803269
Exhibit 163                                                                                           JA-0002811
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 52 of 173




          We supplemented the electronic searches with a manual search of citations from a set of key
     review articles. 42-67 The reference lists from these articles were hand-searched and cross-
     referenced against our library of database search results. Additional relevant articles not already
     under consideration were retrieved for screening. All citations were imported into an electronic
     database (EndNote® Version X4; Thomson Reuters, Philadelphia, PA). We did not
     systematically search gray literature databases beyond our review of potentially relevant studies
     listed in ClinicalTrials.gov-the high volume of literature identified through our searches of
     peer-reviewed articles made it unlikely that further searching of gray literature would
     substantially increase the chances of identifying relevant data that would meet inclusion criteria.
     However, we did invite additional information through a request for scientific information
     packets that was submitted to drug manufacturers on our behalf by AHRQ. Submissions received
     through this mechanism were reviewed and relevant citations screened against the review
     inclusion/exclusion criteria.

     Inclusion and Exclusion Criteria
          The PICOTS-based criteria developed to screen articles for inclusion/exclusion at the
     title/abstract and full-text levels are detailed in Table 1.

     Table 1. Summary of inclusion and exclusion criteria for the systematic review
         Study
                                          Inclusion Criteria                              Exclusion Criteria
      Characteristic
                       •   All KQs:
                           0   Women taking OCs for contraception or women
                               taking OCs for primary prevention of ovarian
                               cancera
                           0   Women who do not have a history of ovarian
                               cancer and have not undergone bilateral
     Population                                                                  Nonhuman studies
                               oophorectomy
                       •   KQs 3 and 6:
                           0   Women with a family history of ovarian or
                               premenopausal breast cancer suggesting
                               increased risk based on current recommendations
                           0   Women with a known BRCA1/BRCA2 mutation
                                                                                 Study does not provide a description
                                                                                 of at least one of the following:
                                                                                 (1) OC formulation(s) used
                                                                                 (2) Length of OC use
                       OC use (includes OC use for varying time periods and
     Interventions
                       OC use with different formulations)                       (Not required for studies reporting
                                                                                 ovarian cancer outcomes or
                                                                                 conducted in a population taking OCs
                                                                                 for primary prevention of ovarian
                                                                                 cancer)
                                                                                 Study does not include controls; i.e.,
                                                                                 an estimate of outcomes in women
                       No use of combination or progestin-only OCs, including
                                                                                 not using OCs (population estimates
                       either no contraceptive method at all or contraceptive
                                                                                 are acceptable)
                       methods other than combination or progestin-only OCs
     Comparators                                                                 Studies comparing OC formulations
                       (e.g., natural family planning, barrier methods,
                                                                                 (without including a non-OC control)
                       sterilization, intrauterine devices, injectable or
                                                                                 are acceptable for studies reporting
                       implantable hormonal contraception)
                                                                                 venous thromboembolism, stroke, or
                                                                                 Ml outcomes




                                                           12




                                                                                                                   00803270
Exhibit 163                                                                                                     JA-0002812
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 53 of 173




   Table 1. Summary of inclusion and exclusion criteria for the systematic review (continued)
       Study
                                               Inclusion Criteria                                      Exclusion Criteria
    Characteristic
                        Study reports quantitative association between exposure to
                        OCs and one of the outcomes listed below:
                        • KQs 1, 2, 3, 6:
                             0    Diagnosis of ovarian cancer, ovarian cancer
                                   mortality
                             0    Adverse effects (see KQ 5)
                        • KQ4:
                             0    Diagnosis of endometrial cancer, endometrial              Study only reports outcomes related
   Outcomes                       cancer mortality, diagnosis of colorectal cancer,         to assisted reproductive technologies
                                  colorectal cancer mortality                               or abortion
                             0    Adverse effects (see KQ 5)
                        • KQ5:
                             0    Diagnosis of breast cancer, cervical cancer, venous
                                  thromboembolic event, stroke, or myocardial
                                   infarction; disease-specific mortality associated with
                                  these outcomes
                        • KQ 7: Not applicable
   Timing               Studies of any duration                                             None
   Settinq              All settinqs                                                        None
                        • Controlled studies (randomized trials, cohort studies,             •   Not a clinical study (e.g., editorial,
                            case-control studies), pooled patient-level meta-
                                                                                                 non-systematic review, or letter to
                            analysesb or systematic reviews and study-level meta-
                                                                                                 the editor)
   Study design             analyses

                        •    Study sample size ~ 100 subjects for non randomized                • Exploratory study with inadequate
                                     0                                                              sample size
                             studies
                        • English-language only
                        • Peer-reviewed articles
                        • Outcome reporting falls within the following publication
                             ranges:
                              0    Study reports an ovarian cancer outcome of
                                   interest and was published on or after 01-Jan-1990d
   Publications                                                                                 Non-English articles 9
                              0    Study reports a breast, endometrial, cervical, or
                                   colorectal cancer outcome of interest and was
                                   published on or after 01-Jan-2000e
                              0    Study reports a venous thromboembolic event,
                                   stroke, or myocardial infarction outcome of interest
                                   and was published on or after 01-Jan-19951
    KQ=Key Question; MI= myocardial infarction; OC=oral contraceptive
    alf the purpose of OC use was unclear, it was assumed to be contraception.
    bSystematic reviews and study-level meta-analyses were excluded from direct abstraction; those representing key sources were
    hand-searched as potential sources of additional material.
    csmall nomandomized studies <100 subjects were excluded because confidence intervals for outcomes of interest are generally
    quite wide if appropriate adjustment for confounding is performed, and variability in reporting of potential confounders makes
    meta-analysis problematic.
    dWe considered studies published from January 2000 to June 2012 for the primary ovarian cancer outcome analyses. Older data
    (with publication dates beginning January 1990) were used to conduct sensitivity analyses allowing us to compare the results
    from the January 2000 to June 2012 analyses with those from a longer date range (January 1990 to June 2012).
    eDate ranges for these cancer outcomes were selected to balance generalizability (OC formulations used in earlier studies not
    currently on market) and power (peak incidence of cancers 10 to 30 years after typical use of oral contraceptives).
    fDate ranges for acute vascular events associated with OC use were restricted to more recent years to reflect currently available
    formulations.
    gNon-English articles were excluded ( 1) due to the high volume of literature available in English-language publications
    (including the majority of known important studies) and (2) due to concerns about the applicability of non-English publication
    studies to populations in the United States. The variability in OC formulations approved for use across countries increases the
    likelihood that non-English language studies would include OCs not available or not in use in the United States.




                                                                  13




                                                                                                                                00803271
Exhibit 163                                                                                                                   JA-0002813
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 54 of 173




     Study Selection
         Using the inclusion and exclusion criteria described in Table 1, two investigators
     independently reviewed the titles and abstracts of articles retrieved through the search strategies
     for potential relevance to the KQs. Articles included by either reviewer were promoted to full-
     text screening. At the full-text screening stage, two investigators independently reviewed the full
     text of each article and indicated a decision to include or exclude the article for data abstraction.
     When paired reviewers arrived at different decisions about whether to include or exclude an
     article, or about the reason for exclusion, we reconciled the difference through review and
     discussion among investigators. Articles meeting eligibility criteria were included for data
     abstraction. All screening decisions were made and tracked in a Distiller SR database (Evidence
     Partners Inc., Manotick, ON, Canada).

     Data Extraction
         The investigative team created forms for abstracting the data elements for the KQs. The
     abstraction forms were pilot-tested with a sample of included articles to ensure that all relevant
     data elements were captured and that there was consistency and reproducibility between
     abstractors for accuracy. Based on clinical and methodological expertise, pairs of researchers
     were assigned to abstract data from the eligible articles. One researcher abstracted the data, and
     the second reviewed the completed abstraction form alongside the original article to check for
     accuracy and completeness. Disagreements were resolved by consensus or by obtaining a third
     reviewer's opinion if consensus could not be reached by the first two researchers.
         To aid in both reproducibility and standardization of data collection, guidance documents
     were drafted and given to the researchers as reference material, and researchers received further
     data abstraction instructions directly on each form created specifically for this project within the
     DistillerSR data synthesis software. We designed the data abstraction forms for this project to
     collect information required to conduct the review, including data needed to evaluate the
     specified eligibility criteria for inclusion; demographic and other patient characteristics of
     relevance (e.g., family history of ovarian cancer); details of the interventions and comparators
     (e.g., OC dose, formulation, patterns of use); outcome measures and adjustment factors applied
     in study analyses; and data needed to assess quality and applicability. Appendix B provides a
     detailed listing of the data elements abstracted.

     Quality Assessment of Individual Studies
         We evaluated the quality of individual studies using the approach described in AHRQ's
     "Methods Guide." 39 To assess quality, we used the approach to (1) classify the study design, (2)
     apply predefined criteria for quality and critical appraisal, and (3) arrive at a summary judgment
     of the study's quality. To evaluate methodological quality, we applied criteria for each study type
     derived from core elements described in the "Methods Guide." Criteria of interest for all studies
     included similarity of groups at baseline, the extent to which outcomes were described, blinding
     of subjects and providers, blinded assessment of the outcome(s), intention-to-treat analysis,
     differential loss to followup between the compared groups or overall high loss to followup, and
     conflicts of interest. No randomized controlled trials were identified for inclusion in this review,
     thus criteria specific to randomized studies (e.g., methods of randomization and allocation
     concealment) were not considered.
         Additional elements considered for observational studies included methods for selection of
     participants and management of selection bias, measurement of interventions/exposures,


                                                      14




                                                                                                       00803272
Exhibit 163                                                                                          JA-0002814
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 55 of 173




     addressing any design-specific issues, and controlling confounding. To indicate the summary
     judgment of the quality of the individual studies, we used the summary ratings of good, fair, and
     poor (Table 2). For each study, one investigator assigned a summary quality rating, which was
     then reviewed by a second investigator; disagreements were resolved by consensus or by a third
     investigator if agreement could not be reached. Several studies are represented by more than one
     article. In some of those cases, the study data could not be combined into one abstraction. In
     those instances, the quality ratings for individual abstractions within a study grouping could vary
     based on the specific component articles' quality of reporting, the evaluated outcomes, and the
     statistical and analytical methods used.

     Table 2. Definitions of overall quality ratings
         Quality Rating                                              Description
                           A study with the least bias; results are considered valid. A good study has a clear
                           description of the population, setting, interventions, and comparison groups; uses a valid
                           approach to allocate patients to alternative treatments; has a low dropout rate; and uses
                           appropriate means to prevent bias, measure outcomes, and analyze and report results. In
       Good                addition, specific to cohort and case-control studies, inclusion/exclusion criteria were
                           applied consistently to all comparison groups; cases and controls were selected
                           appropriately; strategies for recruiting patients were consistent across study groups; and
                           confounding variables were assessed using valid and reliable measures and implemented
                           consistently across all study participants.
                           A study that is susceptible to some bias but probably not enough to invalidate the results.
                           The study may be missing information, making it difficult to assess limitations and potential
       Fair                problems. As the fair-quality category is broad, studies with this rating vary in their
                           strengths and weaknesses. The results of some fair-quality studies are possibly valid, while
                           others are probably valid.
                           A study with significant bias that may invalidate the results. These studies have serious
                           errors in design, analysis, or reporting; have large amounts of missing information; or have
       Poor                discrepancies in reporting. The results of a poor-quality study are at least as likely to reflect
                           flaws in the study design as to indicate true differences between the compared
                           interventions.


     Data Synthesis
          We used two complementary approaches to data synthesis. First, we summarized the primary
     literature by abstracting relevant continuous (e.g., age and categorical data (e.g., BRCAl/2
     mutation status). We then determined the feasibility of completing a quantitative synthesis.
     Feasibility generally depended on the volume ofrelevant literature, the conceptual homogeneity
     of the studies, and the completeness of the reporting ofresults. For this topic, meta-analysis was
     particularly challenging, because (1) all of the literature was observational, increasing the
     methodological complexity of the meta-analysis, and (2) there was substantial heterogeneity in
     the types of exposures ( e.g., QC formulation), timing of exposures ( e.g., intermittent use of QCs
     over the course of a reproductive lifetime) and how exposures were measured and reported (ever
     users versus never users or current versus noncurrent users, duration of use as a continuous or
     categorical variable). Despite the challenges, we determined that meta-analysis was indicated for
     a number of the outcomes of interest considered in this review; other outcomes for which meta-
     analysis was not feasible are summarized using descriptive statistics.
          Even when meta-analysis was feasible, at best the results provide evidence for whether there
     is an association between QC use and a specific outcome, the direction of that association
     (toward harm or benefit), and the magnitude and precision of that association, which allows
     estimation of the probability of developing that outcome in QC users relative to nonusers.



                                                             15




                                                                                                                         00803273
Exhibit 163                                                                                                            JA-0002815
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 56 of 173




     Estimating the impact of the association on the absolute probability of developing that outcome,
     for either an individual or a population, requires additional methods. First, in order to estimate
     the absolute increase or decrease in risk based on the results of the meta-analysis, we used the
     results of the meta-analyses, together with data on the overall incidence of the outcome and the
     prevalence of OC use, to estimate age-specific incidence in ever versus never users (for cancer
     outcomes) and current versus noncurrent users (for acute vascular events). Although these results
     are useful for estimating the risk of individual outcomes, they do not account for the interaction
     of multiple competing risks, including both the outcomes of interest and other events, such as
     death from other causes or surgical removal of the ovaries for benign conditions, that affect the
     overall impact of OC use at the individual and population level. In order to estimate these joint
     effects, we developed a comparative effectiveness decision model that allowed us to simulate the
     joint effects of OC use on cancer and vascular events on the overall balance of benefits and
     harms. The model also allows exploration of the effects of variation in different aspects of OC
     use (such as age at first use, duration of use, or individual risk of various outcomes) on the
     overall impact of OC use. Finally, the model allows estimation of uncertainty in the individual
     estimates of OC effects on overall uncertainty about the balance of benefits and harms, which in
     tum may help prioritize future research needs.

     Outcome Measures
        For each disease/condition of interest, we estimated the effect of OC use on a number of
     outcomes. Outcome measures considered for the meta-analyses were:
         • Disease-specific incidence (i.e., were OC users more or less likely to develop the
            disease/con di ti on?)
         • Disease-specific mortality (i.e., were OC users more or less likely to die from a given
            cause than nonusers?)
         • Disease-specific survival (i.e., among women who developed the outcome, were OC
            users more or less likely to die than nonusers?)
         The following outcome measures were considered for modeling:
         • Age-specific incidence
         • Cumulative lifetime incidence
         • Cumulative lifetime mortality from outcomes
         • Life expectancy
         • Quality-adjusted life expectancy
         • Number needed to harm and number needed to prevent (derived from absolute
            differences in lifetime incidence and mortality)
         • Harm/benefit ratio for disease incidence (defined as the sum of excess cases of breast
            cancer, cervical cancer, myocardial infarction, deep venous thrombosis, pulmonary
            embolism, and stroke in OC users, divided by the sum of prevented cases of ovarian,
            colorectal, and endometrial cancers); each cancer also was considered individually
         • Harm/benefit ratio for disease mortality (defined as the sum of excess deaths from breast
            cancer, cervical cancer, myocardial infarction, deep venous thrombosis, pulmonary
            embolism, and stroke in OC users, divided by the sum of prevented deaths from ovarian,
            colorectal, and endometrial cancers); each cancer also was considered individually




                                                     16




                                                                                                    00803274
Exhibit 163                                                                                       JA-0002816
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 57 of 173




     Meta-Analytic Methods
         Details of the specific approaches to the meta-analysis of the effects of OC use on ovarian
     cancer, other cancers, and acute vascular events are provided in the relevant sections. Our
     general approach for each outcome was to analyze, if possible, the following associations:
         • Temporal relationships:
                 o   Ever versus never OC use
                 o   Current versus noncurrent OC use
                 o   Duration of current OC use
                 o   Age at first OC use
                 o   Time since last OC use
         • OC formulation:
                 o   Estrogen dose (high versus low)
                 o   Progestin generation (first, second, third, and fourth generations)
         • Special populations (such as women with known family history or genetic predisposition)
         When study designs and outcomes reported were similar and the population in the study was
     broad (e.g., not Factor V Leiden carriers), we estimated pooled odds ratios with 95% confidence
     intervals (95% Cls) using a random-effects model. We evaluated heterogeneity visually and with
     the Cochran Q statistic using a threshold p-value of less than 0.10. We stratified analyses by
     study type (case-control, cohort, pooled analyses). All meta-analyses were performed using
     Comprehensive Meta-Analysis Version 2 (Biostat; Englewood, NJ; 2005). 68
         Confidence intervals from the included study publications were entered into the
     Comprehensive Meta-Analysis (CMA) program. However, many of these confidence intervals
     had been rounded to a single decimal place. The CMA program checks the intervals for
     symmetry in the logarithmic scale. In certain cases, the rounded limits were not accepted by
     CMA. In such cases, we kept the point estimate as given but changed the confidence limits so
     that they were symmetric. This resulted in slight differences in the confidence intervals in the
     forest plots when compared with the study publications.
         Results were discussed qualitatively when study numbers were insufficient for meta-analysis
     (less than three), when confidence intervals around measures of association were not reported or
     could not be calculated, or when a study included a special population that is not likely to be
     representative of the general population of reproductive age women.
         We included data from pooled analysis articles in our meta-analyses if all three of the
     following conditions were met:
         • None of the individual studies included in the pooled analysis had already been included
             for meta-analysis.
         • At least half of the studies in the pooled analysis were published on or after the date
             threshold applied for the outcome under consideration in the analysis (January 1, 2000,
             for ovarian cancer outcomes; January 1, 2000, for other included cancer outcomes; and
             January 1, 1995, for acute vascular events)
         • Data in the pooled analyses were presented such that their inclusion in the current meta-
             analysis was feasible.




                                                    17




                                                                                                  00803275
Exhibit 163                                                                                     JA-0002817
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 58 of 173




     Estimation of Absolute Risks
         We estimated the impact of OC use on age-specific absolute risk from population-based
     estimates of age-specific incidence, age-specific exposure estimates for OCs, and the derived
     odds ratios from the meta-analyses. For any outcome,
      Overall Incidence= (Incidence in OC users)* (Prevalence OC use)+ (Incidence in nonusers)* (Prevalence nonuse).

     smce
                        Incidence in OC users= (Incidence in nonusers)* (Relative risk in OC users),

     and
                                      Prevalence nonuse = 1 - (Prevalence OC use),


     separate estimates for age-specific incidence in users and nonusers can be derived from the
     overall incidence, the prevalence of OC use, and the relative risks (estimated here from the odds
     ratios from the respective meta-analyses).

     Simulation Model
          We constructed a semi-Markov state-transition model that modeled a cohort of women aged
     10 to 100, using TreeAge Pro 2012 (Williamstown, MA: TreeAge, Inc.). Age-specific and race-
     specific probabilities of OC use and important competing risks or effect modifiers, such as all-
     cause mortality, tubal ligation, hysterectomy, and oophorectomy, were obtained from the
     literature or publicly available data sources. Estimates for the effect of OC use on cancers and
     vascular events were based on the results of the meta-analysis, based on either ever or current
     use of OCs. Other factors, such as duration of use, were included if they were statistically
     significant in the meta-analysis.
          The model was run as a microsimulation, which allowed conditioning of probabilities on past
     history. Depending on the analysis, each model run included 5,000 to 1,000,000 simulated
     individuals, with estimates of the outcomes of interest based on the mean value of each model
     run (or, in some cases, the weighted average of multiple model runs).
          Estimates were derived for both the overall population given current OC use patterns (i.e.,
     the cumulative effect of current patterns of age of starting OCs and duration of use on the
     outcomes of interest based on the risk estimates compared with a scenario where OCs had no
     effect on risk), as well as at the individual level (the cumulative effect of OC use in all users,
     based on current patterns of use, vs. nonusers).
          The impact of varying age of starting and duration of use was assessed in a separate analysis.
          Finally, we assessed the impact of uncertainty in the estimates of OC effects by using a
     method analogous to cost-effectiveness analysis, where total harms were considered as "costs"
     and assessing the effect of uncertainty in the effects (based on the confidence intervals of the
     relative risk estimate) on whether OC use would be recommended based on different
     "willingness-to-pay" thresholds for harm/benefit ratio.




                                                            18




                                                                                                                00803276
Exhibit 163                                                                                                   JA-0002818
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 59 of 173




     Strength of Evidence
         The strength of evidence for each Key Question and outcome was assessed using the
     approach described in the "Methods Guide." 39•69 The evidence was evaluated using the four
     required domains (Table 3).

     Table 3. Strength of evidence required domains
          Domain                    Rating                                         How Assessed
                         Low
                                                        Assessed primarily through study design (RCT vs. observational
       Risk of bias      Medium
                                                        study) and aggregate study quality
                         HiQh
                         Consistent
                                                        Assessed primarily through whether effect sizes are generally on
       Consistency       Inconsistent
                                                        the same side of "no effect" and the overall range of effect sizes
                         Unknown/not applicable
                                                          Assessed by whether the evidence involves direct comparisons
                                                          (e.g., direct comparison of stroke risk in women using OCs
                                                          compared with women using IUDs) or indirect comparisons
                          Direct
      Directness                                          through use of surrogate outcomes (e.g., measurement of blood-
                           Indirect
                                                          clotting factors in women using OCs vs. IUDs) or use of separate
                                                          bodies of evidence (risk of stroke in OC users vs. placebo, and risk
                                                          of stroke in IUD users vs. placebo)
                          Precise                         Based primarily on the size of the confidence intervals of effect
      Precision
                           Imprecise                      estimates
     IUD = intrauterine device; OC = oral contraceptive; RCT = randomized controlled trial

         Additionally, when appropriate, the studies were evaluated for dose-response association, the
     presence of confounders that diminished an observed effect, strength of association (magnitude
     of effect), and publication bias. The strength of evidence was assigned an overall grade of high,
     moderate, low, or insufficient according to the following four-level scale:
         • High-High confidence that the evidence reflects the true effect. Further research is very
             unlikely to change our confidence in the estimate of effect.
         • Moderate-Moderate confidence that the evidence reflects the true effect. Further
             research may change our confidence in the estimate of effect and may change the
             estimate.
         • Low-Low confidence that the evidence reflects the true effect. Further research is likely
             to change the confidence in the estimate of effect and is likely to change the estimate.
         • Insufficient-Evidence either is unavailable or does not permit estimation of an effect.

     Applicability
         To assess applicability, we used the PICOTS format to identify specific issues that may limit
     the applicability of individual studies or a body of evidence as recommended in the "Methods
     Guide." 39•70 We used data abstracted on the population studied, the intervention and comparator,
     the outcomes measured, study settings, and timing of assessments to identify specific issues that
     may limit the applicability of individual studies or a body of evidence as recommended in the
     "Methods Guide."




                                                                19




                                                                                                                           00803277
Exhibit 163                                                                                                             JA-0002819
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 60 of 173




         Specific factors affecting applicability included (but were not limited to):
         • Population: We anticipated that most of the literature was based on women using OCs for
             contraception, not as prevention for ovarian cancer. Factors such as parity and BRCA
             status, which affect underlying ovarian cancer risk, may differ (or not be reported)
             compared with current relevant groups. The balance of other benefits and harms
             (particularly cardiovascular and thrombotic risks) may differ based on age of use, which
             would be relevant in some subpopulations (e.g., women over 35 who have not previously
             used OCs).
         • Intervention and comparator: The formulation of OCs used in the literature may not
             reflect currently available OCs, and the duration and pattern of use may not reflect
             potential duration and pattern in the setting of primary ovarian cancer prevention.
             Currently available alternatives to OCs may not have been included in "nonuser" groups
             in the literature.
         • Outcomes: Data on all the relevant outcomes is unlikely to be available for all potentially
             applicable comparators, particularly newer contraceptive methods.
         We used these data to evaluate the applicability to clinical practice, paying special attention
     to study eligibility criteria, demographic features of the enrolled population in comparison with
     the target population, version or characteristics of the intervention used in comparison with
     therapies currently in use, and clinical relevance and timing of the outcome measures. We
     summarized issues of applicability qualitatively throughout the sections of the report.

     Peer Review and Public Commentary
         The peer review process is our principal external quality-monitoring device. Experts in key
     clinical and research areas (obstetrics/gynecology; gynecologic oncology; prevention, screening,
     treatment, and management of gynecologic cancers; chemoprevention of cancer; women's
     health), methodological areas (cancer epidemiology, decision modeling, systematic review),
     along with individuals representing ovarian cancer patient interest communities and women's
     reproductive health stakeholders were invited to provide external peer review of this draft report.
     AHRQ, CDC representatives, and an associate editor provided comments, as did members of the
     Technical Expert Panel. The draft report was posted on the AHRQ Web site for 4 weeks to elicit
     public comment. We addressed all reviewer comments, revising the text as appropriate, and
     documented our responses in a disposition of comments report that will be made available 3
     months after the Agency posts the final report on the AHRQ Web site.

     Literature Search Results
          In Figure 8, we depict the flow of articles through the literature search and screening process
     for the review as a whole. Searches of PubMed, Embase, and the Cochrane Database of
     Systematic Reviews yielded 7,196 citations, 767 of which were duplicates. Manual searching
     and contacts to drug manufacturers identified 47 additional citations, for a total of 6476. No
     additional relevant citations beyond those already identified were found from a search for
     relevant studies listed on ClinicalTrials.gov. After applying inclusion/exclusion criteria at the
     title-and-abstract level, 1919 full-text articles were retrieved and screened. Of these, 1671 were
     excluded at the full-text screening stage, leaving 248 articles (representing 157 unique studies)
     for data abstraction. As indicated in Figure 8, several articles/studies were relevant to more than
     one outcome of interest (55 relevant to ovarian cancer outcomes (KQ 1, KQ 2, KQ 3), 66 to
     other cancers of interest (KQ 4, KQ 5), and 50 to vascular events (KQ 5).


                                                      20




                                                                                                      00803278
Exhibit 163                                                                                         JA-0002820
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 61 of 173




         Subsequent sections of this report describe the key points of the findings, summaries of the
     included studies relevant to each section, and a detailed synthesis of the evidence. Appendix C
     provides full citations of included articles as well as the relationship between related articles for
     the same study/patient population. Note that in the descriptive portions of the text, related data
     from articles considered to be part of one study grouping may be represented in both the case-
     control and cohort categories (if both designs are applicable) due to a relationship between the
     represented patient populations. Similarly, related data from articles considered to be part of one
     study grouping may be represented in more than one quality category (see the Methods section
     for a full description of quality assessment). Appendix D provides a complete list of articles
     excluded at the full-text screening stage, with reasons for exclusion.




                                                      21




                                                                                                       00803279
Exhibit 163                                                                                          JA-0002821
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 62 of 173




     Figure 8. Literature flow diagram

                     7196 citations identified by
                         literature search:
                          MEDLINE: 5696
                                                                         767 duplicates
                           Cochrane: 114                    I                                   I
                            Embase: 1386



                                                                     Manual searching: 47
                                                                                                I
                                  ,.
                        6476 citations identified



                                                                    4557 abstracts excluded
                                                                                               I
                                  ,,
                         1919 passed abstract                   1671 articles excluded:
                              screening                         - Abstract-only or full-text unobtainable: 48
                                                                - Not available in English: 4
                                                                - Not RCT, cohort, case-control, or patient-level meta-
                                                                    analysis: 478
                                                                - Study population is not women taking OCs for
                                                                    contraception or for primary prevention of ovarian
                                  ,,                            -
                                                                    cancer: 280
                                                                    Does not provide a description of either OC
                             248 articles                           formulation or length of OC use (not required for
                      representing 157 studies                      studies reporting ovarian cancer outcomes or
                    passed full-text screening and                  conducted in a population taking OCs for primary
                          were abstracted*                          prevention ofovarian cancer): 151
                                                                -   Does not include outcomes of interest within
                                                                    specified date parameters: 596
                                                                -   Does not include non-OC controls (comparisons
                                                                    between OC formulations acceptable for articles
                                                                    reporting VTE, stroke, or Ml): 112
                                                                -   Non-randomized study <100 subjects: 2




                                  ,,                                                                             II'

                     Abstracted studies reporting        Abstracted studies reporting                  Abstracted studies
                      ovarian cancer outcomes:          other cancer outcomes (breast,              reporting VTE, stroke, or
                                 55                           cervical, colorectal,                     Ml outcomes: 50
                                                               endometrial): 66



     MI = myocardial infarction; OC = oral contraceptive; RCT = randomized controlled trial; VTE = venous thromboembolism
     *Note that a given study may address more than one outcome group.




                                                                    22



                                                                                                                                  00803280
Exhibit 163                                                                                                                     JA-0002822
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 63 of 173




         Section 2. Oral Contraceptives and Ovarian Cancer
     Background
         Ovarian cancer has a lifetime incidence of about 1.4 percent and kills over 15,000 women in
     the United States annually. 1 While the concept of an early detection strategy is attractive for this
                                                                     10
     disease, no screening strategy has yet been proven effective. The stage distribution is weighted
     heavily toward Stage III and IV disease, suggesting that most ovarian cancers progress rapidly;
     indeed, a growing body of evidence suggests that many epithelial ovarian cancers initially arise
     in the epithelium of the fallopian tube. Based on this and pathogenetic evidence, the underlying
     biology of the disease may limit the potential effectiveness of screening to reduce morbidity and
     mortality from ovarian cancer. 12•71 Alternative strategies, including the use of novel therapies and
     primary prevention, need to be considered and evaluated.

     Primary Prevention Strategies
         Prevention strategies, including surgical prophylaxis and chemoprevention, may be of
     particular interest to women who are at an elevated risk of ovarian cancer due to a strong family
     history or a known inherited genetic mutation. Women who are carriers of genetic mutations in
     BRCAl or BRCA2 are at markedly increased risk for ovarian cancer. A pooled analysis of 22
     studies estimated the average risk of developing ovarian cancer by age 70 is 39 percent (95%
     confidence interval [CI], 18% to 54%) for BRCAl mutation carriers and 11 percent (CI, 2.4% to
     19%) for BRCA2 mutation carriers. 72 Likewise, women with Lynch syndrome-associated MLHl
     and MSH2 mutations have 20 percent (CI, 1% to 65%) and 24 percent (CI, 3% to 52%) risk,
     respectively, of developing ovarian cancer by the same age. 73 Although the prevalence of genetic
     mutations predisposing women to ovarian cancer in the general population is low (approximately
     0.12% for BRCAl and 0.2% for BRCA2), 74 the high risk of cancer among women who are
     mutation carriers underscores the importance of understanding factors that may modify their
     likelihood of developing cancer.
         Oral contraceptives (OCs) represent a potentially promising primary prevention strategy for
     ovarian cancer. Several large pooled analyses suggest that OCs confer a protective effect on
     ovarian cancer risk, with a reduction in risk of up to 50 percent with long-term use of OCs. 21 -24
     The largest pooled analysis to date estimates that OC use has already prevented 200,000 cases of
     ovarian cancer and 100,000 deaths from this disease worldwide. 21
         In women at high risk of developing ovarian cancer due to family history or a known genetic
     mutation, the effect of OC use on ovarian cancer risk is relevant for multiple reasons. First, the
     incomplete penetrance of hereditary cancer genes suggests that there are other factors-either
     environmental or genetic-that affect whether or not women who are mutation carriers develop
     ovarian cancer. Thus, from an etiologic standpoint, it is important to understand whether a
     common environmental exposure such as OCs influences the risk of developing ovarian cancer
     among mutation carriers. Second, women who are at high genetic risk have a need to understand
     the options available for reducing morbidity and mortality from ovarian cancer.
         The choice of a risk-reduction strategy for women at elevated risk is an individual choice and
     commonly includes screening strategies and prophylactic surgery. Unfortunately, screening high-
     risk women with available modalities has not yet proven successful. 75 -77 In a BRCAl/2
     mutation-carrying population, bilateral salpingo-oophorectomy (BSO) has been demonstrated to
     reduce the risk of ovarian, tubal, or peritoneal cancers by 80 percent and the risk of breast cancer


                                                      23




                                                                                                      00803281
Exhibit 163                                                                                         JA-0002823
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 64 of 173




     by 50 percent. 14 In addition, several groups have used health-economic decision models to
     suggest that prophylactic surgery is both effective and cost-effective in the BRCA carrier
     population. 15 •16 However, surgical prophylaxis is accompanied both by potential harms and the
     certain premature loss of ovarian function. Despite the effectiveness of prophylactic BSO, some
     women at high risk prefer alternatives that are less invasive, do not result in early menopause,
     and preserve fertility. The Gynecologic Oncology Group is currently completing a
     nonrandomized prospective trial comparing longitudinal screening with CA-125 and ultrasound
                                                              78
     to risk-reducing BSO in a high genetic risk population. This trial includes both subsequent
     cancer diagnoses and quality-of-life assessments and may be informative from a comparative
     effectiveness standpoint.
         Chemoprevention may be a viable option for ovarian cancer risk reduction, and particularly
     among women at high genetic risk. If OCs confer a comparable reduction in ovarian cancer risk
     in genetic mutation carriers as that observed in the general population, they could be a reasonable
     chemoprevention strategy for those who have not completed childbearing or who wish to avoid
     surgery.
         In Section 2 of our systematic review and meta-analysis, we quantify the potential benefits of
     OC use in reducing the incidence of ovarian cancer. We address the effect of OCs on ovarian
     cancer risk, both in the general population and in specific populations of interest, as well as
     examining relationships between specific characteristics of OC use and ovarian cancer incidence
     and mortality.

     Relevant Key Questions
         The seven KQs developed for the entire systematic review are listed in Section I (refer to
     Figure 7 for a roadmap of this report). For Section 2, we performed a systematic review and
     meta-analysis of three of the seven KQs that address the effectiveness of OCs in reducing the
     risk of developing ovarian cancer:

        KQ 1: What is the effectiveness of combined (estrogen and progestin containing) and
     progestin-only OCs for reducing the risk of ovarian cancer?

         KQ 2: Do specifics of OC use (e.g., dose/formulation, age at initiation, duration of use)
     affect the relative risk of developing ovarian cancer?

         KQ 3: Does the use of OCs by specific populations of women (e.g., those defined by age,
     family history of breast and ovarian cancer, BRCA1/BRCA2 mutation status, parity) affect the
     relative risk of developing ovarian cancer?




                                                     24




                                                                                                       00803282
Exhibit 163                                                                                          JA-0002824
           Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 65 of 173




     Analytic Framework
               Figure 9 shows the analytic framework that guided this section of the review.


     Figure 9. Analytic framework for OCs and ovarian cancer


               ,, ,,.   --------                   ....
           ;
       /
                        Age, family history,
                                                          '"
       I                                                           I
       \                BRCA status, parity

           ''                                             ,,   ;
                 ....                          ,,. ,,
                          ---.----
                         KQ3 I

                                I
                                I
                               V
                                                                                                                    KQ 1    Primary Outcomes
                         Women at risk
                          for ovarian                                                                                      Ovarian cancer incidence
                            cancer                                                                                               and mortality




                                                                                         KQ2
                                                                                    I
                                                                         _____ L ___ _
                                                                                                    ....
                                                                                                           '
                                                                           Age at initiation,
                                                                       dose/formulation, duration
                                                                                                               '\
                                                                                                     ,, ,,
                                                                                of use                         ;
                                                   ''
                                                               '
                                                                         ---------
     BRCA = breast cancer genetic mutation; KQ = Key Question; OC = oral contraceptive




                                                                                                           25




                                                                                                                                                        00803283
Exhibit 163                                                                                                                                           JA-0002825
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 66 of 173




     Methods
     Inclusion and Exclusion by PICOTS
         Table 4 describes the PICOTS criteria that guided the literature search for this section of the
     review.

     Table 4. Summary of inclusion and exclusion criteria for OCs and ovarian cancer
          Study
                                                     Inclusion Criteria                                   Exclusion Criteria
       Characteristic
                            • All KQs
                                0    Women taking OCs for contraception or women taking
                                     OCs for primary prevention of ovarian cancera
                                0    Women who do not have a history of ovarian cancer
       Population                    and have not undergone bilateral oophorectomy                   Nonhuman studies
                            • KQ3:
                                0    Women with a strong family history of ovarian or
                                     premenopausal breast cancer
                                0    Women with a known BRCA1/BRCA2 mutation
                           OC use (includes OC use for varying time periods and OC use
       Interventions                                                                                 None
                           with different formulations)
                           No use of combination or progestin-only OCs, including either             Study does not include
                           no contraceptive method at all or contraceptive methods other             controls; i.e., an estimate of
       Comparators         than combination or progestin-only OCs (e.g., natural family              outcomes in women not
                           planning, barrier methods, sterilization, intrauterine devices,           using OCs (population
                           injectable or implantable hormonal contraception)                         estimates are acceptable)
                                                                                                     Study only reports
                           Study reports quantitative association between exposure to
                                                                                                     outcomes related to
       Outcomes            OCs and either ovarian cancer incidence or ovarian cancer
                                                                                                     assisted reproductive
                           mortality
                                                                                                     technologies or abortion
       Timinq              Studies of any duration                                                   None
       Settinq             All settinqs                                                              None

                            •   Controlled studies (randomized trials, cohort studies, case-         • Not a clinical study
                                                                                                         (e.g., editorial, non-
                                control studies), pooled patient-level meta-analyses, or
                                                                                                         systematic review, letter
       Study design             systematic reviews and study-level meta-analysesb
                                                                                                         to the editor)
                            •   Study sample size ~ 100 subjects for non randomized
                                        0                                                            • Exploratory study with
                                studies
                                                                                                         inadequate sample size
                            •     English-language only
       Publications         •     Peer-reviewed articles
                                                                                                       Non-English articlese
                             • Study reports an ovarian cancer outcome of interest and
                                 was published on or after 01-Jan-1990d
     KQ = Key Question; OC = oral contraceptive
     alf the purpose of OC use was unclear, it was assumed to be contraception.
     bSystematic reviews and study-level meta-analyses were excluded from abstraction; those representing key sources were hand-
     searched as potential sources of additional material.
     csmall nomandomized studies <100 subjects were excluded as confidence intervals for outcomes of interest are generally quite
     wide if appropriate adjustment for confounding is performed, and variability in reporting of potential confounders makes meta-
     analysis problematic.
     dWe considered studies published from January 2000 to June 2012 for the primary ovarian cancer outcome analyses. Older data
     (with publication dates begimling January 1990) were used to conduct sensitivity analyses allowing us to compare the results
     from the January 2000 to June 2012 analyses with those from a longer date range (January 1990 to June 2012).
     °Non-English articles were excluded (1) due to the high volume of literature available in English-language publications
     (including the majority of known important studies) and (2) due to concerns about the applicability ofnon-English publication
     studies to populations in the United States. The variability in OC formulations approved for use across countries increases the
     likelihood that non-English language studies would include OCs not available or not in use in the United States.




                                                                    26



                                                                                                                                 00803284
Exhibit 163                                                                                                                    JA-0002826
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 67 of 173




     Meta-Analytic Methods
         To examine quantitatively the effect of QCs on the risk of ovarian cancer, we performed
     meta-analyses on the following relationships:
         • Ever QC use
         • Temporal relationships:
                 o   Duration of QC use
                 o   Age at first QC use
                 o   Time since last QC use
         • QC formulation:
                 o   Estrogen
                 o   Progestin
         • Special populations:
                 o   BRCAI and BRCA2 genetic mutation carriers
                 o   Family history
                 o   Parity/gravidity
         To perform a meta-analysis, we required that at least three individual studies address the
     relationship in question. Each included study must also report odds ratios and either report 95
     percent confidence intervals (95% Cls) or provide sufficient data to allow us to calculate the
     95% CI describing the relationship. We performed meta-analyses using Comprehensive Meta-
                                                           68
     Analysis Version 2 (Biostat; Englewood, NJ; 2005). All analyses were done using a random-
     effects model.
         Confidence intervals from the included study publications were entered into the
     Comprehensive Meta-Analysis (CMA) program. However, many of these confidence intervals
     had been rounded to a single decimal place. The CMA program checks the intervals for
     symmetry in the logarithmic scale. In certain cases, the rounded limits were not accepted by
     CMA. In such cases, we kept the point estimate as given but changed the confidence limits so
     that they were symmetric. This resulted in slight differences in the confidence intervals in the
     forest plots when compared with the study publications.

     Pooled Analyses
        We included pooled analyses in our meta-analyses if all three of the following conditions
     were met:
           1. None of the individual studies included in the pooled analysis had already been
               included for meta-analysis.
           2. At least half of the studies in the pooled analysis were published on or after January
               1, 2000.
           3. Data in the pooled analyses were presented such that their inclusion in the current
               meta-analysis was feasible.

     Ever QC Use
         For the primary ever QC use meta-analysis, we excluded studies that reported effects for only
     a particular subpopulation (e.g., studies reporting odds ratios only for women with a BRCA
     mutation) but not the effects for the general population. (Separate analyses were performed for
     the subpopulations of BRCA mutation carriers and are described below.) Studies that reported
     ever QC use odds ratios for two or more mutually exclusive subpopulations (e.g., mucinous and



                                                     27




                                                                                                    00803285
Exhibit 163                                                                                       JA-0002827
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 68 of 173




     nonmucinous tumors) were included in the meta-analysis, and results for the subpopulations
     were combined.

     Temporal Relationships
         Evaluation of clinical relationships for which multiple temporal stratifications were
     possible-such as duration of QC use, age at first QC use, and time since last QC use
     (recency)-required creation of several additional simplifying assumptions:
         • To facilitate identification of any existing dose-response or duration-response effects, we
            included only studies that reported odds ratios for at least three different time intervals.
            Studies that had a median split often had that split in the first interval. Thus, the rate for
            the upper half would be used to help estimate the rate for all three intervals. It seemed as
            if this would dilute any dose-response relationship.
         • We required that the odds ratios were reported relative to no QC use.

     Duration of OC Use
         The challenge of performing a meta-analysis on duration of QC use is that individual studies
     reported the odds ratios for different duration intervals. Simplifying assumptions for this analysis
     are listed above. We assumed that each odds ratio, ORiJ, could be described by the following
     model:




          where i denotes the study,} denotes the specific time interval, and k is the number of time
     intervals used in the model. The ai are assumed to be random and normal with mean 0 and
     variance (SE/ + <i). SEiJ is the standard error of the /h odds ratio from the /h study. <i is the
     extra variation from the random effects model. The xiJ are the fixed terms that describe the time
     period covered by that particular odds ratio. The /JJ (j= I, ... , k) are the odds ratios to be
     estimated for each duration interval.
          We originally assumed that there was a term for each year (up to 10) and a final term for
     greater than 10 years. However, the large number of terms resulted in very unstable estimates.
     For that reason, we broke the time points into 4 intervals: (1) 1 to 12 months, (2) 13 to 60
     months, (3) 61 to 120 months, and (4) more than 120 months. We then used the xiJ to create the
     time period desired. For example, if the first interval were from 1 to 36 months, then the vector
     of xiJ would be (1/3, 2/3, 0, 0, 0). This would reflect that one-third of the patients in the interval
     were in the 1 to 12 month interval and two-thirds of the patients were in the 13 to 60 month
     interval. Using this methodology, any interval could be described.
          The model was fitted using SAS PRQC NLMIXED (SAS Institute Inc.; Cary, NC; 2009)
     with "subject" set to the particular study, i.

     Age at First OC Use
          Using the equation above, we assumed that there were only four different intervals for age at
     first use: (1) under 20 years of age, (2) 20 to 24 years of age, (3) 25 to 30 years of age, and (4)
     over 30 years of age. We then used the xiJ to create the time period desired. For example, if the
     second interval from a particular study were from 20 to 28 years of age, then the vector of xiJ
     would be (0, 1/2, 1/2, 0, 0). This would reflect that half the patients in the interval were in the 20



                                                       28




                                                                                                         00803286
Exhibit 163                                                                                            JA-0002828
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 69 of 173




     to 24 year interval and half the patients were in the 25 to 30 year interval. Using this
     methodology, any interval could be described.

     Time Since Last OC Use
     Using the equation above, we broke time since last OC use into 4 intervals: (1) 0 to 10 years, (2)
     10 to 20 years, (3) 20 to 30 years, and (4) more than 30 years. We then used the xiJ to create the
     time period desired. For example, if the first interval were from 1 to 15 years, then the vector of
     xiJ would be (2/3, 1/3, 0, 0, 0). This would reflect that two-thirds of the patients in the interval
     were in the O to 10 year interval and one-third of the patients were in the 10 to 20 year interval.
     Using this methodology, any interval could be described.

     QC Formulation

     Estrogen
         Studies were included in the meta-analysis if they reported the effect of low-dose and/or
     high-dose estrogen-containing OCs on ovarian cancer incidence and included methodology
                                                                  °
     regarding the definition of low- and high-dose estrogen. 79•8 For studies that presented estrogen
     dose results stratified by low or high progestin dose, odds ratios for groups with identical
     estrogen doses were combined across progestin arms using an inverse weighted meta-analysis. In
     order to compare high- to low-dose estrogen, we included those studies that had odds ratios for
     each with "never use" as a reference category and divided the high-dose odds ratio by the low-
     dose odds ratio. This has the effect of canceling out the never-use category. All analyses were
     made using a random-effects model.

     Progestin
         Studies were included in the meta-analysis if they reported the effect of low- and/or high-
     dose progestin on ovarian cancer incidence and presented an established reference for
     determination of progestin potency. For studies that stratified these results based on low or high
     estrogen dose, odds ratios for identical progestin dose groups were combined across estrogen
     arms using an inverse weighted meta-analysis. In order to compare high- to low-dose progestin,
     we included those studies that had odds ratios for each with "never use" as a reference category
     and divided the high-dose odds ratio by the low-dose odds ratio. This has the effect of canceling
     out the never-use category. All analyses were made using a random-effects model.

     Special Populations

     BRCA Mutation Carriers
         Studies were included in the meta-analyses of BRCA mutation carriers if they reported the
     effect of OCs on ovarian cancer risk comparing mutation carriers with ovarian cancer to
     unaffected mutation carriers. The analyses were restricted to these study populations because
     they address the most relevant clinical question: If a woman tests positive for mutations in
     BRCAl or BRCA2, can she reduce her risk for ovarian cancer by taking OCs? Studies that
     compare cases who are mutation carriers with controls who are not mutation carriers do not
     provide a direct answer to the clinical question because the comparison involves both a genetic
     factor (BRCAl or BRCA2 mutation) and an environmental factor (OC use)-this study design
     does not allow us to sort out the relative contributions of these factors to ovarian cancer risk.



                                                      29



                                                                                                      00803287
Exhibit 163                                                                                         JA-0002829
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 70 of 173




     Separate meta-analyses were performed for studies reporting results for BRCAl mutation
     carriers, BRCA2 mutation carriers, and BRCAl and BRCA2 mutation carriers combined.

     Family History of Ovarian Cancer
        Studies were considered eligible for inclusion if they reported the effect of OCs on ovarian
     cancer risk stratified by family history.

     Parity/Gravidity
         Studies were included in the meta-analysis if they reported the effect of OCs on ovarian
     cancer risk stratified by parity or gravidity. We did not distinguish between parity and gravidity
     in our analyses. For studies that split parity into multiple categories (i.e., 0, 1, 2, 3+), the results
     were combined across parity categories using an inverse weighted meta-analysis, and these were
     labeled parity 1+. To compare parity O to parity 1+, we computed the ratio of the parity O odds
     ratio and the parity 1 odds ratio for each study. This has the effect of canceling out the never-use
     category, which is the reference. All analyses were performed using a random-effects model.

     Results
        This section presents results of our detailed analysis of the relationship between OCs and
     ovarian cancer incidence and ovarian cancer mortality.

     OC Use and Ovarian Cancer Incidence
         We identified 55 studies that evaluated the association between OC use and the incidence of
          .
     ovanan           ' ' ' '37' s1-162 In T abl e 5, we 1·1st t h e stu d.1es t h at reporte d o dd s rat10s
             cancer. 21n2429                                                                              · 1or
                                                                                                              c- ever
     versus never OC use. Of these studies, 28 were case-control studies, 10 were cohort studies, and
     the remaining 4 were pooled analyses. Of the case-control and cohort studies, 17 studies were
     rated good quality, 20 fair quality, and 5 poor quality. (As described in the Methods, studies
     represented by multiple articles and abstracted into more than one dataset may be counted in
     more than one quality category. Quality ratings specific to each of these datasets are provided in
     Table 5). Note that none of the pooled analyses met criteria for inclusion in the meta-analyses
     examining OC use and ovarian cancer incidence.




                                                            30




                                                                                                                  00803288
Exhibit 163                                                                                                     JA-0002830
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 71 of 173




               Table 5. Study
                            - characteristics and association between OC use and ovarian cancer incidence
                                                                                                                                                          Meta-
                                                                                                                                               Study
                    Studl                          Study Details                     OR             95%CI            Covariates       Region             Analysis
                                                                                                                                               Quality    Codeb
                                                                                       Case-Control
                                   Women <55 yr enrolled in the Cancer and
                                   Steroid Hormone Study
                              96                                                                                 Age, parity,
                Gwinn, 1990        Cases: 436 epithelial ovarian cancers including   0.566        0.48 to 0.69                         U.S.    Good         8
                                                                                                                 breastfeeding
                                   borderline tumors
                                   Controls: 3833 population-based controls
                                   Italian women <60 yr
                                   Cases: 505 epithelial ovarian cancers
                                                                                      0.7          0.5 to 1.0
                                   Controls: 1375 hospital-based controls
                                                                                                                 Age, parity,
                                   Parity 0
                                                                                                                 menopausal status,
                                   Cases: 137 epithelial ovarian cancers
                                                                                                                 age at menarche,
                                   Controls: 273 hospital-based controls
                Parazzini,                                                            0.6          0.3 to 1.3    education, marital                        3127
                     128                                                                                                              Europe   Good
                1991                                                                                             status, lifelong
                                   Parity 1-2
                                                                                                                 menstrual pattern,
                                   Cases: 266 epithelial ovarian cancers
                                                                                      0.5          0.3 to 0.9    age at menopause
                                   Controls: 795 hospital-based controls

                                   Parity 3+
                                                                                      0.8          0.3to1.7
                                   Cases: 102 epithelial ovarian cancers
                                   Controls: 307 hospital-based controls
                                   Italian women <65 yr with borderline tumors                                   Age, parity,
                Parazzini,
                     129           Cases: 91 borderline ovarian tumors                0.3          0.2 to 0.6    education, age at    Europe   Good         8
                1991
                                   Controls: 273 hospital-based controls                                         menopause




0
0
OJ
0
v.)
i'.)                                                                                         31
OJ
c.o
 Exhibit 163                                                                                                                                                        JA-0002831
                               Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 72 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                                 Meta-
                                                                                                                                                      Study
                   Studl                       Study Details                        OR            95%CI            Covariates            Region                 Analysis
                                                                                                                                                      Quality    Codeb
                                                                                Case-Control (continued)
                               WHO Collaborative Study of Neoplasia and
                                                                                    0.75        0.56 to 1.01
                               Steroid Contraceptives
                               Cases: 368 epithelial ovarian cancers
                               Controls: 2397 hospital-based controls

                               Borderline tumors                                                                                         Europe,
                                                                                    0.81        0.45 to 1.47
                               Cases and controls: NR                                                                                     Asia,
               Thomas,                                                                                         Age, parity, hospital,    Africa,
                    150                                                                                                                                Fair        8
               1991            Invasive ovarian cancer                                                         year of interview        Australia/
                                                                                    0.72        0.51 to 1.02
                               Cases and controls: NR                                                                                   NZ, Israel,
                                                                                                                                         Mexico
                               Nulliparous women
                                                                                    0.16        0.05 to 0.54
                               Cases and controls: NR

                               Parous women
                                                                                    0.85        0.63to1.16
                               Cases and controls: NR
                               Saudi Arabian women
               Badayyy,                                                                                                                   Saudi
                    82         Cases: 52 ovarian cancer cases                       0.4          0.2 to 0.8    None                                    Poor        8
               1992                                                                                                                       Arabia
                               Controls: 52 population-based controls
                                                                                                               Age, parity,
                                                                                                               menopausal status,
                                                                                                               age at menarche,
               Poly-           Greek women age <75 yr
                                                                                                               smoking, education,
               chronopoulou,   Cases: 189 malignant epithelial ovarian tumors       0.8         0.17 to 3.67                             Europe        Poor        8
                     13                                                                                        weight, age at
               1993            Controls: 200 population-based controls
                                                                                                               menopause, coffee,
                                                                                                               alcohol, age at first
                                                                                                               birth
                                                                                                               Age, race, parity,
                                                                                                               family history,
                               Women age <65 yr                                                                hysterectomy, tubal
               Rosenberg,
                    137        Cases: 441 invasive ovarian cancer cases             0.8          0.6 to 1.0    ligation, removal of        U.S.        Fair        8
               1994
                               Controls: 2065 hospital-based controls                                          one ovary,
                                                                                                               geographic area,
                                                                                                               interview year



0
0
OJ
0
v.)
i'.)                                                                                       32
c.o
0

 Exhibit 163                                                                                                                                                               JA-0002832
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 73 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                               Meta-
                                                                                                                                                    Study
                   Studl                             Study Details                        OR          95%CI           Covariates          Region              Analysis
                                                                                                                                                    Quality    Codeb
                                                                                      Case-Control (continued)
                                    International consortium of women with
                                    BRCA1/2 mutations
                                                                                          0.5        0.3 to 0.8
                                    Cases: 207 invasive epithelial ovarian cancer
                                    Controls: 161 sisters of women with mutations
                                    and ovarian cancers
                                                                                                                  Age, parity, age at      U.S.,
                              122                                                                                 first birth,            Canada,
               Narod, 1998                                                                                                                           Fair        2
                                    Cases: 207 invasive epithelial ovarian cancer
                                                                                                                  geographic area of        UK,
                                                                                                                  residence               Europe
                                    Controls: 53 sisters of women with mutations
                                                                                          0.4        0.2 to 0.7
                                    and ovarian cancers who are also known
                                    mutation carriers without a personal history of
                                    ovarian cancer
                                    Mucinous ovarian cancers
                                                                                          0.9
                                    Cases: 43 mucinous epithelial ovarian cancers                    0.4 to 2.1
                                    Controls: 426 population-based controls
               Wittenberg,                                                                                        Age, parity, duration
               1999
                    161
                                    Nonmucinous ovarian cancers                                                   of OC use
                                                                                                                                           U.S.      Fair        8
                                    Cases: 279 nonmucinous epithelial ovarian
                                                                                          0.8
                                    cancers                                                          0.6 to 1.3
                                    Controls: 426 population-based controls
                                    Olmstead County women
                             83     Cases: 103 women with invasive epithelial                                     No adjustment, but
               Beard, 2000
                                    ovarian cancers
                                                                                          1.1        0.6 to 2.3
                                                                                                                  matched by age
                                                                                                                                           U.S.      Fair        1
                                    Controls: 103 population-based controls
                                                                                                                  Age, parity, family
                                                                                                                  history,
                                    Italian women                                                                 breastfeeding ,
                              93
               Greggi, 2000         Cases: 440 epithelial ovarian cancer                  0.4        0.3 to 0.6   education, OC use,      Europe     Good        1
                                    Controls: 868 hospital-based controls                                         age at first birth,
                                                                                                                  breast feeding,
                                                                                                                  duration of use
                                    SHARE Study participants age <70 yr                                           Age, race, family
                             125                                                          0.6        0.5 to 0.8
               Ness, 2000           Cases: 767                                                                    history, number of       U.S.      Good        1
                                    Controls: 1367                                                                pregnancies


0
0
OJ
0
v.)
i'.)                                                                                            33
c.o
--lo.



 Exhibit 163                                                                                                                                                             JA-0002833
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 74 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                                 Meta-
                                                                                                                                                      Study
                   Studl                            Study Details                    OR            95%CI             Covariates           Region                Analysis
                                                                                                                                                      Quality    Codeb
                                                                                 Case-Control (continued)
                                                                                                                Age, parity,
                                                                                                                calendar year of
                                                                                                                interview, age at
                                    Italian women                                                               menopause, family
               Parazzini,
                    127             Cases: 971 epithelial ovarian cancer cases       1.2          1.0 to 1. 7   history of breast or      Europe      Good         1
               2000
                                    Controls: 2758 hospital-based controls                                      ovarian cancer,
                                                                                                                green vegetable
                                                                                                                consumption, fat-
                                                                                                                intake score
                                    White women age <70 yr
               Sanderson,
                    143             Cases: 276 epithelial ovarian cancer cases       0.8          0.5 to 1.1    Age, parity                U.S.       Good         1
               2000
                                    Controls: 388 population-based controls
                                    Australian women
                                                                                     0.64        0.48 to 0.85   Age, parity, BMI,
                                    Nonmucinous ovarian cancers
                                                                                                                family history,
                                    Cases: 677
                                                                                                                breastfeeding , age
               Siskind,             Controls: 853                                                                                        Australia/               1144
                    145                                                                                         squared, alcohol,                     Good
               2000                                                                                                                         NZ
                                                                                                                hysterectomy, tubal,
                                    Mucinous ovarian cancers
                                                                                     0.61        0.36 to 1.04   infertility, number of
                                    Cases: 114
                                                                                                                lifetime ovulation
                                    Controls: 853
                                    Italian women                                                               Age, parity, family
               Chiaffarino,
                    87              Cases: 1031 ovarian cancer cases                 0.9          0.7to1.2      history, center,          Europe       Fair        1
               2001
                                    Controls: 2411 hospital-based controls                                      education
                                    Swedish women with borderline ovarian
                                                                                                                Age, parity, BMI,
                              133   tumors
               Riman, 2001                                                           1.23        0.86to 1.76    age menopause,            Europe       Fair        1
                                    Cases: 193 borderline cases
                                                                                                                HRT
                                    Controls: 3899 population-based controls
                                                                                                                Parity, Family
                                    German women                                                                History,
                              141
               Royar, 2001          Cases: 282 invasive ovarian cancer cases         0.48        0.33 to 0.68   Breastfeeding ,           Europe       Fair        1
                                    Controls: 533 population-based controls                                     tubal ligation,
                                                                                                                hvsterectomv
                                    Swedish women with epithelial ovarian
                                                                                                                Age, parity, BMI,
                               34   cancer
               Riman, 200i                                                           0.73        0.59 to 0.90   age at menopause,         Europe       Fair        1
                                    Cases: 655 ovarian cancer cases
                                                                                                                HRT
                                    Controls: 3899 population-based controls
0
0
OJ
0
v.)
i'.)                                                                                        34
c.o
i'.)


 Exhibit 163                                                                                                                                                               JA-0002834
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 75 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                             Meta-
                                                                                                                                                  Study
                   Studl                           Study Details                    OR            95%CI            Covariates         Region                Analysis
                                                                                                                                                  Quality    Codeb
                                                                                                               Age, race, parity,
                                   Residents of Hawaii or Los Angeles County
                            152                                                                                study site,                                    3114
               Tung, 2003          Cases: 603 ovarian cancer cases                  0.6          0.4 to 0.8                            U.S.       Good
                                                                                                               education, tubal
                                   Controls: 607 population-based controls
                                                                                                               ligation
                                   Women in Northern California
                                   Women with BRCA 1 mutations                      0.54
                                                                                                0.26to1.13
                                   Cases: 36 epithelial ovarian cancer cases
               McGuire,            Controls: 568 population-based controls                                     Age, race, parity
                    115                                                                                                                U.S.       Good         1
               2004
                                   Women without BRCA 1 mutations                   0.55
                                                                                                0.41 to 0.73
                                   Cases: 381 epithelial ovarian cancer cases
                                   Controls: 568 population-based controls
                                   International database of BRCA1/2 carriers                                                          U.S.,
                                   Cases: 147 BRCA carriers with epithelial                                                          Canada,
               Whittemore,                                                          0.85        0.53 to 1.4    Age, parity, center
                    159            ovarian cancer                                                                                       UK,        Fair        2
               2004
                                   Controls: 304 BRCA carriers without epithelial                                                    Australia/
                                   ovarian cancer                                                                                      NZ
                                                                                                               Age, parity, family
                                   Women from Roswell Park Cancer Institute,
                                                                                                               history, history of
                             132   New York
               Quirk, 2004                                                          1.22        0.88 to 1.68   tubal ligation,         U.S.        Poor        1
                                   Cases: 418 invasive ovarian cancer cases
                                                                                                               noncontraceptive
                                   Controls: 836 hospital-based controls
                                                                                                               estroqen use
                                   Women from the Study of Health and
                                                                                                0.35 to 0.76
                                   Reproduction (SHARE)                             0.52
                                   Cases: 405
                                   Controls: 592

                                   Compared never users with nonandrogenic OC
                                                                                                0.45 to 0.78   Age, parity, family
                             91    users                                            0.59                                                                      3125
               Greer, 2005                                                                                     history, BTL            U.S.        Fair
                                   Cases: 381
                                   Controls: 761

                                   Compared never users with both androgenic
                                                                                                0.17 to 0.48
                                   and nonandrogenic OC users                       0.29
                                   Cases: 364
                                   Controls: 529
                                   Polish BRCA1 carriers
               Gronwald,
                    94             Cases: 150 ovarian cancer cases                  0.4          0.2 to 1.0    None                   Europe       Fair        2
0              2006
                                   Controls: 150 population-based controls
0
OJ
0
v.)
i'.)                                                                                       35
c.o
v.)


 Exhibit 163                                                                                                                                                           JA-0002835
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 76 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                                 Meta-
                                                                                                                                                      Study
                   Studl                           Study Details                     OR            95%CI              Covariates            Region              Analysis
                                                                                                                                                      Quality    Codeb
                                                                                                                 Age, parity,
                                                                                                                 smoking,
                                   Women participating in the MALOVA study
               Huusom,                                                                                           breastfeeding , age
                    107            Cases: 202 ovarian borderline cases               0.81        0.56 to 1.16                               Denmark    Fair        1
               2006                                                                                              at first birth, duration
                                   Controls: 1564 population-based controls
                                                                                                                 of contraception
                                                                                                                 use, intake of milk
                                   Residents of Hawaii or Los Angeles County
                              13   Cases: 745 epithelial ovarian cancer cases                                                                                     3114
               Lurie, 200?1                                                          0.51        0.26 to 0.98    Unclear                     U.S.      Good
                                   Controls: 943 population-based controls

                                   International consortium of women with
                                   BRCA1 and/or BRCA2 mutations
                                                                                     0.53        0.43 to 0.66
                                   Cases: 799 mutation carriers with ovarian
                                   cancer
                                   Controls: 2424 mutation carriers without
                                   ovarian cancer
                                                                                                                                             U.S.,
                                   BRCA 1 carriers only
                                                                                                                 Parity,                    Canada,
               Mclau~hlin,         Cases: 670 mutation carriers with ovarian
                     1                                                               0.56        0.45 to 0. 71   breastfeeding , tubal        UK,     Good         2
               200?1               cancer
                                                                                                                 ligation, ethnicity        Europe,
                                   Controls: 2043 mutation carriers without
                                                                                                                                             Asia
                                   ovarian cancer

                                   BRCA2 carriers only
                                   Cases: 128 mutation carriers with ovarian
                                                                                     0.39        0.23 to 0.66
                                   cancer
                                   Controls: 380 mutation carriers without ovarian
                                   cancer




0
0
OJ
0
v.)
i'.)                                                                                        36
c.o
~


 Exhibit 163                                                                                                                                                               JA-0002836
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 77 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                        Meta-
                                                                                                                                             Study
                   Studl                           Study Details                OR            95%CI            Covariates          Region              Analysis
                                                                                                                                             Quality    Codeb
                                   Women participating in the MALOVA study
                                   Cases: 554 ovarian cancer cases              0.67        0.53 to 0.85
                                   Controls: 1564 population-based controls

                                   Mucinous ovarian cancers
                                   Cases: 50 ovarian cancer cases               0.49        0.25 to 0.97
                                   Controls: 1564 population-based controls

                                   Serous ovarian cancers
               Soegaard,                                                                                   Age, parity
                     46            Cases: 343 ovarian cancer cases              0.7         0.52 to 0.94                           Denmark   Good         1
               200?1
                                   Controls: 1564 population-based controls

                                   Endometrioid ovarian cancers
                                   Cases: 75 ovarian cancer cases               0.76        0.42 to 1.35
                                   Controls: 1564 population-based controls

                                   "Other" histologic types of ovarian cancer
                                   Cases: 86 ovarian cancer cases               0.62        0.36 to 1.06
                                   Controls: 1564 population-based controls
                                                                                                           Age, race,
                                                                                                           menopausal status,
                                                                                                           family history,
                                                                                                           education, gravidity,
                                                                                                           age at last
                                   Residents of Hawaii or Los Angeles County
                             114                                                                           pregnancy, tubal
               Lurie, 2008         Cases: 813 epithelial ovarian cancer cases   0.59        0.42 to 0.84                            U.S.     Good         1
                                                                                                           ligation, OC
                                   Controls: 993 population-based controls
                                                                                                           potency,
                                                                                                           hysterectomy, age
                                                                                                           at menopause, use
                                                                                                           of menopausal
                                                                                                           hormones




0
0
OJ
0
v.)
i'.)                                                                                   37
c.o
0,


 Exhibit 163                                                                                                                                                      JA-0002837
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 78 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                              Meta-
                                                                                                                                                   Study
                  Studl                            Study Details                    OR            95%CI             Covariates            Region             Analysis
                                                                                                                                                   Quality    Codeb
                                   Women in the North Carolina Ovarian
                                   Cancer Study                                     0.5          0.3 to 0.8
                                   Premenopausal                                                               Age, race, parity,
                                   Cases: 314 epithelial ovarian cancer cases                                  BMI, family history,
               Moorman,
                    121            Controls: 360 population-based controls                                     tubal ligation,             U.S.    Good         1
               2008
                                                                                                               infertility, age at last
                                   Postmenopausal                                   0.8          0.6 to 1.1    pregnancy
                                   Cases: 582 epithelial ovarian cancer cases
                                   Controls: 607 population-based controls

                                   Granulosa cell tumors
                                                                                    0.32        0.17 to 0.63
                                   Cases: 72 GCT cases
                                   Controls: 1578 population-based controls
                             84
               Boyce, 2009                                                                                     Age, race                   U.S.     Fair        4
                                   Granulosa cell tumors vs. epithelial ovarian
                                   cancer
                                                                                    0.6         0.32to 1.14
                                   Cases: 72 GCT cases
                                   Controls: 1511 epithelial ovarian cancer cases

                                                                                                               Age, race, family
                                                                                                               history, gravidity,
                                   HOPE study participants
                                                                                                               infertility, ever use
                            123    Cases: 869 women with invasive and
               Ness, 2011                                                           0.67        0.55 to 0.81   of IUDs or barrier          U.S.    Good         1
                                   borderline ovarian cancer
                                                                                                               contraceptives,
                                   Controls: 1779 population-based controls
                                                                                                               tubal ligation, and
                                                                                                               vasectomy
                                                                                                               Age, parity,
                                   Black South African women aged 18-79 yr                                     smoking, year of
                                   Cases: 182 ovarian cancer cases                                             diagnosis,
                                   Controls: 1492 women with cancers with no                                   education, alcohol
                             155                                                                                                          South
               Urban, 2012         known relationship to oral or injectable         0.88        0.52 to 1.50   consumption,                        Good         1
                                                                                                                                          Africa
                                   contraception                                                               number of sexual
                                                                                                               partners, urban/rural
                                   Recruitment period: 1995-2006                                               residence, province
                                                                                                               of birth



0
0
OJ
0
v.)
i'.)                                                                                       38
c.o
0)


 Exhibit 163                                                                                                                                                            JA-0002838
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 79 of 173




                Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                           Meta-
                                                                                                                                                Study
                    Studl                           Study Details                OR              95%CI           Covariates          Region               Analysis
                                                                                                                                                Quality    Codeb
                                                                                                             Parity, family
                                                                                                             history,
                                    Thai women
                Wilailak,                                                                                    breastfeeding, depot
                       60           Cases: 330 epithelial ovarian cancer cases   0.71         0.51 to 0.98                           Thailand    Fair        1
                201i                                                                                         medroxy-
                                    Controls: 982 hospital-based controls
                                                                                                             progesterone
                                                                                                             acetate use
                                                                                        Cohort
                                                                                                             Age, parity,
                                    Nurses' Health Study
                                                                                                             menopausal status,
                Hankinson,          Exposed: 592,056 person-years OC exposed
                     98                                                          1.08         0.83 to 1.43   age at menarche,          U.S.      Fair        8
                1995                Unexposed: 599,301 person-years OC
                                                                                                             smoking, BTL,
                                    unexposed
                                                                                                             Quetelet's Index
                                    Oxford Family Planning Association
                                                                                                             Age, parity
                Vessei,             Contraceptive Study                                                                                                     3156
                     1                                                           0.4           0.2 to 0.8                              UK        Poor
                1995                Exposed: 3520 women >8 years OC exposed
                                    Unexposed: 5881 women OC unexposed
                                    Norwegian-Swedish Women's Lifestyle and
                                    Health cohort                                0.6           0.5 to 0.8
                                    Exposed: 75,533 women OC exposed                                         Age, parity,
                              110   Unexposed: 28,019 women OC unexposed                                     menopausal status,
                Kumle, 2004                                                                                                          Europe      Fair        1
                                                                                 0.6           0.4 to 0.8    HRT, country
                                    Invasive ovarian cancers
                                                                                 0.7           0.5 to 1.2
                                    Borderline ovarian tumors
                                    Oxford Family Planning Association                                       Age, parity, BMI,
                                    Contraceptive Study                                                      smoking, social
                Vesse~,
                     16             Exposed: 301,000 person-years OC exposed     0.5           0.3 to 0.7    class, height, age at     UK        Good        1
                2006
                                    Unexposed: 187,000 person-years OC                                       first term pregnancy,
                                    unexposed                                                                age at first marriage




0
0
OJ
0
v.)
i'.)                                                                                     39
c.o
-.....J

  Exhibit 163                                                                                                                                                        JA-0002839
                             Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 80 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                     Meta-
                                                                                                                                          Study
                   Studl                    Study Details                     OR            95%CI            Covariates         Region              Analysis
                                                                                                                                          Quality    Codeb
                                                                            Cohort (continued)
                             Royal College of General Practitioners Oral
                             Contraception Study
                             Main dataset
                             Exposed: 744,000 person-years of observation
                             Unexposed: 339,000 person-years of               0.54        0.40to1.71     Age, parity,
               Hannaford,
                    37       observation                                                                 smoking, social          UK       Fair        1
               2007
                                                                                                         status
                             General practitioner dataset
                             Exposed: 744,000 person-years of observation
                             Unexposed: 339,000 person-years of               0.51        0.33 to 0.78
                             observation
                             International BRCA1/2 Carrier Cohort Study
                             BRCA1/2 mutation carriers                        0.55        0.40 to 0.76
                             Exposed: 2415 women OC exposed
                             Unexposed: 766 women OC unexposed
                                                                                                                                Canada,
               Antoniou,     BRCA 1 mutation carriers
                    81                                                                                   Parity                   UK,      Fair        2
               2009          Exposed: 1655 women OC exposed                   0.52        0.37 to 0.73
                                                                                                                                Europe
                             Unexposed: 512 women OC unexposed

                             BRCA2 mutation carriers
                             Exposed: 760 women OC exposed                    1.04        0.42 to 2.54
                             Unexposed: 245 women OC unexposed
                                                                                                         Age, parity,
                                                                                                         menopausal status,
                                                                                                         BMI, family history,
                                                                                                         age at menarche,
                             Shanghai Women's Health Study
               Dorjgochoo,                                                                               smoking,
                    88       Exposed: 12,957 women OC exposed               1.19      0.66 to 1.84                               Asia      Fair        1
               2009                                                                                      breastfeeding ,
                             Unexposed:15,557 women OC unexposed
                                                                                                         education, physical
                                                                                                         activity, other
                                                                                                         contraceptive
                                                                                                         methods



0
0
OJ
0
v.)
i'.)                                                                                 40
c.o
OJ

 Exhibit 163                                                                                                                                                   JA-0002840
                                      Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 81 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                             Meta-
                                                                                                                                                  Study
                   Studl                              Study Details                OR              95%CI           Covariates          Region               Analysis
                                                                                                                                                  Quality    Codeb
                                                                                 Cohort (continued)
                                      Cohort of female textile workers in
                                      Shanghai                                                                 Age, parity,
               Rosenblatt,
                    138               Exposed: 352,695 person-years OC exposed     1.17         0.86 to 1.60   injectable                Asia      Poor         1
               2009
                                      Unexposed: 2,057,377 person-years OC                                     contraceptive use
                                      unexposed
                                      Netherlands Cohort Study on Diet and
                                      Cancer                                                                                           UK, not
                                85
               Braem, 2010            Exposed: 8668 person-years OC exposed        0.71         0.52 to 0.97   Age, parity              multi-      Fair        5
                                      Unexposed: 25,916 person-years OC                                                                center
                                      unexposed
                                                                                                               Age, parity,
                                                                                                               menopausal status,
                                                                                                               BMI, smoking,
                                      EPIC Cohort
                                                                                                               center, unilateral
                                151   Exposed: 192,836 women OC exposed
               Tsilidis, 2011                                                      0.86         0.73to1.00     oophorectomy,            Europe     Good         1
                                      Unexposed: 132,923 women OC unexposed
                                                                                                               hysterectomy,
                                                                                                               menopausal
                                                                                                               hormones, age at
                                                                                                               menarche
                                      NIH-AARP Diet and Health Study                                           Age, parity,
                             62
               Yang, 201i             Exposed: 67,870 women OC exposed           0.74        0.63 to 0.87      menopausal             U.S.       Good       1
                                      Unexoosed: 100,304 women OC unexposed                                    hormone therapy
                                                                                          Pooled
                                                                                                               Study, age, marital
                                                                                                               status,
                                      Cases: 971 women with epithelial ovarian
               Franceschi,                                                                                     socioeconomic
                    24                cancer                                     0.6         0.4 to 0.8                               Europe     Fair       7
               1991                                                                                            status, parity,
                                      Controls: 2258 hospital controls
                                                                                                               menopause,
                                                                                                               contraceptive habits
                                      Collaborative Ovarian Cancer Group
                                01    Cases: 327 white women with ovarian
               Harris, 199i                                                      0.80        0.59 to 1.1       Study, age, parity     U.S.       Good       7
                                      borderline_tumors
                                      Controls: 4144 white controls



0
0
OJ
0
v)
i'.)                                                                                       41
c.o
c.o
 Exhibit 163                                                                                                                                                           JA-0002841
                                       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 82 of 173




               Table 5. Study characteristics and association between OC use and ovarian cancer incidence (continued)
                                                                                                                                                                                     Meta-
                                                                                                                                                                      Study
                    Studl                              Study Details                          OR             95%CI              Covariates             Region                       Analysis
                                                                                                                                                                      Quality        Codeb
                                                                                            Pooled (continued)
                                       Collaborative Ovarian Cancer Group
                                       Germ cell tumors
                                                                                              2.0          0.77 to 5.1
                                       Cases: 38
               Horn-Ross,              Controls: 1142 general population controls                                          Study, age, year of
                                                                                                                                                         U.S.           Fair           4, 7
               199i 06                                                                                                     birth
                                       Sex cord-stromal tumors
                                                                                              0.37         0.16 to 0.83
                                       Cases: 45
                                       Controls: 2617 Qeneral population controls
                                                                                                                           Study, age, year,
                                       Cases: 2,768 women with epithelial ovarian                                          socioeconomic
                                  23
               Bosetti, 2002           cancer                                                 0.66         0.56 to 0.79    status, parity,             Europe           Fair             6
                                       Controls: 6,274 hospital controls                                                   menopause, age at
                                                                                                                           menopause
                                     Cases: 23,257 women with malignant ovarian
                             21      tumors                                                                                  Study, age, parity,              21
               Beral, 2008                                                                        0.73       0.70 to 0.76                                                  Good          6
                                     Controls: 87,303 women without malignant                                                 hysterectomy                 countries
                                     ovarian tumors
              BMI = body mass index; BRCA = breast cancer genetic mutation; BSO = bilateral salpingo-oophorectomy; BTL = bilateral tubal ligation; CI = confidence interval; GCT =
              granulosa cell tumor; HRT = hormone replacement therapy; IUD= Intrauterine device; OC = oral contraceptive; OR= odds ratio; NR = not reported; NZ= New Zealand; UK=
              United Kingdom; U.S. = United States; yr= year/years
              astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
              bMeta-analysis code: 1 = Included in this meta-analysis; 2 = Excluded due to odds ratios reported for BRCA mutation carriers only; 3 = Excluded due to odds ratios for this
              population reported by another included article (primary abstraction ID given); 4 = Excluded due to epithelial ovarian cancers not included; 5 = Excluded due to case-cohort study
              reported hazard ratio only; 6 = Excluded pooled study due to inclusion of component studies; 7 = Excluded pooled study due to >50% of component studies published prior to
              1990; 8 = Excluded in main analyses of studies from 2000 forward, included in sensitivity analyses of studies from 1990 forward.




0
0
OJ
0
v)
v)                                                                                                    42
0
0

Exhibit 163                                                                                                                                                                                        JA-0002842
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 83 of 173




     Ever Versus Never QC Use
          Seventeen case-control studies representing 10,031 cases and 21,025
     controls83,87,93,l07,114,115,121,1n,12s,127,132-134,141,143-146,1ss,160 and including two instances of paired
        . 1es 1rom
     art1c     ~
                       t h e same stu d.1es wit. h d.1stmct
                                                        .                                    . 1u d ed mt
                                                              cases 107' 133 ' 134' 146 were me        . h.1s meta-ana1ys1s
                                                                                                                         .
     examining the effect of ever versus never OC use on ovarian cancer incidence. Of these studies,
     11 were rated good quality, 6 fair quality, and 1 poor quality. Note that the articles from the
     MALOYA study are represented in two different quality categories based on varying
     characteristics of the two publications. Abstracted data not included in this analysis are specified
     (with rationale) in Table 5. Reasons for exclusion from the analysis included reporting ever
     versus never data from the same study as another article already included in the analysis;
     reporting only on BRCA mutation carriers; and including only women with nonepithelial ovarian
     cancers. Figure 10 shows that the odds ratio for the meta-analysis of ever versus never use of
     OCs was 0.72 (95% CI, 0.64 to 0.81), which demonstrates an almost 28-percent reduction in
     ovarian cancer risk in women who have ever used OCs.

     Figure 10. Forest plot for ever versus never OC use (case-control studies, ovarian cancer
     incidence)


                Author                                                                Odds ratio and 95% Cl

                                      Odds       Lower     Upper
                                      ratio       limit     limit

                Ness , 2000            0.600      0.472     0.763
                Parazzini, 2000        0.830      0.636     1.083
                Sand erson, 2000       0.800      0.62 1    1.03 1
                Bea rd, 2000           1.100      0.56 1    2.155
                Gregg i, 2000          0.400      0.280     0.57 1
                Purdie, 200 1          0.630      0.490     0.8 10
                Chiaffarin o, 200 1    0.900      0.688     1.177
                Riman, 200 1           1.230      0.860     1.760
                Royar, 200 1           0.480      0.334     0.689
                Riman, 2002            0.730      0.59 1    0.902
                McG uire, 2004         0.550      0.420     0.720
                Quirk, 2004            1.220      0.883     1.686
                Huusom , 2006          0.810      0.563     1.166
                Lurie, 2008            0.590      0.4 17    0.834
                Soegaard, 2007         0.700      0.52 1    0.94 1
                Moorman, 2008          0 .703     0.543     0.9 10
                Ness, 20 11            0.670      0.552     0.8 13
                W ila ilak, 20 12      0 .710     0.512     0.984
                Urban, 20 12           0.880      0.518     1.495
                                       0 .72 1    0.643     0.808
                                                                         0. 1   0.2      0.5
                                                                                               •   1      2    5   10

                                                                                Favors OC              Favors No OC

     CI = confidence interval; OC = oral contraceptive




                                                                    43




                                                                                                                          00803301
Exhibit 163                                                                                                             JA-0002843
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 84 of 173




          Seven coh ort stu d1es                               · lu d ed m
                             . 37·88·110·138·151 ·156·162 were me          · t h.1s meta-ana1ys1s.
                                                                                               · Th ere was a tota1
                                                            88 110 151 162
     of 625,999 participants in four of these studies • · · and a total of3,981,O72 person-years of
     followup in the other three. 37•138•156 Of these studies, three were rated good quality, three fair
     quality, and one poor quality. Abstracted data not included in this analysis are specified (with
     rationale) in Table 5. Reasons for exclusion from this analysis included reporting only on BRCA
     mutation carriers; reporting ever versus never data from the same study as another article already
     included in the analysis; and for one case-cohort study, reporting hazard ratios rather than odds
     ratios. Figure 11 shows that the odds ratio for the meta-analysis of ever versus never use of OCs
     was 0.75 (95% CI, 0.62 to 0.92).

     Figure 11. Forest plot for ever versus never OC use (cohort studies, ovarian cancer incidence)



                 Author                                                          Odds ratio

                                             Odds Lower Upper                    and 95% Cl
                                             ratio limit limit

                 Kumle, 2004                  0.600      0.472    0.763
                 Vessey, 2006                 0.500      0.329    0.759
                 Hannaford , 2007             0.510      0.332    0.784
                 Dorjgochoo, 2009             1.190      0.711    1.992
                 Rosenblatt, 2009             1.170      0.858    1.596
                 Yang,2012                    0.740      0.630    0.870
                 Tsil idis, 2011              0.860      0.735    1.007
                                              0.753      0.615    0.923
                                                                                     •
                                                                          0.1 0.2 0.5 1    2    5 10
                                                                             Favors OC   Favors No OC



     CI = confidence interval; OC = oral contraceptive

         A combined meta-analysis of all 24 case-control and cohort studies resulted in an odds ratio
     for ever versus never use of 0.73 (95% CI, 0.66 to 0.81). Both groups of studies showed
     heterogeneity due to heterogeneous populations and varying durations of followup.

     Sensitivity Analyses
         Analyses were repeated excluding the studies rated as poor quality (1 case-control and 1
     cohort). These exclusions had a minor effect on the odds ratio estimates. Estimates were 0.70
     (95% CI, 0.63 to 0.78) for the case-control studies; 0.70 (CI, 0.58 to 0.85) for the cohort studies;
     and 0.70 (CI, 0.64 to 0.77) for all studies combined. We also repeated our analyses of the case-
     control studies excluding those without patients from the United States (9 studies). The meta-
     analysis of the remaining eight case-control studies revealed an odds ratio for ever OC use of
     0.72 (CI, 0.61 to 0.85). A similar analysis was not performed for the cohort studies because only
     one of the seven studies was conducted in the United States.



                                                                 44




                                                                                                               00803302
Exhibit 163                                                                                                 JA-0002844
        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 85 of 173




         Additional analyses were done including studies published from 1990 forward. Estimates
     were 0.70 (CI, 0.63 to 0.77) for the 26 case-control studies, 0.79 (CI, 0.65 to 0.96) for the 8
     cohort studies and 0.72 (CI, 0.66 to 0.79) for a combined analysis of the case-control and cohort
     studies.

     Pooled Analyses
         Two pooled analyses that reported on ever versus never OC use but did not meet inclusion
     criteria for the meta-analysis are of particular note. One of these 23 included only epithelial
     ovarian cancers as cases and reported odds ratios for ever versus never use of 0.66 (95% CI, 0.56
     to 0.79). The other21 reported the largest pooled analysis of 45 studies (47 referenced
     publications) with 23,257 cases of epithelial or nonepithelial ovarian cancer and 87,303
     controls-with a combined odds ratio of 0.73 (CI, 0.70 to 0.76). Our systematic review included
     13 of the 47 studies referenced by Beral et al. 21 Of the remaining 34 studies, 16 were not
     included due to publication prior to 2000; 16 were not identified by our literature search, and
     manual review of these confirmed that they were not relevant to our question of interest; and 2
     were identified by the literature search but excluded at the abstract screening stage.

     Temporal Relationships

     Duration of OC Use
          Fifteen studies37,87,l09,110,114,117,11s,12s,m,134,138,141,145,1s2,1s4,160,162 were included in this meta-
     analysis examining the effect of duration of OC use on ovarian cancer incidence. Of these, 10
     were case-control studies representing 6901 cases and 15,999 controls. Five were cohort studies,
     with 524,463 participants in 3 of the studies and 3,493,072 person-years in the other 2 studies.
     Seven studies were rated good quality, 7 fair quality, and 1 poor quality. Reasons for exclusion
     from this meta-analysis included reporting fewer than 3 duration categories; reporting odds ratios
     only for specific subpopulations of women; lacking a "never use" reference group; reporting
     duration data from the same study as another article already included in the analysis; and
     reporting duration odds ratios for only the year of OC use (Table 6).




                                                             45




                                                                                                                       00803303
Exhibit 163                                                                                                      JA-0002845
                                       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 86 of 173




                Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence)
                                                                                                                                                   Special         Meta-
                    Studl                 Sample Size                 Comparisons             ORb       95% Clb            Covariates            Population       Analysis
                                                                                                                                               (if Applicable)     Codec
                                                                                     Case-Control
                                                        Used OC for <3 mo or never           1.0     NA (reference)
                                 100
               Harlow, 1991                             (reference)
                                       Cases: 194
                                                        3 to 12 mo                            1.5      0.8to3.1       Age, parity, religion                          3
                                       Controls: 193
                                                        13 to 48 mo                           0.7      0.3 to 1.4
                                                        >48 mo                                0.5      0.2 to 0.9
                                                                                                                      Age, parity,
                                                                                                                      menopausal status,
               Parazzini,
                    128                                                                                               age at menarche,
               1991                    Cases: 505       <2 yr                                 0.9       0.5 to .5
                                                                                                                      education, marital                             2
                                       Controls: 1375   ~2 yr                                 0.5      0.3 to 0.9
                                                                                                                      status, lifelong
                                                                                                                      menstrual pattern,
                                                                                                                      age at menopause
                                                                                                                      Age, parity,
               Parazzini,              Cases: 91        <24 mo                                0.3      0.1 to 0.4
                    129                                                                                               education, age at                              2
               1991                    Controls: 273    ~24 mo                                0.2      0.1 to 0.6
                                                                                                                      menopause
               Thomas,                                  1 to 11 mo                            0.86    0.58 to 1.28    Age, menopausal
                    150                Cases: 368
               1991                                     12 to 59 mo                           0.69    0.45 to 1.10    status, hospital,                              2
                                       Controls: 2397
                                                        60+ mo                                0.50    0.26 to 0.98    year of interview
                                  82
               Badawy, 1992            Cases: 52        <5 yr                                 0.9      0.3 to 2.5
                                                                                                                      Crude                                          2
                                       Controls: 52     5+ yr                                 0.2      0.1 to 0.5
                                                                                                       Reference
                            86
               Chen, 1992              Cases: 112       <12 mo                                0.7      0.3to1.8
                                                                                                                      Parity, education                              7
                                       Controls: 224    12 to 35 mo                           1.4      0.5 to 3.4
                                                        36+ mo                                1.1      0.4 to 2.9
                                                        3 to 11 mo                            0.6
                                                                                                                                              Cases and
                                                        12 to 24 mo                           0.6
                                       Cases: 225                                                                                             controls with no
                                                        25 to 36                              0.7                     Age, parity                                    4
                                       Controls: 2252                                                                                         family history of
                                                        37 to 60                              0.7
                            95                                                                                                                ovarian cancer
               Gross, 1992                              ~61                                   0.3
                                                        3 to 11 mo                            3.1
                                                        12 to 24 mo                           1.7                                             Women with a
                                       Cases: 31
                                                        25 to 36 mo                           1.5                     Age, parity             family history of      4
                                       Controls: 99
                                                        37 to 60 mo                           1.1                                             ovarian cancer
                                                        ~61 mo                                0.3


0
0
OJ
0
v.)
v.)                                                                                      46
0
~


 Exhibit 163                                                                                                                                                             JA-0002846
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 87 of 173




              Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                      Special        Meta-
                  Studl               Sample Size                  Comparisons                   ORb        95% Clb           Covariates            Population      Analysis
                                                                                                                                                  (if Applicable)    Codec
                                                                                 Case-Control (continued)
                                                    High dose 1 to 6 mo                        0.60       0.28 to 1.28
                                                    High dose 7 to 18 mo                        1.07      0.50 to 2.29
                                                    High dose 19 to 60 mo                      0.48       0.20to1.18
              Rosenblatt,
                   40              Cases: 393       High dose 61 + mo                          0.49       0.17 to 1.43    Age, parity, center,
              199i                                                                                                                                                     4
                                   Controls: 2561   Low dose 1 to 6 mo                         0.45       0.18 to 1.10    year of diagnosis
                                                    Low dose 7 to 18 mo                         1.36      0.59to3.10
                                                    Low dose 19 to 60 mo                        1.47      0.68to3.18
                                                    Low dose 61 + mo                           0.75       0.26to2.19
                             148                    2 yr or less                                 0.9       0.5to1.4       Age, parity, family
              Tavani, 1993         Cases: 194                                                                                                    Only women
                                                    2 to <5 yr                                   1.1       0.5 to 2.4     history, education,                          7
                                   Controls: 710                                                                                                 <45 yr
                                                    5+ yr                                        0.3       0.1to0.7       abortions, OC use
                                                    1 to   5 mo                                  1.1       0. 7 to 1. 7
                                                                                                                          Age, race, parity,
                                                    6 to   11 mo                                 0.9       0.5 to 1.7
                                                                                                                          family history,
              Rosenberg,                            1 yr                                         1.3       0.8 to 2.0                            Formulation data
                   137             Cases: 441                                                                             hysterectomy,
              1994                                  2 yr                                         1.2       0.7 to 2.0                            refers only to        7
                                   Controls: 2065                                                                         removal of one
                                                    3 to   4 yr                                  0.5       0.3 to 1.1                            use >3 yr
                                                                                                                          ovary, geographic
                                                    5 to   9 yr                                  0.7       0.4to1.1
                                                                                                                          area, interview year
                                                    ~10    yr                                    0.5       0.2 to 0.9
                                                                                                                          Age, parity, family
                                                                                                                          history,
                                   Cases: 367                                                                             breastfeeding,         Invasive serous
                                                    OR per yr OC use                             0.89     0.84 to 0.94                                                 5
                                   Controls: 564                                                                          duration of OC use,    ovarian cancers
                                                                                                                          BTL, HRT,
                                                                                                                          hysterectomy
                                                                                                                          Age, parity, family
                                                                                                                          history,
                            136
              Risch, 1996          Cases: 83                                                                              breastfeeding,         Borderline
                                                    OR per yr OC use                             0.95      0.9 to 1.01                                                 5
                                   Controls: 564                                                                          duration of OC use,    tumors
                                                                                                                          BTL, HRT,
                                                                                                                          hysterectomy
                                                                                                                          Age, parity, family
                                                                                                                          history,
                                   Cases: 40                                                                              breastfeeding,         Mucinous
                                                    OR per yr OC use                             0.97     0.89 to 1.05                                                 5
                                   Controls: 564                                                                          duration of OC use,    invasive cancers
                                                                                                                          tubal ligation, HRT,
                                                                                                                          hysterectomy
0
0
OJ
0
v)
v)                                                                                          47
0
0,


Exhibit 163                                                                                                                                                                JA-0002847
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 88 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                    Special        Meta-
                   Studl               Sample Size               Comparisons                  ORb          95% Clb           Covariates           Population      Analysis
                                                                                                                                                (if Applicable)    Codec
                                                                               Case-Control (continued)
                                                                                                                         Age, parity, family
                                                                                                                         history,
                                    Cases: 42                                                                            breastfeeding,        Borderline
                                                     OR per yr OC use                         0.86        0.77 to 0.96                                               5
                                    Controls: 564                                                                        duration OC use,      serous tumors
                                                                                                                         HRT, BTL,
                                                                                                                         hysterectomy
                                                                                                                         Age, parity, family
                                                                                                                         history,
                                                                                                                                               Borderline
                                    Cases:
                                    -  - 40                                                                              breastfeeding,
                                                     OR per yr OC use                         1.00        0.93 to 1.07                         mucinous              5
                                    Controls: 564                                                                        duration OC use,
                                                                                                                                               tumors
                             136                                                                                         HRT, BTL,
               Risch, 1996
                                                                                                                         hysterectomy
               (continued)
                                                                                                                         Age, parity, family
                                                                                                                         history,              All serous
                                    Cases: 254                                                                           breastfeeding,        tumors both
                                                     OR per yr OC use                         0.88        0.84 to 0.93                                               5
                                    Controls: 564                                                                        duration OC use,      borderline and
                                                                                                                         HRT, BTL,             invasive
                                                                                                                         hysterectomy
                                                                                                                         Age, parity, family
                                                                                                                         history,
                                    Cases: 367                                                                                                 Invasive ovarian
                                                     OR per yr of OC use                      0.9         0.86 to 0.94   breastfeeding, BTL,                         5
                                    Controls: 564                                                                                              cancers
                                                                                                                         HRT, hysterectomy,
                                                                                                                         duration of OC use
                                                     0 to 1 yr                                 1.0
                                                                                                           Reference
                               89                    1 to 5 yr                                0.77
               Godard, 1998         Cases: 153                                                            0.44 to 1.36
                                                     6 to 10 yr                               0.49                       Crude                                       3
                                    Controls: 152                                                         0.27 to 0.91
                                                     11 to 25 yr                              0.33
                                                                                                          0.13 to 0.82
                                                     Per yr of use                            0.89




0
0
OJ
0
v.)
v.)                                                                                      48
0
0)


 Exhibit 163                                                                                                                                                             JA-0002848
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 89 of 173




                Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                     Special        Meta-
                    Studl              Sample Size                Comparisons                  ORb          95% Clb           Covariates           Population      Analysis
                                                                                                                                                 (if Applicable)    Codec
                                                                                Case-Control (continued)
                                                                                                                                                Ovarian cancer
                                                                                                                                                cases with
                                                                                                                                                BRCA1 or
                                                                                                                                                BRCA2
                                                                                                                                                mutations,
                                                                                                                                                controls are
                                                                                                                          Age, parity, age at   sisters of cases
                                                     <3 yr                                     0.4          0.3 to 0.9
                                    Cases: 207                                                                            first birth,          (53 of 161
                                                     3 to <6 yr                                0.4          0.1 to 1.0                                                4
                                    Controls: 53                                                                          geographic area of    controls had
                                                     ~6 yr                                     0.3          0.1to0.7
                                                                                                                          residence             BRCA1 or
                                                                                                                                                BRCA2
                              122                                                                                                               mutations). Case
                Narod, 1998
                                                                                                                                                s compared with
                                                                                                                                                controls with
                                                                                                                                                BRCA1/2
                                                                                                                                                mutations
                                                                                                                                                Cases with
                                                                                                                                                BRCA1 or
                                                                                                                                                BRCA2
                                                                                                                          Age, parity, age at   mutations,
                                                     <3 yr                                     0.8          0.4to 1.4
                                    Cases: 207                                                                            first birth,          controls are
                                                     3 to <6 yr                                0.4          0.2 to 0.9                                                4
                                    Controls: 161                                                                         geographic area of    sisters of cases
                                                     ~6 yr                                     0.4          0.2 to 0.7
                                                                                                                          residence             (53 of 161 had
                                                                                                                                                BRCA1 or
                                                                                                                                                BRCA2
                                                                                                                                                mutations)
                                                                                                                          Age, parity, BMI,
                                                                                                                          smoking,
                Salazar-
                                                                                                                          breastfeeding ,
                Martinez,           Cases: 84        1 to 12 mo                                0.56         0.22 to 1.3
                     142                                                                                                  diabetes,                                   2
                1999                Controls: 668    13+ mo                                    0.36        0.15 to 0.83
                                                                                                                          hypertension,
                                                                                                                          physical activity,
                                                                                                                          menopausal status




0
0
OJ
0
v)
v)                                                                                        49
0
-.....J

  Exhibit 163                                                                                                                                                             JA-0002849
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 90 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                  Special        Meta-
                   Studl              Sample Size               Comparisons                  ORb         95% Clb           Covariates           Population      Analysis
                                                                                                                                              (if Applicable)    Codec
                                                                              Case-Control (continued)
                                   Cases: 322       <5 yr                                    1.0         0.7to1.6                            Nonmucinous
               Wittenberg,                                                                                             Age, parity                                 2
                                   Controls: 426    5+ yr                                    0.6         0.4 to 1.0                          cases
                    161
               1999
                                   Cases: 322       <5 yr                                    1.2         0.5 to 3.0                          Mucinous
                                                                                                                       Age, parity                                 2
                                   Controls: 426    5+ yr                                    0.4         0.1 to 1.4                          ovarian cases
                                                                                                                       Age, parity, family
                                                                                                                       history,
                              93                                                                                       breastfeeding,
               Greggi, 2000        Cases: 440       < 24 mo                                  0.5         0.3 to 0.9
                                                                                                                       education, OC use,                          2
                                   Controls: 868    ~24 mo                                   0.3         0.2 to 0.5
                                                                                                                       age at first birth,
                                                                                                                       breast feeding, OC
                                                                                                                       use
                                                    < 1 yr                                   0.7         0.5to1.0
                                                                                                                       Age, race, family
                                   Cases: 616       1 to 4 yr                                0.7         0.5 to 0.9                          Invasive ovarian
                                                                                                                       history, number of                          1
                                   Controls: 1367   5 to 9 yr                                0.7         0.5 to 0.9                          cancer (N=616)
                                                                                                                       pregnancies
                                                    ~10 yr                                   0.4         0.2 to 0.6
                                                    < 1 yr                                   0.7         0.6 to 1.0
                             125                                                                                       Age, race, family
               Ness, 2000          Cases: 767       1 to 4 yr                                0.7         0.5 to 0.9                           All cases
                                                                                                                       history, number of                          1
                                   Controls: 1367   5 to 9 yr                                0.6         0.5 to 0.9                          combined
                                                                                                                       pregnancies
                                                    ~10 yr                                   0.3         0.2 to 0.5
                                                    < 1 yr                                   1.0         0.6to1.7
                                                                                                                       Age, race, family     Borderline
                                   Cases:
                                   -  - 151         1 to 4 yr                                0.8         0.5to1.3
                                                                                                                       history, number of    ovarian cancer        1
                                   Controls: 1367   5 to 9 yr                                0.7         0.4to 1.2
                                                                                                                       pregnancies           (N=151)
                                                    ~10 yr                                   0.3         0.1 to 0. 7
               Sanderson,          Cases: 276       <5 yr                                    1.0         0.6 to 1.5
                    143                                                                                                Age, parity                                 2
               2000                Controls: 388    >5 yr                                    0.6         0.3 to 0.9




0
0
OJ
0
v.)
v.)                                                                                     50
0
OJ

 Exhibit 163                                                                                                                                                           JA-0002850
                                     Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 91 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                        Special        Meta-
                    Studl               Sample Size                 Comparisons                   ORb     95% Clb              Covariates             Population      Analysis
                                                                                                                                                    (if Applicable)    Codec
               Case-Control (continued)
                                                      1 to 12 mo                                  0.57   0.40 to   0.82
                                                      13 to 60 mo                                 0.73   0.52 to   1.03
                                                      61 to 120 mo                                0.50   0.34 to   0.73
                                                                                                                          Parity, smoking,
                                                      120 to 180 mo                               0.35   0.21 to   0.56
                                     Cases: 794                                                                           ovulatory life, tubal
                                                      >180 mo                                     0.25   0.13 to   0.49                                                  1
                                     Controls: 853                                                                        ligation, and
                                                      1 to 12 mo prior to first pregnancy         1.01   0.57 to   1.80
                                                                                                                          hysterectomy
                                                      13 to 36 mo prior to first pregnancy        0.97   0.58 to   1.63
                                                      36 to 60 mo prior to first pregnancy        0.89   0.47 to   1.68
                                                      >60 mo prior to first pregnancy             0.54   0.26to    1.11
                                                                                                                          Age, parity, BMI,
                               145                                                                                        family history,
               Siskind, 2000
                                                                                                                          smoking,
                                     Cases: 114                                                                           breastfeeding ,          Mucinous
                                                      OR per year of OC use                       0.92   0.88 to 0.97                                                    1
                                     Controls: 853                                                                        alcohol, BTL,            ovarian cancers
                                                                                                                          hysterectomy,
                                                                                                                          infertility, number of
                                                                                                                          lifetime ovulations
                                                                                                                          Age, parity, BMI,
                                                                                                                          smoking, age
                                     Cases: 677                                                                           squared, alcohol,        Nonmucinous
                                                      OR per year of OC use                       0.93   0.90 to 0.96                                                    1
                                     Controls: 853                                                                        hysterectomy, tubal,     ovarian cancer
                                                                                                                          infertility, number of
                                                                                                                          lifetime ovulation
                                                      <25 mo                                      1.0     0. 7 to 1.4     Age, parity, family
               Chiaffarino,          Cases: 1031
                    87                                25 to 59 mo                                 1.3     0.7 to 2.2      history, center,                               1
               2001                  Controls: 2411
                                                      ~60 mo                                      0.5     0.3 to 0.9      education




0
0
OJ
0
v.)
v.)                                                                                          51
0
c.o
 Exhibit 163                                                                                                                                                                 JA-0002851
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 92 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                       Special        Meta-
                   Studl              Sample Size                   Comparisons                  ORb          95% Clb           Covariates           Population      Analysis
                                                                                                                                                   (if Applicable)    Codec
                                                                                  Case-Control (continued)
                                                                                                                            Age, parity, family   Israeli
                                                                                                                            history, personal     population;
                                                    0.1 to 1.9 yr                                1.14        0.67 to 1.94
                                   Cases: 240                                                                               history of breast     cases with
                                                    2.0 to 4.9 yr                                0.77        0.41 to 1.44                                               1
                                   Controls: 2257                                                                           cancer, history of    BRCA1 or 2
                                                    ~5.0 yr                                      1.07        0.63 to 1.83
                                                                                                                            gynecologic           mutations
                                                                                                                            surqery, ethnicity    (N=240)
                                                                                                                            Age, parity, family
                                                                                                                                                  Israeli
                                                                                                                            history, personal
                             118                    0.1 to 1.9 yr                                1.15        0.84 to 1.57                         population; high
               Madan, 2001         Cases: 832                                                                               history of breast
                                                    2.0 to 4.9 yr                                0.77        0.53to 1.12                          prevalence of         1
                                   Controls: 2257                                                                           cancer, history of
                                                    ~5.0 yr                                      0.69        0.48 to 0.98                         BRCA mutation
                                                                                                                            gynecologic
                                                                                                                                                  carriers
                                                                                                                            surqery, ethnicity
                                                                                                                            Age, parity, family
                                                                                                                                                  Israeli
                                                                                                                            history, personal
                                                    0.1 to 1.9 yr                                1.13        0.79to1.62                           population;
                                   Cases: 592                                                                               history of breast
                                                    2.0 to 4.9 yr                                0.74        0.48to 1.16                          cases without         1
                                   Controls: 2257                                                                           cancer, history of
                                                    ~5.0 yr                                      0.53        0.34 to 0.84                         BRCA mutations
                                                                                                                            gynecologic
                                                                                                                                                  (N=592)
                                                                                                                            surqery, ethnicity




0
0
OJ
0
v.)
v.)                                                                                         52
--lo.
0

 Exhibit 163                                                                                                                                                                JA-0002852
                               Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 93 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                 Special        Meta-
                  Studl           Sample Size                Comparisons                  ORb          95% Clb           Covariates            Population      Analysis
                                                                                                                                             (if Applicable)    Codec
                                                                           Case-Control (continued)
                                                                                                                     Age, race, parity,
                                                                                                                     family history,
                                                                                                                     breastfeeding ,
                                                                                                                     noncontraceptive
                               Cases: 616                                                                                                   Invasive ovarian
                                                 Per one year of use                      0.94        0.92 to 0.97   estrogen use, tubal                          5
                               Controls: 1367                                                                                               cancer (N=616)
                                                                                                                     ligation,
                                                                                                                     hysterectomy, family
                                                                                                                     history of breast
                                                                                                                     cancer
                                                                                                                     Age, race, parity,
                                                                                                                     family history,
                                                                                                                     breastfeeding ,
               Modu~no,                                                                                              noncontraceptive       Borderline
                    1 9       Cases:
                              -  - 151
               2001                              Per one year of use                      0.92        0.85 to 0.98   estrogen use, tubal    ovarian cancer        5
                               Controls: 1367
                                                                                                                     ligation,              (N=151)
                                                                                                                     hysterectomy, family
                                                                                                                     history of breast
                                                                                                                     cancer
                                                                                                                     Age, race, parity,
                                                                                                                     family history,
                                                                                                                     breastfeeding ,
                                                                                                                     noncontraceptive
                               Cases: 767
                                                 Per year of use                          0.94        0.91 to 0.96   estrogen, tubal                              5
                               Controls: 1367
                                                                                                                     ligation,
                                                                                                                     hysterectomy, family
                                                                                                                     history of breast
                                                                                                                     cancer




0
0
OJ
0
v.)
v.)                                                                                  53
--lo.
--lo.



 Exhibit 163                                                                                                                                                          JA-0002853
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 94 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                              Special        Meta-
                   Studl              Sample Size                   Comparisons                     ORb         95% Clb              Covariates             Population      Analysis
                                                                                                                                                          (if Applicable)    Codec
                                                                                     Case-Control (continued)
                                                                                                                0.5   to   0.8
                                                                                                                0.4   to   0.8
                                                    OCs   for   contraception ::;;4 yr              0.6
                                                                                                                0.2   to   0.6
                                                    OCs   for   contraception 5 to 9 yr             0.5
                                                                                                                0.4   to   1.0
                                                    OCs   for   contraception ~10 yr                0.3
                                                    OCs   for   noncontraception ::;;4 yr           0.7
                            126
               Ness, 2001          Cases: 727                                                                                    Age, race, family
                                                    OCs for noncontraception 5 to 9 yr              NR                                                                         4
                                   Controls: 1359                                                                                history, pregnancies
                                                    OCs for noncontraception ~10 yr                 NR
                                                                                                              0.5 to 1.1
                                                                                                              0.5 to 1.4
                                                    OCs for both ::;;4 yr                           0.7
                                                                                                              0.5 to 1.4
                                                    OCs for both 5 to 9 yr                          0.8
                                                                                                            (Not plausible
                                                    OCs for both ~10 yr                             0.2
                                                                                                             for reported
                                                                                                                  OR)
                                                    <2 y                                            0.96     0.55 to 1.66                                Borderline
                             133                                                                                                 Age, parity, BMI,
               Riman, 2001         Cases:
                                   -  - 193         2 to 4 y                                        1.34     0.73 to 2.43                                ovarian tumors        1
                                                                                                                                 age menopause,
                                   Controls: 3899   5 to 9 y                                        1.29     0.68 to 2.43                                versus disease
                                                                                                                                 HRT
                                                    ~10 V                                           1.16     0.61 to 2.18                                free controls
                                                    1 to 2 yr                                       0.89     0.47 to 1.67
                                                                                                                                 Parity, family
                                                    3 to 5 yr                                       0.45     0.22 to 0.92
                             141                                                                                                 history,
               Royar, 2001         Cases: 282       6 to 10 yr                                      0.37     0.22 to 0.79
                                                                                                                                 breastfeeding , tubal                         1
                                   Controls: 533    11 to 15 yr                                     0.42     0.22 to 0.79
                                                                                                                                 ligation,
                                                    16 to 20 yr                                     0.32     0.14 to 0.73
                                                                                                                                 hysterectomy
                                                    21+ yr                                          0.12     0.03 to 0.53
                                                    <2y                                             0.95     0.71to1.26
                              34                                                                                                 Age, parity, BMI,
               Riman, 200i         Cases:
                                   -  - 655         2 to 4 y                                        0.88     0.61 to 1.25
                                                                                                                                 age menopause,                                1
                                   Controls: 3899   5 to 9 y                                         0.5     0.32 to 0.80
                                                                                                                                 HRT
                                                    ~10 V                                           0.36     0.22 to 0.59




0
0
OJ
0
v.)
v.)                                                                                            54
--lo.
i'.)


 Exhibit 163                                                                                                                                                                       JA-0002854
                                       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 95 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                   Special          Meta-
                    Studl                 Sample Size               Comparisons                   ORb        95% Clb         Covariates          Population        Analysis
                                                                                                                                               (if Applicable)      Codec
                                                                                  Case-Control (continued)
                                                        3 to 18 mo                               0.4        0.2 to 0.8
                                       Cases: 22
                                                        19 to 59 mo                              0.3        0.2 to 0.7          Age             High progestin        4
                                       Controls: 351
                                                        >60 mo                                   0.2        0.1 to 0.5
                                                        3 to 18 mo                               0.6        0.4 to 0.9
                                       Cases: 71                                                                                                High potency
                                                        19 to 59 mo                              0.5        0.3 to 0.7          Age                                   4
               Schild kraut,           Controls: 831                                                                                              estrogen
                    29                                  >60 mo                                   0.4        0.2 to 0.6
               2002
                                                        3 to 18 mo                               0.7        0.4 to 1.0
                                       Cases: 82                                                                                                 Low potency
                                                        19 to 59 mo                              0.7        0.4 to 1.0          Age                                   4
                                       Controls: 803                                                                                              progestins
                                                        >60 mo                                   0.4        0.2 to 0.6
                                                        3 to 18 mo                               0.5        0.3to1.0
                                       Cases: 33                                                                                                 Low potency
                                                        19 to 59 mo                              0.8        0.5to1.5            Age                                   4
                                       Controls: 323                                                                                               estrogen
                                                        >60 mo                                   0.3        0.1 to 0.6
                                                        ::;;48 mo                               0.72                                           No family history
                                       Cases: 692                                                          0.59 to 0.88   Age, race, parity,
                                                        49+ mo                                  0.51                                              of ovarian          2
                                  58   Controls: 1279                                                      0.40 to 0.65         BTL
               Walker, 200i                             Never OC use                              1                                                 cancer
                                                        ::;;48 mo use                           0.34                                            Positive family
                                       Cases: 33                                                           0.08 to 1.55   Age, race, parity,
                                                        49+ mo use                              0.07                                               history of         2
                                       Controls: 24                                                        0.01 to 0.44         BTL
                                                        Never use                                 1                                             ovarian cancer
                                                                                                                          Age, race, parity,
                            152                         <1.5 yr                                   0.8       0.5to1.1
               Tung, 2003              Cases: 603                                                                            study site,
                                                        1.6to5yr                                  0.6       0.4 to 0.8                                                1
                                       Controls: 607                                                                      education, tubal
                                                        >5 yr                                     0.4       0.3 to 0.6
                                                                                                                               liqation
                                                        <1 year                                   1.00      Reference                            Cases with
                                       Cases: 36        1 to 2 yr                                 1.18     0.50 to 2.75                            BRCA1
                                                                                                                          Age, race, parity                           4
                                       Controls: 568    3 to 6 yr                                 0.46     0.16to 1.28                            mutations
               McGuire,
                    115                                 ~ yr                                      0.22     0.07 to 0.71                            (N=36)
               2004
                                                        <1 year                                   1.00      Reference                           Cases without
                                       Cases: 381       1 to 2 yr                                 0.81     0.55to 1.19                             BRCA1
                                                                                                                          Age, race, parity                           4
                                       Controls: 568    3 to 6 yr                                 0.48     0.32 to 0.72                           mutations
                                                        ~7 yr                                     0.43     0.30 to 0.63                           (N=381)




0
0
OJ
0
v.)
v.)                                                                                          55
--lo.
v.)


 Exhibit 163                                                                                                                                                              JA-0002855
                                     Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 96 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                       Special         Meta-
                   Studl                Sample Size                Comparisons                   ORb        95% Clb            Covariates            Population       Analysis
                                                                                                                                                   (if Applicable)     Codec
                                                                                 Case-Control (continued)
                                                      ::;;1 year                               0.89       0.59 to   1.36
                                     Cases: 256       2 to 5 yr                                0.82       0.55 to   1.21        Age, race,
                                                                                                                                                                         1
                                     Controls: 1122   6 to 10 yr                               0.62       0.38 to   1.00      breastfeeding
                                                      >10 yr                                   0.37       0.20 to   0.68
                                                      ::;;1 year                               0.90       0.56 to   1.46
                             117
               Mills, 2004           Cases: 182       2 to 5 yr                                0.74       0.46 to   1.18        Age, race,         Invasive ovarian
                                                                                                                                                                         1
                                     Controls: 1122   6 to 10 yr                               0.67       0.39to    1.15      breastfeeding        cancer (N= 182)
                                                      >10 yr                                   0.26       0.12 to   0.60
                                                      ::;;1 year                               0.93       0.45 to   1.93
                                                                                                                                                     Borderline
                                     -  - 74
                                     Cases:           2 to 5 yr                                 1.00      0.57 to   2.07        Age, race,
                                                                                                                                                   ovarian cancer        1
                                     Controls: 1122   6 to 10 yr                               0.57       0.23 to   1.42      breastfeeding
                                                                                                                                                       (N=74)
                                                      >10 yr                                   0.67       0.27 to   1.68
                                                                                                                             Age, race, parity,
                                                                                                                           menopausal status,
                            130                       <5 yr                                       1.0     0.72to1.39
               Pike, 2004            Cases: 477                                                                             BMI, family history,
                                                      5 to 9 yr                                  0.72     0.46 to 1.13                                                   2
                                     Controls: 660                                                                         SES, education, age
                                                      10+ yr                                     0.48     0.29 to 0.78
                                                                                                                                at last birth,
                                                                                                                             qravidity, OC use
                                                                                                                            Age, parity, family
                              132                                                                                            history, history of
               Quirk, 2004           Cases: 418       ::;;5 yr                                   1.22     0.84to 1.79
                                                                                                                               tubal ligation,                           2
                                     Controls: 836    >5 yr                                      1.18     0.78to 1.79
                                                                                                                             noncontraceptive
                                                                                                                               estrogen use
                               147
               Tavani, 2004          Cases: 1031      60+ mo                                       1       Reference       Age, center, year at
                                                                                                                                                                         2
                                     Controls: 2411   <60 mo or never                            2.01     1.11 to 3.66     interview, education
                                                      <1 year                                     1.0      Reference
               Whittemore,
                    159              Cases: 147       1 to 2 yr                                   1.5      0.82 to 2.9      Age, parity, study      BRCA1 and
               2004                                                                                                                                                      4
                                     Controls: 304    3 to 5 yr                                  0.69      0.33 to 1.4           center            BRCA2 carriers
                                                      6+ vr                                      0.62      0.35to1.1




0
0
OJ
0
v.)
v.)                                                                                         56
--lo.
~


 Exhibit 163                                                                                                                                                                 JA-0002856
                                  Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 97 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                     Special        Meta-
                   Studl             Sample Size              Comparisons                   ORb          95% Clb            Covariates             Population      Analysis
                                                                                                                                                 (if Applicable)    Codec
                                                                             Case-Control (continued)
                                                                                                                                                 Compared never
                                                                                                                                                   users to both
                                  Cases: 364       < 5 yr                                   0.39        0.18 to 0.85    Age, parity, family
                                                                                                                                                 androgenic and       2
                                  Controls: 529    5+ yr                                    0.22        0.12 to 0.43   history, tubal ligation
                                                                                                                                                  nonandrogenic
                                                                                                                                                    OC users
                             91                                                                                                                  Compared never
               Greer, 2005
                                  Cases: 405       < 5 yr                                   0.58        0.37 to 0.93    Age, parity, family          users to
                                                                                                                                                                      2
                                  Controls: 592    5+ yr                                    0.35         0.2 to 0.61   history, tubal ligation   androgenic only
                                                                                                                                                    OC users
                                                                                                                                                 Compared never
                                  Cases: 381       < 5 yr                                   0.56        0.41 to 0.76    Age, parity, family          users to
                                                                                                                                                                      2
                                  Controls: 761    5+ yr                                    0.73         0.5 to 1.07      history, BTL            nonandrogenic
                                                                                                                                                  onlv OC users
                                                   Single episode; 1 to 6 mo                0.71        0.50 to 0.99
                                                   Single episode; 7 to 12 mo               1.04        0.66 to 1.63
                                  Cases: 715       Single episode; ~13 mo                   0.66        0.48 to 0.90
                                                                                                                                Age              Parous women         4
                                  Controls: 1631   ~1 episode; 1 to 6 mo                    0.71        0.51 to 0.99
                                                   ~1 episode; 7 to 12 mo                   0.97        0.64 to 1.47
                                                   ~1 episode; ~13 mo                       0.62        0.48 to 0.81
                                                   Single episode use: 1 to 6 mo             .73          .54 to .99
                                                   Single episode use: 7 to 12 mo            1.0         .67 to 1.50
                             92
               Greer, 2005        Cases: 608       Single episode use: ~13 mo                .63           .48 to 82
                                                                                                                            Age, parity                               4
                                  Controls: 926    >1 episode of use: 1 to 6 mo              .75          .56 to 1.0
                                                   >1 episode of use: 7 to 12 mo             .96         .66 to 1.38
                                                   >1 episode of use: ~13 mo                 .56          .45 to .71
                                                   Single episode; 1 to 6 mo                1.04        0.52 to 2.08
                                                   Single episode; 7 to 12 mo               1.08        0.42 to 2.78
                                  Cases: 216       Single episode; ~13 mo                   0.84        0.46 to 1.56                               Nulliparous
                                                                                                                                Age                                   4
                                  Controls: 168    ~1 episode; 1 to 6 mo                    1.05        0.55 to 2.01                                women
                                                   ~1 episode; 7 to 12 mo                   1.08        0.49 to 2.34
                                                   ~1 episode; ~13 mo                       0.68        0.42to 1.11




0
0
OJ
0
v.)
v.)                                                                                    57
--lo.
0,


 Exhibit 163                                                                                                                                                              JA-0002857
                                  Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 98 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                          Special         Meta-
                   Studl             Sample Size                   Comparisons                ORb        95% Clb               Covariates               Population       Analysis
                                                                                                                                                      (if Applicable)     Codec
                                                                              Case-Control (continued)
                                                   0.1 to 1.8 yr (all women)                 0.74      0.50 to 1.07
                                                   1.9 to 5.3 yr (all women)                 0.60      0.41 to 0.88
                                                   5.4+ yr (all women)                       0.45      0.30 to 0.69        Age, race, parity,         Data presented
                            153                    0.1 to 1.8 yr (premenopausal women)       0.52      0.30 to 0.90          study center,           as whole sample
               Tung, 2005         Cases: 558                                                                                                                               5152
                                                   1.9 to 5.3 yr (premenopausal women)       0.34      0.19 to 0.61        education, BTL,           and subgrouped
                                  Controls: 607
                                                   5.4+ yr (premenopausal women)             0.28      0.15 to 0.52         HRT, ovulation            by menopausal
                                                   0.1 to 1.8 yr (postmenopausal women)      0.75      0.43 to 1.29            variables             status (pre/post)
                                                   1.9 to 5.3 yr (postmenopausal women)      0.86      0.51 to 1.45
                                                   1.9 to 5.3 yr (postmenopausal women)      0.58      0.31 to 1.08
               Gronwald,          Cases: 150       :;.2 yr                                    0.8       0.2 to 2.5
                    94                                                                                                              NR               BRCA 1 carriers        2
               2006               Controls: 150    >2 yr                                      0.2       0.1to0.7
                                                                                                                                Age, parity,
                                                   <1 year                                    1.39     0.77 to 2.54               smoking,
               Huusom,
                    107           Cases: 202       1 to 4 yr                                  1.00      Reference          breastfeeding , age
               2006                                                                                                                                                         2
                                  Controls: 1564   5 to 9 yr                                  1.23     0.70to2.16         at first birth, duration
                                                   10+ yr                                     0.77     0.45 to 1.34          of contraception
                                                                                                                            use, intake of milk
                                                   0to1.0yr                                   0.56     0.28to1.10
                                                                                                                                   Parity,
                                  Cases: 128       1.1 to 3.0 yr                              0.42     0.20 to 0.88                                  BRCA2 carriers
                                                                                                                          breastfeeding , tubal                             4
                                  Controls: 380    3.1 to 5.0 yr                              0.14     0.05 to 0.46                                      only
                                                                                                                            ligation, ethnicity
                                                   >5.0 yr                                    0.37     0.19to0.72
                                                                                                                                                      All cases and
                                                   0to1.0yr                                   0.67     0.50   to   0.89
               Mclau~hlin,                                                                                                         Parity,            controls have
                     1            Cases: 799       1.1 to 3.0 yr                              0.63     0.46   to   0.86
               200?1                                                                                                      breastfeeding , tubal       BRCA 1 and/or         4
                                  Controls: 2424   3.1 to 5.0 yr                              0.36     0.25   to   0.53
                                                                                                                            ligation, ethnicity           BRCA2
                                                   >5.0 yr                                    0.47     0.35   to   0.62
                                                                                                                                                        mutations
                                                   0to1.0yr                                   0.69     0.50   to   0.95
                                                                                                                                   Parity,
                                  Cases: 670       1.1 to 3.0 yr                              0.67     0.47   to   0.96                              BRCA 1 carriers
                                                                                                                          breastfeeding , tubal                             4
                                  Controls: 2043   3.1 to 5.0 yr                              0.41     0.27   to   0.63                                  only
                                                                                                                            ligation, ethnicity
                                                   >5.0 yr                                    0.48     0.35   to   0.66




0
0
OJ
0
v.)
v.)                                                                                      58
--lo.
0)


 Exhibit 163                                                                                                                                                                      JA-0002858
                                      Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 99 of 173




                Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                               Special        Meta-
                    Studl                Sample Size               Comparisons          ORb      95% Clb               Covariates            Population      Analysis
                                                                                                                                           (if Applicable)    Codec
                                                       <2 yr                             1.0    Reference
                                      Cases: 50        2 to 5 yr                        1.60   0.45 to 5.65                                  Mucinous
                                                                                                                       Age, parity                              3
                                      Controls: 1564   6 to 9 yr                        0.95   0.20 to 4.49                                   tumors
                                                       10+ yr                           1.32   0.38 to 4.64
                                                       <2 yr                             1.0    Reference
                                      Cases: 86        2 to 5 yr                        0.88   0.38 to 2.03
                                                                                                                       Age, parity         "Other" tumors       3
                                      Controls: 1564   6 to 9 yr                        0.36   0.10to 1.29
                                                       10+ vr                           0.37   0.14 to 0.99
                                                       <2 yr                             1.0    Reference
                Soegaard,
                      46              Cases: 554       2 to 5 yr                        0.90   0.63 to 1.30
                200?1                                                                                                  Age, parity                              3
                                      Controls: 1564   6 to 9 yr                        0.40   0.24 to 0.66
                                                       10+ yr                           0.40   0.26 to 0.60
                                                       <2 yr                             1.0    Reference
                                      Cases: 343       2 to 5 yr                        0.80   0.52 to 1.23
                                                                                                                       Age, parity         Serous tumors        3
                                      Controls: 1564   6 to 9 yr                        0.42   0.23 to 0.74
                                                       10+ vr                           0.31   0.18 to 0.51
                                                       <2 yr                             1.0    Reference
                                      Cases: 75        2 to 5 yr                        1.27   0.53 to 3.05                                Endometrioid
                                                                                                                       Age, parity                              3
                                      Controls: 1564   6 to 9 yr                        0.15   0.02 to 1.18                                  tumors
                                                       10+ vr                           0.62   0.24 to 1.62
                                                       1 to 12 mo                       1.02
                                                                                               0. 72   to   1.44
                                                       13 to 60 mo                      0.71
                                                                                               0.53    to   0.95      Parity, family
                                109                    61 to 120 mo                     0.52
                Jordan, 2008          Cases: 627                                               0.38    to   0.70    history, BTL, OC
                                                       212 to 180 mo                    0.51                                                                    1
                                      Controls: 1508                                           0.36    to   0.73   use, hysterectomy,
                                                       181 to 240 mo                    0.36
                                                                                               0.23    to   0.58        education
                                                       >240 mo                          0.22
                                                                                               0.12    to   0.42
                                                       pervear                          0.95
                                                                                                                         Age, race,
                                                                                                                   menopausal status,
                                                                                                                       family history,
                                                       <1 year                          0.74   0.53    to   1.01      education, tubal
                              114                      1 to 2 yr                        0.47   0.33    to   0.67    ligation, gravidity,
                Lurie, 2008           Cases: 813
                                                       3 to 6 yr                        0.59   0.42    to   0.81         age at last                            1
                                      Controls: 993
                                                       7 to 9 yr                        0.49   0.31    to   0.78   pregnancy, type of
                                                       ~10 yr                           0.30   0.19    to   0.47   menopause, age at
                                                                                                                   menopause, use of
                                                                                                                        menopausal
                                                                                                                         hormones
0
0
OJ
0
v.)
v.)                                                                                59
....lo.

-.....J

  Exhibit 163                                                                                                                                                       JA-0002859
                                         Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 100 of 173




                Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                             Special        Meta-
                    Studl                   Sample Size                   Comparisons                   ORb      95% Clb           Covariates              Population      Analysis
                                                                                                                                                         (if Applicable)    Codec
                                                                                                                                Age, race, parity,
                                                             <1 year                                    0.8     0.4to1.7
                                                                                                                               BMI, family history,
                                         Cases: 314          1 to <5 yr                                 0.6     0.4 to 1.0                               Premenopausal
                                                                                                                                  tubal ligation,                              4
                                         Controls: 360       5 to 10 yr                                 0.5     0.3 to 0.9                                  women
                                                                                                                              infertility, age at last
                Moorman,                                     >10 yr                                     0.3     0.2 to 0.6
                     121                                                                                                            preqnancv
                2008
                                                                                                                                Age, race, parity,
                                                             <1 year                                    1.1     0.7to1.6
                                                                                                                               BMI, family history,
                                         Cases: 582          1 to <5 yr                                 0.7     0.5to1.0                                 Postmenopausal
                                                                                                                                  tubal ligation,                              4
                                         Controls: 607       5 to 10 yr                                 0.8     0.6 to 1.2                                   women
                                                                                                                              infertility, age at last
                                                             >10 yr                                     0.9     0.6 to 1.5
                                                                                                                                    preqnancv
                                                             0 to <1 yr                                0.63    0.24to 1.71                               Serous primary
                                         Cases: 62
                                                             1 to <5 yr                                0.80    0.38to1.70              Age                 peritoneal          4
                              90         Controls: 1086
                Grant, 2010                                  5+ yr                                     1.13    0.56 to 2.26                                  cancer
                                                             0 to <1 yr                                1.14    0.79to1.65
                                         Cases: 495                                                                                                      Serous ovarian
                                                             1 to <5 yr                                0.82    0.61 to 1.11            Age                                     4
                                         Controls: 1086                                                                                                      cancer
                                                             5+ vr                                     0.74    0.55 to 1.00
                                                             OCs for contraception ::;;4 yr            0.91    0.75to1.10
                                                             OCs for contraception 5 to 9 yr           0.78    0.59 to 1.05
                                                             OCs for contraception ~10 yr              0.52    0.35 to 0.76
                                                                                                                               Age, race, family
                                                             OCs for noncontraception ::;;4 yr         0.93    0.64 to 1.36
                             123         Cases: 869                                                                            history, number of
                Ness, 2011                                   OCs for noncontraception 5 to 9 yr        1.60    0.58 to 4.47                                                    4
                                         Controls: 1779                                                                           pregnancies,
                                                             OCs for noncontraception ~10 yr           0.53    0.11 to 2.62
                                                                                                                                    infertility
                                                             OCs for both ::;;4 yr                     1.22    0.87to1.73
                                                             OCs for both 5 to 9 yr                    0.72    0.46 to 1.12
                                                             OCs for both ~10 vr                       0.40    0.25 to 0.67
                                                             1 to 12 months                            0.86    0.61 to 1.20
                                    60   Cases: 330          13 to 24 months                           0.84    0.47 to 1.51
                Wilailak, 201i                                                                                                                                                 1
                                         Controls: 982       25 to 26 months                           0.56    0.28to1.14
                                                             >36 months                                0.43    0.29 to 0.64
                                                                                                  Cohort
                                                             Past <1 yr                              1.21     0.8 to 1.86
                                         Exposed: 592,056                                                                     Age, parity,
                Hankinson,                                   Past 1 to <3 yr                         1.09     0.69 to 1.71
                     98                  person-yr                                                                            smoking, BTL, age
                1995                                         Past 3 to <5 yr                         0.8      0.42 to 1.52                                                 7
                                         Unexposed:                                                                           at menopause,
                                                             Past ~5 yr                              0.65     0.4 to 1.05
                                         599,301 person-yr                                                                    Quetelet's Index
                                                             Current                                 1.92     0.69 to 5.33
                                   157                       Up to 48 total mo of use                1.0      0.4 to 2.5
                Vessey, 1995             Exposed: 3520
                                                             49 to 96 total mo of use                0.3      0.0 to 1.1      Age, parity                                  7
                                         Unexposed: 5881
                                                             97+ mo of use                           0.3      0.1to0.7
0
0
OJ
0
v.)
v.)                                                                                                60
....lo.

OJ

  Exhibit 163                                                                                                                                                                      JA-0002860
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 101 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                     Special         Meta-
                   Studl              Sample Size                     Comparisons               ORb       95% Clb           Covariates             Population       Analysis
                                                                                                                                                 (if Applicable)     Codec
                                                                                    Cohort (continued)
                                                        <1 yr                                   0.9       0.5 to 1.4
                                                        1 to 4 yr                               0.5       0.4 to 0.8
                                                        5 to 9 yr                               0.6       0.4 to 0.9       Age, parity,
                                    Exposed: 75,533
                                                        10 to 14 yr                             0.5       0.3to1.0      menopausal status,                             1
                                    Unexposed: 28,019
                                                        15+ yr                                  0.1      0.01 to 0.6      HRT, country
                                                        Current                                 0.5       0.2 to 0.9
                                                        Former                                  0.6       0.5 to 0.8
                                                        Current                                 0.5       0.2 to 1.6
                                                        Former                                  0.7       0.5to1.2
                                                        <1 year                                 0.2       0.1 to 1.0
                             110                                                                                           Age, parity,            Borderline
               Kumle, 2004                              1 to 4 yr                               0.6       0.3to1.2
                                                                                                                        menopausal status,       ovarian cancer        1
                                                        5 to 9 yr                               0.7       0.4to 1.4
                                                                                                                          HRT, country                 only
                                                        10 to 14 yr                             0.9       0.4 to 2.0
                                                        15+ yr                                  NR           NR
                                                        pervear                                0.96      0.91 to 1.0
                                                        <1 yr                                   1.2       0.7 to 2.0
                                                        1 to 4 yr                               0.5       0.3 to 0.8
                                                        5 to 9 yr                               0.6       0.3 to 0.9       Age, parity,
                                                                                                                                                 Invasive ovarian
                                                        10 to 14 yr                             0.3       0.1 to 0.8    menopausal status,                             1
                                                                                                                                                   cancer only
                                                        15+ yr                                  0.1      0.02 to 0.8      HRT, country
                                                        Current                                 0.4       0.2 to 1.0
                                                        Former                                  0.6       0.4 to 0.8
                                    Exposed: 301,000                                                                       Age, parity, BMI,
                              156   person-years        up to 48 mo                             1.0       0.6to1.7          smoking, social
               Vessey, 2006
                                    Unexposed:          48 to 96 mo                             0.3       0.1 to 0.6    class, height, age at    Ovarian cancer        2
                                    187,000 person-     97+ mo                                  0.3       0.1 to 0.5    first term pregnancy,
                                    years                                                                                aqe at first marriaqe
                                    Exposed: 744,000
                                    person-years of
                                                                                                                             Age, parity,
               Hannaford,           observation         <48 mo                                  0.58     0.33 to 1.04                               General
                    37                                                                                                     smoking, social
               2007                 Unexposed:          49 to 96 mo                             0.57     0.30 to 1.07                              practitioner        1
                                                                                                                         status, ever use of
                                    339,000 person-     >96 mo                                  0.38     0.16 to 0.88                                dataset
                                                                                                                                 HRT
                                    years of
                                    observation



0
0
OJ
0
v)
v)                                                                                         61
--l,.

c.o
 Exhibit 163                                                                                                                                                               JA-0002861
                                  Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 102 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                        Special         Meta-
                   Studl            Sample Size                        Comparisons               ORb       95% Clb               Covariates           Population       Analysis
                                                                                                                                                    (if Applicable)     Codec
                                                                                     Cohort (continued)
                                                                                                                                Age, parity,
                                                      ::;;3 yr                                   1.12     0.90 to 1.38
                                                                                                                             menopausal status,
               Tworo~er,          Exposed: 41,125     >3 to 5 yr                                 0.97     0.66to1.41
               200?1 ~                                                                                                          BMI, age at                               1
                                  Unexposed: 54,027   >5 to 10 yr                                0.75     0.54 to 1.05
                                                                                                                             menarche, smoking,
                                                      >10 yr                                     0.62     0.37 to 1.04
                                                                                                                              BTL and HRT use
                                                      >Oto    1 yr                               1.04     0.66   to   1.62
                                                                                                                                                      BRCA1 and
                                  Exposed: 2415       >1 to   3 yr                               0.60     0.35   to   1.03
                                                                                                                                    Parity          BRCA2 mutation        4
                                  Unexposed: 766      >3 to   5 yr                               0.41     0.19   to   0.87
                                                                                                                                                        carriers
                                                      >5 vr                                      0.35     0.22   to   0.55
               Antoniou,                              >Oto    1 year                             1.03     0.64   to   1.65
                    81
               2009               Exposed: 1655       >1 to   3 yr                               0.51     0.28   to   0.93                          BRCA 1 mutation
                                                                                                                                    Parity                                4
                                  Unexposed: 512      >3 to   5 yr                               0.40     0.17   to   0.91                             carriers
                                                      >5 vr                                      0.34     0.21   to   0.54
                                  Exposed: 760        >Oto 5 yr                                  1.33     0.52 to 3.39                              BRCA2 mutation
                                                                                                                                    Parity                                4
                                  Unexposed:245       >5 yr                                      0.59     0.16 to 2.24                                 carriers
                                                                                                                                 Age, parity,
                                                                                                                             menopausal status,
                                                                                                                             BMI, family history,     Only reporting
                                                                                                                              age at menarche,      for women using
               Dorjgochoo,
                    88            Exposed: 12,957     <2 yr                                      1.58     0.89 to 2.83            smoking,           OC as others in
               2009                                                                                                                                                       2
                                  Unexposed: 15,557   ~2 yr                                      0.65     0.29 to 1.44         breastfeeding ,       the cohort used
                                                                                                                             education, physical      other forms of
                                                                                                                                activity, other       contraception.
                                                                                                                                contraceptive
                                                                                                                                  methods
                                  Exposed: 352,695
               Rosenblatt,        person-years        1 to 11 mo                                 1.36     0.87to2.13         Age, parity, use of
                    138
               2009               Unexposed:          12 to 59 mo                                0.82     0.47 to 1.41           injectable                               1
                                  2,057,377 person-   60+ mo                                     1.44     0.87 to 2.39        contraceptives
                                  years
                                  Exposed: 8,668
                             85                       ::;;5 yr                                   0.92     0.61 to 1.38
               Braem, 2010        person-years
                                                      >5 yr                                      0.47     0.30 to 0.76           Age, parity                              2
                                  Unexposed: 25,916
                                                      per year                                   0.95     0.91 to 0.99
                                  person-years


0
0
OJ
0
v.)
v.)                                                                                         62
i'.)
0

 Exhibit 163                                                                                                                                                                  JA-0002862
                                      Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 103 of 173




               Table 6. Data for outcomes on duration of OC use (ovarian cancer incidence) (continued)
                                                                                                                                                                        Special          Meta-
                    Studl               Sample Size                      Comparisons                        ORb          95% Clb              Covariates              Population        Analysis
                                                                                                                                                                    (if Applicable)      Codec
                                                                                             Cohort (continued)
                                                                                                                                              Age, parity,
                                                                                                                                          menopausal status,
                                      Exposed: 67,870
                                                                                                                                            BMI, smoking,
                                      women OC             ::;;1 yr                                         1.00        Reference
                                                                                                                                           center, unilateral
                                151   exposed              2 to 4 yr                                        1.05       0.79to1.38
               Tsilidis, 2011                                                                                                               oophorectomy,                                    3
                                      Unexposed:           5 to 9 yr                                        0.80       0.59 to 108
                                                                                                                                            hysterectomy,
                                      100,304 women        ~10 yr                                           0.55       0.41 to 0.75
                                                                                                                                             menopausal
                                      OC unexposed
                                                                                                                                           hormones, age at
                                                                                                                                               menarche
                                      Exposed: 192,836
                                      women OC
                                                                                                            0.82
                                      exposed              1 to 4 yr                                                   0.67 to 1.00          Age, parity,
                            62                                                                              0.78
               Yang, 201i             Unexposed:           5 to 9 yr                                                   0.62 to 0.98          menopausal                                      1
                                                                                                            0.56
                                      132,923 women        ~10 yr                                                      0.42 to 0.75        hormone therapy
                                      OC unexposed

                BMl = body mass index; BRCA = breast cancer genetic mutation; BSO = bilateral salpingo-oophorectomy; BTL = bilateral tubal ligation; CI = confidence interval;
                GCT = granulosa cell tumor; HRT = hormone replacement therapy; IUD= intrauterine device; mo= month/months; OC = oral contraceptive; OR= odds ratio; NR = not reported;
                yr= year/years
                astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
                11.Jnless otherwise presented, never use is the reference category with an OR=l .O.
                cMeta-analysis code: 1=Included in this meta-analysis; 2=Excluded due to less than three duration categories; 3=Excluded due to never use is not the reference group; 4=Excluded
                due to odds ratios only provided for subpopulations; 5=Excluded due to odds ratios only provided per year of OC use; 6= Excluded due to study is grouped with another included
                article also reporting duration data; ?=Excluded in main analyses of studies from 2000 forward, included in sensitivity analyses of studies from 1990 forward.




0
0
OJ
0
v.)
v.)                                                                                                    63
i'.)
--lo.



 Exhibit 163                                                                                                                                                                                       JA-0002863
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 104 of 173




         Table 7 and Figure 12 show the odds ratios for the meta-analysis of duration of QC use.
     These findings indicate a significant duration-response relationship between QC use and ovarian
     cancer incidence, with higher levels of protection afforded to women who use QCs for longer
     duration. Women using oral contraceptives for 10 or more years show a reduction in ovarian
     cancer incidence of more than 50 percent. There is no evidence of heterogeneity. The estimated
     value of llis 0.15.

     Table 7. Estimated odds ratios by duration of OC use (ovarian cancer incidence)
                       Duration Interval     Odds Ratio (95% Confidence Interval)         P-Value
                         1-12 months                   0.91 (0. 78 to 1.07)               0.2504
                        13-60 months                   0.77 (0.66 to 0.89)                0.0014
                        61-120 months                  0.65 (0.55 to 0.77)                <0.0001
                         >120 months                   0.43 (0.37 to 0.51)                <0.0001



     Figure 12. Impact of duration of OC use on ovarian cancer incidence

                 1.2




                   1


                         -
                 0.8
                                                  ~




           0
          :.p
           Ill

          ~ 0.6
          "'CJ
          "'CJ
          0


                 0.4




                 0.2




                  0
                              1 -12 Months   13-60 Months            61-120 Months     >120 Months
                                              Duration of Oral Contraceptive Use




                                                        64




                                                                                                       00803322
Exhibit 163                                                                                          JA-0002864
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 105 of 173




     Pooled Analyses
         Four pooled analyses 21 ,23 , 105 , 120 reported on duration of QC use but did not meet criteria for
     inclusion in the meta-analysis. The three largest of these studies reported a significantly lower
     . . dence of ovanan
     mc1               . cancer 10 c- 11
                                           owmg                 . of OC use. 2t.23
                                                . 1onger durat10n               ' ' 120 Th e one remammg
                                                                                                     . .
            105
     study examined only OC use of less than or greater than 1 year and did not identify a clear
     trend.

     Sensitivity Analyses
         We repeated our analyses excluding the 10 studies not conducted within the United States.
     The estimates for the remaining 5 studies (3 case-control and 2 cohort) were 0.84 (95% CI, 0.67
     to 1.05) for <l year duration, 0.72 (CI, 0.59 to 0.89) for 1 to 5 years' duration, 0.64 (CI, 0.51 to
     0.81) for >5 to 10 years' duration, and 0.42 (CI, 0.32 to 0.56) for >10 years' duration.
         We also performed analyses for studies published from 1990 forward (18 studies, 13 case-
     control and 5 cohort). The estimates were 0.93 (95% CI, 0.81 to 1.06) for <l year duration, 0.81
     (CI, 0.72 to 0.91) for 1 to 5 years' duration, 0.65 (CI, 0.56 to 0.75) for >5 to 10 years' duration,
     and 0.44 (CI, 0.39 to 0.51) for >10 years' duration.
         We also conducted a sensitivity analysis in which we included the large pooled analysis by
     Beral et al. 21 but excluded the individual studies from our meta-analysis that had been included
     in their pooled analysis. 87' 110 ' 118 ' 125 ' 133 ' 141 The estimates were 0.91 (95% CI, 0.75 to 1.09) for <l
     year duration, 0.75 (CI, 0.63 to 0.91) for 1 to 5 years' duration, 0.57 (CI, 0.47 to 0.69) for >5 to
     10 years' duration, and 0.43 (CI, 0.35 to 0.51) for> 10 years' duration, similar to the estimates
     from the main meta-analysis.

     Age at First OC Use
           . stu d.1es 110' 114' 121 ' 125 ' 141 ' 144' 145 were me
          S1x                                                    ·  lu ded mt
                                                                           · h e pnmary
                                                                                   ·    meta-ana1ys1s
                                                                                                   · exammmg
                                                                                                         · · t he
     effect of age at first OC use on ovarian cancer incidence. Of these, 5 were case-control studies
     representing 3,552 cases and 4,713 controls, and 1 was a cohort study representing 103,552
     participants. Four studies were rated good quality and 2 fair quality. Abstracted data not included
     in this analysis are specified (with rationale) in Table 8. Reasons for exclusion from this analysis
     included the following: reporting data for fewer than three age categories; providing odds ratios
                                                                   100
     for subpopulations only; or in one instance, not meeting publication date criteria to include in
     the primary meta-analysis.




                                                            65




                                                                                                                  00803323
Exhibit 163                                                                                                    JA-0002865
                                     Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 106 of 173




               Table 8. Data for outcomes on age at first OC use (ovarian cancer incidence)
                                                                                                                                     Special         Meta-
                                                            Comparisons      ORb              95% Clb
                     Studl                   Sample Size                                                      Covariates           Population       Analysis
                                                           (Age in Years)                                                                            Codec
                                                                                                                                 (if Applicable)
                                                                             Case-Control
                                                                <21           0.8            0.4 to 1.8
                               100     Cases: 194                                                             Age, parity,
                Harlow, 1991                                  22 to 26        0.7            0.3to1.4                                                  4
                                       Controls: 193                                                            religion
                                                                >26           0.8            0.4to 1.4
                                                                <20           0.6            0.4 to 0.8
                                                              20 to 24        0.6            0.5 to 0.8    Age, race, family
                                       Cases: 767
                                                              25 to 29        0.5            0.4 to 0.8    history, number of                          1
                                       Controls: 1367
                                                              30 to 34        0.8            0.5to1.2         pregnancies
                                                                ~35           0.8            0.4 to 1.3
                                                                <20           1.0            Reference
                                                              20 to 24        1.0            0. 7 to 1.4   Age, race, family
                             125       Cases: 616                                                                                Invasive ovarian
                Ness, 2000                                    25 to 29        0.8            0.5 to 1.2    history, number of                          1
                                       Controls: 1367                                                                            cancer (N=616)
                                                              30 to 34        0.9            0.5to1.7         pregnancies
                                                                ~35           0.8            0.4to1.7
                                                                <20           1.0            Reference
                                                              20 to 24        1.0            0.6 to 1.6    Age, race, family       Borderline
                                       Cases:
                                       -  - 151               25 to 29        0.5            0.2 to 1.2    history, number of    ovarian cancer        1
                                       Controls: 1367
                                                              30 to 34        0.8            0.3 to 2.5       pregnancies           (N=151)
                                                                ~35           0.7            0.2 to 2.7
                                                                <20           1.0            Reference       Duration of use,
                                                              20 to 24       1.34            0.82 to 2.2    overall and before
                                145    Cases: 794
                Siskind, 2000                                 25 to 29       1.82            0.96 to 3.4     1st pregnancy,                            1
                                       Controls: 853
                                                              30 to 34        2.1            0.98 to 4.6     age at first use,
                                                                >35          1.66            0.68 to 4.0   time since last use
                                                              14 to 16       0.31           0.12 to 0.80       Parity, family
                                                              17 to 19       0.18           0.08 to 0.40         history,
                              141      Cases: 282
                Royar, 2001                                   20 to 24       0.20           0.10 to 0.45      breastfeeding,                           1
                                       Controls: 533
                                                              25 to 29       0.40           0.21 to 0.76      tubal ligation,
                                                                30+          0.69           0.42 to 1.11      hysterectomy




0
0
OJ
0
v.)
v.)                                                                                66
i'.)
~


 Exhibit 163                                                                                                                                                   JA-0002866
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 107 of 173




               Table 8. Data for outcomes on age at first OC use (ovarian cancer incidence) (continued)
                                                                                                                                             Special        Meta-
                                                          Comparisons           ORb
                    Studl                  Sample Size                                         95% Clb              Covariates             Population      Analysis
                                                         (Age in Years)
                                                                                                                                         (if Aoolicable)    Codec
                                                                          Case-Control (continued)
                                                                                                                                         Compared never
                                                                                                                age, parity, family
                                     Cases: 405               <20               0.42         0.23 to 0.75                                    users to
                                                                                                                  history, tubal                             2, 3
                                     Controls: 592            >20               0.51         0.32 to 0.79                                androgenic only
                                                                                                                     ligation
                                                                                                                                            OC users
                                                                                                                                         Compared never
                                     Cases: 381               <20               0.54         0.34 to 0.85       Age, parity, family          users to
                             91                                                                                                                              2, 3
               Greer, 2005           Controls: 761            ~20               0.63         0.47 to 0.85         history, BTL            nonandrogenic
                                                                                                                                          onlv OC users
                                                                                                                                         Compared never
                                                                                                                Age, parity, family        users to both
                                     Cases: 364               <20               0.26         0.13 to 0.52
                                                                                                                  history, tubal         androgenic and      2, 3
                                     Controls: 529            20+               0.28         0.13 to 0.58
                                                                                                                     ligation             nonandrogenic
                                                                                                                                            OC users
                                                                                                                     Age, race,
                                                                                                                    menopausal
                                                                                                                   status, family
                                                                                                                history, education,
                                                                                                                   tubal ligation,
                                                              <20               0.39         0.27   to   0.56
                                                                                                                 gravidity, age at
                             114     Cases: 813             20 to 24            0.59         0.44   to   0.79
               Lurie, 2008                                                                                        last pregnancy,                             1
                                     Controls: 993          25 to 29            0.54         0.37   to   0.79
                                                                                                                       type of
                                                              ~30               0.58         0.39   to   0.86
                                                                                                                 menopause, age
                                                                                                                  at menopause,
                                                                                                                        use of
                                                                                                                    menopausal
                                                                                                                     hormones
                                                                                                                Age, race, parity,
                                                              <20               0.5           0.3   to   0.8         BMI, family
                                     Cases: 314
                                                            20 to 24            0.5           0.3   to   0.9        history, tubal       Premenopausal
                                     Controls: 360                                                                                                            1
                                                            25 to 29            0.4           0.2   to   1.0    ligation, infertility,      women
                                                              >29               1.2           0.3   to   4.4         age at last
               Moorman,                                                                                              pregnancy
                    121
               2008                                                                                             Age, race, parity,
                                                              <20               0.9           0.5to1.3               BMI, family
                                     Cases: 582             20 to 24            0.8           0.6to1.1              history, tubal       Postmenopausal
                                                                                                                                                              1
                                     Controls: 607          25 to 29            0.8           0.5to1.2          ligation, infertility,       women
                                                              >29               0.9           0.6 to 1.4             age at last
                                                                                                                     pregnancy
0
0
OJ
0
v.)
v.)                                                                                    67
i'.)
0,


 Exhibit 163                                                                                                                                                          JA-0002867
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 108 of 173




               Table 8. Data for outcomes on age at first OC use (ovarian cancer incidence) (continued)
                                                                                                                                  Special         Meta-
                                                              Comparisons     ORb
                    Studl                 Sample Size                                      95% Clb          Covariates          Population       Analysis
                                                             (Age in Years)
                                                                                                                              (if Aoolicable)     Codec
                                                                                Cohort
                                                                                                            Age, parity,
                                                                  <20         0.5          0.3 to 1.0
                                     Exposed: 75,533                                                        menopausal        Invasive ovarian
                                                                20 to 24      0.4          0.3 to 0.7                                               1
                                     Unexposed: 28,019                                                      status, HRT,        Cancer only
                                                                  25+         0.7          0.5 to 1.1
                                                                                                               country
                                                                                                            Age, parity,
                                                                  <20         0.4          0.2 to 0.9                           Borderline
                                     Exposed: 75,533                                                        menopausal                              1
                             110                                20 to 24      0.8          0.5 to 1.4                         ovarian cancer
               Kumle, 2004           Unexposed: 28,019                                                      status, HRT,
                                                                  25+         0.8          0.4 to 1.4                               only
                                                                                                               country
                                                                                                            Age, parity,
                                     Exposed: 75,533 women
                                                                 <20 yr       0.6          0.3 to 1.0       menopausal
                                     exposed
                                                                20 to 24      0.7          0.5 to 1.1       status, HRT,                            1
                                     Unexposed: 28,019
                                                                  25+         1.0          0.6 to 1.5     country, duration
                                     women unexposed
                                                                                                                of use
                                                                 Never        1.72        1.05 to 2.82
                                                                                                                                BRCA1 and
                                     Exposed: 2415                <20         1.00         Reference
                                                                                                               Parity         BRCA2 mutation        2
                                     Unexposed: 766             20 to 24      0.88        0.51 to 1.50
                                                                                                                                 carriers
                                                                  ~25         0.96        0.53to1.73
                                                                 Never        1.75        1.05 to 2.90
                                81
               Antoniou, 2009        Exposed: 1655                <20         1.00         Reference                          BRCA1 mutation
                                                                                                               Parity                               2
                                     Unexposed: 512             20 to 24      0.86        0.49 to 1.50                           carriers
                                                                  ~25         0.87        0.46 to 1.65
                                                                 Never        1.25        0.31 to 5.08
                                     Exposed: 760                                                                             BRCA2 mutation
                                                                  <20         1.00         Reference           Parity                               2
                                     Unexposed: 245                                                                              carriers
                                                                  >20         1.46        0.35 to 6.01




0
0
OJ
0
v.)
v.)                                                                                  68
i'.)
0)


 Exhibit 163                                                                                                                                                JA-0002868
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 109 of 173




                 Table 8. Data for outcomes on age at first OC use (ovarian cancer incidence) (continued)
                                                                                                                                                                  Special             Meta-
                                                                         Comparisons              ORb
                       Studl                   Sample Size                                                          95% Clb              Covariates             Population           Analysis
                                                                        (Age in Years)
                                                                                                                                                              (if Aoolicable)         Codec
                                                                                              Cohort (continued)
                                                                                                                                           Parity,
                                                                                                                                         menopausal
                                                                                                                                     status, BMI, family
                                                                                                                                       history, age at
                                                                                                                                         menarche,
                 Dorjgochoo,            Exposed: 12,957                       <29                 1.26            0.64 to 2.46            smoking,
                      88                                                                                                                                                                 3
                 2009                   Unexposed: 15,557                     ~29                 0.99            0.51 to 1.92         breastfeeding ,
                                                                                                                                         education,
                                                                                                                                      physical activity,
                                                                                                                                            other
                                                                                                                                        contraceptive
                                                                                                                                          methods
                                          Exposed: 8,668 person-
                                                                                                                                              Age, parity,
                               85         years                                   ::;;40               1.0           Reference
                  Braem, 2010                                                                                                              duration of OC                                 3
                                          Unexposed: 25,916                       >40                  1.28         0.68 to 2.43
                                                                                                                                                  use
                                          person-years
                BMI = body mass index; BRCA = breast cancer genetic mutation; BSO = bilateral salpingo-oophorectomy; BTL = bilateral tubal ligation; CI = confidence interval;
                GCT = granulosa cell tumor; HRT = hormone replacement therapy; IUD= intrauterine device; NR=not reported; OC = oral contraceptive; OR= odds ratio
                astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
                11.Jnless otherwise presented, never use is the reference category with an OR=l .O.
                cMeta-analysis code: 1=Included in this meta-analysis; 2=Excluded due to odds ratios provided for subpopulations only; 3=Excluded due to less than three age-at-first-use
                categories provided; 4=Excluded in main analyses of studies from 2000 forward, included in sensitivity analyses of studies from 1990 forward.




0
0
OJ
0
v.)
v.)                                                                                                      69
i'.)
-.....J

  Exhibit 163                                                                                                                                                                                   JA-0002869
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 110 of 173




          Table 9 lists the odds ratios for the meta-analysis of age at first OC use. The results show a
     relatively strong relationship between age at first use and ovarian cancer incidence, although
     confidence intervals overlap. If there is an effect of earlier age, it is unclear whether the relation
     is linear or whether there is a threshold effect (i.e., less protection in women who start OCs after
     age 30). Unfortunately, most studies did not control for duration of use. This potential
     confounder lessens the strength of this finding.

     Table 9. Estimated odds ratios by age at first OC use (ovarian cancer incidence)
                 Age Interval                Odds Ratio (95% Confidence Interval)                  P-Value
                  < 20 years                            0.63 (0.45 to 0.89)                         0.018
                 20-24 years                            0.71 (0.51 to 0.99)                         0.044
                 25-30 years                            0.67 (0.46 to 0.99)                         0.045
                  > 30 years                            0.89 (0.60 to 1.32)                         0.489


     Pooled Analyses
        Two pooled analyses 21 •23 reported on age at first use, with none reporting significant trends.
     One study21 reported that there was no heterogeneity in the decline in relative risk of ovarian
     cancer with increasing duration of use across women who started OCs at different ages.

     Sensitivity Analyses
         We repeated our analyses excluding the three studies not conducted within the United States.
     The estimates for the remaining three studies, all case-control, were 0.70 (95% CI, 0.27 to 1.75)
     for age <20 years, 0.86 (CI, 0.34 to 2.20) for age 20 to <24 years, 0.83 (CI, 0.30 to 2.27) for age
     24 to <30 years, and 0.93 (CI, 0.33 to 1.67) for age _:::30 years.
         We also performed analyses for studies published from 1990 forward (7 studies, 6 case-
     control and 1 cohort). The estimates were 0.64 (95% CI, 0.47 to 0.87) for age <20 years, 0.71
     (CI, 0.53 to 0.96) for age 20 to <24 years, 0.67 (CI, 0.48 to 0.95) for age 24 to <30 years, and
     0.89 (CI, 0.63 to 1.28) for age _:::30 years.

     Time Since Last OC Use
           . ht stu d.1es37' 110' 114' 121 ' 125 ' 133 ' 134' 141 ' 154 were me
         E1g                                                                 ·  lu ded mt
                                                                                       · h.1s meta-analys1s
                                                                                                         · exammmg
                                                                                                               · · the
     effect of time since last OC use on ovarian cancer incidence. Of these, 5 were case-control
     studies representing 3606 cases and 7759 controls, and 3 were cohort studies representing
     198,704 participants and 1,083,000 person years. Four studies were rated good quality and 4 fair
     quality. Abstracted data not included in this analysis are specified (with rationale) in Table 10.
     Reasons for exclusion from this analysis included the following: using fewer than three
     comparisons; presenting categories that were not amenable to a combined analysis; and reporting
     time since last use data from the same study as another article already included in the analysis
     (Table 10). None of the three pooled analyses reporting on time since last use met inclusion
     criteria for meta-analysis.




                                                            70




                                                                                                                  00803328
Exhibit 163                                                                                                     JA-0002870
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 111 of 173




                 Table 10. Data for outcomes on time since last OC use (ovarian cancer incidence)
                                                                                                                                               Special          Meta-
                                                         Comparisons         ORb          95% Clb
                   Studl               Sample Size                                                                 Covariates                Population        Analysis
                                                     (Time Since Last Use)                                                                                      Codec
                                                                                                                                           (if Applicable)
                                                                                Case-Control
                                                          1 to 24 mo         0.69        0.26   to   1.82
                                   Cases: 393            25 to 84 mo         0.76        0.35   to   1.68     Age, center, years of
                                                                                                                                              High dose           4
                                   Controls: 2561        85 to 132 mo        0.88        0.38   to   2.05      disease, live births
               Rosenblatt,                                 133+ mo           0.44        0.22   to   0.99
                    40
               199i                                        1 to 24 mo        1.45        0.74 to 2.85
                                                          25 to 84 mo        0.70        0.28to1.75           Age, center, years of
                                                                                                                                              Low dose            4
                                                         85 to 132 mo        0.77        0.27 to 2.21          disease, live births
                                                            133+ mo          0.48        0.16to1.39
                                                                                                              Parity, hysterectomy,
                                                            <15 yr           0.4          0.2 to 0.8          BTL, removal of one
               Rosenberg,          Cases: 441
                    137                                   15 to 19 yr        0.5          0.3to1.0             ovary, race, family                                4
               1994                Controls: 2065
                                                             20+             0.8          0.4 to 1.5        history, age, geographic
                                                                                                                       area
                                                              ::;;5 yr       0.6          0.2 to 2.2
                                   Cases: 322                                                                Age, parity, duration of     Mucinous ovarian
                                                           6 to 15 yr        0.6          0.2to1.7                                                                4
                                   Controls: 426                                                                       use                     cases
               Wittenberg,                                   15+ yr          1.2          0.5 to 2.9
                    161
               1999                                           ::;;5 yr       0.6          0.3to1.3
                                   Cases: 322                                                                Age, parity, duration of       Nonmucinous
                                                           6 to 15 yr        0.6          0.3to1.0                                                                4
                                   Controls: 426                                                                       use                     cases
                                                             15+ vr          1.1          0. 7 to 1. 7
                                                                                                            Age, childbirth, additional
                                                           0 to 10 yr          1          Reference              births, first birth,
               Huusom,             Cases: 202                                                                                             Borderline ovarian
                    107                                   11 to 20 yr        1.59        0.80 to 3.16       breastfeeding, duration of                            2
               2000                Controls: 1564                                                                                              cancer
                                                            21+ yr           1.63        0.72 to 3.70        use, smoking, intake of
                                                                                                                        milk
                                                            <10 yr           0.4          0.3 to 0.6             Age, number of
                             125   Cases: 767             10 to 19 yr        0.6          0.4 to 0.8           pregnancies, family
               Ness, 2000                                                                                                                                         1
                                   Controls: 1367         20 to 29 yr        0.6          0.5 to 0.8        history of ovarian cancer,
                                                             ~30 vr           1.0         0.6 to 1.4                    race
                                                        Never or < 3 mo        1         Reference
               Sanderson,          Cases: 276
                    143                                      <10 yr           0.7         0.4 to 1.3               Age, parity                                    2
               2000                Controls: 388
                                                             10+ yr           0.8         0.5to1.2
                                                              <1 yr          0.78        0.30 to 2.0
                                                           1 to <5 yr        1.46        0.58 to 3.6
               Siskind,            Cases: 794
                    145                                   5to<10yr           1.02        0.48 to 2.2                                                              3
               2000                Controls: 853
                                                         10 to <20 yr         1.4        0.91 to 2.1
                                                            20+ yr             1         Reference
0
0
OJ
0
v.)
v.)                                                                                 71
i'.)
c.o
 Exhibit 163                                                                                                                                                          JA-0002871
                                     Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 112 of 173




              Table 10. Data for outcomes on time since last OC use (ovarian cancer incidence) (continued)
                                                                                                                                                     Special          Meta-
                                                          Comparisons            ORb           95% Clb
                  Studl                 Sample Size                                                                    Covariates                  Population        Analysis
                                                      (Time Since Last Use)                                                                                           Codec
                                                                                                                                                 (if Applicable)
                                                                              Case-Control (continued)
              Chiaffarino,          Cases: 1031              <10 yr              0.5          0.2 to 1.1            Age, parity, family
                   87                                                                                                                                                   2
              2001                  Controls: 2411           >10 yr              0.5          0.2 to 1.2        history, center, education
                                                               0 yr              0.17        0.07 to 0.43
                                                            1 to 5 yr            0.34        0.16to0.73           Parity, breastfeeding,
                              141   Cases: 282
              Royar, 2001                                  6 to 10 yr            0.49        0.23 to 1.03          family history, BTL,                                 1
                                    Controls: 533
                                                           11 to 20 yr           0.45        0.28 to 0.73             hysterectomy
                                                             21+ yr              0.52        0.28 to 0.96
                                                             <15 yr              0.45        0.27   to   0.73
              Riman,                Cases: 655             15 to 19 yr           0.66        0.43   to   0.99   Age, parity, BMI, age of
                   34                                                                                                                                                   1
              2ooi                  Controls: 3899         20 to 24 yr           0.71        0.51   to   0.99         menopause
                                                             25+ yr               0.9        0.27   to   1.22
                                                                                                                  Age, parity, BMI, age of
                                                                                                                 menopause, ever use of
                                                             <15 yr              1.16        0.45   to   3.02
                                                                                                                   unopposed estrogen,
              Riman,                Cases: 193             15 to 19 yr           1.67        0.74   to   3.80                                   Borderline ovarian
                   133                                                                                              estrogens with cyclic                               1
              2001                  Controls: 3899         20 to 24 yr           0.92        0.43   to   1.94                                        cancer
                                                                                                                   progestins, estrogens
                                                             25+ yr              1.14        0.62   to   2.10
                                                                                                                      with continuous
                                                                                                                          proqestins
                                                                                                                Formulation potency and
                                                              ::;5 yr                                               duration of use, age,
                                                            6 to 9 yr            0.19        0.12   to   0.30   race, menopausal status,
                                                           10 to 19 yr           0.33        0.16   to   0.67   family history, education,
                             114    Cases: 813
              Lurie, 2008                                  20 to 29 yr           0.47        0.33   to   0.68     tubal ligation, gravidity,                            1
                                    Controls: 993
                                                             30+yr               0.64        0.48   to   0.86      age at last pregnancy,
                                                                                 0.72        0.49   to   1.06    type of menopause, age
                                                                                                                   at menopause, use of
                                                                                                                  menopausal hormones
                                                             <5 yr               0.3          0.2   to   0.6      Age, race, parity, BMI,
              Moorman,              Cases: 314             5+to<10yr             0.4          0.2   to   0.9       family history, tubal         Premenopausal
                   121                                                                                                                                                  1
              2008                  Controls: 360          10 to 20 yr           0.6          0.3   to   1.0    ligation, infertility, age at     women only
                                                             >20 yr              0.8          0.5   to   1.4          last pregnancy




0
0
OJ
0
v)
v)                                                                                      72
v)
0

Exhibit 163                                                                                                                                                                 JA-0002872
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 113 of 173




               Table 10. Data for outcomes on time since last OC use (ovarian cancer incidence) (continued)
                                                                                                                                                 Special          Meta-
                                                            Comparisons         ORb              95% Clb
                  Studl                Sample Size                                                                    Covariates               Population        Analysis
                                                        (Time Since Last Use)                                                                                     Codec
                                                                                                                                             (if Applicable)
                                                                                       Cohort
                                                               Current          1.86            0.67 to 5.19
                                   Exposed: 592,056                                                             Age, parity, BTL, age at
                                                                  <5 yr         0.86            0.48 to 1.56
               Hankinson,          person-years                                                                    menarche, age at
                    98                                        5to<10yr          0.77            0.48 to 1.26                                                     5
               1995                Unexposed: 599,301                                                            menopause, smoking,
                                                             10 to <15 yr       1.01            0.66 to 1.54
                                   person-years                                                                    Quetelet's index
                                                                 15+ vr         1.11            0.68 to 1.81
                                                               ::;;48 mo         0.1              0 to 0.5
               VesseJ,             Exposed: 3520
                    1                                        49 to 96 mo         0.3              0 to 1.1            Age, parity                                4
               1995                Unexposed: 5881
                                                               97+ mo            0.8             0.4 to 1. 7
                                                               0 to 9 yr         0.5             0.3 to .08
                                   Exposed: 75,533            10 to 14 yr        0.5             0.2 to 0.9     Age, parity, use of HRT,    Invasive ovarian
                                                                                                                                                                 1
                                   Unexposed: 28,019          15 to 19 yr       0.6              0.3 to 1.0      menopause, country              cancer
                                                                   20+          0.6              0.3 to 1.0
                                                              0 to 9 yr         0.5             0.3 to 0.7
               Kumle, 2004
                             110                             10 to 14 yr        0.7             0.4to1.1
                                                                                                                                           All ovarian cancers   1
                                                             15 to 19 yr        0.6             0.45 to 0.9
                                                                 20+            0.5              0.3 to 0.9
                                                              0 to 9 yr          0.4             0.2 to 0.9
                                                             10 to 14 yr         1.1             0.6 to 2.1                                Borderline ovarian
                                                                                                                                                                 1
                                                             15 to 19 yr         0.6             0.3to1.3                                       cancer
                                                                 20+             0.4             0.2 to 1.0
                                                         Current and <60 mo      0.5            0.24 to 1.01
                                   Exposed: 744,000
                                                            61 to 120 mo        0.42            0.18 to 0.97
               Hannaford,          person-years                                                                  Age, parity, smoking,
                    37                                     121 to 180 mo        0.28            0.11 to 0. 71                                 Main dataset       1
               2007                Unexposed: 339,000                                                            social class, HRT use
                                                           181 to 240 mo        0.79            0.38 to 1.67
                                   person-years
                                                              241+ mo           0.61            0.24 to 1.52




0
0
OJ
0
v)
v)                                                                                      73
v)
--l,.




 Exhibit 163                                                                                                                                                          JA-0002873
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 114 of 173




               Table 10. Data for outcomes on time since last OC use (ovarian cancer incidence) (continued)
                                                                                                                                                                     Special            Meta-
                                                                  Comparisons                 ORb             95% Clb
                   Studl               Sample Size                                                                                     Covariates                  Population          Analysis
                                                              (Time Since Last Use)                                                                                                     Codec
                                                                                                                                                                 (if Applicable)
                                                                                             Cohort (continued)
                                                                  Current to <5 yr            1.05           0.60   to   1.83
                                                                   >5 yr to 10 yr             0.53           0.30   to   0.94    Age, BMI, parity, BTL,
                                  Exposed: 41, 125
               Tworo~er,                                            >10 to 15 yr               0.9           0.61   to   1.33       smoking, age at
               200?1 ~            women years
                                                                    >15 to 20 yr              0.88           0.61   to   1.27      menarche, age at                                   1
                                  Unexposed: 54,027
                                                                    >20 to 25 yr              1.15           0.81   to   1.63    menopause, duration of
                                  women years
                                                                    >25 to 30 yr              1.24           0.86   to   1.80          HRT use
                                                                      >30 yr                  1.13           0.71   to   1.80
                                                                                                                                      Age, parity, menopausal
                                                                                                                                          status, BMI, family
                                                                                                                  0.48 to 2.01       history, age at menarche,
               Dorjgochoo          Exposed: 12,957                 Last used <19 yr ago             0.99
                    88                                                                                            0.64 to 2.29       smoking, breastfeeding ,                               2
               2009                Unexposed: 15,557               Last used 19+ yr ago             1.21
                                                                                                                                         education, physical
                                                                                                                                             activity, other
                                                                                                                                       contraceptive methods
                 BMI = body mass index; BRCA = breast cancer genetic mutation; BSO = bilateral salpingo-oophorectomy; BTL = bilateral tubal ligation; CI = confidence interval;
                 HRT = hormone replacement therapy; IUD = intrauterine device; mo = month/months; NR=not reported; OC = oral contraceptive; OR = odds ratio; yr=year/years
                 astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
                 11.Jnless otherwise presented, never use is the reference category with an OR=l .O.
                 cMeta-analysis code: 1=Included in this meta-analysis; 2=Excluded due to study used fewer than three comparisons; 3=Excluded due to categories presented are not amenable to
                 combined analysis; 4=Excluded in main analyses of studies from 2000 forward, included in sensitivity analyses of studies from 1990 forward; 5=Excluded due to grouping with
                 another included article from the same study also reporting duration data.




0
0
OJ
0
v.)
v.)                                                                                                    74
v.)
i'.)


 Exhibit 163                                                                                                                                                                                    JA-0002874
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 115 of 173




          Table 11 lists the odds ratios for the meta-analysis of time since last QC use. The individual
     odds ratios show no evidence of a relationship as a function of time since last use. However, a
     test for differences between the four odds ratios gives a chi-square of 14.0 for 3 degrees of
     freedom, p=0.002.

     Table 11. Estimated odds ratios by time since last OC use (ovarian cancer incidence)
               Time Interval             Odds Ratio (95% Confidence Interval)            P-value
                0-10 years                         0.41 (0.34 to 0.50)                   <0.0001
                10-20 years                        0.65 (0.56 to 0.74)                   <0.0001
                20-30 years                        0.92 (0.76 to 1.12)                    0.3692
                 >30 years                         0.79 (0.58 to 1.12)                    0.1036


        We then ran an analysis using the midpoint of each interval as the estimate of the time for
     each subgroup. This resulted in the following model:

       OR= Exp(-8729 + 0.0217 * years)

          The slope was highly significant (p=0.0013). There is significant heterogeneity. The
     estimated value of 6 is 0.25. The t-value is 4.81 for 8 degrees of freedom, p<0.0013. The value of
     cr is larger than many of the standard errors for the observed odds ratios.

     Pooled Analyses
         Among the three pooled analyses that reported time since last QC use, one study21 reported
     that the relative risk of developing ovarian cancer was lower with more recent QC use. Women
     who had used QCs less than IO years previously had a 29-percent decline in the risk of ovarian
     cancer for every 5 years of QC use, while those who last used QCs 20 to 29 years previously had
     a IS-percent reduction in risk. A second study23 reported on the time since last QC use but found
     no clear trend in ovarian cancer risk, while a third study24 found that risk reduction associated
     with QC use persisted regardless of the time elapsed since last use.

     Sensitivity Analyses
         We repeated our analyses excluding the five studies without patients from the United States.
     The estimates for the remaining four studies, three case-control and one cohort, were 0.40 (95%
     CI, 0.26 to 0.62 for use within the last 10 years, 0.66 (CI, 0.45 to 0.98) for use 10 to 20 years
     ago, 0.95 (CI, 0.58 to 1.56) for use 20 to 30 years ago, and 0.83 (CI, 0.46 to 1.50) for use >30
     years ago.
         We also performed analyses for studies published from 1990 forward (12 studies, 8 case-
     control and 4 cohort). The estimates were 0.45 (95% CI, 0.37 to 0.56 for use within the last 10
     years, 0.70 (CI, 0.57 to 0.86) for use 10 to 20 years ago, 0.85 (CI, 0.63 to 1.14) for use 20 to 30
     years ago and 0.88 (CI, 0.61 to 1.27) for use >30 years ago.




                                                      75




                                                                                                      00803333
Exhibit 163                                                                                         JA-0002875
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 116 of 173




     QC Formulations

     Estrogen
          . stu d.1es29·113·125 ·130·141 ·143 were me
         S1x                                         ·           · h.1s meta-ana1ys1s
                                                         lu d ed mt                  · exammmg · · t he ef"'1ect of
     estrogen formulation on ovarian cancer incidence. All were case-control studies, and represented
     2607 cases and 6400 controls. Five studies were rated good quality and one fair quality. We
     excluded one cohort study from the analysis 110 that did not contain dose information (Table 12).
         The definition of a low-estrogen OC formulation varied among the six studies included in the
                  · wit
     meta-ana1ys1s,     · h t h ree stu d.1es usmg· a cutoff of 3 5 mcg estrad.101,29·113 ·130 two stu d.1es usmg  · a
     cutoff of 50 mcg estradiol, • and one study 141 reporting results for three separate doses of
                                      125 143

     estradiol (20-34 mcg, 35-44 mcg, and :::45 mcg).
                                                                    · separate1y 1or
          . stu d.1es 113·125 ·130·141 ·143 cal cul ate d o dd s rat10s
         F1ve                                                                     c-   h.1gh - d ose or 1ow- d ose
     estrogen-containing OCs compared with never use. Of these, two studies 125 •130 presented
     estrogen dose results stratified by low or high progestin dose.




                                                            76




                                                                                                                  00803334
Exhibit 163                                                                                                     JA-0002876
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 117 of 173




               Table 12. Data for outcomes on OC formulation (ovarian cancer incidence)
                                                                                                                                                           Special        Meta-
                 Studl              Sample Size                Comparisons                   ORb        95% Clb                 Covariates              Population       Analysis
                                                                                                                                                      (if Applicable)     Codec
                                                                                  Case-Control (continued)

              Rosenblatt,         Cases: 393       High dose                                 0.68      0.44 to 1.05      Age, parity, center, year
                   40                                                                                                                                                       4
              199i                Controls: 2561   Low dose                                  0.81     0.051 to 1.29            of diagnosis

                                                   Norethindrone                             0.5        0.3 to 0.9
                                                   Norethindrone acetate                     0.7        0.2 to 3.2
                                                   Norethynodrel                             0.9        0.2 to 3.2
                                                                                                                         Age, race, parity, family
                                                   Ethynodiol diacetate                      1.3        0.5 to 3.1
                                                                                                                          history, hysterectomy,        Formulation
              Rosenberg,          Cases: 441       Norgestrel                                0.2        0.1to0.7
                   137                                                                                                    removal of one ovary,        data refer only      4
              1994                Controls: 2065   Any mestranol                             0.6        0.4 to 1.0
                                                                                                                             geographic area,         to use for >3 yr
                                                   >50mcg mestranol                          0.9        0.5 to 1.8
                                                                                                                               interview year
                                                   50mcg mestranol                           0.7        0.2 to 2.0
                                                   Any ethinyl estradiol                     0.5        0.2 to 1.0
                                                   ~50mcg ethinyl estradiol                  0.4        0.1 to 1.0
                                                   Any oral OC (as reported above)           1.1        0.6 to 2.3
                                                   Substantial OC                            0.8        0.4 to 1.7
                                                   Any steroidal estrogen                    0.9        0.5to1.7
              Beard               Cases: 103
                   83                              Substantial steroidal estrogen            1.0        0.4 to 2.3                Crude                                     3
              2000                Controls: 103
                                                   Any nonsteroidal estrogen                 0.5        0.2 to 0.9
                                                   Any progesterone                          1.2        0.5 to 2.8
                                                   Substantial progesterone                  4.0        0.4 to 36
                                                   High estrogen/high progestin              0.5        0.3 to 0.7
                                  Cases: 767       High estrogen/low progestin               0.7        0.3 to 1.8       Age, race, family history,
                                                                                                                                                                           1, 2
                                  Controls: 1367   Low estrogen/high progestin               0.6        0.3 to 1.3        number of pregnancies
                                                   Low estrogen/low progestin                0.5        0.3 to 0.6
              Ness, 2000
                            125                                                                                                                          Invasive
                                  Cases:
                                  -  - 616         High estrogen/high progestin              1.0        Reference        Age, race, family history,
                                                                                                                                                      ovarian cancer       1, 2
                                  Controls: 1367   Low estrogen/low progestin                1.2        0.8 to 1.9        number of pregnancies
                                                                                                                                                          N=616
                                                                                                                                                        Borderline
                                  -  - 151
                                  Cases:           High estrogen/high progestin              1.0        Reference        Age, race, family history,
                                                                                                                                                      ovarian cancer       1, 2
                                  Controls: 1367   Low estrogen/low progestin                0.7        0.3 to 1.3        number of pregnancies
                                                                                                                                                          N=151
                                                   Low dose estrogen                         0.6        0.3   to   1.1
              Sanderson,          Cases: 276       Low and high dose estrogen                0.6        0.3   to   1.3
                   143                                                                                                          Age, parity                                 1
              2000                Controls: 388    High dose estrogen                        0.8        0.5   to   1.2
                                                   Unknown                                   0.9        0.6   to   1.5


0
0
OJ
0
v)
v)                                                                                          77
v)
0,


Exhibit 163                                                                                                                                                                       JA-0002877
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 118 of 173




               Table 12. Data for outcomes on OC formulation (ovarian cancer incidence) (continued)
                                                                                                                                                        Special        Meta-
                  Studl             Sample Size                Comparisons                     ORb        95% Clb              Covariates             Population      Analysis
                                                                                                                                                    (if Applicable)    Codec
                                                                                    Case-Control (continued)
                                                   Low dose ::;;35mcg ethinyl estradiol
                                                                                               0.20      0.08 to 0.47
                                                   High dose >35mcg ethinyl estradiol
                                                                                               0.65      0.40 to 1.05
                                                   Different formulations
                                                                                               0.46      0.30 to 0.71     Parity, family history,
               Royar,             Cases: 282       Avg daily ethinyl estradiol 20 to 34mcg
                    141                                                                        0.14      0.06 to 0.36      breastfeeding, tubal                          1
               2001               Controls: 533    Avg daily ethinyl estradiol 35 to 44
                                                                                               0.33      0.15to0.72      ligation, hysterectomy
                                                   mcg
                                                   Avg daily ethinyl estradiol 45 mcg or
                                                                                               0.57      0.36 to 0.90
                                                   more
                                                   No ethinyl estradiol or unknown ethinyl
                                                                                               0.55      0.34 to 0.89
                                                   estradiol
                                                   High estrogen                               1.0        Reference
                                  Cases: 390
                                                   Low estrogen                                .07        0.4 to 1.2                                                    1, 2
                                  Controls: 2865
                                                   Nonuser                                     2.0        1.5 to 2.7

                                                   High progesterone                           1.0        Reference      Age, parity, duration in
                                  Cases: 390
                                                   Low progesterone                            2.2        1.3 to 3.9     months of use, latency,                        1, 2
               Schild kraut,      Controls: 2865
                    29
                                                   Nonuser                                     3.0        1.9 to 4.7         estrogen level
               2002
                                                   High/high                                   1.0        Reference
                                                   High/low                                    0.0        0.0 to not
                                  Cases: 390                                                              estimable       Age, parity, latency,
                                                                                                                                                                        1, 2
                                  Controls: 2865   Low/high                                    2.1         1.2to3.7     duration of use in months
                                                   Low/low                                      1.6       0.9 to 3.0
                                                   Nonusers                                     2.9        1.8 to 4.5
                                                   High estrogen + high progestin              0.88      0.81 to 0.97        Age, race, parity,
                                                   High estrogen + low progestin               0.94       0.88 to 1.0   menopausal status, BMI,
                            130   Cases: 147
               Pike, 2004                          Low estrogen + high progestin               0.66      0.36 to 1.21      family history, SES,                         1, 2
                                  Controls: 304
                                                   Low estrogen + low progestin                0.95      0.92 to 0.99     education, age at last
                                                   Unknown                                     0.96      0.90 to 1.02    birth, gravidity, OC use




0
0
OJ
0
v.)
v.)                                                                                           78
v.)
0)


 Exhibit 163                                                                                                                                                                   JA-0002878
                                      Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 119 of 173




                Table 12. Data for outcomes on OC formulation (ovarian cancer incidence) (continued)
                                                                                                                                                                         Special          Meta-
                   Studl              Sample Size                   Comparisons                           ORb         95% Clb                 Covariates               Population        Analysis
                                                                                                                                                                     (if Applicable)      Codec
                                                                                          Case-Control (continued)
                                                                                                                                      Age, race, menopausal
                                                                                                                                      status, family history,
                                                       Any estrogen and high progestin              0.54           0.38 to 0.75
                                                                                                                                      center, education,
                                                       Any estrogen and low progestin               0.41           0.18 to 0.94
                                                                                                                                      gravidity, age at last
                                                       Various potency                              0.22           0.12 to 0.41
                                    Cases: 745                                                                                        pregnancy, tubal ligation,
                                                       Never use                                    1.00           Reference                                                             1, 2
                                    Controls: 943                                                                                     type of menopause, age
                                                       High estrogen and any progestin              0.61           0.42 to 0.89
                                                                                                                                      at menopause, use of
                                                       Low estrogen and any progestin               0.33           0.21 to 0.52
                                                                                                                                      menopausal hormones,
                                                       Various potency                              0.45           0.24 to 0.85
                                                                                                                                      duration of OC use, time
                               13
                Lurie, 200?1                                                                                                          since first OC use
                                                                                                                                      Age, race, menopausal
                                                                                                                                      status, center, education,
                                                       High estrogen and high progestin             0.62           0.43 to   0.92     gravidity, age at last
                                                       High estrogen and low progestin              0.55           0.19to    1.59     pregnancy, tubal ligation,
                                    Cases: 745
                                                       Low estrogen and high progestin              0.45           0.28 to   0.72     type of menopause, use                             1, 2
                                    Controls: 943
                                                       Low estrogen and low progestin               0.19           0.05 to   0.75     of menopausal
                                                       Various potencies                            0.26           0.15 to   0.44     hormones, duration of OC
                                                                                                                                      use, time since first OC
                                                                                                                                      use
                                                                                                     Cohort
                                    Exposed: 75,533    Progestin only                               0.3            0.1to1.1
                                                                                                                                      Age, parity, menopausal        Invasive
                                    Unexposed:         Combination OCs                              0.5            0.3 to 0.8                                                            3
                                                                                                                                      status, HRT, country           ovarian cancer
                                    28,019             Progestin only and combination OCs           0.7            0.4 to 1.0

                Kumle,                                 Progestin only                               0.5            0.2 to 1.2
                                                                                                                                      Age, parity, menopausal
                2004
                     110                               Combination OCs                              0.5            0.4 to 0.7                                         All                3
                                                                                                                                      status, HRT, country
                                                       Progestin only and combination OCs           0.7            0.5to1.0

                                                         Progestin only                                   1.0         0.4 to 2.9
                                                                                                                                          Age, parity, menopausal          Borderline
                                                         Combination OCs                                  0.6         0.3to1.0                                                            3
                                                                                                                                          status, HRT, country             ovarian cancer
                                                         Progestin only and combination OCs               0.9         0.5to1.5
                 Avg = average; BMI = body mass index; BRCA = breast cancer genetic mutation; BSO = bilateral salpingo-oophorectomy; BTL = bilateral tubal ligation; CI = confidence
                 interval; EE= ethinyl estradiol; HRT = hormone replacement therapy; IUD= intrauterine device; NR=not reported; OC = oral contraceptive; OR= odds ratio; yr=year/years
                 astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
                 11.Jnless otherwise presented, never use is the reference category with an OR=l .O.
                 cMeta-analysis code: 1=Included in estrogen formulation meta-analysis; 2=Included in progestin formulation meta-analysis; 3=Excluded due to study contained no dose
0                information; 4=Excluded in main analyses of studies from 2000 forward, included in sensitivity analyses of studies from 1990 forward.
0
OJ
0
v.)
v.)                                                                                                    79
v.)
-.....J

  Exhibit 163                                                                                                                                                                                   JA-0002879
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 120 of 173




         Figures 13 to 15 show the odds ratios for the meta-analyses on estrogen formulation.
     Compared with never use, the odds ratio for high-dose estrogen-containing OCs was 0.69 (95%
     CI, 0.53 to 0.91) (Figure 13). There was significant heterogeneity, with a Q-value of 16.44 for 4
     degrees of freedom, p=0.002. Compared with never use, the odds ratio for low-dose estrogen-
     containing OCs was 0.50 (CI, 0.30 to 0.85) (Figure 14). There was significant heterogeneity,
     with a Q-value of 51.243 for 3 degrees of freedom, p:S0.001. One additional study calculated a
     direct odds ratio comparing high-dose to low-dose estrogen OC use. 29 When this was combined
     with the other five included studies, the odds ratio was 1.25 (CI, 0.95 to 1.64) (Figure 15). These
     results do not suggest a relationship between estrogen dose and ovarian cancer incidence. There
     was some evidence of heterogeneity, with a Q-value of 10.611 for 5 degrees of freedom, p=0.06.

     Figure 13. Forest plot for high-dose estrogen (ovarian cancer incidence)



                   Study                                                          Odds ratio
                                                                                  and 95% Cl
                                              Odds Lower Upper
                                              ratio limit limit
                   Ness, 2000                  0.532     0.363    0.780
                   Sanderson, 2000             0.800     0.516    1.239
                   Royar, 200 1                0.570     0.361    0.901
                   Pike, 2004                  0.920     0.872    0.969
                   Lurie , 2007                0.612     0.428    0.875
                                               0.693     0.526    0.914
                                                                                      •
                                                                          0.10.2 0.5 1 2              5 10
                                                                           Favors High Dose   Favors No OC




     CI = confidence interval; OC = oral contraceptive




                                                             80




                                                                                                               00803338
Exhibit 163                                                                                                  JA-0002880
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 121 of 173




     Figure 14. Forest plot for low-dose estrogen (ovarian cancer incidence)


                   Study                                                             Odds ratio
                                              Odds Lower Upper                       and 95% Cl
                                              ratio limit limit
                   Ness, 2000                  0.517     0.378     0.707
                   Sanderson, 2000             0.600     0.313     1. 149
                   Royar, 2001                 0.228     0.1 26    0.410
                   Pike, 2004                  0.949     0.915     0.984
                   Lurie , 2007                0.410     0.262     0.640
                                               0.503     0.298     0.850
                                                                            0.10.2 0.5 1 2                5 10
                                                                             Favors Low Dose    Favors No OC




     CI = confidence interval; OC = oral contraceptive


     Figure 15. Forest plot for high-dose versus low-dose estrogen (ovarian cancer incidence)



                  Study                                                             Odds ratio
                                              Odds Lower Upper                      and 95% Cl
                                              ratio limit limit
                  Ness, 2000                   1.029     0.627     1.688
                  Sanderson, 2000              1.333     0.603     2.949
                  Royar, 2001                  2.505     1.187     5.287
                  Schildkraut, 2002            1.429     0.825     2.475
                  Pike, 2004                   0.969     0.909     1.033
                  Lurie, 2007                  1.492     0.842     2.643
                                               1.246     0.946     1.640
                                                                            0.10.2 0.5 1 2               5 10
                                                                             Fa vors High Dose Fa vors Low Dose




     CI = confidence interval




                                                              81




                                                                                                                    00803339
Exhibit 163                                                                                                       JA-0002881
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 122 of 173




     Sensitivity Analyses
         Analyses were repeated excluding one case-control study that was not performed within the
     United States. After this exclusion, a meta-analysis of the remaining five case-control studies
     revealed an odds ratio for high-dose estrogen-containing OC use of 0.69 (95% CI, 0.53 to 0.91),
     and for low-dose estrogen-containing OC use, an odds ratio of 0.60 (CI, 0.37 to 0.98). The odds
     ratio comparing high-dose with low-dose estrogen-containing OCs was 1.04 (CI, 0.90 to 1.21).
         We also conducted analyses of studies published from 1990 forward (eight case-control
     studies). The odds ratio for high-dose estrogen-containing OC use was 0.68 (95% CI, 0.53 to
     0.87), and for low-dose estrogen-containing OC use, an odds ratio of 0.55 (CI, 0.37 to 0.83). The
     odds ratio comparing high-dose to low-dose estrogen-containing OCs was 1.19 (CI, 0.93 to
     1.51).

     Progestin
                      . 29' 113 ' 12s' 130 were me
         F our stu d1es                         ·  lu ded mt
                                                          · h.1s meta-ana1ys1s    · · t h e ef"'1ect of progestm
                                                                            · exammmg                          ·
     formulation on ovarian cancer incidence (Table 12). Of these, all four were case-control studies
     representing 2049 cases and 5479 controls. All four studies were rated good quality. We
     excluded data from this analysis from reports that did not use progesterone-dosing terminology
     that facilitated a combined analysis.
          The four included studies classified progesterone potency based on a subnuclear vacuolation
     assay and a delay of menses test. These methods have previously been described by Dickey and
     Stone, 163 who classified low-dose progestin OCs as those containing a relative potency cutoff of
     0.2 mg norgestrel or less. Three studies stratified progestin results based on low or high estrogen
           113,125,130
     dose.
         Figures 16 tol8 show the odds ratios for the meta-analyses on progestin formulation. The
     odds ratio was 0.65 (95% CI, 0.44 to 0.95) for the three case-control studies of ovarian cancer
     incidence as a function of high-dose progestin (Figure 16). There was significant heterogeneity,
     with a Q-value of 14.97 for 2 degrees of freedom, p=0.001. The odds ratio was 0.62 (CI, 0.36 to
     1. 08) for the case-control studies of ovarian cancer incidence as a function of low-dose progestin
     (Figure 17). There was significant heterogeneity, with a Q-value of 17.80 for 2 degrees of
     freedom, p<0.001. One additional study calculated a direct odds ratio comparing high-dose with
     low-dose progestin OC use 29 (Figure 18). The random-effects meta-analysis of all four case-
     control studies reveals an odds ratio of 0.86 (CI, 0.60 to 1.21) for ovarian cancer incidence as a
     function of the ratio of high-dose progestin to low-dose. These results do not support a
     relationship between OC progestin dose and ovarian cancer incidence. There was some evidence
     of heterogeneity, with a Q-value of 7.52 for 3 degrees of freedom, p=0.057.




                                                         82




                                                                                                             00803340
Exhibit 163                                                                                               JA-0002882
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 123 of 173




     Figure 16. Forest plot for high-dose progestin (ovarian cancer incidence)



                Study                                                             Odds ratio

                                      Odds         Lower         Upper            and 95% Cl
                                      ratio         limit         limit

                Ness, 2000 0.523                         0.363    0.755
                Pike, 2004 0.875                         0.800    0.956
                Lurie, 2007 0.547                        0.407    0.735
                            0.647                        0.439    0.954
                                                                          0.10.2 0.5 1 2               5 10
                                                                           Favors High Do se   Favors No OC


     CI = confidence interval; OC = oral contraceptive




     Figure 17. Forest plot for low-dose progestin (ovarian cancer incidence)



               Study                                                             Odds ratio

                                     Odds         Lower          Upper           and 95% Cl
                                     ratio         limit          limit

               Ness, 2000 0.522                      0.378        0.722
               Pike, 2004 0.948                      0.918        0.978
               Lurie, 2007 0.367                     0.159        0.846
                           0.622                     0.358        1.079
                                                                          0.10.2 0.5 1 2               5 10
                                                                           Favors Low Dos e    Favors No OC


     CI = confidence interval; OC = oral contraceptive




                                                                  83




                                                                                                                00803341
Exhibit 163                                                                                                   JA-0002883
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 124 of 173




     Figure 18. Forest plot for high- versus low-dose progestin (ovarian cancer incidence)


          Study                                                           Odds ratio
                                                                          and 95% Cl
                                 Odds Lower Upper
                                 ratio limit limit
          Ness, 2000              1.002      0.615        1.633
          Pike, 2004              0.923      0.839        1.015
          Lurie , 2007            1.490      0.614        3.616
          Schildkraut, 2002       0.455      0.263        0.789
                                  0.856      0.604        1.214
                                                                  0.1 0.2 0.5 1        2     5 10
                                                                   Favors High Dose Favors Low Dose

     CI = confidence interval

     Sensitivity Analyses
            There were no poor-quality studies performed outside of the United States or studies
     published before 2000 addressing progestin dose. Therefore, sensitivity analyses were not
     performed.

     Special Populations

     BRCA Mutation Carriers
                    . s194116
         F our stu d1es ' ' ' 1s9 were me
                                       · lu ded mt
                                                 · h e meta-ana1yses exammmg
                                                                           · · t h ere1at10ns
                                                                                          · h.1p
     between carriers ofBRCAl and BRCA2 genetic mutations and ovarian cancer incidence. Of
     these, three were case-control studies representing 1096 cases and 2878 controls and 1 cohort
     study representing 3181 participants. One study was rated good quality and three fair quality
     (Table 5).
         Data were available to compare affected and unaffected BRCAl mutation carriers; affected
     and unaffected BRCA2 mutation carriers; and a combined group of affected and unaffected
     BRCAl or BRCA2 carriers. We excluded studies 115 ·118 from the analyses that compared
     mutation carriers with ovarian cancer to control groups who were predominantly noncarriers or
     who were not tested for BRCAl or BRCA2.
         Figures 19 to 21 show the odds ratios for the meta-analyses on BRCAl mutation carriers.
     The odds ratio was 0.55 (95% CI, 0.47 to 0.66) for the four studies of ovarian cancer incidence in
     patients with the BRCAl gene as a function of OC use (Figure 19). There was no significant
     heterogeneity, with a Q-value of 1.24 for 3 degrees of freedom, p=0.743. The odds ratio was 0.65
     (CI, 0.34 to 1.24) for the three studies of ovarian cancer incidence in patients with the BRCA2
     gene as a function of OC use (Figure 20). There was no significant heterogeneity, with a Q-value
     of 4.68 for 2 degrees of freedom, p=0.096. The odds ratio was 0.58 (CI, 0.46 to 0.73) for the
     three studies of ovarian cancer incidence that combined women with either the BRCAl gene or
     BRCA2 gene (Figure 21). There was no significant heterogeneity, with a Q-value of 3.12 for 2



                                                     84




                                                                                                        00803342
Exhibit 163                                                                                           JA-0002884
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 125 of 173




     degrees of freedom, p=0.210. These analyses suggest that OCs reduce ovarian cancer incidence
     in all three gene categories. The odds ratios for the three groups were quite similar, and a test for
     a difference results in a p-value of 0.975.

     Figure 19. Forest plot for BRCA1 carriers (ovarian cancer incidence)


                                                                                 Odds ratio and 95% Cl
                                                Odds Lower Upper
                                                ratio limit limit

                   Whittemorel , 2004           0.650    0.410         1.030
                   Gronwald , 2006              0.400    0.180         0.889
                   McLaughlin , 2007            0.560    0.446         0.703
                   Antoniou , 2009              0.520    0.370         0.730
                                                0.552    0.466         0.655
                                                                                0.1 0.2 0.5 1    2     5 10
                                                                                   Favors OC   Favors No OC




     CI = confidence interval; OC = oral contraceptive


     Figure 20. Forest plot for BRCA2 carriers (ovarian cancer incidence)


                Study                                                            Odds ratio and 95% Cl
                                              Odds Lower Upper
                                              ratio limit limit

                W hittemore II , 2004          0.860     0.380         1. 948
                McLaughlin , 2007              0.390     0.230         0.661
                Antoniou, 2009                 1. 040    0.423         2.558
                                               0.649     0. 339        1. 244
                                                                                0.1 0.2 0.5 1     2     5 10
                                                                                   Favors OC    Favors No OC




     CI = confidence interval; OC = oral contraceptive




                                                                  85




                                                                                                                 00803343
Exhibit 163                                                                                                    JA-0002885
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 126 of 173




     Figure 21. Forest plot for BRCA1 or BRCA2 carriers (ovarian cancer incidence)


               Study                                                           Odds ratio and 95% Cl
                                              Odds Lower Upper
                                              ratio limit limit

               Whittemore , 2004               0.850     0.523        1.381
               McLaughlin , 2007               0.529     0.429        0.652
               Antoniou , 2009                 0.550     0.399        0.758
                                               0.582     0.464        0.730
                                                                              0.1 0.2 0.5 1    2    5 10
                                                                                 Favors QC   Favors No QC

     CI = confidence interval; OC = oral contraceptive

     Sensitivity Analyses
         Analyses were repeated for the combined group ofBRCAl or BRCA2 mutation carriers
     including one additional study published in 1998. The odds ratio was 0.56 (CI, 0.45 to 0.69).
         Sensitivity analyses were not done for study quality because no studies were rated as poor
     quality, and none were done comparing U.S. with non-US. studies because excluding non-US.
     studies left only two studies.

     Family Histo?; of Ovarian Cancer
         Three studies 7•149•158 were identified that examined the effect of family history on ovarian
     cancer incidence. All three were case-control studies: one was rated good quality and two fair
     quality. We excluded one pooled analysis 23 because it included some of the individual studies
     that were identified (Table 13).
         Among these studies, two different definitions of a Rositive family history were used:
     (1) breast or ovarian cancer in a first-degree relative, 87• 49 and (2) history of ovarian cancer in a
     sister or mother. 158 The studies also used two different categorizations of the referent group for
                              149 158                                     87
     QC use: (1) no QC use • or (2) use for less than 60 months. The lack of consistency across
     studies precluded performing a meaningful meta-analysis by family history subgroups.




                                                                 86




                                                                                                              00803344
Exhibit 163                                                                                                 JA-0002886
                                 Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 127 of 173




              Table 13. Data for outcomes on family history (ovarian cancer incidence)
                                                                                                                                      Special         Meta-
                  Studl               Sample Size         Comparisons              ORb        95% Clb          Covariates           Population       Analysis
                                                                                                                                  (if Applicable)     Codec
                                                                             Case-Control
                                                            Never use              1.0                                           Family history of
                                                            3 to 11 mo             3.1                                           ovarian cancer in
                                 With family history
                                                           12to24mo                1.7                                                 mother,
                                 Cases: 31                                                                     Age, parity                              2
                                                           25 to 36 mo             1.5                                             grandmother,
                                 Controls: 99
                                                           37 to 60 mo             1.1                                            sister, daughter
                            95                                ~61 mo               0.3                                                 or aunt
              Gross, 1992
                                                            Never use              1.0
                                                            3 to 11 mo             0.6
                                 No family history
                                                           12to24mo                0.6
                                 Cases: 225                                                                    Age, parity       No family history      2
                                                           25 to 36 mo             0.7
                                 Controls: 2351
                                                           37 to 60 mo             0.7
                                                              ~61 mo               0.3
                                                                                                            Age at menarche,
                                                                                                                                 Family history of
                                                        Age at last OC use                                  age at diagnosis,
                                                                                              Reference                           2:_1 person with
                                 Familial Cases             Never use               1.0                         age at last
                                                                                             0.28 to 3.51                          breast cancer
                                 Cases: 51                 17 to 25 yr             0.99                      childbirth, tubal                          2
                                                                                             0.08 to 0.79                         diagnosed <55
                                 Controls: 152             25 to 35 yr             0.26                         ligation or
                                                                                            0.036 to 0.83                        years or ovarian
                                                           35 to 43 yr             0.17                     hysterectomy, talc
              Godard,                                                                                                                   cancer
                   89                                                                                        use, alcohol use
              1998
                                                                                                            Age at menarche,
                                                        Age at last OC use                                  age at diagnosis,
                                 Sporadic Cases             Never use               1.0      Reference          age at last
                                 Cases: 101                17 to 25 yr             0.84     0.28 to 2.55     childbirth, tubal   No family history      2
                                 Controls: 152             25 to 35 yr             0.25     0.10 to 0.62        ligation or
                                                           35 to 43 yr             0.25     0.10 to 0.64    hysterectomy, talc
                                                                                                             use, alcohol use
                                                                                                                                 Family history of
                                 With family history                                                                               breast and/or
                                                            Ever use                1        Reference        Age, area of
                                 Cases: 93                                                                                       ovarian cancer in      2
              Tavani                                        Never use              1.4       0.4 to 4.4        residence
                   149           Controls: 139                                                                                      first-degree
              2000
                                                                                                                                       relatives
                                 No family history
                                                            Ever use                1        Reference        Age, area of
                                 Cases: 878                                                                                      No family history      2
                                                            Never use              1.2       0.9to1.7          residence
                                 Controls: 2619




0
0
OJ
0
v)
v)                                                                               87
~
0,


Exhibit 163                                                                                                                                                     JA-0002887
                                  Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 128 of 173




                Table 13. Data for outcomes on family history (ovarian cancer incidence) (continued)
                                                                                                                                                                       Special             Meta-
                    Studl                Sample Size                      Comparisons                     ORb          95% Clb              Covariates              Population            Analysis
                                                                                                                                                                  (if Applicable)          Codec
                                                                                                                                                                 Family history of
                                    With family history                                                                                 Age, parity, family        breast and/or
                                                                      Never used or <60 mo                 1          Reference
                                    Cases: 129                                                                                           history, center,        ovarian cancer in           2
                Chiaffarino,                                                 ~60 mo                       1.0         0.2 to 4.2
                     87             Controls: 120                                                                                           education               first degree
                2001
                                                                                                                                                                       relatives
                                    No family history                                                                                   Age, parity, family
                                                                      Never used or <60 mo                 1          Reference
                                    Cases: 901                                                                                           history, center,         No family history          2
                                                                             ~60 mo                       0.5         0.2 to 0.9
                                    Controls: 2286                                                                                          education
                                    With family history                                                                                                          Family history of
                                                                            ::;;48 mo use                 0.34       0.08 to 1.55
                                    Cases: 33                                                                                            Age, race, parity,      ovarian cancer in
                                                                            49+ mo use                    0.07       0.01 to 0.44                                                            2
                Walker,             Controls: 24                                                                                           tubal ligation          first-degree
                     58                                                       Never use                     1         Reference
                2ooi                                                                                                                                                  relative
                                     No family history                          ::;;48 mo                   0.72      0.59 to 0.88
                                                                                                                                          Age, race, parity,
                                     Cases: 692                                 49+ mo                      0.51      0.40 to 0.65                                  No family history        2
                                                                                                                                              tubal ligation
                                     Controls: 1279                          Never OC use                     1        Reference
               BMl = body mass index; BRCA = breast cancer genetic mutation; BSO = bilateral salpingo-oophorectomy; BTL = bilateral tubal ligation; CI = confidence interval;
               HRT = hormone replacement therapy; IUD = intrauterine device; mo = month/months; NR = not reported; OC = oral contraceptive; OR= odds ratio; yr= year/years
               astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
               11.rnless otherwise presented, never use is the reference category with an OR= 1.0.
               cMeta-analysis code: 2 = Meta-analysis was not performed due to differences in definitions of positive family history and nonusers of OCs.




0
0
OJ
0
v.)
v.)                                                                                                     88
~
0)


 Exhibit 163                                                                                                                                                                                         JA-0002888
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 129 of 173




     Parity and Gravidity
         Two stu d1es                                        . d t h e ef"'1ect of grav1"d"1ty on ovanan
                   . 123 ·126 were 1"d ent1"fi1ed t h at examme                                       . cancer
     incidence (Table 14). Both were case-control studies; in total they represented 1595 cases and
     3137 controls. Both studies were rated good quality. When determining possible meta-analysis,
     we excluded one set of data from consideration92 due to representation of that data in another
     included report and therefore did not have sufficient studies to warrant a formal meta-analysis.
         Among nulliparous women, one study reported a significantly reduced risk of ovarian cancer
     among OC users (OR 0.43; 95% CI, 0.28 to 0.66), 123 and the other found no difference (OR 0.98;
     CI, 0.65 to 1.49). 126 Both studies reported a significantly reduced risk of ovarian cancer among
     parous women who were OC users (OR 0.72; CI, 0.61 to 0.85 123 and OR 0.68; CI, 0.56 to
           126                                                                                               23
     0.83). The odds ratios comparing gravidity Oto gravidity 1+ were 0.60 (CI, 0.38 to 0.94)1
                                   12
     and 1.44 (CI, 0.91 to 2.27).




                                                        89




                                                                                                           00803347
Exhibit 163                                                                                              JA-0002889
                                  Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 130 of 173




               Table 14. Data for outcomes on parity/gravidity (ovarian cancer incidence)
                                                                                                                                         Special        Meta-
                   Studl                Sample Size           Comparisons               ORb        95% Clb         Covariates          Population      Analysis
                                                                                                                                     (if Applicable)    Codec
                                                                                   Case-Control

                                   Parity=0
                                                      Never                             1.0       Reference                           Nulliparous
                                  Cases:
                                  -  - 137                                                                             Age                                4
                                                      Ever                              0.6       0.3 to 1.3                           women
                                   Controls: 273

               Parazzini,          Parity=1-2
                    128                               Never                             1.0       Reference                           Women with
               1991                Cases: 266                                                                          Age                                4
                                                      Ever                              0.5       0.3 to 0.9                           parity 1-2
                                   Controls: 795

                                   Parity;,:3
                                                      Never                             1.0       Reference                           Women with
                                   Cases: 102                                                                          Age                                4
                                                      Ever                              0.8       0.3to1.7                             parity ~3
                                   Controls: 307
                                                                                                   Reference
                                   Parity=0           Never                              1.0                                          Nulliparous
                                                                                                  0.05 to 0.54                                            4
               Thomas,             Not reported       Ever                              0.16                                           women
                    150
               1991
                                   Parity ~1          Never                              1.0       Reference                          Women with
                                                                                                                                                          4
                                   Not reported       Ever                              0.85      0.63to1.16                           parity ~1
                                                      Never                             1.0       Reference
                                   Gravidity=0
                                                      OCs for   contraception           0.9       0.5to1.7       Age, race, family
                                   Cases: 137                                                                                                             1
                                                      OCs for   noncontraception        1.3       0.6 to 3.2          history
                                   Controls: 119
                                                      OCs for   both                    0.9       0.4 to 1.8
                                                      Never                             1.0       Reference
                                   Gravidity=1
                                                      OCs for   contraception           0.6       0.3to1.1       Age, race, family
                                   Cases: 107                                                                                                             1
                                                      OCs for   noncontraception        0.5       0.2to1.7            history
                                   Controls: 140
                            126                       OCs for   both                    0.9       0.4to2.1
               Ness, 2001
                                                      Never                             1.0       Reference
                                   Gravidity=2
                                                      OCs for   contraception           0.6       0.4 to 1.0     Age, race, family
                                   Cases: 177                                                                                                             1
                                                      OCs for   noncontraception        0.7       0.3to1.6            history
                                   Controls: 346
                                                      OCs for   both                    1.0       0.5 to 2.0
                                                      Never                             1.0       Reference
                                   Gravidity~3
                                                      OCs for   contraception           0.7       0.5to1.0       Age, race, family
                                   Cases: 306                                                                                                             1
                                                      OCs for   noncontraception        0.9       0.5to1.6            history
                                   Controls: 754
                                                      OCs for   both                    0.5       0.3 to 0.9



0
0
OJ
0
v.)
v.)                                                                                    90
~
OJ

 Exhibit 163                                                                                                                                                      JA-0002890
                                  Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 131 of 173




               Table 14. Data for outcomes on parity/gravidity (ovarian cancer incidence) (continued)
                                                                                                                                             Special        Meta-
                  Studl                 Sample Size          Comparisons               ORb             95% Clb       Covariates            Population      Analysis
                                                                                                                                         (if Applicable)    Codec
                                                                            Case-Control (continued)
                                                       Never                           1.00         Reference
                                                       Single episode; 1 to 6 mo       0.71        0.50 to 0.99
                                   Parous women        Single episode; 7 to 12 mo      1.04        0.66 to 1.63
                                   Cases: 715          Single episode; ~13 mo          0.66        0.48 to 0.90          Age                                  2
                                   Controls: 1631      ~1 episode; 1 to 6 mo           0.71        0.51 to 0.99
                                                       ~1 episode; 7 to 12 mo          0.97        0.64 to 1.47
                             92
               Greer, 2005                             ~1 episode; ~13 mo              0.62        0.48 to 0.81
                                                       Never user                      1.00         Reference
                                                       Single episode; 1 to 6 mo       1.04        0.52 to 2.08
                                   Nulliparous women   Single episode; 7 to 12 mo      1.08        0.42 to 2.78
                                   Cases: 216          Single episode; ~13 mo          0.84        0.46 to 1.56          Age                                  2
                                   Controls: 168       ~1 episode; 1 to 6 mo           1.05        0.55 to 2.01
                                                       ~1 episode; 7 to 12 mo          1.08        0.49 to 2.34
                                                       ~1 episode; ~13 mo              0.68        0.42to 1.11
                                                       Never                           1.00         Reference
                                   Gravidity=0
                                                       OCs for contraception           0.46        0.25 to 0.86   Age, race, family
                                   Cases: 134                                                                                                                 1
                                                       OCs for noncontraception        0.61        0.25 to 1.52   history, infertility
                                   Controls: 143
                                                       OCs for both                    0.31        0.15 to 0.67
                                                       Never                           1.00         Reference
                                   Gravidity=1
                                                       OCs for contraception           0.99        0.58 to 2.02   Age, race, family
                                   Cases: 114                                                                                                                 1
                                                       OCs for noncontraception        0.60        0.44 to 2.23   history, infertility
                            123    Controls: 188
               Ness, 2011                              OCs for both                    0.99        0.22 to 1.69
                                                       Never                           1.00         Reference
                                   Gravidity=2
                                                       OCs for contraception           0.51        0.34 to 0.77   Age, race, family
                                   Cases: 216                                                                                                                 1
                                                       OCs for noncontraception        0.89        0.40 to 1.99   history, infertility
                                   Controls: 458
                                                       OCs for both                    0.50        0.28 to 0.88
                                                       Never                           1.00         Reference
                                   Gravidity~3
                                                       OCs for contraception           0.85        0.64to1.14     Age, race, family
                                   Cases: 404                                                                                                                 1
                                                       OCs for noncontraception        0.77        0.45 to 1.32   history, infertility
                                   Controls: 989
                                                       OCs for both                    0.70        0.45 to 1.09




0
0
OJ
0
v)
v)                                                                                    91
~
c.o
 Exhibit 163                                                                                                                                                          JA-0002891
                                  Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 132 of 173




               Table 14. Data for outcomes on parity/gravidity (ovarian cancer incidence) (continued)
                                                                                                                                                                     Special           Meta-
                    Studl                 Sample Size                    Comparisons                    ORb             95% Clb              Covariates            Population         Analysis
                                                                                                                                                                 (if Applicable)       Codec
                                                                                                        Pooled
                                      Parity>=3                     No OC                                   1.0          Reference
                                                                                                                                               Tubal ligation,
                                      Cases: 333                    OCs for 1-3 yr                          1.8           1.2to2.7                                                         3
                                                                                                                                                hysterectomy
                                      Controls: 2466                OCs for >4 vr                          2.2            1.6 to 3.2
                                      Parity=1-2                    No OC                                   1.5          0.95 to 2.3
                               104
                Hartge, 1994          Cases: 448                    OCs for 1-3 yr                         2.6            1.7to3.9                                                         3
                                      Controls:2029                 OCs for ~4 vr                           3.7           2.6 to 5.4
                                      Parity=0                      No OC                                  2.2            1.3to3.9
                                      Cases:295                     OCs for 1-3 yr                          5.8           3.6 to 9.3                                                       3
                                      Control: 816                  OCs for ~4 vr                           5.5           3.7 to 8.0
               BMI = body mass index; BRCA = breast cancer genetic mutation; BSO = bilateral salpingo-oophorectomy; BTL = bilateral tubal ligation; CI = confidence interval;
               mo = month/months; OC = oral contraceptive; OR= odds ratio; NR = not reported; yr= year/years
               astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
               11.Jnless otherwise presented, never use is the reference category with an OR=l .O.
               cMeta-analysis code: 1 = Study meets inclusion criteria for meta-analysis; 2 = Excluded from possible meta-analysis due to grouping with another included article also reporting
               results by gravidity; 3 = Excluded pooled analysis due to no other studies to combine it with; 4 = Excluded from possible meta-analysis in main analyses of studies from 2000
               forward, included in sensitivity analyses of studies from 1990 forward.




0
0
OJ
0
v.)
v.)                                                                                                    92
0,
0

 Exhibit 163                                                                                                                                                                                      JA-0002892
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 133 of 173




     Sensitivity Analyses
       No sensitivity analyses were performed because there were too few studies.

     OC Use and Ovarian Cancer Mortality
         Three studies33 •164- 167 were identified that examined the effect of QC use on ovarian cancer
     mortality. All three were cohort studies and were rated fair quality. Two of the included
     studies33 •165 were large, population-based cohort studies representing 46,112 subjects and
     602,700 reported person-years and assessed death from ovarian cancer as a primary outcome
     among ever versus never QC users. Both of these studies reported a significant reduction in
     ovarian cancer mortality among QC users that was similar in magnitude and direction as the
     reduction in incidence discussed above. The third study 167 identified a cohort of women with
     ovarian cancer and subsequently compared survival outcomes between QC users (n=310) and
     nonusers (n=366), with nonsignificant findings (Table 15).




                                                      93




                                                                                                      00803351
Exhibit 163                                                                                         JA-0002893
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 134 of 173




               Table 15. Data for ovarian cancer mortality
                                                         -
                                                                                                                                                                                           Meta-
                                                                                                                                                                           Study
                    Studl                              Study Details                             OR             95%CI              Covariates               Region                        Analysis
                                                                                                                                                                           Quality         Codeb
                                                                                                       Cohort
                                                                                Survival After Diagnosis of Ovarian Cancer
                                    Cohort of women with ovarian cancer in three                                             Stage, age group,
                              167   Australian states                                                                        histologic grade,
                Nagle, 2008                                                                     0.88         0.70to 1.11                                 Australia/NZ        Fair            2
                                    Exposed: 310 women                                                                       residual disease,
                                    Unexposed: 366 women                                                                     smoking
                                                                                          Population-Level Mortality
                                    Royal College General Practitioners Oral
                Hannaford,          Contraceptive Study                                                                      Age, parity, smoking
                     33                                                                         0.53         0.38 to 0.72                                     UK             Fair            2
                2010                Exposed: 28,806 women                                                                    and social class
                                    Unexposed: 17,306 women
                                     Oxford Family Planning Association
                Vesse~,              contraception study                                                                      Age, parity, social
                     1 5                                                                           0.87       0.79 to 0.96                                       UK           Fair           2
                2010                 602,700 person-years of observation for                                                  class, smoking, BMI
                                     unexposed and exposed
               CI = confidence interval; NZ = New Zealand; OC = oral contraceptive; OR = odds ratio; UK = United Kingdom
               astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
               ~eta-analysis code: 2 = Excluded from the meta-analysis due to differences in study populations.




0
0
OJ
0
v.)
v.)                                                                                                     94
0,
i'.)


 Exhibit 163                                                                                                                                                                                         JA-0002894
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 135 of 173




     Strength of Evidence for OC Use and Risk of Ovarian Cancer
          The strength of evidence for each outcome is described in Table 16 using the four domains
     listed as guidance. Because no randomized controlled trials were included in our analysis, the
     risk of bias was categorized as medium at best and high if other possible sources of bias were
     identified. With regard to directness of evidence, relationships between high and low steroid
     hormone doses and ovarian cancer incidence were considered to be indirect based on the use of
     "never QC use" as the reference category in those studies.
          We graded as moderate the strength of evidence for relationships between ever QC use and
     ovarian cancer incidence and mortality in the general population and between ever QC use and
     ovarian cancer incidence in the BRCA mutation-carrying population. The relationship between
     duration of QC use and ovarian cancer incidence was also graded as moderate. The strength of
     evidence for the remaining relationships was graded as low.

     Table 16. Strength of evidence domains for the effect of OC use on ovarian cancer
                     Number of                     Domains Pertaining to SOE
                       Studies                                                                   SOE and
      Comparison      (Women            Risk of                                              Magnitude of Effect
                                                   Consistency     Directness    Precision
                       and/or            Bias                                                    (95% Cl)
                    Person-years)
                                    Incidence of Ovarian Cancer in Overall Population
                          24
                                                                                                  Moderate
     Ever vs.       (657,055 and
                                       Medium       Consistent       Direct       Precise            0.73
     never use        3,981,072
                                                                                                (0.66 to 0.81)
                    person-vears)
                                                                                                  Moderate
                                                                                               1-12 mo: 0.91
                                                                                                (0. 78 to 1.07)
                          15
                                                                                               13-60 mo: 0.77
     Duration of    (574,363 and
                                       Medium       Consistent       Direct       Precise       (0.66 to 0.89)
     use              3,493,072
                                                                                              61-120 mo: 0.65
                    person-years)
                                                                                                (0.55 to 0.77)
                                                                                               >120 mo: 0.43
                                                                                                (0.37 to 0.51)
                                                                                                      Low
                                                                                                 <20 yr: 0.63
                                                                                                (0.45 to 0.89)
                                                                                               20-24 yr: 0. 71
     Age at first         6
                                         High       Consistent       Direct      Imprecise      (0.51 to 0.99)
     use              (111,817)
                                                                                               25-30 yr: 0.67
                                                                                                (0.46 to 0.99)
                                                                                                 > 30 yr: 0.89
                                                                                                (0.60 to 1.32)
                                                                                                      Low
                                                                                                0-10 yr: 0.41
                                                                                                (0.34 to 0.50)
                          8
                                                                                               10-20 yr: 0.65
     Time since     (210,069 and
                                         High      Inconsistent      Direct      Imprecise      (0.56 to 0.74)
     last use         1,083,000
                                                                                               20-30 yr: 0.92
                    person-years)
                                                                                                (0.76to 1.12)
                                                                                                 >30 yr: 0.79
                                                                                                (0.58 to 1.12)




                                                           95




                                                                                                                 00803353
Exhibit 163                                                                                                 JA-0002895
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 136 of 173




     Table 16. Strength of evidence domains for the effect of OC use on ovarian cancer (continued)
                       Number of
                         Studies                  Domains Pertaining to SOE                                 SOE and
      Comparison        (Women                                                                          Magnitude of Effect
                         and/or        Risk of                                                              (95% Cl)
                                                  Consistency    Directness     Precision
                      Person-years)     Bias
                             Incidence of Ovarian Cancer in Overall Population (continued)
     High-dose vs.                                                                                               Low
                              6
       low-dose                             High        Consistent         Indirect      Imprecise               1.25
                           (9007)
       estroqen                                                                                             (0.95 to 1.64)
     High-dose vs.                                                                                               Low
                              4
       low-dose                             High        Inconsistent       Indirect      Imprecise               0.86
                           (7528)
       proqestin                                                                                            (0.60 to 1.21)
                                       Incidence in BRCA1- or BRCA2-Positive Women
                                                                                                              Moderate
     Ever vs.                 3
                                          Medium        Consistent          Direct        Precise                0.58
     never use             (6855)
                                                                                                            (0.46 to 0. 73)
                                             Incidence in BRCA1-Positive Women
                                                                                                              Moderate
     Ever vs.                 4
                                          Medium        Consistent          Direct        Precise                0.55
     never use             (5519)
                                                                                                            (0.47 to 0.66)
                                             Incidence in BRCA2-Positive Women
                                                                                                                 Low
     Ever vs.                 3
                                          Medium        Inconsistent        Direct       Imprecise               0.65
     never use             (1592)
                                                                                                            (0.34 to 1.24)
                                           Incidence in Women With Family History
     Ever vs.                 3                                                                                    Low
                                            High       Inconsistent        Direct         Imprecise
     never use             (9193)                                                                         Decreased incidence
                               Incidence in Gravid/Parous and Nul!igravid/Nul/iparous Women
     Ever vs.                 2
                                          Medium       Inconsistent        Direct         Imprecise            Insufficient
     never use             (4732)
                                                 Mortality From Ovarian Cancer
                              2
                                                                                                                Moderate
     Ever vs.           (46,112and
                                          Medium        Consistent         Direct         Imprecise        Decreased cause-
     never use            602,700
                                                                                                            specific mortality
                       person-years)
                                        Survival Among Women With Ovarian Cancer
     Ever vs.                 1                                                                                Insufficient
                                            High            NA             Direct         Imprecise
     never use              (676)                                                                            (not performed)
     CI = confidence mterval; mo = month/months; NA = not applicable; SOE = strength of evidence; yr = year/years


     Discussion
         In the systematic review and meta-analysis for Section 2, OC use was associated with a
     decreased incidence of ovarian cancer (OR 0.73, 95% CI, 0.66-0.81), with results from two large
     cohort studies showing a concomitant decrease in mortality. There is a positive relationship
     between the duration of OC use and the degree of the protective effect. These findings are
     consistent with prior pooled analyses, 21 ' 23 ' 24 which reported odds ratios for ever versus never OC
     use of between 0.60 and 0.73 and similarly identified a relationship between longer duration of
     OC use and lower incidence of ovarian cancer. We did not identify a significant relationship
     between time since last OC use and degree of protection-although such a relationship has been
     identified in the largest prior pooled analysis. 21 Note that we found no evidence for publication
     bias in any of the meta-analyses (Appendix E).




                                                                96



                                                                                                                              00803354
Exhibit 163                                                                                                              JA-0002896
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 137 of 173




     Temporal Relationships in OC Use
         The results of our meta-analysis show a strong relationship between duration of OC use and
     the incidence of ovarian cancer (Figure 12). Women who use OCs for 10 or more years show a
     reduction in ovarian cancer incidence of more than 50 percent. Prior pooled analyses are
     consistent with these findings. 21 •23 •24 While our reported odds ratio comparing OC use for less
     than 12 months with never use does not meet criteria for statistical significance, our duration
     analysis suggests that there is no time threshold for OC effectiveness, and the duration-response
     relationship likely starts as soon as a woman commences OC use.
         Regarding age at first OC use, the odds ratios also appear to show a clearly positive
     relationship. This suggests that the earlier a woman begins using OCs, the greater the reduction
     in ovarian cancer incidence. However, it is not possible to differentiate the effects of age at first
     use from the effects of duration of use. Our findings are consistent with the largest pooled
              21
     analysis, and are not unexpected, since the earlier a woman starts using OCs, the longer the
     potential duration of use. The number of studies (6) in our primary analysis of age at first OC use
     was much lower than the number of studies (15) in the analysis of duration, and so it is not
     possible to determine which factor is more predictive. The protective effect of OCs appears to
     attenuate with increasing time since last use, again consistent with the findings of the
     Collaborative Group, 21 although it remains significantly reduced even up to 30 years after
     stopping. Although the data available at the study level preclude estimation of the joint effect of
     duration and time since last use, stratified analysis of the pooled individual data by the
     Collaborative Group suggest that the magnitude of protection with increased duration is greater
     than the attenuation with time since last use.

     Women at Elevated Genetic Risk for Ovarian Cancer
         The results of our meta-analysis suggest that ever use of OCs reduces the risk of ovarian
     cancer in BRCAl or BRCA2 mutation carriers similar to what has been observed consistently in
     the general population. The odds ratio for ever use of OCs (OR 0.58; 95% CI, 0.46 to 0.73) for
     BRCAl or BRCA2 mutation carriers was lower than the odds ratio calculated from the overall
     meta-analysis (OR 0.73, 95% CI, 0.66 to 0.81).
         Although the breast cancer literature clearly demonstrates that clinical and pathologic
     characteristics ofBRCAl-associated cancers differ from BRCA2-associated cancers and
     sporadic cancers, the same does not appear to be true for ovarian cancer. 168 Our analyses of the
     effects of OCs in BRCAl and BRCA2 mutation carriers found similar odds ratios for ovarian
     cancer in each group, and a test for differences between groups was not statistically significant
     (p=0.916). Although the analyses did not suggest there were statistically significant differences
     between BRCAl and BRCA2 mutation carriers, these results should be interpreted cautiously
     because of the small number of studies and the relatively small sample sizes for BRCA2
     mutation carriers.
         For women that do not have a known BRCAl or BRCA2 mutation but are at increased risk
     for ovarian cancer due to a family history of breast or ovarian cancer, the data were inadequate to
     perform a meta-analysis because of differences between studies in their definitions of family
     history and the reference group to which OC users were compared. Within individual studies,
     particularly those focusing specifically on a family history of ovarian cancer, the relatively small
     numbers within the strata defined by a positive family history led to unstable estimates. The
     possible use of OCs as an ovarian cancer prevention strategy is clearly of interest to women with



                                                      97




                                                                                                      00803355
Exhibit 163                                                                                         JA-0002897
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 138 of 173




     a family history of ovarian or breast cancer; however, the published data do not provide
     consistent evidence to support a recommendation for use.

     Limitations
         In an effort to enhance the applicability of these findings to contemporary QC formulations
     and dosages, we included only studies published on or after January 1, 2000, for the primary
     analysis and 1990 for the sensitivity analysis. However, our meta-analysis produced a very
     similar odds ratio comparing ever use with never use (0.73) to odds ratios reported in the
     sensitivity analysis (0.72) and a pooled analyses that included older studies. This suggests that
     current QC formulations may have a similar effectiveness to older formulations in reducing the
     incidence of ovarian cancer. This is supported by our finding that the relative estrogen and
     progestin doses in QCs do not appear to have an impact on ovarian cancer incidence. However,
     given that the age of peak incidence of ovarian cancer is in a woman's early 60s, even more
     recent publications do not capture the potential long-term effect of formulations introduced in the
     past 20 years.
         Another limitation of the current analysis is the degree of generalizability of the included
     studies to clinical decisionmaking. The included studies almost never specifically reported the
     reasons for QC use. It is likely that most women who have taken QCs have done so for
     contraception or to control symptoms related to menses. Therefore, the use of QCs specifically to
     prevent ovarian cancer has not been addressed in reported studies, and use of the currently
     available data to guide a risk/benefit discussion regarding chemoprophylaxis is premature.
         The main limitation of our analysis is the lack of any randomized, prospective trials
     examining the preventive effect of QCs on ovarian cancer, raising the potential for bias. The
     most common study design within our primary ever/never incidence analyses was case-control
     (71 %), with a minority being cohort studies (29%); given that ovarian cancer is relatively
     uncommon, this is not unexpected. The point estimate for case-control studies (0.72) was lower
     than for cohort studies (0.75), suggesting that there may be some residual confounding in the
     case-control studies. Likewise, although the vast majority of studies were rated as good or fair
     quality (92%), there was marked inconsistency across studies, particularly in the methods for
     adjustment of confounding. Individual odds ratios or relative risks were always adjusted for
     potential confounders, but both the choice of covariates and the way the covariates were modeled
     in the reported results were not consistent among studies (Tables 5, 6, 8, 10, 12-15). For
     example, relevant ages and durations of exposure were described using a variety of categories
     with widely varying definitions.
         The observed association between QC use and reduced ovarian cancer risk (and for many of
     the other associations discussed in Sections 3 and 4) fulfills many of the classic criteria for causal
     inference in epidemiology, 169 including strength of association, consistency across studies,
     temporality, a biological gradient, biological plausibility, and coherence. However, the potential
     for the limitations discussed above to lead to biased estimates of the effects of QC require
     considerable caution when using the results for clinical decisionmaking. Although the literature
     synthesis for each outcome and the model (described in Section 5) represent our best efforts at
     integrating the available data quantitatively, the inherent limitations of observational studies
     mean that we cannot rule out the possibility that some or all of the observed associations between
     QC use and both harmful and beneficial outcomes are the result of unmeasured confounding.




                                                      98




                                                                                                       00803356
Exhibit 163                                                                                          JA-0002898
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 139 of 173




     Future Research
         The current literature consistently shows a statistically significant reduction in ovarian cancer
     risk among women with a history of OC uses, with greater reductions in risk with longer
     duration of use. Results were similar across different subgroups with varying degrees of risk,
     such as nulliparous women and BRCAI and BRCA2 mutation carriers. While the overall body
     of evidence is supportive of the beneficial effects of OCs on ovarian cancer, the potential for
     unmeasured bias is substantial. Even if the magnitude of the observed protective association is
     accurate, our analysis demonstrates that there is insufficient evidence to guide more specific
     recommendations regarding the preferred OC formulation and dose, the optimal time period of
     use for ovarian cancer prevention, and the benefits in certain high-risk women. Ideally, many of
     these issues would be resolved by a randomized trial, but, as discussed in Section 5, the
     challenges to conducting such a trial may be insurmountable.
         While the current analysis did not identify a relationship between estrogen or progestin
     formulation and incidence of ovarian cancer, there were a limited number of studies meeting
     criteria for these meta-analyses. In particular, the progestin component of the OC formulation
     appears to have an effect on the ovarian epithelium in animal studies. 170 Given that only four
     studies defined progestin dose uniformly and were included in the meta-analysis, further
     investigation into the relationship between progestin dose/formulation and ovarian cancer
     incidence is warranted. This is particularly important given that both the estrogen and progestin
     components are likely related to the risk of some of the adverse outcomes associated with OC
     use-especially acute vascular events (see Section 4).
         Our analyses were based on more recently published data than previous pooled analyses
     were, yet we arrived at a similar estimate of the odds ratio associated with ever OC use. This
     suggests that lower dose OCs-which are more commonly evaluated in recent studies-are
     potentially as effective as higher dose OCs in reducing ovarian cancer risk. Continued evaluation
     of effects by dose of OCs is warranted, especially since some of the older women included in
     studies published since 1990 would have taken OCs when higher doses were more commonly
     prescribed.
         Further research is needed to sort out the relative importance of the duration and timing of
     use of OCs. Greater reductions in risk were observed for women who were younger at first use of
     OCs; however, data were not available to determine whether this was due to longer duration of
     use among women who initiated OC use at younger ages. Analogously, although ovarian cancer
     risk was lower among more recent OC users compared with those with a longer time since last
     use, these analyses did not account for duration of use. Understanding the combined effects of
     timing and duration is particularly important for making recommendations to women of mid-to-
     late reproductive age who are considering OC use for ovarian cancer prevention but not
     necessarily for contraception. To facilitate future systematic reviews, one step would be to
     standardize the categories and descriptive statistics for reporting results. Although particular
     categorization choices may be best suited for analyzing individual studies on the basis of study
     design and characteristics of a given population, reporting of standardized results-perhaps as an
     appendix to the main analysis-would greatly improve the ability to combine published results
     in meta-analysis.
         Additional research is also needed to learn whether women at high risk for ovarian cancer
     due to their family history show a similar benefit with OC use as women from the general
     population. The proportion of women with a reported family history of ovarian cancer is quite
     small in most studies; however, this group may be keenly interested in chemoprevention given


                                                      99




                                                                                                      00803357
Exhibit 163                                                                                         JA-0002899
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 140 of 173




     the high mortality of ovarian cancer. It would be highly desirable for pooled analyses to include
     a sufficient number of women with a positive family history to provide stable risk estimates.




                                                    100




                                                                                                    00803358
Exhibit 163                                                                                       JA-0002900
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 141 of 173




          Section 3. Oral Contraceptives and Other Cancers
     Background
         Nearly half (49%) of all pregnancies in the United States are unintended, with 19 percent
     considered unwanted pregnancies. 171 Oral contraceptives (OCs) are the most common form of
                                                                     172
     effective and reversible contraception in the United States. Use of OCs significantly decreases
     personal and societal burdens associated with unintended or unwanted pregnancy. 173•174
     Additionally, OCs have significant noncontraceptive health benefits, such as improving acne or
     regulating dysmenorrhoea. 175 - 178 Using OCs, however, is not without risks. Numerous studies
     demonstrate serious complications associated with OC use including venous thromboembolic
       .
     d1sease,  myocard.ial m1arct10n,
                           . c:   .
                                       an d strok e. 179-1s1
         Use of OCs also may influence the risk of certain cancers. 56 OC use may promote or initiate
     tumors of the breast or cervix. 50•67•182 For breast cancer, these risks may be even greater for
     populations at elevated risk due to family history of cancer or genetic mutation carrier status
     (e.g., BRCAl/2); however, results from studies are inconclusive. 51 •183 Moreover, the use of OCs
     has also been associated with a greater risk of certain clinically challenging types of breast
              184
     tumors. Converse!~, OC use is associated with significant reductions in colorectal and
     endometrial cancers. 4•56 Our systematic review and meta-analyses support a significant risk
     reduction for ovarian cancer incidence and mortality associated with OC use (Section 2).
     However, assessment of the risk of cancer associated with OC use is fraught with difficulties.
     For example, cancer is a disease with a long latency period, and the time between exposure to
     OCs and diagnosis of cancer may span decades. Also, temporal variations in the OC
     formulations available on the market and used over a woman's lifetime may influence
     associations between cancer risk and OC use. Further, patterns of OC use over a lifetime may be
     influenced by factors that also affect cancer risks ( e.g., gravidity, parity, breastfeeding). Last,
     duration of OC use or length of time since ceasing use (i.e., recency) may moderate the risk of
     cancers associated with OCs. 50•121
         In this section of our systematic review, we summarize the current data on associations
     between OC use and four common cancers among women-breast, cervical, colorectal, and
     endometrial. When possible, we conducted meta-analyses of the literature assessing the risk of
     cancer incidence and mortality associated with the use of OCs. We date-limited our search to
     studies published after 1999 to minimize the influence of OC formulations that are no longer
     available on the U.S. market and to increase generalizability to current clinical practice. When
     possible, we also examined associations by duration of OC use and time since last OC use on
     incidence of these cancers.



     Relevant Key Questions
         The seven KQs developed for the entire systematic review are listed in Section 1 (refer to
     Figure 7 for a roadmap of this report). For Section 3, we performed a systematic review and
     meta-analysis for the cancer outcomes described in two of the seven KQs that address the
     potential effect of OCs on the risk of developing other cancers (breast, cervical, colorectal, and
     endometrial):




                                                     101




                                                                                                      00803359
Exhibit 163                                                                                         JA-0002901
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 142 of 173




         KQ 4: Aside from pregnancy prevention, are there other benefits of QC use in reducing the
     risks of endometrial cancer or colorectal cancer?

         KQ 5: What are the harms of QC use, including breast cancer incidence, cervical cancer
     incidence, venous thromboembolic disease, stroke, or myocardial infarction? How do these
     harms vary by dose or formulation, duration of use, or specific population?

     Analytic Framework
          Figure 22 shows the analytic framework that guided this section of the review.

     Figure 22. Analytic framework for OCs and other cancers


                                                                               Other Benefits
                                                                        Reductions in incidence or
                                                                        mortality of:
                                                                            Endometrial cancer
                                                                        •   Colorectal cancer




              Women at risk
               for ovarian
                 cancer




                                                                                   Other Harms
                                                                            Incidence and mortality of:
                                                                               Breast cancer
                                                                            • Cervical cancer




     KQ = Key Question; OC = oral contraceptive




                                                     102




                                                                                                            00803360
Exhibit 163                                                                                               JA-0002902
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 143 of 173




     Methods

     Inclusion and Exclusion by PICOTS
         Table 17 describes the PICOTS criteria that guided the literature search for this section of the
     review.

     Table 17. Summary of inclusion and exclusion criteria for OCs and other cancers
           Study
                                            Inclusion Criteria                               Exclusion Criteria
        Characteristic
                         • All KQs:
                           0   Women taking oral contraceptives (OCs) for
                               contraception or women taking OCs for primary
       Population              prevention of ovarian cancera                         Nonhuman studies
                           0   Women who do not have a history of ovarian
                               cancer and have not undergone bilateral
                               oophorectomy
                                                                                     Study does not provide a
                                                                                     description of at least one of the
                         OC use (includes OC use for varying time periods and
       Interventions                                                                 following:
                         OC use with different formulations)
                                                                                     (1) OC formulation(s) used
                                                                                     (2) Lenqth of OC use
                         No use of combination or progestin-only OCs, including
                         either no contraceptive method at all or contraceptive      Study does not include controls;
                         methods other than combination or progestin-only OCs        i.e., an estimate of outcomes in
       Comparators
                         (e.g., natural family planning, barrier methods,            women not using OCs (population
                         sterilization, intrauterine devices, injectable or          estimates are acceptable)
                         implantable hormonal contraception)
                         Study reports quantitative association between exposure
                         to OCs and either incidence or disease-specific mortality
                         for any of the following:
                         • KQ4:                                                      Study only reports outcomes
       Outcomes             0    Endometrial cancer                                  related to assisted reproductive
                            0    Colorectal cancer                                   technologies or abortion
                         • KQ 5:
                            0    Breast cancer
                            0    Cervical cancer
       Timing            Studies of any duration                                     None
       Settinq           All settinqs                                                None




                                                            103




                                                                                                                          00803361
Exhibit 163                                                                                                         JA-0002903
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 144 of 173




       Table 17. Summary of inclusion and exclusion criteria for OCs and other cancers (continued)
           Study
                                                  Inclusion Criteria                                   Exclusion Criteria
        Characteristic
                              • Controlled studies (randomized trials, cohort studies,
                                 case-control studies), pooled patient-level meta-              • Not a clinical study (e.g.,
                                                                                                    editorial, non-systematic
                                 analysesb or systematic reviews and study-level meta-
       Study design                                                                                 review, or letter to the editor)
                                 analyses
                              • Study sample size ~ 100 subjects for non randomized             •   Exploratory study with
                                         0                                                          inadequate sample size
                                 studies
                              • English-language only
                              • Peer-reviewed articles
       Publications           • Study reports a breast, endometrial, cervical, or               Non-English articlese
                                 colorectal cancer outcome of interest and was
                                 published on or after 01-Jan-2000d
     KQ = Key Question; OC = oral contraceptive
     alf the purpose of OC use was unclear, it was assumed to be contraception.
     bSystematic reviews and study-level meta-analyses were excluded from direct abstraction; those representing key sources were
     hand-searched as potential sources of additional material.
     csmall nomandomized studies <100 subjects were excluded because confidence intervals for outcomes of interest are generally
     quite wide if appropriate adjustment for confounding is performed, and variability in reporting of potential confounders makes
     meta-analysis problematic.
     dDate ranges for these cancer outcomes were selected to balance generalizability (OC formulations used in earlier studies not
     currently on market) and power (peak incidence of cancers 10 to 30 years after typical use of oral contraceptives).
     °Non-English articles were excluded (1) due to the high volume of literature available in English-language publications
     (including the majority of known important studies) and (2) due to concerns about the applicability of non-English publication
     studies to populations in the United States. The variability in OC formulations approved for use across countries increases the
     likelihood that non-English language studies would include OCs not available or not in use in the United States.


     Meta-Analytic Methods
         To examine quantitatively the effect of QCs on the risk of breast, cervical, colorectal, or
     endometrial cancer, we performed meta-analyses on the following relationships when we had
     sufficient studies:
         • Ever versus never QC use:
                 o   Ever versus never QC use among BRCAI and BRCA2 genetic mutation carriers
                     (breast cancer only)
         • Temporal relationships:
                 o   Duration of QC use
                 o   Time since last QC use (breast cancer only)
         We performed the meta-analyses using Comprehensive Meta-Analysis Version 2 (Biostat;
     Englewood, NJ; 2005). 68 Confidence intervals from the included study publications were entered
     into the Comprehensive Meta-Analysis (CMA) program. However, many of these confidence
     intervals had been rounded to a single decimal place. The CMA program checks the intervals for
     symmetry in the logarithmic scale. In certain cases, the rounded limits were not accepted by
     CMA. In such cases, we kept the point estimate as given but changed the confidence limits so
     that they were symmetric. This resulted in slight differences in the confidence intervals in the
     forest plots when compared with the study publications.
         We excluded studies that were conducted in special populations, such as BRCA mutation
     carriers, women with family histories of cancer, or specific cancer subtypes. When studies only
     gave results by subgroup (premenopausal, postmenopausal), we combined subgroups only when
     the combined group represented the total study population. We estimated pooled odds ratios with
     95% confidence intervals (95% Cls) using a random-effects model when study designs and



                                                                   104




                                                                                                                                  00803362
Exhibit 163                                                                                                                    JA-0002904
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 145 of 173




     outcomes reported were similar. We evaluated heterogeneity visually and with the Cochran Q
     statistic using a threshold p-value ofless than 0.10 to define significant heterogeneity. We
     stratified analyses by study type ( case-control, cohort).

     Pooled Analyses
        We included pooled analyses in our meta-analyses if all three of the following conditions
     were met:
        • None of the individual studies included in the pooled analysis had already been included
           for meta-analysis.
        • At least half of the studies in the pooled analysis were published on or after January 1,
           2000.
        • Data in the pooled analyses were presented such that their inclusion in the current meta-
           analysis was feasible.

     Ever Versus Never QC Use
        For the ever versus never QC use meta-analysis, we excluded studies that reported effects for
     only a particular subpopulation (e.g., studies reporting odds ratios only for women with a BRCA
     mutation) but that did not report the effects for the general population. Studies that reported ever
     QC use odds ratios for two or more mutually exclusive subpopulations were included in the
     meta-analysis and results for the subpopulations were combined.

     Temporal Relationships

     Duration of OC Use
         We used a random-effects model to compute odds ratios after determination that sufficient
     studies met criteria to perform a meta-analysis on the effect of duration of QC use. We required
     that the odds ratios were given relative to no QC use and that the population studied was not
     restricted to a particular special population. We assumed that each odds ratio, ORiJ, could be
     described by the following model:
                                 k
              Ln[ OR!i ]=a;+ L xii /Jj,
                                }=1




     where i denotes the study,} denotes the specific time interval, and k is the number of time
     intervals used in the model. The ai are assumed to be random and normal with mean 0 and
     variance (SE/ + <i). SEiJ is the standard error of the /h odds ratio from the /h study. <i is the
     extra variation from the random effects model. The xiJ are the fixed terms that describe the time
     period covered by that particular odds ratio. The /JJ (j= I, ... , k) are the odds ratios to be
     estimated for each duration interval.
          We originally assumed that there was a term for each year (up to 10) and a final term for
     greater than 10 years. However, the large number of terms resulted in very unstable estimates.
     For that reason, we broke the time points into 4 intervals: (1) 1 to 12 months, (2) 13 to 60
     months, (3) 61 to 120 months, and (4) more than 120 months. We then used the xiJ to create the
     time period desired. For example, if the first interval were from 1 to 36 months, then the vector
     of xiJ would be (1/3, 2/3, 0, 0, 0). This would reflect that one-third of the patients in the interval
     were in the 1 to 12 month interval and two-thirds of the patients were in the 13 to 60 month
     interval. Using this methodology, any interval could be described. The model was fitted using


                                                       105




                                                                                                         00803363
Exhibit 163                                                                                            JA-0002905
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 146 of 173




     SAS PROC NLMIXED (SAS Institute Inc.; Cary, NC; 2009) with "subject" set to the particular
     study, i.

     Time Since Last OC Use
          Using the equation above, we grouped time since last OC use into 4 intervals: (1) 0 to 5
     years, (2) 5 to 10 years, (3) 10 to 20 years (4) more than 20 years. We then used the xiJ to create
     the time period desired. For example, if the first interval were from 1 to 15 years, then the vector
     of xiJ would be (2/3, 1/3, 0, 0, 0). This would reflect that two-thirds of the patients in the interval
     were in the O to 10 year interval and one-third of the patients were in the 10 to 20 year interval.
     Using this methodology, any interval could be described. The model was fitted using SAS PROC
     NLMIXED (SAS Institute Inc.; Cary, NC; 2009) with "subject" set to the particular study, i.

     Results
         This section presents results of our detailed analysis of the relationship between OCs and the
     following outcomes:
         • Breast cancer incidence and mortality
         • Cervical cancer incidence and mortality
         • Colorectal cancer incidence and mortality
         • Endometrial cancer incidence and mortality

     OC Use and Breast Cancer Incidence
        We identified 44 studies that evaluated the association between OC use and the incidence of
     breast cancer. 37•88•94•99•138•139•155 •156•183 -228 Of these, 29 were case-control studies, 14 cohort studies,
     and 1 pooled analysis; 19 studies were rated good quality, 25 fair quality, and 3 poor quality.
     Roughly half of the studies (21) assembled cohorts fully or partially based in the United States
     (Table 18).




                                                           106




                                                                                                                 00803364
Exhibit 163                                                                                                   JA-0002906
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 147 of 173




                                   -   h    terisf       d         · tion between OC use and breast cancer incidence
                                                                                                                                                                    Meta-
                                                                                    ORb                                                                  Study
                   Studl                          Study Details                                   95%CI              Covariates             Region                 Analysis
                                                                                                                                                         Quality    Codec
                                                                                  Case-Control (continued)
                                   Black or Colored women aged 20-54 yr in
                                   Cape Town
                                                                                                                 Age, sex, injectable
               Shapiro,            Cases: 484 invasive breast cancer, hospital
                    185                                                             1.2           1.0 to 1.5      progesterone use,       South Africa    Fair        1
               2000                Controls: 1625, hospital
                                                                                                                      ethnicity
                                   Recruitment period: 1994 1997
                                   Women aged 41-52 yr in Doorlopend
                                                                                                               Age, parity, menopausal
                                   Onderzoek Morbiditeit/Mortaliteit Cohort
                                                                                                                    status, age at
                                   Study
                                                                                                                 menarche, smoking,
               Van Hotten,         Cases: 309 incident breast cancer, breast
                    186                                                             1.24                            marital status,       Netherlands    Good         1
               2000                cancer screening program                                    0.96to1.78
                                                                                                                education, age at first
                                   Controls: 610 cohort members
                                                                                                                  delivery, maternal
                                                                                                               history of breast cancer
                                   Recruitment period: 1982 1984
                                                                                                                 Parity, menopausal
                                   Hospital patients in Belo Horizonte (age NR)
                                                                                                                status, family history,
                                   Cases: 280 breast cancer, hospital
                                                                                                               occupation (housewife,
                             187   Controls: 569 outpatients or gynecology
               Gomes, 2001                                                          1.93       1.19 to 3.11     housekeeper, other)          Brazil       Poor        1
                                   inpatients
                                                                                                                 irregular menstrual
                                                                                                                cycles, and possibly
                                   Recruitment period: 1978-1987
                                                                                                                  other (hard to tell)




0
0
OJ
0
v.)
v.)                                                                                         107
0)
0,


 Exhibit 163                                                                                                                                                              JA-0002907
                              Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 148 of 173




               Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                       Meta-
                                                                              ORb                                                           Study
                   Studl                     Study Details                                  95%CI             Covariates           Region             Analysis
                                                                                                                                            Quality    Codec
                                                                            Case-Control (continued)
                              Women aged 20-74 yr in Carolina Breast
                              Cancer Study
                              White <50 yr
                              Cases: 328 invasive breast cancer, registry
                              Controls: 236, OMV or Medicare lists            1.27       0.76 to 2.21

                              African American <50 yr
                              Cases: 175 invasive breast cancer, registry                               Age, family history, age
                              Controls: 171, OMV or Medicare lists            1.41       0.82 to 2.41         at menarche,
               Moorman,
                    188                                                                                  breastfeeding , age at     U.S.     Fair        1
               2001
                              White ?.50 yr                                                             first pregnancy, age at
                              Cases: 195 invasive breast cancer, registry                                      menopause
                              Controls: 221, OMV or Medicare lists            0.95       0.59 to 1.53

                              African American ?.50 yr
                              Cases: 160 invasive breast cancer, registry
                              Controls: 161, OMV or Medicare lists            0.90       0.51 to 1.57

                              Recruitment period: 1993-1996
                              Women aged 40-60 yr from breast cancer
                              families in a cancer family clinic
               Heimdal,       Cases: 380 breast cancer                                                  Parity, age at menarche,
                    89                                                        0.90       0.68to1.19                                Norway    Fair        2
               2ooi           Controls: 1043                                                            BRCA 1 mutation status

                              Recruitment period: 1999
                                                                                                            Age, race, parity,
                              Women aged 35-64 yr in Women's
                                                                                                           menopausal status,
                              Contraceptive and Reproductive Experiences
                                                                                                        BMI, family history, age
                              (CARE) Study
               Marchbanks,                                                                              at menarche, study site,
                    83        Cases: 4575 breast cancer, SEER registries      0.9        0.80 to 1.01                               U.S.    Good         1
               2ooi                                                                                     age at menopause, age
                              Controls: 4682, community
                                                                                                        at first term pregnancy,
                                                                                                         hormone replacement
                              Recruitment period: 1994-1998
                                                                                                                  therapy




0
0
OJ
0
v.)
v.)                                                                                   108
0)
0)


 Exhibit 163                                                                                                                                                 JA-0002908
                                      Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 149 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                                          Meta-
                                                                                      ORb                                                                      Study
                    Studl                              Study Details                                95%CI              Covariates                Region                  Analysis
                                                                                                                                                               Quality    Codec
                                                                                    Case-Control (continued)
                                      Known carriers of BRCA 1 or BRCA2
                                      mutations
                                      BRCA 1 carriers
                                      Cases: 981 breast cancer, research studies
                                      Controls: 981, research studies
                                90                                                    1.20       1.02to1.40                                    52 centers in
                Narod, 200i           BRCA2 carriers                                                                   Race, parity                             Fair        3
                                                                                                                                               11 countries
                                      Cases: 330 breast cancer, research studies
                                      Controls: 330, research studies
                                                                                      0.94       0.72to1.24
                                      Mean age of cases at diagnosis: 39.1 yr (SD
                                      8.1)
                                      Recruitment period: 1977 2001
                                      All Icelandic women diagnosed with first
                                      invasive breast cancer from 1979-1995
                Tryggvadottir,        Cases: 1120, registry
                     27                                                               NR               NR                   NA                   Iceland       Good         5
                2002                  Controls: 10,537, registry

                                      Recruitment period: 1979 1995
                                                                                                                  Age, race, BMI, age at
                                      Premenopausal women aged 20-54 yr
                                                                                                                  menarche, study site,
                                      Cases: 265 breast cancer, <35 yr
                                                                                                                          number of
                                      Controls: 280 community controls, <35 yr
                                                                                      0.73          0.5 to 1.1    mammograms within 5
                                                                                                                   yr prior to diagnosis,
                                      Cases: 1214 breast cancer, 35-44 yr
                                191                                                                                       recent oral
                Althuis, 2003         Controls: 1033 community controls, 35-44 yr                                                                  U.S.        Good         1
                                                                                      1.13          0.9 to 1.4     contraceptive use, a
                                                                                                                 combination variable for
                                      Cases: 271 breast cancer, 45-54 yr
                                                                                                                 age at birth and number
                                      Controls: 244 community controls, 45-54 yr
                                                                                      2.03          1.3 to 3.1   of full-term births, family
                                                                                                                 history of breast cancer,
                                      Recruitment period: 1990-1992
                                                                                                                   alcohol consumption
                                      Women aged 20-54 yr in 5 metropolitan
                                      areas
                                      Cases: 1640 invasive or in situ breast
                                192                                                   NR
                Althuis, 2003         cancer, registries                                               NR                   NA                     U.S.         Fair        4
                                      Controls: 1492 no breast cancer, community

0                                     Recruitment period: 1990 1992
0
OJ
0
v.)
v.)                                                                                           109
0)
-.....J

  Exhibit 163                                                                                                                                                                   JA-0002909
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 150 of 173




               Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                            Meta-
                                                                                  ORb                                                            Study
                   Studl                          Study Details                                 95%CI              Covariates           Region             Analysis
                                                                                                                                                 Quality    Codec
                                                                                Case-Control (continued)
                                   Women <75 yr in Collaborative Breast
                                   Cancer Study
                                   Cases: 5510 breast cancer, registries                                     Age, race, BMI, family
               Newcomer,           Controls: 9311, community                                                 history, type of and age
                    193                                                                                                                  U.S.     Fair        10
               2003                Note: ductal cancer only (lobular cancer                                   at menopause, state,
                                                                                  1.00       0.90 to 1.11
                                   cases excluded)                                                              education, alcohol

                                   Recruitment period: NR
                                   Women aged 35-64 yr in Women's
                                   Contraceptive and Reproductive Experiences
                                   (CARE) Study
               Norman,                                                                                                                                        5
                    194            Cases: 1847 breast cancer, SEER registries     NR               NR                  NA                U.S.     Fair
               2003
                                   Controls: 1932, community

                                   Recruitment period: 1994-1998
                                   Women <45 yr in Western Washington
                                   Cases: 524 breast cancer, SEER registry
                             195                                                                                      Age
               Suter, 2003         Controls: 461, community                                                                              U.S.     Fair        1
                                                                                  1.3           0.9 to 1.8
                                   Recruitment period: 1990-1992
                                   Residents of Marin County, California
                                   All subjects
                                   Cases: 285, registry
                                   Controls: 286, community                       0.43       0.26 to 0.72

                                   Age <50
               Wrensch,            Cases: 201, registry
                    228                                                                                      Age, residence at birth     U.S.    Good         1
               2003                Controls: 201, community                       0.41       0.22 to 0.75

                                   Age >50
                                   Cases: 84, registry
                                   Controls: 85, community                        0.15       0.03 to 0.65

                                   Recruitment period: 1997-1999



0
0
OJ
0
v.)
v.)                                                                                       110
0)
OJ

 Exhibit 163                                                                                                                                                       JA-0002910
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 151 of 173




               Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                                       Meta-
                                                                                     ORb                                                                    Study
                   Studl                           Study Details                                   95%CI             Covariates                Region                 Analysis
                                                                                                                                                            Quality    Codec
                                                                                   Case-Control (continued)
                                    Women aged 25-70 yr in Shanghai Breast
                                    Cancer Study
                                    Premenopausa/
                                    Cases: 103 breast cancer, hospitals and
                                    registry                                                                   Age, parity, BMI, age at
                                                                                     0.92       0.67 to 1.26
                                    Controls: 103, resident registry                                             menarche, education,
                              196
               Fowke, 2004                                                                                       fibroadenoma history,         China         Fair        9
                                    Postmenopausa/                                                             leisure time activity, age
                                    Cases: 110 breast cancer, hospitals and                                          at first live birth
                                    registry
                                                                                     0.96       0.70to1.32
                                    Controls: 127, resident registry

                                    Recruitment period: 1996-1998
                                    Women <40 yr in South Swedish Health Care
                                    Region
                                                                                                                Parity, family history,
               Jernstrom,           Cases: 245 breast cancer, registry
                    197                                                                                          age at menarche,             Sweden         Fair        4
               2005                 Controls: 735, community
                                                                                     1.65       0.95 to 2.87           smoking
                                    Recruitment period: 1990-1995
                                    Women <40 yr in San Francisco, Ontario,
                                    Melbourne, and Sydney
                                    Cases with BRCA 1 mutation
                                    Cases: 47 breast cancer, registries
                                    Controls: 815, community                         0.22       0.10 to 0.49
                                                                                                                  Age, parity, family
                                                                                                                     history, age at
                                    Cases with BRCA2 mutation
                             198                                                                                   menarche, study          U.S., Canada,
               Milne, 2005          Cases: 36 breast cancer, regional registries                                                                            Good         4
                                                                                                                    location/period,          Australia
                                    Controls: 815, community                         1.02       0.34 to 3.09
                                                                                                                  education, marital
                                                                                                                status, country of birth
                                    Cases with neither BRCA 1 or 2 mutations
                                    Cases: 1073 breast cancer, registries
                                    Controls: 815, community                         0.93       0.69 to 1.24

                                    Recruitment period: 1995-1998



0
0
OJ
0
v.)
v.)                                                                                          111
0)
c.o
 Exhibit 163                                                                                                                                                                 JA-0002911
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 152 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                              Meta-
                                                                                   ORb                                                             Study
                    Studl                          Study Details                                 95%CI          Covariates            Region                 Analysis
                                                                                                                                                   Quality    Codec
                                                                                 Case-Control (continued)
                                    BRCA 1 carriers, Hereditary Cancer Center
                                    (age NR)
                Gronwald,           Cases: 348 breast cancer, cancer center
                     94                                                            0.80       0.50 to 1.20          NR                Poland        Fair        3
                2006                Controls: 348, cancer center

                                    Recruitment period: NR
                                    White women <40 yr BRCA1 or BRCA2
                                    carriers
                                    BRCA 1 carriers (cases and controls)
                                    Cases: 111 breast cancer, registries
                                    Controls: 185, registries                      0.64       0.35to1.16
                              199                                                                            Age, parity, family   U.S., Canada,
                Haile, 2006                                                                                                                        Good         3
                                                                                                             history, study site     Australia
                                    BRCA2 carriers (cases and controls)
                                    Cases: 71 breast cancer, registries
                                    Controls, 94, registries                       1.29       0.61 to 2.76

                                    Recruitment period: NR
                                    Women aged 35-64 yr in Women's
                                    Contraceptive and Reproductive Experiences
                                    (CARE) Study
                           201
                Ma, 2006            Cases: 1725 breast cancer, SEER registries     NR             NR                NA                 U.S.        Good         5
                                    Controls: 440, community

                                    Recruitment period: 1994-1998
                                    Extension of a case-control study among
                                    Swedish residents aged 50-74 yr
                                    Cases: 2289 ductal, lobular, or tubular
                Rosenberg,
                     200            cancer, registries                             NR             NR                NA               Sweden         Fair        5
                2006
                                    Controls: 3065, population registry

                                    Recruitment period: 1993-1995
                                    Hospital patients in Islamabad
                                    Cases: 150,breast cancer, hospital
                Faheem,             Controls: 159, community                                                        NA
                     202                                                           NR             NR                                 Pakistan       Poor        5
                2007
                                    Mean age of cases: 42 yr (SD 12)
                                    Recruitment period: 2005
0
0
OJ
0
v.)
v.)                                                                                        112
-.....J
0

  Exhibit 163                                                                                                                                                       JA-0002912
                                     Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 153 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                               Meta-
                                                                                     ORb                                                            Study
                    Studl                           Study Details                                  95%CI             Covariates            Region             Analysis
                                                                                                                                                    Quality    Codec
                                                                                   Case-Control (continued)

                                     Women aged 35-64 yr with history of short-
                                     term OC use, Women's CARE study
                                     Premenopausa/
                                     Cases: 497 breast cancer, SEER registries
                                     Controls: 456, community
                               203
                Folger, 2007                                                         NR             NR                    NR                U.S.     Fair        5
                                     Postmenopausa/
                                     Cases: 729 breast cancer, SEER registries
                                     Controls: 707, community

                                     Recruitment period: 1994-1998

                                                                                                               Age, parity, menopausal
                                                                                                                status, family history,
                                                                                                                  age at menarche,
                                     Women aged 20-74 yr in Collaborative                                       smoking, state, age at
                                     Breast Cancer Study                                                           first birth, age at
                Nichols,             Cases: 1878 breast cancer in situ, registry                                  menopause, HRT,
                                                                                                                                            U.S.    Good         6
                2007 204             Controls: 8041, community                                                 weight at age 18, height,
                                                                                     1.10       0.99 to 1.25
                                                                                                                weight gain since age
                                     Recruitment period: 1997-2001                                                   18, education,
                                                                                                                    mammography
                                                                                                                 screening, history of
                                                                                                                beniQn breast disease




0
0
OJ
0
v.)
v.)                                                                                          113
-.....J
--lo.



  Exhibit 163                                                                                                                                                        JA-0002913
                               Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 154 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                           Meta-
                                                                                 ORb                                                            Study
                   Studl                      Study Details                                    95%CI             Covariates            Region             Analysis
                                                                                                                                                Quality    Codec
                                                                               Case-Control (continued)
                               Long Island Breast Cancer Study Project
                               (age NR)
                               Premenopausal women
                               Cases: 468 in situ or invasive breast cancer,
                               rapid case ascertainment
                                                                                 0.82       0.57to1.19
                               Controls: 500, community

                               Postmenopausal <65 years old
                Shantakumar,   Cases: 491 in situ or invasive breast cancer,
                     205                                                                                             Age                U.S.    Good         1
                2007           registry, rapid case ascertainment
                                                                                 0.95       0.74 to 1.22
                               Controls: 554, community

                               Postmenopausal >65 years old
                               Cases: 519 in situ or invasive breast cancer,
                               registry
                                                                                 1.37       1.04to1.81
                               Controls: 439, community

                               Recruitment period: 1996-1997
                               Hispanic and non-Hispanic white women ::;;54
                               yr
                               All subjects
                               Cases: 2303 breast cancer, registries
                                                                                                           Age, parity, menopausal
                               Controls: 2513, community                         1.08       0.94 to 1.24
                                                                                                             status, family history,
                                                                                                           study center, education,
                               Hispanics only
                Sweeney,                                                                                       alcohol, language
                     206       Cases: 796 breast cancer, registries                                                                     U.S.    Good         1
                2007                                                                                          acculturation, years
                               Controls: 919, community                          1.08       0.90 to 1.29
                                                                                                            since last birth, use of
                                                                                                           contraception injections
                               Non-Hispanic Whites
                                                                                                                   and HRT
                               Cases: 1522 breast cancer, registries
                               Controls: 1586, community                         1.10       0.88 to 1.37

                               Recruitment period: 1999-2004




0
0
OJ
0
v.)
v.)                                                                                      114
-.....J
i'.)


  Exhibit 163                                                                                                                                                    JA-0002914
                                        Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 155 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                                    Meta-
                                                                                          ORb                                                            Study
                    Studl                               Study Details                                   95%CI             Covariates            Region             Analysis
                                                                                                                                                         Quality    Codec
                                                                                        Case-Control (continued)
                                                                                                                      Parity, menopausal
                                                                                                                     status, family history,
                                        Women <55 yr in Women's Environment, and
                                                                                                                       age at menarche,
                                        Radiation Epidemiology Study
                                                                                                                       counter-matching
                                        Women with history of unilateral breast
                                                                                                                        sampling, age at
                                        cancer
                                                                                                                    diagnosis of first breast
                Figueiredo,             Cases: 708 asynchronous bilateral breast
                     207                                                                                            cancer, family history of    U.S.     Fair        7
                2008                    cancer, registry                                  0.88       0.67to1.16
                                                                                                                     breast cancer in a first
                                        Controls: 1399 unilateral breast cancer only,
                                                                                                                         degree relative,
                                        registry
                                                                                                                        histology, stage,
                                                                                                                         chemotherapy,
                                        Recruitment period: 1985-2000
                                                                                                                       hormonal therapy,
                                                                                                                        radiation therapy
                                        Women aged 20-49 yr in Women's Learning
                                        the Influence of Family and Environment
                                        Study
                                        Cases: 94, breast cancer and BRCA1/2
                                                                                          0.68       0.33 to 1.38
                                        carrier, registry
                                                                                                                    Age, race, parity, family
                            208         Controls: 444 BRCA1/2 unknown, community                                                                                      3
                Lee, 2008                                                                                             history, education,        U.S.    Good
                                                                                                                      Ashkenazi Jewish
                                        Cases: 1375 breast cancer, not BRCA 1/2
                                                                                          0.81       0.57to1.14
                                        carrier, registry
                                        Controls: 444 BRCA1/2 unknown, community                                                                                      1

                                        Recruitment period: 1998 2003
                                        Women aged 20-44 yr in Women's Interview
                                        Study of Health
                                        Ouctal cancer
                                        Cases: 1164 invasive or in situ cancer, rapid
                                                                                          1.21       1.01to1.45
                                        reporting system
                                        Controls: 1501, community
                                  209                                                                               Age, site, frequency of
                Nyante, 2008                                                                                                                     U.S.     Fair        4
                                                                                                                         pap smears
                                        Lobular cancer
                                        Cases: 100, invasive or in situ cancer, rapid
                                                                                          1.10       0.68to1.78
                                        reporting system
                                        Controls: 1501, community

0                                       Recruitment period: 1990 1992
0
OJ
0
v.)
v.)                                                                                               115
-.....J
v.)


  Exhibit 163                                                                                                                                                             JA-0002915
                                       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 156 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                   Meta-
                                                                                        ORb                                             Study
                    Studl                              Study Details                                  95%CI       Covariates   Region             Analysis
                                                                                                                                        Quality    Codec
                                                                                      Case-Control (continued)
                                       Women aged 20-74 yr in Carolina Breast
                                       Cancer Study
                                       Cases: 1808 invasive breast cancer, registry
                                                                                        1.11       0.94 to 1.32
                                       Controls: 1564, community
                                 211
                Phillips, 2009                                                                                    Age, race     U.S.     Fair        1
                                       Cases: 446 in situ cancer, registry
                                       Controls: 458, community
                                                                                        1.11       0.80 to 1.53
                                       Recruitment period: 1993-2001
                                       Women aged 25-69 yr in Case-Control
                                       Surveillance Study
                                       Cases: all invasive cancers
                                       Cases: 907 breast cancer, hospital
                                       Controls: 1711, hospital

                                       Age <50
                                       Cases: 431 breast cancer, hospital
                                       Controls: 939, hospital

                                       Age "?_50
                Rosenberg,
                                       Cases: 476 breast cancer, hospital               NR             NR            NA         U.S.     Fair        5
                2009 210
                                       Controls: 772, no breast cancer, hospital

                                       Black women
                                       Cases: 176 breast cancer, hospital
                                       Controls: 559, hospital

                                       White women
                                       Cases: 731 breast cancer, hospital
                                       Controls: 1152, hospital

                                       Recruitment period: 1976-1996




0
0
OJ
0
v.)
v.)                                                                                             116
-.....J
~


  Exhibit 163                                                                                                                                            JA-0002916
                               Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 157 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                              Meta-
                                                                                   ORb                                             Study
                    Studl                      Study Details                                     95%CI       Covariates   Region             Analysis
                                                                                                                                   Quality    Codec
                                                                                 Case-Control (continued)
                               Women <55 yr in Women's Environment, and
                               Radiation Epidemiology Study
                               BRCA 1 carriers (cases and controls)
                               Cases: 67 contralateral breast cancer,
                               registry
                               Controls: 42 unilateral breast cancer, registry     0.82       0.21to3.13
                Figueiredo,
                     212                                                                                        Age        U.S.     Fair        7
                2010           BRCA2 carriers (cases and controls)
                               Cases: 41 contralateral breast cancer,
                               registry
                               Controls: 31 contralateral breast cancer,           2.38       0.72 to 7.83
                               registry

                               Recruitment period: 1985-2000
                               Women who underwent curative surgery for
                               breast cancer
                               Postmenopausal women
                               Cases: 238 breast cancer, surgically treated
                Lumachi,
                     213       Controls: 255, mammography screening                2.06       1.14 to 3.70   Unadjusted    Italy    Fair        1
                2010
                               Mean age of cases at diagnosis: 62 yr (SD
                               10)
                               Recruitment period: NR




0
0
OJ
0
v.)
v.)                                                                                        117
-.....J
0,


  Exhibit 163                                                                                                                                       JA-0002917
                                 Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 158 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                         Meta-
                                                                               ORb                                                            Study
                    Studl                       Study Details                                95%CI              Covariates           Region             Analysis
                                                                                                                                              Quality    Codec
                                                                             Case-Control (continued)
                                 White or African-American women aged 35-
                                 64 yr
                                 Cases: 335 triple-negative breast cancer,
                                 registries
                                 Controls: 2015, community                     0.93       0. 74 to 1.17

                                 Cases: 97 ER-/PR/HER2+ breast cancer,
                                                                                                              Age, race, parity,
                                 registries
                                                                                                             menopausal status,
                                 Controls: 2015, community                     1.00       0.72to1.39
                           214                                                                            BMI, family history, age
                Ma, 2010                                                                                                              U.S.    Good         8
                                                                                                          at menarche, study site,
                                 Cases: 645 luminal A breast cancer,
                                                                                                                 education
                                 registries
                                 Controls: 2015, community                     1.21       0.69 to 2.11

                                 Cases: 120 luminal B breast cancer,
                                 registries
                                 Controls: 2015, community                     1.23       0.73to2.10

                                 Recruitment period: 2000-2003
                                 Women aged 25-65 yr in Shanghai Breast
                                 Cancer Study
                           224                                                                            Age, parity, menopausal
                Xu, 2011
                                 Cases: 2073 breast cancer, hospitals and                                   status, BMI, family
                                                                               0.98       0.83to1.15                                 China    Good         1
                                 registry                                                                      history, age at
                                 Controls: 2084, resident registry                                         menarche, education

                                 Recruitment periods: 1996-1998; 2002-2005
                                 White or black women aged 35-64 yr
                                 Cases: 2282, registries
                Marchbanks,
                     226         Controls: 2424, community                     NR             NR                    NA                U.S.    Good         5
                2012
                                 Recruitment period: 1994-1998




0
0
OJ
0
v.)
v.)                                                                                    118
-.....J
0)


  Exhibit 163                                                                                                                                                  JA-0002918
                                    Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 159 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                                    Meta-
                                                                                  ORb                                                                    Study
                     Studl                        Study Details                                 95%CI              Covariates               Region                 Analysis
                                                                                                                                                         Quality    Codec
                                                                                Case-Control (continued)
                                                                                                               Age, parity, smoking,
                                    Black South African women aged 18-79 yr                                     year of diagnosis,
                                    Cases: 256, hospital                                                        education, alcohol
                              55
                Urban, 201i         Controls: 156, hospital                       1.28       1.0to1.64         consumption, sexual        South Africa   Good         1
                                                                                                               partners, urban/rural
                                    Recruitment period: 1995-2006                                             residence, province of
                                                                                                                       birth
                                                                                         Cohort
                                    Family members of women aged 21-88 yr
                                    diagnosed with breast cancer between 1944
                                    and 1952
                Grab rick,                                                                                   Age, birth cohort, class
                     215            Exposed: 3156                                                                                            U.S.        Good         2
                2000                                                              1.4           1.0 to 2.0       effect of family
                                    Unexposed: 2994

                                    Recruitment period: 1991-1996
                                                                                                             Age, parity, menopausal
                                    Women aged 30-49 yr in prospective cohort                                   status, BMI, family
                                    study                                                                          history, age at
                              216   Exposed: 74,856                                                                  menarche,              Norway,
                Kumle, 2002                                                                                                                              Good         1
                                    Unexposed: 28,171                             1.3           1.1 to 1.5    breastfeeding , age at        Sweden
                                                                                                               first birth, HRT use,
                                    Recruitment period: 1991-1992                                                region, BMI times
                                                                                                                menopausal status
                                                                                                             Age, parity, menopausal
                                    Women aged 30-70 yr in Norwegian Women                                      status, BMI, family
                                    and Cancer Study                                                               history, age at
                Dumeaux,            Exposed: 49,322                                                           menarche, geographic
                     217                                                                                                                    Norway        Fair        1
                2003                Unexposed: 37,690                             1.25       1.07 to1.46     area, invitation of breast
                                                                                                              cancer screening, age
                                    Recruitment period: 1991-1997                                             at first birth, HRT use,
                                                                                                               alcohol consumption




0
0
OJ
0
v.)
v.)                                                                                       119
-.....J
-.....J

  Exhibit 163                                                                                                                                                             JA-0002919
                                      Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 160 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                                       Meta-
                                                                                      ORb                                                                   Study
                    Studl                            Study Details                                  95%CI              Covariates               Region                Analysis
                                                                                                                                                            Quality    Codec
                                                                                      Cohort (continued)
                                                                                                                   Parity, BMI, family
                                      E3N-EPIC Cohort women aged 40--60 yr                                           history, age at
                                      Exposed: 28,251                                                           menarche, frequency of
                Dumeaux,
                     218              Unexposed: 40,419                               0.91      0.81 to 1.03    pap smears, history of          France       Fair        1
                2005
                                                                                                                benign breast disease,
                                      Recruitment period: 1990                                                   alcohol consumption,
                                                                                                                time since menopause
                                      Women aged 40-59 yr in Canadian National
                                      Breast Screening Study
                                      Women with first- or second-degree relatives
                                      with breast cancer
                                                                                      0.88
                                      Exposed: 962                                              0.73to1.07
                                      Unexposed: 745                                                            Age, parity, menopausal
                                                                                                                  status, BMI, age at
                                      Women with first-degree relatives with breast                               menarche, alcohol,
                                219   cancer                                                                         history of breast
                Silvera, 2005                                                         1.03                                                     Canada        Good        2
                                      Exposed: 433                                              0.78to1.38        disease, age at first
                                      Unexposed: 362                                                             birth, HRT use, study
                                                                                                                 center, randomization
                                      Women with second-degree relatives with                                              group
                                      breast cancer
                                                                                      0.74
                                      Exposed: 414                                              0.54 to 1.00
                                      Unexposed: 284

                                      Recruitment period: 1980-1985
                                      Women aged 25-39 yr at study entry in
                                      Oxford Family Planning Association                                            Age, parity, BMI,
                                      Contraceptive Study                                                         breastfeeding, social
                Vesse~,
                     1 6              Exposed: 301,000 person-years                   1.0          0.8 to 1.1   class, height, age at first       UK        Good         1
                2006
                                      Unexposed: 187,000 person-years                                           term pregnancy, age at
                                                                                                                      first marriage
                                      Recruitment period: 1968-1974
                                      Women aged 19-74 yr in International
                                      BRCA1/2 Carrier Cohort Study                                                 Age, parity, family
                               220    Exposed: 21,569 person-years                                                clustering, history of      UK, France,
                Brohet, 2007                                                          1.47      1.16 to 1.87                                                 Fair        3
                                      Unexposed: 43,611 person-years                                             oophorectomy before          Netherlands
                                                                                                                     right censoring
0                                     Recruitment period: NR
0
OJ
0
v.)
v.)                                                                                          120
-.....J
OJ

  Exhibit 163                                                                                                                                                                JA-0002920
                                      Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 161 of 173




                Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                             Meta-
                                                                                     ORb                                                          Study
                    Studl                            Study Details                                95%CI             Covariates           Region             Analysis
                                                                                                                                                  Quality    Codec
                                                                                     Cohort (continued)
                                      Royal College of General Practitioner's Oral
                                      Contraception Study
                                      Exposed: 744,000 person-years                                             Age, parity, smoking,
                Hannaford,
                     37               Unexposed: 339,000 person-years                0.98      0.87to1.10      social status; ever use    UK       Fair        1
                2007
                                                                                                                         HRT
                                      Mean age at entry: 29 yr (SD 6.6)
                                      Recruitment period: 1968-NR
                                      Women aged 34-70 yr in Norwegian Women
                                                                                                               Parity, BMI, family
                                      and Cancer Study
                                                                                                                 history, age at
                              221     Exposed: 11,371
                Lund, 2007                                                           1.33      1.11to1.59          menarche,             Norway   Good         1
                                      Unexposed: 18,747
                                                                                                              mammography, age at
                                                                                                                  first delivery
                                      Recruitment period: 1991-1997
                                                                                                              Age, parity, menopausal
                                      Women aged 40-70 yr in Shanghai Women's                                    status, BMI, family
                                      Health Study                                                                 history, age at
                Dorjgochoo,           Exposed: 12,957                                                           menarche, smoking,
                     88                                                              1.05      0.84 to 1.31                              China     Fair        1
                2009                  Unexposed: 15,557                                                            breastfeeding ,
                                                                                                                 education, physical
                                      Recruitment period: 1997-2000                                                 activity, other
                                                                                                               contraceptive methods
                                      Textile Workers aged 30--64 yr in Shanghai
                                      Exposed: 352,695 person-years
                Rosenblatt,
                     138              Unexposed: 2,057,377 person-years              0.9       0.78to1.03           Age, parity          China     Poor        1
                2009
                                      Recruitment period: 1989-1991
                                      Nurses' Health Study II of women aged 24-
                                      43 yr at study entry
                                222   Exposed: 1,070,386 person-years
                Hunter, 2010                                                         NR            NR                    NA               U.S.     Good        4
                                      Unexposed: 176,581 person-years

                                      Recruitment period: 1989-2001




0
0
OJ
0
v.)
v.)                                                                                         121
-.....J
c.o
  Exhibit 163                                                                                                                                                      JA-0002921
                              Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 162 of 173




               Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                     Meta-
                                                                          ORb                                                             Study
                   Studl                       Study Details                             95%CI            Covariates             Region             Analysis
                                                                                                                                          Quality    Codec
                                                                           Cohort (continued)
                              Women aged 21-69 yr in Black Women's
                              Health Study
                              Exposed: 445,824 person-years
                              Unexposed: 128,768 person-years
                                                                        IRR=1.11     0.86 to 1.42   Age, parity, BMI, family
                              ER+IPR+ receptor status                                                   history, age at
                              Cases: 284                                                             menarche, education,
               Rosenberg,
                    223                                                 IRR=0.97     0.61 to1.54    age at first birth, age at    U.S.     Fair        8
               2010
                              ER+IPR- receptor status                                                 menopause, HRT,
                              Cases: 80                                                                exercise, alcohol,
                                                                        IRR=1.65     1.19to2.30       questionnaire cycle
                              ER-IPR- receptor status
                              Cases: 46

                              Recruitment period: 1995
                              Jewish women at high risk of developing
                              breast or ovarian cancer
                              BRCA 1 or BRCA2 carriers
                              Exposed: 403
                              Unexposed: 373                              1.84       1.47 to 2.31

                              BRCA 1 carriers                                                         Age at menarche,
               Bernholtz,
                    225       Exposed: 309                                                          breastfeeding, year of       Israel    Fair        3
               2011
                              Unexposed: 182                              1.72       1.31 to 2.25            birth

                              BRCA2 carriers
                              Exposed: 136
                              Unexposed: 72                               2.07       1.34 to 3.20

                              Recruitment period: 1996-2010




0
0
OJ
0
v.)
v.)                                                                                122
OJ
0

 Exhibit 163                                                                                                                                               JA-0002922
                                   Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 163 of 173




               Table 18. Study characteristics and association between OC use and breast cancer incidence (continued)
                                                                                                                                                                                        Meta-
                                                                                            ORb                                                                            Study
                   Studl                           Study Details                                              95%CI              Covariates                Region                      Analysis
                                                                                                                                                                           Quality      Codec
                                                                                                   Pooled
                                   Women aged 21-45 yr in Seattle-Puget
                                   Sound                                                     1.3
                                   Cases: 897 with invasive cancer; 187 with           (all subjects)                        Age, family history,
                                                                                                              1.0 to 1. 7
                             184   triple negative cancer; registries                                                       breastfeeding history,
               Dolle, 2009                                                                                                                                          U.S.          Fair        8
                                   Controls: 1569, not reported                                   2.5                         oral contraceptive
                                                                                                (triple-                           duration
                                                                                                                1.4to4.3
                                    Recruitment periods: 1983-1990; 1990-1992                  negative
                                                                                               subjects)
                BMI = body mass index; CI = confidence interval; DMV = department of motor vehicles; ER = estrogen receptor; HRT = hormone replacement therapy; IRR = incidence rate
                ratio; NR = not reported; NZ= New Zealand; OC = oral contraceptive; OR= odds ratio; PR= progesterone receptor; SEER= Surveillance, Epidemiology, and End Results
                registry; UK= United Kingdom; U.S. = United States; yr= year/years
                astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer to Tables C-1 and C-2 in Appendix C.
                bOdds ratios for meta-analysis of ever versus never OC use.
                cMeta-analysis code: 1= Included in meta-analysis; 2 = Excluded due to family history of breast cancer; 3 = Excluded due to BRCA mutation carriers; 4 = Excluded due to age at
                diagnosis 915 yr; 5 = Excluded due to overall ever versus never OR not reported or not calculable; 6 = Excluded due to cancer in situ only; 7 = Excluded due to all cases and
                controls having breast cancer; 8 = Excluded due to ER/PR/HER2 subtypes; 9 = Excluded due to data are subset of Shanghai Breast Cancer Study2 24 ; 10 = Excluded due to targeting
                certain subtypes of cancer only.




0
0
OJ
0
v.)
v.)                                                                                                     123
OJ
--lo.



 Exhibit 163                                                                                                                                                                                   JA-0002923
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 164 of 173




     Ever Versus Never QC Use
         Fifteen case-control studies representing 38 ,682 women 155,183,185-188,191,195,205,206,208,211,213,224,228
     were included in this meta-analysis examining the effect of ever versus never OC use on the
     incidence of breast cancer (Table 18). Of these studies, nine were rated good quality, five fair
     quality, and one poor quality. Abstracted data not included in this analysis are specified (with
     rationale) in Table 18. Reasons for exclusion from this analysis included the following: study
     populations representing specialized subgroups (e.g., BRCA mutation populations, family
     history, cancer subtype); reporting a subset of results from the same study as another article
     already included in the analysis; and not reporting an odds ratio for ever versus never OC use.
     Some studies gave results only by subgroup; however, in some instances we were able to
     combine the subgroups to calculate the odds ratio for the entire study population. Figure 23
     shows the results; ever use of OCs increased the risk of breast cancer compared with never use,
     but the confidence interval included 1 (OR 1.09; 95% CI, 0.98 to 1.21).

     Figure 23. Forest plot for ever versus never OC use (case-control studies, breast cancer
     incidence)


          Study                                                            Odds ratio and 95% Cl

                                      Odds       Lower    Upper
                                      ratio       limit    limit

          Shapiro , 2000              1.200       0.980    1.470
          Va n Hoftin , 2000          1.310       0.959    1. 789
          Gomes , 2001                1.930       1.194    3.120
          Moorman , 2001              1.110       0.858    1.436
          Marchbanks , 2002           0.900       0.801    1.011
          Althuis , 2003              1.140       0.958    1.357
          Suter, 2003                 1.300       0.919    1.838
          Wrensch , 2003              0.430       0.258    0.716
          Shantakumar, 2007           1.050       0.890    1.239
          Sweeney , 2007              1.080       0.940    1.240
          Lee , 2008                  0.780       0.569    1.069
          Phillips , 2009             1.110       0.937    1.315
          Luma chi , 2010             2.060       1.143    3.711
          Xu , 2011                   0.980       0.833    1.154
          Urban , 2012                1.280       1.000    1.639
                                      1.089       0.984    1.205
                                                                    0.1   0.2   0.5   1     2       5    10
                                                                          Favors OC     Favors No OC

     CI = confidence interval; OC = oral contraceptive




                                                              124




                                                                                                                00803382
Exhibit 163                                                                                                   JA-0002924
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 165 of 173




         Eight cohort studies representing 317,341 women across five studies and 3,981,072 person-
     years across three studies 37' 88 ' 138' 156 ' 216 -218 ' 221 met inclusion criteria for this meta-analysis (Table
     18). Of these studies, three were rated good quality, four fair quality, and one poor quality.
     Abstracted data not included in this analysis are specified (with rationale) in Table 18. Reasons
     for exclusion from this analysis included the following: study populations representing
     specialized subgroups; and not computing an effect size for ever use versus never OC use. As
     shown in Figure 24, the odds ratio for ever versus never use of OCs was similar to that for the
     case-control studies (OR 1.07; 95% CI, 0.96 to 1.20).

     Figure 24. Forest plot for ever versus never OC use (cohort studies, breast cancer incidence)



               Study                                                            Odds ratio and 95% Cl

                                          Odds       Lower       Upper
                                          ratio       limit       limit

               Kumle, 2002
               Dumeaux, 2003
               Dumeaux, 2005
                                1. 300
                                1.250
                                0.910
                                                         1.111
                                                         1.070
                                                         0.807
                                                                  1.521
                                                                  1.460
                                                                  1.026
                                                                                                ----
                                                                                                ----
               Vessey, 2006     1.000                    0.852    1.173
               Hannaford , 2007 0.980                    0.872    1.102
               Lund , 2007      1. 330                   1.111    1.592                          •
               Dorjgochoo, 2009 1.050                    0.841    1.311
               Rosenblatt, 2009 0.900                    0.783    1.034
                                1.071                    0.958    1.197
                                                                          0.5               1             2
                                                                                Favors OC   Favors No OC



     CI = confidence interval; OC = oral contraceptive

         The pooled effect sizes for the two groups were similar, with a test for a difference resulting
     in a p-value of0.81. Therefore, we combined case-control studies and cohort studies. Across all
     included studies, results suggest that a history of OC use slightly but significantly increases the
     incidence of breast cancer compared with women who never used OCs. The odds ratio was 1. 08
     (95% CI, 1.00 to 1.17), with a Q-value of 73.35 for 21 degrees of freedom, p<0.001.

     Sensitivity Analyses
         Analyses were repeated excluding the one cohort study rated poor quality. This exclusion had
     a minor effect on the odds ratio estimates for all studies combined (OR 1.08; 95% CI, 1.00 to
     1.16). We also conducted sensitivity analyses among U. S.-based studies only; effect sizes were
     smaller and no longer statistically significant (OR 1.03; CI, 0.93 to 1.14).




                                                                  125




                                                                                                                     00803383
Exhibit 163                                                                                                        JA-0002925
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 166 of 173




     Duration of QC Use
          Fourteen studiesl38,156,183,1ss,1ss,194,195,201,2os,206,211,216-21s,22s were included in this meta-analysis
     examining the effect of duration of OC use on breast cancer incidence (Table 19). Of these, 9
     were case-control studies. Six studies were rated good quality, eight fair quality, and one poor
     quality. We did not include data in the meta-analysis for studies that were conducted in a special
     population, did not have at least 3 categories for duration of use, or used a referent category other
     than never users.

     Table 19. Data for outcomes on duration of use (breast cancer incidence)
                                          Subgroup
              Studya                                        Duration               OR                 95%CI
                                       (if Applicable)
                                                         Case-Control
                                                              < 1 yr               1.3               0.8 to 1.4
                       185                                    1-4 yr               1.3               1.0 to 1.8
       Shapiro, 2000
                                                             5-9 yr                1.4               0.9to2.1
                                                             > 10 yr               1.2               0.7 to 2.3
                                                             1-10 yr              1.27              0.92 to 1.77
                                   Total sample
                                                             > 10 yr              1.43              0.92 to 2.22

                             186                             1-10 yr              1.25              0.85 to 1.82
       Van Hotten, 2000            Women ::;;55 yr
                                                             > 10 yr              1.22              0.72 to 2.07

                                                             1-10 yr              1.26              0.74to2.14
                                   Women ~56 yr
                                                             > 10 yr              2.05              1.07 to 3.95

                                                              ::;; 1 yr           1.29              0.68 to 2.47
                                                              1-5 yr              1.49              0.85 to 2.64
                                   White women <50 yr
                                                             5-10 yr              0.94              0.52to1.70
                                                             > 10 yr              1.41              0.74 to 2.70

                                                              ::; 1 yr            1.29              0.61   to   2.72
                                   African-American          1-5 yr               1.23              0.66   to   2.32
                                   women <50 yr              5-10 yr              1.64              0.82   to   3.28
                                                             > 10 yr              1.61              0.77   to   3.35
                          188
       Moorman, 2001
                                                              ::;; 1 yr           0.92              0.49to      1.73
                                                             1-5 yr               0.90              0.43 to     1.89
                                   White women ~50 yr
                                                             5-10 yr              0.80              0.38 to     1.67
                                                             > 10 yr              1.34              0.59 to     3.07

                                                              ::;; 1 yr           0.90              0.40   to   2.01
                                   African-American          1-5 yr               0.39              0.16   to   0.99
                                   women ~50 yr              5-10 yr              2.06              0.77   to   5.53
                                                             > 10 yr              1.37              0.27   to   6.90
                                                               < 1 yr              0.9               0.8 to 1.1
       Marchbanks,                                           1 to< 5 yr            0.9               0.8to1.0
            83
       2ooi                                                 5 to< 10 yr            0.9               0.8to1.0
                                                           10 to< 15 yr            0.8               0.7to1.0
                                                             0-4 yr               1.10              0.92   to   1.31
                                                             5-9 yr               1.36              1.11   to   1.67
                                   BRCA 1 carriers
                                                            10-14 yr              1.27              0.99   to   1.64
                     90
                                                            15-30 yr              1.30              0.91   to   1.87
       Narod, 200i
                                                             0-4 yr               0.90              0.67 to 1.20
                                                             5-9 yr               0.82              0.56 to 1.91
                                   BRCA2 carriers
                                                            10-14 yr              1.16              0.75to1.78
                                                            15-30 yr              1.35              0.71 to 2.56




                                                             126




                                                                                                                       00803384
Exhibit 163                                                                                                        JA-0002926
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 167 of 173




       Table 19. Data for outcomes on duration of use (breast cancer incidence) (continued)
                                                Subgroup
              Studya                                                      Duration         OR       95%CI
                                             (if Applicable)
                                                                 Case-Control (continued
                                                                           < 1 yr          1.1     1.0 to 1.3
                                                                           1-4 yr          1.0     0.9 to 1.1
                                          Ductal carcinoma vs.
                                                                           5-9 yr          1.0     0.9to1.2
                                          controls
                                                                          10-14 yr         1.0     0.9to1.3
                                    193
                                                                           > 15 yr         1.0     0.7to1.3
       Newcomer, 2003
                                                                           < 1 yr          1.4     1.0to2.0
                                                                           1-4 yr          1.1     0.8to1.6
                                          Lobular carcinoma vs.
                                                                           5-9 yr          1.1     0. 7 to 1. 7
                                          controls
                                                                          10-14 yr         1.1     0.7to1.9
                                                                           > 15 yr         1. 7    0.9 to 3.5
                                                                           < 0.5 yr        0.73    0.5 to 1.05
                                                                         0.5 to< 2 yr      0.91   0.63 to 1.31
                              194
       Norman, 2003                                                       2 to< 5 yr       0.83   0.56 to 1.22
                                                                         5 to< 10 yr       0.81   0.55to 1.19
                                                                            > 10 yr        0.62   0.41 to 0.95
                                                                            < 1 yr          1.3    0.9to1.8
                        195
       Suter, 2003                                                       5to<10yr           1.4    0.9to2.1
                                                                            > 10 yr         1.2    0.7to1.8
                                                                            < 2 yr         0.55   0,33   to   0.93
                               228                                         2-6 yr          0.52   0.30   to   0.89
       Wrensch, 2003
                                                                           6-10 yr         0.57   0.32   to   1.00
                                                                           >10 yr          0.47   0.27   to   0.82
                                                                           < 5 yr          0.94   0.81 to 1.09
                               218
       Dumeaux, 2005                                                       5-9 yr          0.91   0.75to 1.11
                                                                           > 10 yr         0.87   0.72to1.06
                                                                           1-4 yr          0.25   0.09 to 0.70
                                          BRCA 1 carriers                  5-9 yr          0.22   0.09 to 0.58
                                                                           > 10 yr         0.20   0.08 to 0.54

                                                                           1-4 yr          0.97   0.26 to 3.56
                        198
       Milne, 2005                        BRCA2 carriers                   5-9 yr          1.34   0.41 to 4.45
                                                                           > 10 yr         0.73   0.20 to 2.65

                                                                           1-4 yr          0.76   0.54 to 1.07
                                          Noncarriers                      5-9 yr          0.97   0.70to1.34
                                                                           > 10 yr         1.02   0. 74 to 1.41
                               94                                           < 2 yr         0.9     0.5to1.2
       Gronwald, 2006
                                                                            ~ 2 vr         0.8     0.5 to 1.4
                                                                           1-4 yr          0.61   0.31 to 1.17
                                          BRCA 1 carriers
                     199
                                                                            ~5             0.61   0.32to 1.16
       Haile, 2006
                                                                           1-4 yr          0.79   0.26 to 2.37
                                          BRCA2 carriers
                                                                           ~ 5 yr          1.45   0.64 to 3.27
                                                                           < 1 yr          0.78   0.51   to   1.18
                  201                                                      1-4 yr          0.80   0.54   to   1.19
       Ma, 2006
                                                                           5-9 yr          0.62   0.42   to   0.93
                                                                           > 10 yr         0.84   0.56   to   1.26




                                                                           127




                                                                                                                     00803385
Exhibit 163                                                                                                       JA-0002927
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 168 of 173




       Table 19. Data for outcomes on duration of use (breast cancer incidence) (continued)
                                             Subgroup
              Studya                                                  Duration         OR       95%CI
                                          (if Applicable)
                                                             Case-Control (continued
                                                                       < 5 yr          0.9     0.7to1.0
                                       Ductal breast cancer
                                                                       > 5 yr          0.9     0. 7 to 1.1

                                 200                                   < 5 yr          0.6     0.4 to 0.9
       Rosenberg, 2006                 Lobular cancer
                                                                       > 5 yr          0.9     0.6 to 1.4

                                                                       < 5 yr          1.3     0.7 to 2.2
                                       Tubular cancer
                                                                       > 5 yr          1.0     0.5to1.9
                         203           Premenopausal                  < 6 mo           1.3    0.60 to 1.0
       Folger, 2007
                                       Postmenopausal                 < 6 mo           0.8    0.60 to 1.28
                                                                      1-1.9 yr         1.13   0.96 to 1.33
                          204                                         2-2.4 yr         1.22   1.04 to 1.44
       Nichols, 2007
                                                                     4.5-8.9 yr        1.04   0.86 to 1.25
                                                                       > 9 vr          1.06   0.88 to 1.27
                                                                       < 6 mo          1.31   0.68 to     2.55
                                       Premenopausal                  6-12 mo          1.38   0.93 to     2.03
                                       women                          13-60 mo         1.27   0.90to      1.79
                                                                       > 60 mo         1.54   1.06 to     2.24

                                                                       < 6 mo          1.52   0.77 to     3.03
       Shantakumar,                    Postmenopausal                 6-12 mo          0.78   0.53to      1.16
            205
       2007                            <65 yr                         13-60 mo         0.88   0.60 to     1.28
                                                                       > 60 mo         1.01   0.69 to     1.48

                                                                       < 6 mo          0.93   0.23   to   3.77
                                       Postmenopausal                 6-12 mo          0.51   0.27   to   0.95
                                       >65 yr                         13-60 mo         1.15   0.58   to   2.31
                                                                       > 60 mo         0.86   0.44   to   1.66
                                                                       < 5 yr          1.14   0.87 to     1.49
                                                                       5-9 yr          1.06   0.77 to     1.46
                                       Hispanics only
                                                                      10-19 yr         1.03   0.74to      1.43
                               206
                                                                       > 20 yr         1.43   0.69 to     2.95
       Sweeney, 2007
                                                                       < 5 yr          1.14   0.93 to 1.40
                                                                       5-9 yr          0.99   0.78to1.25
                                       Non-Hispanic whites
                                                                      10-19 yr         0.96   0.75to1.23
                                                                       > 20 yr         1.49   0.96 to 2.30
                                207                                    < 5 yr          0.88   0.65 to 1.20
       Figueiredo, 2008
                                                                       ~ 5 yr          0.82   0.61to1.10
                                                                       < 4 yr          0.65   0.30 to 1.42
                                       BRCA1/2 carriers                5-9 yr          0.78   0.34to1.77
                                                                       ~ 10 yr         0.63   0.26 to 1.51
                   208
       Lee, 2008
                                                                        ::;; 4 yr      0.80   0.55to 1.16
                                       Noncarriers                     5-9 yr          0.66   0.45 to 0.98
                                                                       ~ 10 yr         0.95   0.64 to 1.42
                                                                       < 1 yr          1.13   0.80 to 1.61
                                       Ductal carcinoma                1-3 yr          1.11   0.89 to 1.38
                         209
                                                                       > 4 yr          1.30   1.06 to 1.59
       Nyante, 2008
                                                                       < 1 yr          1.63   0.72 to 3.65
                                       Lobular breast
                                                                       1-3 yr          1.23   0.70to2.14
                                       carcinoma
                                                                       > 4 yr          0.92   0.53 to 1.59




                                                                       128




                                                                                                                 00803386
Exhibit 163                                                                                                  JA-0002928
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 169 of 173




       Table 19. Data for outcomes on duration of use (breast cancer incidence) (continued)
                                         Subgroup
              Studya                                             Duration         OR       95%CI
                                      (if Applicable)
                                                        Case-Control (continued
                                                                   < 5 yr         1.06   0.88 to 1.28
                                  Invasive breast
                                                                  5-10 yr         1.15   0.93 to 1.42
                                  carcinoma
                                                                  > 10 yr         1.21   0.94 to 1.56
       Phillips, 2009 211
                                                                   < 5 yr         0.75   0.49 to 1.15
                                  DCIS                            5-10 yr         1.27   0.79 to 2.04
                                                                  > 10 yr         0.94   0.59 to 1.49

                                                                  1-4 yr          1.3     1.0 to 1.6
                                  All invasive breast             5-9 yr          1.6     1.2to2.1
                                  cancers                        10-14 yr         1.9     1.4 to 2. 7
                                                                  > 15 yr         1. 7    1.0to2.9

                                                                  1-4 yr          1.3     1.0 to 1.8
                                                                  5-9 yr          1.9     1.3to2.7
                                  Women <50 yr
                                                                 10-14 yr         1.8     1.1 to 2.8
                                                                  > 15 yr         1.3     0.6 to 2.7

                                                                  1-4 yr          1.3     0.9to1.8
                            210                                   5-9 yr          1.3     0.8 to 2.0
       Rosenberg, 2009            Women >50 yr
                                                                 10-14 yr         2.0     1.2 to 3.5
                                                                  > 15 yr         2.4     1.0to5.5

                                                                  1-4 yr          1.3     0.8to2.1
                                                                  5-9 yr          2.3     1.3to3.9
                                  Black women
                                                                 10-14 yr         2.5     1.3to4.7
                                                                  > 15 yr         NR         NR

                                                                  1-4 yr          1.3     1.0 to   1. 7
                                                                  5-9 yr          1.4     1.0 to   1.9
                                  White women
                                                                 10-14 yr         1.8     1.2 to   2.5
                                                                  > 15 yr         1.4     0.8 to   2.6

                                                                  < 5 yr          2.91   0.75to 11.30
                                  BRCA 1 carriers
       Figueiredo, 2010
                            212                                   ~ 5 yr          2.07   0.60 to 7.11
                                                                  < 5 yr          0.86   0.21 to 3.57
                                  BRCA2 carriers
                                                                  ~ 5 yr          2.02   0.52 to 7.81

                                                                  < 1 yr          0.94   0.63 to 1.42
                                  Triple-negative breast          1-4 yr          0.93   0.63 to 1.36
                                  cancer                          5-9 yr          1.12   0.75to1.66
                                                                  ~ 10 yr         1.06   0. 70 to 1.61

                                                                  < 1 yr          1.22   0.61 to 2.43
                                  ER-/PR-/HER2+                   1-4 yr          1.15   0.59 to 2.23
                                  breast cancer                   5-9 yr          0.86   0.40 to 1.85
                                                                  ~ 10 yr         1.59   0.81to3.10
                  214
       Ma, 2010
                                                                  < 1 yr          0.98   0.73to1.32
                                  Luminal A breast                1-4 yr          1.04   0.79to1.37
                                  cancer                          5-9 yr          0.78   0.57 to 1.06
                                                                  ~ 10 yr         0.87   0.63to1.19

                                                                  < 1 yr          1.17   0.62 to   2.24
                                  Luminal B breast                1-4 yr          1.12   0.60 to   2.07
                                  cancer                          5-9 yr          1.50   1.80 to   2.78
                                                                  ~ 10 yr         1.20   0.62 to   2.32




                                                                  129




                                                                                                            00803387
Exhibit 163                                                                                               JA-0002929
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 170 of 173




       Table 19. Data for outcomes on duration of use (breast cancer incidence) (continued)
                                 Subgroup
              Studya                                     Duration          OR             95%CI
                              (if Applicable)
                                                Case-Control (continued)

                  224                                   < 18 months        0.96         0.78to1.18
       Xu, 2011
                                                        ~ 18 months        1.11         0.89 to 1.37

                          100 mcg mestranol/
                                                           < 2 yr          0.8           0.4 to 1.5
                          1.0 mg ethynodiol
                                                           ~ 2 yr          0.8           0.5 to 1.1
                          di acetate

                          35 mcg ethinyl
                                                           < 2 yr          1.2           0.7 to 2.0
                          estradiol/0.5 mg
                                                           ~ 2 yr          1.2           0.6 to 1.4
                          norethindrone

                          35 mcg ethinyl
                                                           < 2 yr          0.9           0.6 to 1.4
                          estradiol/1.0 mg
                                                           ~ 2 yr          1.0           0.8 to 1.4
                          norethindrone

                          50 mcg mestranol/                < 2 yr          0.8           0.5to1.2
                          1.0 mg norethindrone             ~ 2 yr          0.8           0.6to1.1


                          80 mcg mestranol/                < 2 yr          0.6           0.4 to 0.99
                          1.0 mg norethindrone             ~ 2 yr          0.8            0.6 to 1.0
       Marchbanks,
            226
       2012
                          100 mcg mestranol/               < 2 yr          1.1           0.7to1.6
                          2.0 mg norethindrone             ~ 2 yr          0.7           0.5 to 0.9


                          100 mcg mestranol/               < 2 yr          0.8           0.4to 1.4
                          2.5 mg norethindrone             ~ 2 yr          1.0           0.6to1.7

                          30 mcg ethinyl
                                                           < 2 yr          1.5           0.9 to 2.6
                          estradiol/0.3 mg
                                                           ~ 2 yr          0.8           0.5 to 1.1
                          norgestrel

                          50 mcg ethinyl
                                                           < 2 yr          1.1            0.6 to 2.0
                          estradiol/0.5 mg
                                                           ~ 2 yr          0.6           0.4 to 0.98
                          norgestrel
                          35 mcg ethinyl
                          estradiol/0.5 mg
                                                           < 2 yr          0.5           0.2 to 1.4
                          (7 days), 0.75 mg
                                                           ~ 2 yr          0.4           0.2 to 0.8
                          (7 days), 1.0 mg
                          (7 davs) norethindrone




                                                          130




                                                                                                        00803388
Exhibit 163                                                                                           JA-0002930
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 171 of 173




       Table 19. Data for outcomes on duration of use (breast cancer incidence) (continued)
                                           Subgroup
              Studya                                        Duration     OR               95%CI
                                        (if Applicable)
                                                            Cohort
                         215                                  1-4 yr      1.5            1.0to2.3
       Grabrick, 2000
                                                              > 4 yr      1.3            0.9to1.9
                                                              < 5 yr      1.2            1.0 to 1.5
                     216                                      5-9 yr      1.2            1.0 to 1.5
       Kumle, 2002
                                                             10-14 yr     1.4            1.1to1.8
                                                              > 15 yr     1.3            1.0 to 1.8
                                                              0-4 yr     0.94           0.81 to 1.09
       Dumeaux, 2003 217                                      5-9 yr     0.91           0.75to 1.11
                                                              > 10 yr    0.87           0.72to1.06
                                                             1-12 mo     1.05           0. 79 to 1.42
                                    Women with any family
                                                            12-36 mo     0.94           0.70to1.26
                                    history of breast
                                                            36-84 mo     0.85           0.64to1.12
                                    cancer
                                                             > 84 mo     0.74           0.55 to 0.99
                                                             1-12 mo     1.18           0.75to1.38
                                    Women with first-
                       219                                  12-36 mo     1.24           0.82 to 1.88
       Silvera, 2005                degree relatives of
                                                            36-84 mo     1.07           0.72to1.59
                                    breast cancer
                                                             > 84 mo     0.75           0.47 to 1.19
                                                             1-12 mo     0.92           0.58   to   1.44
                                    Women with second-
                                                            12-36 mo     0.72           0.45   to   1.17
                                    degree relatives with
                                                            36-84 mo     0.52           0.32   to   0.84
                                    breast cancer
                                                             > 84 mo     0.84           0.55   to   1.27
                                                              < 48 mo     0.9            0.8 to 1.1
                       156
       Vessey, 2006                                          49-96 mo     0.9            0.8 to 1.1
                                                              > 97 mo     1.0            0.8 to 1.1
                                                               1-3 yr    1.34           1.00 to 2.78
                      220
       Brohet, 2007                                            4-8 yr    1.59           1.19to 2.13
                                                               > 9 yr    1.61           1.18 to 2.20
                                                              < 48 mo    1.00           0.81 to 1.23
                             37
       Hannaford, 2007                                       49-96 mo    0.95           0.75to1.21
                                                              > 96 mo    1.22           0.97 to 1.52
                               88                              < 2 yr    1.18           0.89 to 1.56
       Dorjgochoo, 2009
                                                               > 2 yr    0.93           0.68 to 1.25
                                                              1-11 mo    0.71           0.56 to 0.90
                             138                             12-59 mo    1.04           0.86 to 1.27
       Rosenblatt, 2009
                                                            60-119 mo    0.97           0.69 to 1.36
                                                             > 120 mo    0.94           0.66 to 1.32
                                                               < 4 yr    0.92           0.64 to 1.34
                             33
       Hannaford, 2010                                         4-8 yr    0.87           0.58 to 1.31
                                                               > 8 yr    1.13           0.75to1.70
                      222                                      0-8 yr    1.16           0.80 to 1.69
       Hunter, 2010
                                                               > 8 yr    1.42           1.05 to 1.94




                                                             131




                                                                                                           00803389
Exhibit 163                                                                                            JA-0002931
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 172 of 173




       Table 19. Data for outcomes on duration of use (breast cancer incidence) (continued)
                                        Subgroup
              Studya                                                Duration                     OR                      95%CI
                                     (if Applicable)
                                                            Cohort (continued)
                                                                      < 5 yr                     1.03                 0.79to1.35
                                 ER+/PR+ breast                      5-9 yr                      1.09                 0.78to1.52
                                 cancers                            10-14 yr                     1.45                 1.02 to 2.07
                                                                     > 15 yr                     1.24                 0.74 to 2.09

                                                                     < 5 yr                      1.67                 1.18 to 2.36
                           223   ER-/PR- breast                      5-9 yr                      1.37                 0.89to2.11
       Rosenberg, 2010
                                 cancers                            10-14 yr                     1.83                 1.11 to 2.90
                                                                     > 15 yr                     2.25                 1.23to4.11

                                                                      < 5 yr                     0.91                 0.55 to 1.49
                                 ER+/PR- breast                      5-9 yr                      1.31                 0.74 to 2.33
                                 cancer                             10-14 yr                     0.82                 0.37to1.78
                                                                     > 15 yr                     0.75                 0.22 to 2.54
                                                                   Pooled
                                                                      1-2 yr                     1.3                    0.9 to 1. 7
                                 All subjects                         3-5 yr                     1.4                    1.0to2.0
                     184
                                                                      > 6 yr                     1.3                    1.0 to1.8
       Dolle, 2009
                                                                      1-2 yr                     1.6                   0.9 to 3.3
                                 Women with triple-
                                                                      3-5 yr                     2.8                   1.5to5.3
                                 negative breast cancer
                                                                      > 6 yr                     2.9                   1.6 to 5.3
     BRCA = breast cancer genetic mutation; CI = confidence mterval; ER = estrogen receptor; mo = month/months; NR = not
     reported; OR = odds ratio; PR = progesterone receptor; yr = year/years
     astudy identifies the primary abstracted article. For details about the relationships between companion studies and articles, refer
     to Tables C-1 and C-2 in Appendix C.

         As described in the Methods section, we categorized duration of OC use in the included
     studies into four intervals: (1) 1 to 12 months, (2) 13 to 60 months, (3) 61 to 120 months, and (4)
     more than 120 months. These results, summarized in Table 20, show no time-dependent
     relationship as a function of duration of use. There was significant heterogeneity, with at-value
     of 5.84 for 19 degrees of freedom, p<0.0001. However, the test was underpowered; there would
     have to be a 40-percent difference in risk of breast cancer by time period in order to detect
     significant differences.

     Table 20. Estimated odds ratios by duration of OC use (breast cancer incidence)
              Duration Interval                     Odds Ratio (95% Confidence Interval)                               P-Value
               0-12 months                                       0.95 (0.83 to 1.09)                                    0.465
               13-60 months                                      1.03 (0.92to 1.15)                                     0.644
              61-120 months                                      1.01 (0.90to 1.13)                                     0.895
               >120 months                                       1.04(0.93to1.17)                                       0.457


     Time Since Last QC Use
        Eleven studiesl83,1ss,1ss,191,19s,196,203,206,2os,210,216,21s were included in this meta-analysis
     examining the effect of time since last OC use on breast cancer incidence. Of these, 9 were case-
     control studies and 2 cohort studies. Five studies were rated good quality and seven fair quality.
     We did not include data in the meta-analysis for studies that only reported time since last use




                                                                     132




                                                                                                                                        00803390
Exhibit 163                                                                                                                           JA-0002932
       Case 2:17-cv-04540-WB Document 210-2 Filed 06/14/19 Page 173 of 173




     data for a special population, did not have at least three categories for duration of use, or used a
     referent category other than never users.
         As described in the Methods, we categorized time since last QC use into four intervals: (1) 0
     to 5 years, (2) 5 to 10 years (3) 10 to 20 years, (4) more than 20 years. These results, summarized
     in Table 21, show a time-dependent relationship as a function of time since last QC use, with
     higher risk associated with more recent use of QCs and the odds ratio approaching 1 (no effect)
     by 20+ years of use. There was significant heterogeneity. The estimated value of 6 is 0.12. The t-
     value is 4.95 for 11 degrees of freedom, p=0.0004.

     Table 21. Estimated odds ratios by time since last OC use (breast cancer incidence)
              Time Interval             Odds Ratio (95% Confidence Interval)               P-Value
               0-5 years                          1.21 ( 1.04 to 1.41 )                    0.0178
               5-10 years                         1.17(0.98to 1.38)                        0.0776
              10-20 years                         1. 13 (0. 97 to 1.31 )                   0.1705
               >20 years                          1.02 (0.88 to 1.18)                      0.7686


         We also fitted a model to the individual reported odds ratios. The time (in years) was
     assumed to be the middle of the interval reported. The fitted model was odds ratio equals (1 +
     0.2711 * EXP(-0.06551 * years) (Figure 25). The slope was significant, with a chi-square of 4.8
     for 1 degree of freedom, p=0.0285. The model produced a slightly better fit than did the
     individual odds ratios in Table 21 and show a time-dependent relationship.




                                                      133




                                                                                                       00803391
Exhibit 163                                                                                          JA-0002933
